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 EXHIBIT
 EXHIBIT 
         35
           )LOHG
           Filed 8QGHU
                 Under 6HDO
                       Seal
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for March
                                   March 2023
                                         2023 (0716/23)
                                              (0716/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&͗
                                                UOF: hϬϳϭϲͬϮϬϮϯ
                                                     U0716/2023

ƌŝĞĨ
Brief EĂƌƌĂƟǀĞ͗
      Narrative:

ĂƐĞĚ
Based ŽŶ
       on ƐƚĂī
          staff ƌĞƉŽƌƚƐ͕
                reports, /ŶũƵƌǇ
                         Injury ƚŽ
                                to W/
                                   PIC ZĞƉŽƌƚƐ͕
                                       Reports, W/
                                                PIC ƐƚĂƚĞŵĞŶƚƐ
                                                    statements ĂŶĚ
                                                               and ǀŝĚĞŽ
                                                                   video ƐƵƌǀĞŝůůĂŶĐĞ
                                                                         surveillance ƚŚĞ
                                                                                      the ĨŽůůŽǁŝŶŐ
                                                                                          following ǁĂƐ
                                                                                                    was
revealed:
ƌĞǀĞĂůĞĚ͗

 KŶ
 On &ĞďƌƵĂƌǇ
      February Ϭϱ͕05, ϮϬϮϯ͕
                       2023, ŝŶ  in ZŽďĞƌƚ
                                     Robert E͘ N. ĂǀŽƌĞŶ
                                                   Davoren ĞŶƚĞƌ͕
                                                                Center, Ϯ2 hƉƉĞƌ
                                                                            Upper ^ŽƵƚŚ
                                                                                     South ,ŽƵƐŝŶŐ
                                                                                             Housing ƌĞĂ͕
                                                                                                         Area, KĸĐĞƌ
                                                                                                                 Officer                 ǁĂƐ
                                                                                                                                         was
 ĂƐƐŝŐŶĞĚ
 assigned ƚŽ to ƚŚĞ
                the Ϯ 2 hƉƉĞƌ
                        Upper ^ŽƵƚŚSouth ƉŽƐƚ͕
                                             post, ĂŶĚ
                                                    and Ă  a ƌĞǀŝĞǁ
                                                              review ŽĨ
                                                                      of ƚŚĞ
                                                                         the ŝŶĐŝĚĞŶƚ
                                                                               incident ƌĞǀĞĂůĞĚ
                                                                                          revealed ŵƵůƟƉůĞ
                                                                                                      multiple ĐĞůůcell ĚŽŽƌƐ
                                                                                                                         doors ƵŶƐĞĐƵƌĞĚ͘
                                                                                                                                 unsecured.
 W/Ɛ
 PICs                                                                            ĂŶĚ
                                                                                 and ee                                ǁĞƌĞ   Ăůů
                                                                                                                        ecre all
 ŵĂůŝŶŐĞƌŝŶŐ
 malingering ĂƌŽƵŶĚ
                 around Ă   a ĐĞůů
                               cell ĂŶĚ
                                      and Ă a ƉŚǇƐŝĐĂů
                                              physical ĂůƚĞƌĐĂƟŽŶ
                                                           altercation ĞŶƐƵĞĚ
                                                                         ensued ĂƐ as ƚŚĞǇ
                                                                                       they ĞŶƚĞƌĞĚ
                                                                                              entered ƚŚĞthe ĐĞůů͘
                                                                                                              cell. KĸĐĞƌ
                                                                                                                      Officer
 entered ŝŶƐŝĚĞ
 ĞŶƚĞƌĞĚ    inside ŽĨof ƚŚĞ
                        the ĐĞůů
                              cell ĂŶĚ
                                     and ĞƐĐŽƌƚĞĚ
                                           escorted Ăůů all ƵŶĂƵƚŚŽƌŝǌĞĚ
                                                             unauthorized ŝŶĚŝǀŝĚƵĂůƐ
                                                                              individuals ŽƵƚ͘
                                                                                             out. DŽŵĞŶƚƐ
                                                                                                   Moments ůĂƚĞƌ  later KĸĐĞƌ
                                                                                                                         a,              ™
 opened
 opened PICW/                   ĐĞůů  ĂŶĚ   ƉƌŽĐĞĞĚĞĚ        ƚŽ ĞŶŐĂŐĞ    ŝŶ Ă ƉŚǇƐŝĐĂů   ĂůƚĞƌĐĂƟŽŶ     ǁŝƚŚ
                                 cell and proceeded to engage in a physical altercation with other PICs. Captain  ŽƚŚĞƌ   W/Ɛ͘   ĂƉƚĂŝŶ
                       and KĸĐĞƌ
                       ĂŶĚ   Officer i                             gave ŽƌĚĞƌƐ
                                                                   ŐĂǀĞ   orders ƚŽ
                                                                                  to ƐƚŽƉ
                                                                                      stop ĮŐŚƟŶŐ͕
                                                                                             fighting, ďƵƚ
                                                                                                         but ƚŚĞǇ
                                                                                                              they ƌĞĨƵƐĞĚ
                                                                                                                      refused ƚŽ
                                                                                                                               to ĐŽŵƉůǇ͘
                                                                                                                                   comply.
 KĸĐĞƌ                   ĚĞƉůŽǇĞĚ
                         deployed ĐŚĞŵŝĐĂů
                                         chemical ĂŐĞŶƚ
                                                     agent ĂŶĚ and ĂƉƚĂŝŶ
                                                                    Captain         ME ƵƟůŝǌĞĚ
                                                                                            utilized ƐŽŌ
                                                                                                      soft ŚĂŶĚ
                                                                                                            hand ƚĞĐŚŶŝƋƵĞƐ
                                                                                                                     techniques ŽŶ on W/
                                                                                                                                       PIC
|       ͕ ƐĞƉĂƌĂƟŶŐ
          separating Śŝŵ him ĨƌŽŵ
                               from ƚŚĞ the ŽƚŚĞƌ
                                              other W/Ɛ͘
                                                      PICs.

Brief ^ƵŵŵĂƌǇ
ƌŝĞĨ Summary ŽĨ
              of sŝĚĞŽ
                 Video &ŽŽƚĂŐĞ͗
                       Footage:

KŶ
On &ĞďƌƵĂƌǇ
    February Ϭϱ͕
             05, ϮϬϮϯ͕
                  2023, ƚŚŝƐ
                         this ŝŶǀĞƐƟŐĂƚŽƌ
                               investigator ǀŝĞǁĞĚ
                                             viewed ƚŚĞ
                                                     the ĨŽůůŽǁŝŶŐ
                                                          following ĂŶŐůĞƐ
                                                                     angles ĨƌŽŵ
                                                                             from &ĞďƌƵĂƌǇ
                                                                                  February Ϭϱ͕
                                                                                           05, ϮϬϮϯ͕
                                                                                               2023, Ăƚ
                                                                                                     at
ĂƉƉƌŽǆŝŵĂƚĞůǇ
approximately ϭϳϭϰ
                1714 ŚŽƵƌƐ
                      hours ƚŽto ϭϳϱϬ
                                  1750 ŚŽƵƌƐ͕
                                        hours, ŝŶ
                                                in ZE
                                                   RNDC Ϯ2 hƉƉĞƌ
                                                            Upper ^ŽƵƚŚ
                                                                   South ,ŽƵƐŝŶŐ
                                                                           Housing ƌĞĂ͘
                                                                                   Area.

0)
;Ϳ

(B)


Staff/PIC /ŶũƵƌŝĞƐͬĐĐƵƌĂĐǇ
^ƚĂīͬW/  Injuries/Accuracy ŽĨ
                            of hK&
                               UOF ůĂƐƐŝĮĐĂƟŽŶ͗
                                   Classification:

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
                Injury ƚŽ
                       to /ŶŵĂƚĞ
                          Inmate ZĞƉŽƌƚ͕
                                  Report, &zϮϯ-ϮϵϰϮ͕
                                            FY23-2942, ŐĞŶĞƌĂƚĞĚ
                                                        generated ŽŶ
                                                                   on &ĞďƌƵĂƌǇ
                                                                      February Ϭϱ͕
                                                                                05, ϮϬϮϯ͕
                                                                                     2023, Ăƚ
                                                                                            at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                                approximately
1830 ŚŽƵƌƐ͕
ϭϴϯϬ  hours, W/
               Pic     AE ŚĂĚ bad Ăa ůĂĐĞƌĂƟŽŶ
                                     laceration ƚŽ
                                                to ƚŚĞ
                                                   the ŝŶŶĞƌ
                                                       inner ƐƵƌĨĂĐĞ
                                                             surface ŽĨ
                                                                     of ƵƉƉĞƌ
                                                                        upper ůŝƉ͕
                                                                              lip, ǁŝƚŚ
                                                                                   with ǀŝƐŝďůĞ
                                                                                         visible ŝŶũƵƌŝĞƐ͘
                                                                                                  injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury ƚŽ
                      to /ŶŵĂƚĞ
                         Inmate ZĞƉŽƌƚ͕
                                 Report, &zϮϯ-Ϯϵϰϰ͕
                                          FY23-2944, ŐĞŶĞƌĂƚĞĚ
                                                       generated ŽŶ
                                                                  on &ĞďƌƵĂƌǇ
                                                                      February Ϭϱ͕05, ϮϬϮϯ͕
                                                                                       2023, Ăƚ
                                                                                              at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                                 approximately
ϭϵϰϬ
1940 ŚŽƵƌƐ͘
      hours. W/
               PIC        ǁĂƐ
                          was ŝŶǀŽůǀĞĚ
                              involved ŝŶ
                                        in Ă
                                           a W/
                                             PIC ĮŐŚƚ
                                                 fight ĂŶĚ
                                                       and ĚĞŶŝĞƐ
                                                           denies ĂŶǇ
                                                                   any ŝŶũƵƌŝĞƐ͕
                                                                        injuries, ǁŝƚŚ
                                                                                   with ŶŽ
                                                                                         no ǀŝƐŝďůĞ
                                                                                            visible ŝŶũƵƌŝĞƐ
                                                                                                    injuries ŶŽƚĞĚ͘
                                                                                                             noted.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
              Injury ƚŽ
                     to /ŶŵĂƚĞ
                        Inmate ZĞƉŽƌƚ͕
                                Report, &zϮϯ-Ϯϵϰϯ͕
                                        FY23-2943, ŐĞŶĞƌĂƚĞĚ
                                                    generated ŽŶ
                                                              on &ĞďƌƵĂƌǇ
                                                                  February Ϭϱ͕
                                                                            05, ϮϬϮϯ͕
                                                                                2023, Ăƚ
                                                                                      at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                         approximately
ϮϬϬϬ  ŚŽƵƌƐ͘  W/
2000 hours. Pic      EE was involved in a PIC fight and denies any injuries, with no visible ŝŶũƵƌŝĞƐ
                           ǁĂƐ ŝŶǀŽůǀĞĚ ŝŶ Ă W/ ĮŐŚƚ ĂŶĚ ĚĞŶŝĞƐ ĂŶǇ ŝŶũƵƌŝĞƐ͕ ǁŝƚŚ ŶŽ ǀŝƐŝďůĞ injuries ŶŽƚĞĚ͘
                                                                                                        noted.

 dŚĞƌĞ
 There ǁĞƌĞ
       were ŶŽ
            no ƐƚĂī
               staff ŝŶũƵƌŝĞƐ
                     injuries ƌĞƉŽƌƚĞĚ
                              reported ƚŽ
                                       to K͘
                                          COD.

dŚĞ
The ŝŶũƵƌŝĞƐ
    injuries ƚŽ
              to W/
                 Pic            ǁĞƌĞ
                                were ĐĂƵƐĞĚ
                                     caused ďǇ
                                            by ƚŚĞ
                                               the W/
                                                   PIC ĮŐŚƚ͕
                                                       fight, ĂŶĚ
                                                              and Ă
                                                                  a ƌĞƋƵĞƐƚ
                                                                    request ƚŽ
                                                                            to ĚŽǁŶŐƌĂĚĞ
                                                                               downgrade ƚŚĞ
                                                                                         the ůĂƐƐŝĮĐĂƟŽŶ
                                                                                             Classification
from ĂŶ
ĨƌŽŵ  an 
         A hƐĞ
            Use ŽĨ
                 of &ŽƌĐĞ
                    Force ŝƐ
                          is ŶĞĞĚĞĚ͘
                             needed.

ƌŝĞĨ
Brief ^ƵŵŵĂƌǇ
      Summary ŽĨ
              of ^ƚĂī
                 Staff ĂŶĚ
                       and W/
                           PIC ƐƚĂƚĞŵĞŶƚƐ͗
                               statements:

W/
Pic i” ƌĞĨƵƐĞĚ
       refused ƚŽ
               to ƉƌŽǀŝĚĞ
                  provide Ă
                          a ƐƚĂƚĞŵĞŶƚ
                            statement ƚŽ
                                      to ƚŚĞ
                                         the ĨĂĐŝůŝƚǇ
                                             facility ƌĞŐĂƌĚŝŶŐ
                                                      regarding ƚŚŝƐ
                                                                this ŝŶĐŝĚĞŶƚ͘
                                                                     incident.

W/
PIC       EE      ƌĞĨƵƐĞĚ
                   refused ƚŽ
                           to ƉƌŽǀŝĚĞ
                              provide Ă
                                      a ƐƚĂƚĞŵĞŶƚ
                                        statement ƚŽ
                                                  to ƚŚĞ
                                                     the ĨĂĐŝůŝƚǇ
                                                         facility ƌĞŐĂƌĚŝŶŐ
                                                                  regarding ƚŚŝƐ
                                                                            this ŝŶĐŝĚĞŶƚ͘
                                                                                 incident.




                                                                                                                             Exhibit
                                                                                                                             Exhibit 35
                                                                                                                                     35 at
                                                                                                                                        at 11
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W/
PIC    ME     ƌĞĨƵƐĞĚ
               refused ƚŽ
                       to ƉƌŽǀŝĚĞ
                          provide Ă
                                  a ƐƚĂƚĞŵĞŶƚ
                                    statement ƚŽ
                                              to ƚŚĞ
                                                 the ĨĂĐŝůŝƚǇ
                                                     facility ƌĞŐĂƌĚŝŶŐ
                                                              regarding ƚŚŝƐ
                                                                        this ŝŶĐŝĚĞŶƚ͘
                                                                             incident.

The available ƐƚĂī
dŚĞ ĂǀĂŝůĂďůĞ staff ƌĞƉŽƌƚƐ
                    reports ǁĞƌĞ
                            were ĐŽŶƐŝƐƚĞŶƚ
                                 consistent ǁŝƚŚ
                                            with ǁŚĂƚ
                                                 what ǁĂƐ
                                                      was ƌĞǀŝĞǁĞĚ
                                                          reviewed ŽŶ
                                                                   on ǀŝĚĞŽ
                                                                      video ĞǀŝĚĞŶĐĞ͘
                                                                            evidence.

Unavoidable/Avoidable ĂŶĚ
hŶĂǀŽŝĚĂďůĞͬǀŽŝĚĂďůĞ and &ĂĐŝůŝƚǇ
                          Facility ZĂƉŝĚ
                                   Rapid ZĞǀŝĞǁ͗
                                         Review:

dŚĞ /
The ID ĚĞƚĞƌŵŝŶĞĚ
       determined ƚŚĂƚ
                  that ƚŚŝƐ
                       this ŝŶĐŝĚĞŶƚ
                            incident ǁĂƐ
                                     was ĂǀŽŝĚĂďůĞ͕
                                         avoidable, KĸĐĞƌ
                                                    Officer SE              ǁĂƐ
                                                                            was ŝŶĞĸĐŝĞŶƚ
                                                                                 inefficient ŝŶ
                                                                                             in ŚĞƌ
                                                                                                 her ĚƵƟĞƐ
                                                                                                     duties
ǁŚĞƌĞĂƐ
whereas ƐŚĞ
         she ĨĂŝůĞĚ
               failed ƚŽ
                      to ŵĂŝŶƚĂŝŶ
                         maintain ƚŚĞ
                                    the ƐĂĨĞƚǇ
                                        safety ĂŶĚ
                                               and ƐĞĐƵƌŝƚǇ
                                                   security ŽĨ
                                                            of ŚĞƌ
                                                               her ĂƐƐŝŐŶĞĚ
                                                                   assigned ƉŽƐƚ
                                                                            post ďǇ
                                                                                 by ĂůůŽǁŝŶŐ
                                                                                     allowing ŝŶĚŝǀŝĚƵĂůƐ
                                                                                                individuals ƚŽ
                                                                                                            to
ĞŶƚĞƌ
enter ĂŶĚ
      and Ğǆŝƚ
           exit ŵƵůƟƉůĞ
                 multiple ĐĞůůƐ
                          cells ĨƌĞĞůǇ͘
                                freely.

The Rapid ZĞǀŝĞǁ
dŚĞ ZĂƉŝĚ Review ƐƚĂƚĞĚ
                 stated ƚŚĂƚ
                        that KĸĐĞƌ
                             Officer Sacked     situational ĂǁĂƌĞŶĞƐƐ
                                         ůĂĐŬĞĚ ƐŝƚƵĂƟŽŶĂů  awareness ĂŶĚ
                                                                      and ĂůůŽǁĞĚ
                                                                          allowed W/
                                                                                  PIC
ƚŽ
to Ğǆŝƚ
   exit ŚŝƐ
         his ĐĞůů
             cell ŝŵŵĞĚŝĂƚĞůǇ
                  immediately ĂŌĞƌ
                                after ĂŶ
                                      an ĂůƚĞƌĐĂƟŽŶ
                                          altercation ŝŶƐŝĚĞ
                                                      inside ŽĨ
                                                             of ŚŝƐ
                                                                his ĐĞůů͕
                                                                     cell, ǁŚŝĐŚ
                                                                           which ƌĞƐƵůƚĞĚ
                                                                                  resulted ŝŶ
                                                                                           in Ă
                                                                                              a ƉŚǇƐŝĐĂů
                                                                                                physical ĂůƚĞƌĐĂƟŽŶ
                                                                                                         altercation
ĂŶĚ
and Ăa hƐĞ
        Use ŽĨ
             of &ŽƌĐĞ͘
                 Force. dŚĞ
                        The ĨĂĐŝůŝƚǇ
                            facility ǁŝůů
                                     will ŐĞŶĞƌĂƚĞ
                                          generate Ăa ŽŵŵĂŶĚ
                                                      Command ŝƐĐŝƉůŝŶĞ
                                                                   Discipline ĨŽƌ
                                                                               for KĸĐĞƌ
                                                                                   Officer

ŽŶĐůƵƐŝŽŶ͗
Conclusion: dŚĞ
              The /ID ĚĞƚĞƌŵŝŶĞĚ
                        determined ƚŚĂƚ
                                      that ƚŚĞ
                                            the ĨŽƌĐĞ
                                                 force ƵƐĞĚ
                                                        used ŝŶ
                                                             in ƚŚŝƐ
                                                                this ŝŶĐŝĚĞŶƚ
                                                                     incident ǁĂƐ
                                                                               was ŶĞĐĞƐƐĂƌǇ
                                                                                    necessary ĂŶĚ
                                                                                                and ƉƌŽƉŽƌƟŽŶĂƚĞ
                                                                                                      proportionate ĂŶĚ
                                                                                                                      and
within guidelines set forth by the Use of Force Directive 5006R-D. This Use of Force was avoidable due
ǁŝƚŚŝŶ  ŐƵŝĚĞůŝŶĞƐ    ƐĞƚ ĨŽƌƚŚ  ďǇ ƚŚĞ  hƐĞ  ŽĨ  &ŽƌĐĞ  ŝƌĞĐƟǀĞ   ϱϬϬϲZ-͘   dŚŝƐ hƐĞ  ŽĨ &ŽƌĐĞ   ǁĂƐ  ĂǀŽŝĚĂďůĞ ĚƵĞ
to ůĂĐŬ
ƚŽ lack ŽĨ
        of ƐŝƚƵĂƟŽŶĂů
           situational ĂǁĂƌĞŶĞƐƐ͘
                          awareness. dŚŝƐ
                                        This ĐĂƐĞ
                                              case ŝƐ
                                                    is ƌĞĐŽŵŵĞŶĚĞĚ
                                                       recommended ĨŽƌ  for ĐůŽƐƵƌĞ
                                                                            closure ĂƐ
                                                                                    as ƚŚĞ
                                                                                       the &ĂĐŝůŝƚǇ
                                                                                            Facility ǁŝůů
                                                                                                     will ŐĞŶĞƌĂƚĞ
                                                                                                          generate Ăa
ŽŵŵĂŶĚ
Command ŝƐĐŝƉůŝŶĞ
             Discipline ĨŽƌ
                          for KĸĐĞƌ
                              Officer i. ͘

EŽ
No ĨƵƌƚŚĞƌ
   further ŝŶǀĞƐƟŐĂƟǀĞ
           investigative ĂĐƟŽŶƐ͘
                         actions.




                                                                                                             Exhibit
                                                                                                             Exhibit 35
                                                                                                                     35 at
                                                                                                                        at 2
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^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͕
          injuries, ĐĐƵƌĂĐǇ
                    Accuracy ŽĨ
                             of hK&
                                UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                                    classification:

&ĞďƌƵĂƌǇ
February Ϯϴ͕
           28, ϮϬϮϯ͕
               2023, ƚŚĞ
                       the W/Ɛ
                           PICs ƌĞĐĞŝǀĞĚ
                                  received ƉƌŽŵƉƚ
                                            prompt ŵĞĚŝĐĂů
                                                     medical ĂƩĞŶƟŽŶ
                                                              attention ĂŶĚ
                                                                         and ŚĂĚ
                                                                              had ŶŽ
                                                                                   no ǀŝƐŝďůĞ
                                                                                       visible ŝŶũƵƌŝĞƐ͘ dŚŝƐ ŝŶĐŝĚĞŶƚ
                                                                                               injuries. This incident
ǁĂƐ
was ĐŽƌƌĞĐƚůǇ
     correctly ĐůĂƐƐŝĮĞĚ
                classified ĂƐ
                           as Ăa ΖΖ
                                 'C' hK&
                                     UOF ĂƐ
                                          as ŶŽ
                                             no ŝŶũƵƌŝĞƐ
                                                injuries ǁĞƌĞ
                                                          were ƐƵƐƚĂŝŶĞĚ
                                                                sustained ŝŶ
                                                                           in ƚŚŝƐ
                                                                              this ŝŶĐŝĚĞŶƚ͘
                                                                                   incident.

^ƚĂī
Staff ĂŶĚ
      and W/Ɛ
          PICs ƐƚĂƚĞŵĞŶƚƐ͗
               statements:

W/^
Pics i             ĂŶĚ
                   and GE           ƌĞĨƵƐĞĚ
                                    vefused ƚŽ
                                            to ƉƌŽǀŝĚĞ
                                               provide Ă
                                                       a ƐƚĂƚĞŵĞŶƚ
                                                         statement ƚŽ
                                                                   to ƚŚĞ
                                                                      the ĨĂĐŝůŝƚǇ͘
                                                                          facility.

 KŶ
 On DĂƌĐŚ
     March Ϭϲ͕
             06, ϮϬϮϯ͕
                  2023, /ŶǀĞƐƟŐĂƚŽƌƐ
                           Investigators [in                 ĂŶĚ
                                                             and                  ŝŶƚĞƌǀŝĞǁĞĚ
                                                                                   interviewed W/   PIC           ǁŚŽ
                                                                                                                    who ƐƚĂƚĞĚ
                                                                                                                           stated ƚŚĂƚ
                                                                                                                                    that




                                                                                                   -
 ŚĞ
 he ǁĂƐ  ũƵŵƉĞĚ ĂŶĚ
    was jumped      and ĂƩĂĐŬĞĚ
                           attacked ďǇ by ĂŶ
                                           an ŝŶĚŝǀŝĚƵĂů
                                               individual ĨŽƌ
                                                            for ŶŽ
                                                                 no ƌĞĂƐŽŶ͘     dŚĞ ŝŶĚŝǀŝĚƵĂů
                                                                      reason. The    individual ƚŚƌĞĂƚĞŶĞĚ
                                                                                                     threatened ƚŽto Ŭŝůů
                                                                                                                      kill Śŝŵ͘
                                                                                                                           him. W/
                                                                                                                                  PIC
|     | ƐƵƐƚĂŝŶĞĚ
           sustained ŝŶũƵƌŝĞƐ
                         injuries ƚŽ
                                   to ŚŝƐ
                                       his ĨĂĐĞ
                                            face ĂŶĚ
                                                  and ŶĞĐŬ
                                                        neck ĂƐas Ăa ƌĞƐƵůƚ
                                                                     result ŽĨ
                                                                             of ƚŚŝƐ
                                                                                this ĮŐŚƚ͘
                                                                                      fight. W/
                                                                                              Pic             ĂƩĂĐŚĞĚ
                                                                                                              attached ƚŚĞ the ŽĸĐĞƌ
                                                                                                                                officer
 because he was sprayed with OC by the officer for no reason. me
 ďĞĐĂƵƐĞ   ŚĞ  ǁĂƐ   ƐƉƌĂǇĞĚ     ǁŝƚŚ   K  ďǇ  ƚŚĞ  ŽĸĐĞƌ    ĨŽƌ   ŶŽ  ƌĞĂƐŽŶ͘   W/               also stated that he cant ƐƚĂŶĚ
                                                                                                   ĂůƐŽ  ƐƚĂƚĞĚ  ƚŚĂƚ   ŚĞ  ĐĂŶƚ   stand
 ƚŚĞ
 the ŽĸĐĞƌƐ
     officers ǁŚŽ
               who ĂĐƚact ƚŽƵŐŚ͘
                           tough. W/Pic             ĨĞĞůƐ
                                                     feels ǀĞƌǇ
                                                           very ŝƌƌŝƚĂƚĞĚ
                                                                   irritated ĂŶĚ
                                                                              and ǁĂŶƚƐ
                                                                                    wants ƚŽto Ŭŝůů
                                                                                                kill ŽŶ
                                                                                                      on ŽĨ
                                                                                                         of ƚŚĞ
                                                                                                            the ŽĸĐĞƌƐ
                                                                                                                 officers ĂŶĚ
                                                                                                                            and
 ďĞůŝĞǀĞĚ
 believed ƚŚĂƚ
           that ŚĞ
                 he ƐŚŽƵůĚ
                      should ďĞ be ŝŶ
                                    in ƚŚĞ
                                       the ƐƚƌĞĞƚƐ
                                             streets ĚƵĞ
                                                      due ƚŽto ŚŝƐ
                                                                his ĐŚĂƌŐĞƐ͘
                                                                     charges.

KŶ
On DĂƌĐŚ
    March ϲ͕6, ϮϬϮϯ͕
                2023, /ŶǀĞƐƟŐĂƚŽƌƐ
                       Investigators J”              ĂŶĚ
                                                      and                ŝŶƚĞƌǀŝĞǁĞĚ
                                                                         interviewed W/ PIC           ǁŚŽ
                                                                                                       who ƐƚĂƚĞĚ
                                                                                                            stated ƚŚĂƚ
                                                                                                                    that ŚĞ
                                                                                                                          he
ŐŽƚ
got ŝŶƚŽ
    into ĂŶ
         an ĂƌŐƵŵĞŶƚ
              argument ǁŝƚŚ
                          with ƚŚŝƐ
                                this ^ƉĂŶŝƐŚ
                                      Spanish ĚƵĚĞ
                                               dude ;W/
                                                     (PIC           Ϳ) ĂŶĚ
                                                                       and ŚĞ
                                                                            he ǁĂƐ
                                                                                was ŝŶǀŝƚĞĚ
                                                                                      invited ŝŶƚŽ
                                                                                              into ƚŚĞ
                                                                                                   the ďĂƚŚƌŽŽŵ
                                                                                                       bathroom ĂŶĚand ƚŚĞ
                                                                                                                        the
^ƉĂŶŝƐŚ  ĚƵĚĞ    ƐƚĂƌƚĞĚ  ƚŚĞ ĮŐŚƚ͘
Spanish dude started the fight. Pic   W/           ƐƚĂƚĞĚ  ŚĞ  ǁĂƐ   ŐŽŝŶŐ  ƚŽ Ŭŝůů Śŝŵ͘
                                                    stated he was going to kill him. PIC   W/    EE    ĚĞĨĞŶĚĞĚ
                                                                                                         defended
ŚŝŵƐĞůĨ
himself ĂŶĚ
         and ĨŽƵŐŚƚ
               fought ďĂĐŬ͘
                       back. dŚĞ
                              The ŽĸĐĞƌƐ
                                    officers ƐƉƌĂǇĞĚ
                                             sprayed ďŽƚŚ
                                                       both W/^͘
                                                             PICS.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

The Rapid ZĞǀŝĞǁ
dŚĞ ZĂƉŝĚ Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by ĞƉƵƚǇ
                              Deputy tĂƌĚĞŶ
                                     Warden in                                noted ƚŚĞ
                                                                              ŶŽƚĞĚ    the ŝŶĐŝĚĞŶƚ
                                                                                            incident ǁĂƐ
                                                                                                       was ƵŶĂǀŽŝĚĂďůĞ
                                                                                                             unavoidable ǁŝƚŚ   with ŶŽno
 ƉƌŽĐĞĚƵƌĂů
 procedural ĞƌƌŽƌƐ
                 errors ŝĚĞŶƟĮĞĚ
                          identified Žƌor ĐŽƌƌĞĐƟǀĞ
                                          corrective ĂĐƟŽŶ
                                                        action ƌĞĐŽŵŵĞŶĚĞĚ͘
                                                                  recommended. dŚĞ     The ƌĞŵĂƌŬƐ
                                                                                             remarks ƐƚĂƚĞ
                                                                                                        state ƚŚĂƚ
                                                                                                                that KĸĐĞƌ
                                                                                                                       Officer
|     | ĂŶĚ
          and KĸĐĞƌ
                Officer                         ǁĂƐ
                                                was ŽďƐĞƌǀĞĚ
                                                     observed ĚĞƉůŽǇŝŶŐ
                                                                   deploying ĐŚĞŵŝĐĂů
                                                                                 chemical ĂŐĞŶƚƐ
                                                                                              agents Ăƚ
                                                                                                      at Ăa ĚŝƐƚĂŶĐĞ
                                                                                                            distance ůĞƐƐ less ƚŚĂŶ
                                                                                                                                than ƚŚƌĞĞ
                                                                                                                                       three
 ĨĞĞƚ͘
 feet. ,ŽǁĞǀĞƌ͕
        However, ƚŚĞ  the W/
                           PIC ǁĂƐ
                                was ǀĞƌǇ
                                      very ĂƐƐĂƵůƟǀĞ
                                             assaultive ŽŶon ĐŽŶƟŶƵŽƵƐůǇ
                                                              continuously ƐƉŝƫŶŐspitting ŽŶ
                                                                                           on ƐƚĂī
                                                                                               staff ĂŶĚ
                                                                                                     and ĚŝƐƚĂŶĐĞ
                                                                                                           distance ǁĂƐ was ŶŽƚnot ĂůůŽǁĞĚ
                                                                                                                                     allowed
 ďĞĐĂƵƐĞ
 because ƐƚĂīstaff ǁĂƐ
                    was ŽŶon ƚŚĞ
                              the ŇŽŽƌ
                                   floor ƐƚƌƵŐŐůŝŶŐ
                                          struggling ƚŽto ƌĞƐƚƌĂŝŶ
                                                            restrain ƚŚĞ
                                                                       the W/
                                                                            PIC ĂŶĚ
                                                                                  and ŐĂŝŶ
                                                                                       gain ĐŽŵƉůŝĂŶĐĞ͘
                                                                                             compliance. dŚĞ  The ƌĞŵĂƌŬƐ
                                                                                                                    remarks ĨƵƌƚŚĞƌ
                                                                                                                                 further
 state that Officer J
 state  ƚŚĂƚ   KĸĐĞƌ                was observed with his arm on the PICs neck and face as the PIC continued ƚŽ
                                    ǁĂƐ  ŽďƐĞƌǀĞĚ     ǁŝƚŚ   ŚŝƐ  Ăƌŵ   ŽŶ  ƚŚĞ   W/Ɛ  ŶĞĐŬ   ĂŶĚ  ĨĂĐĞ   ĂƐ  ƚŚĞ  W/   ĐŽŶƟŶƵĞĚ       to
 ƐƉŝƚ
 spit ŽŶ
       on ƐƚĂī
           staff ǁŚŝůĞ
                  while ŽŶon ƚŚĞ
                              the ŇŽŽƌ͘
                                   floor. /ƚ
                                           It ǁĂƐ
                                              was ĂůƐŽ
                                                   also ŶŽƚĞĚ
                                                         noted ƚŚĂƚ
                                                                  that KĸĐĞƌ
                                                                         Officer             ƚŚƌĞǁ
                                                                                             threw ŚŽƵƐŝŶŐ
                                                                                                     housing ĂƌĞĂ area ŬĞǇƐ
                                                                                                                         keys ƚŽto ĂůůŽǁ
                                                                                                                                    allow
 ŽƚŚĞƌ
 other ƐƚĂī
         staff ŽƵƚ
                out ŽĨ
                     of ƚŚĞ
                         the ŚŽƵƐŝŶŐ
                              housing ĂƌĞĂ
                                         area ƚŽto ĂƐƐŝƐƚ
                                                   assist ĂĚ
                                                           ad ƚŚĞ
                                                                the W/
                                                                     PIC ǁĂƐ
                                                                          was ŚŝŐŚůǇ
                                                                                highly ĂƐƐĂƵůƟǀĞ͕
                                                                                         assaultive, ĂŶĚ
                                                                                                       and ƐƚĂī
                                                                                                             staff ŶĞĞĚĞĚ
                                                                                                                    needed ŵŽƌĞ more
 ĂƐƐŝƐƚĂŶĐĞ͘    KĸĐĞƌ
 assistance. Officer JT              ĂůƐŽ
                                     also left the A station door unsecured to help staff who was in need ŽĨ
                                            ůĞŌ  ƚŚĞ   ƐƚĂƟŽŶ     ĚŽŽƌ   ƵŶƐĞĐƵƌĞĚ     ƚŽ  ŚĞůƉ  ƐƚĂī   ǁŚŽ    ǁĂƐ   ŝŶ  ŶĞĞĚ    of
 ĂƐƐŝƐƚĂŶĐĞ͘
 assistance.

ĐŽŶĐůƵƐŝŽŶ
conclusion

Based ŽŶ
ĂƐĞĚ  on ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
               evidence ĂƐ
                         as ĐŝƚĞĚ
                            cited ĂďŽǀĞ͕
                                   above, ŝƚ
                                          it ŝƐ
                                             is ƌĞĐŽŵŵĞŶĚĞĚ
                                                recommended ƚŚĂƚ
                                                            that ƚŚŝƐ
                                                                 this ŝŶĐŝĚĞŶƚ
                                                                      incident ďĞ
                                                                               be ƵƉŐƌĂĚĞĚ
                                                                                  upgraded ƚŽ
                                                                                           to &h>>
                                                                                              FULL /
                                                                                                   ID
investigation ĚƵĞ
ŝŶǀĞƐƟŐĂƟŽŶ    due ƚŽ
                   to ŚĞĂĚ
                      head ƐƚƌŝŬĞƐ͘
                            strikes.




                                                                                                                             Exhibit
                                                                                                                             Exhibit 35
                                                                                                                                     35 at
                                                                                                                                        at 4
          Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 6 of 71




CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for April
                                   April 2023
                                         2023 (ϭϱϯϰͬϮϯ)
                                              (1534/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&͗
                                                UOF: hϭϱϯϰͬϮϯ
                                                     U1534/23

ƌŝĞĨ
Brief /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ
               Summary

KŶ
On DĂƌĐŚ
   March Ϯϲ͕
         26, ϮϬϮϯ
             2023 Ăƚ at ZE͕
                        RNDC, ŝŶ
                               in ŚŽƵƐŝŶŐ
                                  housing ĂƌĞĂ
                                          area Ϯ
                                               2 >ŽǁĞƌ
                                                 Lower ^ŽƵƚŚ
                                                       South Ăƚ
                                                             at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                approximately ϭϬϭϯ
                                                                              1013 ŚŽƵƌƐ͕
                                                                                   hours, ĂƉƚĂŝŶ
                                                                                          Captain
              ͕, ƐĞĐƵƌĞĚ
                 secured W/Ɛ
                          PICs




                                                                 ŝŶ
                                                                 in ƚŚĞ
                                                                    the ĚĂǇƌŽŽŵ
                                                                         dayroom ;             Ϳ͘). hƉŽŶ
                                                                                                     Upon ĂƉƚĂŝŶ
                                                                                                            Captain                ůĞĂǀŝŶŐ
ƚŚĞ
the ĂƌĞĂ
     area ǁŝƚŚ
           with ŽƚŚĞƌ
                   other K
                           DOC ƐƚĂī͕
                                 staff, ƚŚĞ
                                        the W/Ɛ
                                              PICs ďƌŽŬĞ
                                                     broke ƚŚĞ
                                                             the ĚĂǇƌŽŽŵ
                                                                   dayroom ĚŽŽƌ
                                                                              door ǁŝŶĚŽǁ
                                                                                     window ĂůŽŶŐ   along ǁŝƚŚ
                                                                                                           with ƚŚĞ
                                                                                                                  the ΗΗ
                                                                                                                       "C" ŐĂƚĞ
                                                                                                                            gate ǁŝŶĚŽǁ͕
                                                                                                                                   window,
and climbed out of the dayroom ee
ĂŶĚ  ĐůŝŵďĞĚ     ŽƵƚ  ŽĨ  ƚŚĞ  ĚĂǇƌŽŽŵ      ;                                        Ϳ͘ At approximately 1019 hours, several
                                                                                        ƚ  ĂƉƉƌŽǆŝŵĂƚĞůǇ         ϭϬϭϵ   ŚŽƵƌƐ͕    ƐĞǀĞƌĂů
PICs
PICs wĞƌĞ
      were ŽďƐĞƌǀĞĚ
              observed ĂƉƉůǇŝŶŐ
                           applying ƐŽĂƉ
                                       soap Ăƚat ƚŚĞ
                                                  the ƟĞƌ
                                                       tier ĞŶƚƌĂŶĐĞ
                                                             entrance ĂŶĚand ĚĞƐƚƌŽǇŝŶŐ
                                                                              destroying K DOC ƉƌŽƉĞƌƚǇ
                                                                                                       property ;            Ϳ) ƚ
                                                                                                                                At
approximately ϭϬϮϮ
ĂƉƉƌŽǆŝŵĂƚĞůǇ       1022 ŚŽƵƌƐ͕
                           hours, ƐĞǀĞƌĂů
                                    several W/Ɛ
                                               PICs ŽďƐƚƌƵĐƚĞĚ
                                                      obstructed ƐĞǀĞƌĂů
                                                                     several ĐĂŵĞƌ
                                                                              came
7. Ϳ͘ tŚĞŶ
         When ƚŚĞ  the WƌŽďĞ
                        Probe dĞĂŵ
                                Team ƐƚĂī
                                        staff ĞŶƚĞƌĞĚ
                                               entered ƚŚĞ the ŚŽƵƐŝŶŐ
                                                                 housing ĂƌĞĂ͕
                                                                           area, ƚŚĞ
                                                                                  the W/Ɛ
                                                                                        PICs ĂĚǀĂŶĐĞĚ
                                                                                              advanced ƚŽǁĂƌĚ toward ƐƚĂī
                                                                                                                        staff ǁŝƚŚ
                                                                                                                               with
ƉůĞǆŝŐůĂƐƐ͕
plexiglass, Ă a ƚƌĂƐŚ
                 trash ĐĂŶ͕
                        can, ĂŶĚ
                              and ŽƚŚĞƌ
                                    other ƵŶĂƵƚŚŽƌŝǌĞĚ
                                             unauthorized ŽďũĞĐƚƐ͕
                                                                objects, ƐƚƌŝŬŝŶŐ
                                                                          striking ƚŚĞ
                                                                                    the WŽůǇ
                                                                                          Poly ĂƌďŽŶ
                                                                                                   Carbon ƐŚŝĞůĚ
                                                                                                             shield ;[|
a)          Ϳ ŚĞŵŝĐĂů
               Chemical agent was deployed, and staff proceeded into the housing area, Ăƚ
                           ĂŐĞŶƚ   ǁĂƐ   ĚĞƉůŽǇĞĚ͕      ĂŶĚ   ƐƚĂī   ƉƌŽĐĞĞĚĞĚ    ŝŶƚŽ   ƚŚĞ  ŚŽƵƐŝŶŐ      ĂƌĞĂ͕   at ǁŚŝĐŚ
                                                                                                                      which ƟŵĞ͕time, ƚŚĞ
                                                                                                                                      the
W/Ɛ
PICs ǁĞƌĞ
      were ƐĞĐƵƌĞĚ
              secured ĂŶĚand ĞƐĐŽƌƚĞĚ
                              escorted ƚŽ  to ƚŚĞ
                                               the ŝŶƚĂŬĞ
                                                     intake ǁŝƚŚŽƵƚ
                                                              without ĨƵƌƚŚĞƌ
                                                                        further ŝŶĐŝĚĞŶƚ͘
                                                                                  incident.

sŝĚĞŽ
Video ^ƵƌǀĞŝůůĂŶĐĞ
      Surveillance

'ĞŶĞƚĞĐ
Genetec sŝĚĞŽ
        Video ^ƵƌǀĞŝůůĂŶĐĞ
              Surveillance

KŶ
On Ɖƌŝů
    April ϰ͕
           4, ϮϬϮϯ͕
              2023, ƚŚŝƐ
                     this ǁƌŝƚĞƌ
                          writer ǀŝĞǁĞĚ
                                 viewed ƚŚĞ
                                          the ĨŽůůŽǁŝŶŐ
                                               following ĂŶŐůĞƐ
                                                          angles ĨƌŽŵ
                                                                  from DĂƌĐŚ
                                                                         March Ϯϲ͕
                                                                               26, ϮϬϮϯ͕
                                                                                   2023, Ăƚ
                                                                                         at Ϭϵϰϴ
                                                                                            0948 ŚŽƵƌƐ
                                                                                                 hours ƚŽ
                                                                                                       to ϭϮϭϬ
                                                                                                          1210
ŚŽƵƌƐ
hours ŝŶin ZE
           RNDC Ϯ 2 >ŽǁĞƌ
                    Lower ŚŽƵƐŝŶŐ
                            housing ĂƌĞĂ͕
                                     area, ĂŶĚ
                                            and ƚŚĞ
                                                 the ĞƐĐŽƌƚ
                                                      escort ƚŽ
                                                             to ƚŚĞ
                                                                the /ŶƚĂŬĞ͘
                                                                     Intake.

(A)
(A)

(B)
;Ϳ

(C)
(C)

(D)
;Ϳ


(E)
;Ϳ

Body ǁŽƌŶ
ŽĚǇ worn ĐĂŵĞƌĂƐ
          cameras ƌĞǀŝĞǁĞĚ͗
                  reviewed:
(A)
(A)

(B)
;Ϳ

(C)
(C)

(D)
;Ϳ

(E)
;Ϳ

(F)
(F)




                                                                                                                           Exhibit
                                                                                                                           Exhibit 35
                                                                                                                                   35 at
                                                                                                                                      at 5
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(G)

;,Ϳ

(I)

;:Ϳ

;<Ϳ

;>Ϳ

(M)

,ĂŶĚŚĞůĚ ĐĂŵĞƌĂ ǀŝĚĞŽ ƌĞǀŝĞǁĞĚ͗

)
(A)

'ĞŶĞƚĞĐ
Genetec sŝĚĞŽ
         Video ^ƵƌǀĞŝůůĂŶĐĞ͕
                Surveillance, ,ĂŶĚŚĞůĚ
                              Handheld ĂŵĞƌĂ
                                       Camera ǀŝĚĞŽ͕
                                              video, ĂŶĚ
                                                     and ŽĚǇ
                                                         Body tŽƌŶ
                                                              Worn ĂŵĞƌĂ
                                                                   Camera ĨŽŽƚĂŐĞ
                                                                          footage ĚĞƉŝĐƚĞĚ
                                                                                  depicted ƚŚĞ
                                                                                           the
ŝŶĐŝĚĞŶƚ ĂƐ ŶĂƌƌĂƚĞĚ  ĂďŽǀĞ͘
incident as narrated above.

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͕
          injuries, ĐĐƵƌĂĐǇ
                    Accuracy ŽĨ
                             of hK&
                                UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                                    classification:

KŶ
On DĂƌĐŚ
   March Ϯϲ͕
         26, ϮϬϮϯ͕
             2023, W/^
                   PICS


                                                    ƌĞĨƵƐĞĚ
                                                    refused ŵĞĚŝĐĂů
                                                            medical ĂƩĞŶƟŽŶ
                                                                    attention ǁŝƚŚ
                                                                              with ŶŽ
                                                                                   no ǀŝƐŝďůĞ
                                                                                      visible ŝŶũƵƌŝĞƐ͘
                                                                                              injuries.

W/
i                       ƌĞĨƵƐĞĚ
                        refused ŵĞĚŝĐĂů
                                medical ĂƩĞŶƟŽŶ
                                        attention ĂŶĚ
                                                  and ǁĂƐ
                                                      was ŽďƐĞƌǀĞĚ
                                                          observed ǁŝƚŚ
                                                                   with ĞƌǇƚŚĞŵĂ
                                                                        erythema ƚŽ
                                                                                 to ƌĞĂƌ
                                                                                    rear ŽĨ
                                                                                         of ƚŚĞ
                                                                                            the ŶĞĐŬ͘
                                                                                                neck.

W/
Pic            EE           ĞĨƵƐĞĚ
                            cfused ŵĞĚŝĐĂů
                                   medical ĂƩĞŶƟŽŶ
                                           attention ĂŶĚ
                                                     and ǁĂƐ
                                                         was ŽďƐĞƌǀĞĚ
                                                             observed ǁŝƚŚ
                                                                      with ĨĂĐŝĂů
                                                                           facial ĂŶĚ
                                                                                  and ŶĞĐŬ
                                                                                      neck ƌĞĚŶĞƐƐ͘
                                                                                           redness.

W/
Pic                         ƌĞĨƵƐĞĚ
                            refused ŵĞĚŝĐĂů
                                    medical ĂƩĞŶƟŽŶ
                                            attention ĂŶĚ
                                                      and ǁĂƐ
                                                          was ŽďƐĞƌǀĞĚ
                                                              observed ǁŝƚŚ
                                                                       with ĞƌǇƚŚĞŵĂ
                                                                            erythema ƚŽ
                                                                                     to ƚŚĞ
                                                                                        the ĞǇĞƐ͘
                                                                                            eyes.

W/
me     00                      ƌĞĨƵƐĞĚ
                               refused ŵĞĚŝĐĂů
                                       medical ĂƩĞŶƟŽŶ
                                               attention ĂŶĚ
                                                         and ǁĂƐ
                                                             was ŽďƐĞƌǀĞĚ
                                                                 observed ǁŝƚŚ
                                                                          with ĞƌǇƚŚĞŵĂ
                                                                               erythema ƚŽ
                                                                                        to ƌŝŐŚƚ
                                                                                           right ĞǇĞ͘
                                                                                                 eye.

W/
ic                           ƌĞĨƵƐĞĚ
                             refused ŵĞĚŝĐĂů
                                     medical ĂƩĞŶƟŽŶ
                                             attention ĂŶĚ
                                                       and ǁĂƐ
                                                           was ŽďƐĞƌǀĞĚ
                                                               observed ǁŝƚŚ
                                                                        with ĞƌǇƚŚĞŵĂ
                                                                             erythema ŽŶ
                                                                                      on ƚŚĞ
                                                                                         the ŶĞĐŬ͘
                                                                                             neck.

W/
Pic            EE            ƌĞĨƵƐĞĚ
                              refused ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ
                                              attention ĂŶĚ
                                                        and ǁĂƐ
                                                            was ŽďƐĞƌǀĞĚ
                                                                observed ǁŝƚŚ
                                                                         with Ă
                                                                              a ůƵŵƉ
                                                                                lump ƚŽ
                                                                                     to ƚŚĞ
                                                                                        the ƌŝŐŚƚ
                                                                                            right ĨŽƌĞŚĞĂĚ͘
                                                                                                  forehead.

W/
PIC               EE          ƐƵƐƚĂŝŶĞĚ
                              sustained Ă   a ƐƵƉĞƌĮĐŝĂů
                                              superficial ůĂĐĞƌĂƟŽŶƐ
                                                          lacerations ƚŽ
                                                                      to ƚŚĞ
                                                                         the ŶŽƐĞ
                                                                             nose ďƌŝĚŐĞ͕
                                                                                  bridge, ŶƵŵďŶĞƐƐ
                                                                                           numbness ƚŽ  to ŚĂŶĚƐ͕
                                                                                                           hands, ĂŶĚ
                                                                                                                    and
ŽůĚ
old ƐĐĂƌƐ
     scars ƚŽ
            to ůĞŌ
                left ĨŽƌĞĂƌŵ
                     forearm ĂŶĚ
                             and ƌŝŐŚƚ
                                   right ŚĂŶĚ͕
                                          hand, ĞƌǇƚŚĞŵĂ
                                                  erythema ƚŽto ĨĂĐĞͬŶĞĐŬͬƐŚŽƵůĚĞƌƐ
                                                                face/neck/shoulders ĂŶĚ
                                                                                     and ďĂĐŬ͘
                                                                                          back. ĚĚŝƟŽŶĂůůǇ͕
                                                                                                 Additionally, W/
                                                                                                                PIC
BE         ĂůůĞŐĞĚ
            alleged to medical staff that he was beaten up by DOC staff and sprayed. He also stated that ŚĞ
                      ƚŽ ŵĞĚŝĐĂů ƐƚĂī   ƚŚĂƚ  ŚĞ ǁĂƐ   ďĞĂƚĞŶ  ƵƉ ďǇ K  ƐƚĂī ĂŶĚ ƐƉƌĂǇĞĚ͘   ,Ğ  ĂůƐŽ ƐƚĂƚĞĚ  ƚŚĂƚ  he
ǁŝůů
will Ŭŝůů
     kill ŚŝŵƐĞůĨ͘
          himself.

W/
PIC          EE         ƐƵƐƚĂŝŶĞĚ
                        sustained Ă a ůĂĐĞƌĂƟŽŶ
                                      laceration ƚŽ
                                                 to ƚŚĞ
                                                    the ƌŝŐŚƚ-ŚĂŶĚ
                                                        right-hand ϯƌĚ
                                                                   3rd ĂŶĚ
                                                                       and ϰƚŚ
                                                                           4th ĚŝŐŝƚ͕
                                                                               digit, ĂďƌĂƐŝŽŶ
                                                                                      abrasion ƚŽ
                                                                                               to ƚŚĞ
                                                                                                  the ϱƚŚ
                                                                                                       5th ĚŝŐŝƚ
                                                                                                           digit
ůĞŌ  ŚĂŶĚ͕ ĂŶ ĂďƌĂƐŝŽŶ ƚŽ ƚŚĞ ůĞŌ  ƐŚŽƵůĚĞƌ͕   ĂŶĚ ƌĞĚŶĞƐƐ  ƚŽ ƐƚŽŵĂĐŚ ĂŶĚ ĐŚĞƐƚ  ĂƌĞĂ ;hƌŐŝ-ĐĂƌĞ ĨŽƌ ƌĞƉĂŝƌƐͿ͘
left hand, an abrasion to the left shoulder, and redness to stomach and chest area (Urgi-care for repairs).

W/
PIC          EE         ƐƵƐƚĂŝŶĞĚ
                        sustained Ă
                                  a ůĂĐĞƌĂƟŽŶ
                                    laceration ƚŽ
                                               to ůĞŌ
                                                  left ĞůďŽǁ
                                                       elbow ĂŶĚ
                                                             and ƚƌĞĂƚĞĚ
                                                                 treated ǁŝƚŚ
                                                                         with ĞƌŵĂďŽŶĚ͘
                                                                              Dermabond.

dŚĞƌĞ
There ǁĞƌĞ
      were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ͘
                             injuries.

dŚĞ
The hƐĞ
    Use ŽĨ
        of &ŽƌĐĞ
           Force ǁĂƐ
                 was ĐŽƌƌĞĐƚůǇ
                     correctly ĐůĂƐƐŝĮĞĚ
                               classified ĂƐ
                                          as ĂŶ
                                             an ΗΗ
                                                "A" ĚƵĞ
                                                    due ƚŽ
                                                        to ƚŚĞ
                                                           the W/
                                                               PIC ŝŶũƵƌŝĞƐ
                                                                   injuries ƌĞƉŽƌƚĞĚ͘
                                                                            reported.




                                                                                                           Exhibit
                                                                                                           Exhibit 35
                                                                                                                   35 at
                                                                                                                      at 6
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ƌŝĞĨ
Brief ƐƵŵŵĂƌǇ
      summary ŽĨ
              of ^ƚĂī
                 Staff ĂŶĚ
                       and W/
                           PIC ƐƚĂƚĞŵĞŶƚƐ͘
                               statements.

KŶ
On DĂƌĐŚ
   March Ϯϲ͕
         26, ϮϬϮϯ͕
             2023, W/Ɛ
                   PICs




KŶ
On Ɖƌŝů
    April ϯ͕
          3, ϮϬϮϯ͕
             2023, W/
                    ic           ǀĞƌďĂůůǇ
                                 verbally ƐƚĂƚĞĚ
                                          stated ƚŽ
                                                 to ƚŚĞ
                                                    the /͕
                                                        ID, ΗdŚĞǇ
                                                            "They ƚƌŝĞĚ
                                                                  tried ƚŽ
                                                                        to ůŽĐŬ
                                                                           lock ƵƐ
                                                                                us ĚŽǁŶ
                                                                                   down ŽŶ
                                                                                        on ƐŽŵĞ
                                                                                           some ďƵůůƐŚŝƚ͕Η
                                                                                                bullshit,"
ĂŶĚ
and ƌĞĨƵƐĞĚ
     refused ƚŽ
              to ƐĂǇ
                 say ĂŶǇƚŚŝŶŐ
                     anything ŵŽƌĞ͘
                              more.

W/
PIC              ǀĞƌďĂůůǇ
                 verbally ƐƚĂƚĞĚ
                          stated ƚŽ
                                 to ƚŚĞ
                                    the /͕
                                        ID, ΗǀĞƌǇƚŚŝŶŐ
                                            "Everything ǁĂƐ
                                                        was Ă
                                                            a ŵŝƐƵŶĚĞƌƐƚĂŶĚŝŶŐ͘ dŚĂƚΖƐ Ăůů
                                                              misunderstanding. That's all /| ǁĂŶƚ
                                                                                              want ƚŽ
                                                                                                   to ƐĂǇ͘Η
                                                                                                      say." W/Ɛ
                                                                                                            PICs


ƌĞĨƵƐĞĚ
refused ƚŽ
        to ŐŝǀĞ
           give Ă
                a ƐƚĂƚĞŵĞŶƚ
                  statement ƚŽ
                            to ƚŚĞ
                               the /͘
                                   ID.

Pic
W/         verbally ƐƚĂƚĞĚ
            ǀĞƌďĂůůǇ stated ƚŽ
                            to ƚŚĞ
                               the /
                                   ID ƚŚĂƚ͕
                                      that, ΗǀĞƌǇƚŚŝŶŐ
                                            "Everything ǁĂƐ
                                                        was Ăa ŵŝƐƵŶĚĞƌƐƚĂŶĚŝŶŐ͘
                                                               misunderstanding. dŚĂƚΖƐ
                                                                                 That's Ăůů
                                                                                        all /| ǁĂŶƚ
                                                                                               want ƚŽ
                                                                                                    to ƐĂǇΗ
                                                                                                       say"
ĂŶĚ ƌĞĨƵƐĞĚ ƚŽ ƐĂǇ  ĂŶǇƚŚŝŶŐ ŵŽƌĞ͘
and refused to say anything more.

KŶ
On DĂƌĐŚ
   March Ϯϴ͕
         28, Ϯϯ͕
             23, W/
                 ic                      ďĂŝůĞĚ
                                         bailed ŽƵƚ
                                                out ĨƌŽŵ
                                                    from K
                                                         DOC ĐƵƐƚŽĚǇ
                                                             custody ĂŶĚ
                                                                     and /
                                                                         ID ĚŝĚ
                                                                            did ŶŽƚ
                                                                                not ŽďƚĂŝŶ
                                                                                    obtain ĂŶ
                                                                                           an ŝŶƚĞƌǀŝĞǁ͘
                                                                                              interview.




                                                               - -
KŶ
On Ɖƌŝů
    April ϲ͕
          6, ϮϬϮϯ͕
              2023, W/
                    Pic         ME      ƌĞĨƵƐĞĚ
                                         cfused ƚŽ to ŐŝǀĞ
                                                      give Ă
                                                           a ƐƚĂƚĞŵĞŶƚ
                                                             statement ƚŽto ƚŚĞ
                                                                             the /͘
                                                                                 ID. ĚĚŝƟŽŶĂůůǇ͕
                                                                                     Additionally, ŽŶ
                                                                                                   on Ɖƌŝů
                                                                                                       April ϲ͕
                                                                                                              6, ϮϬϮϯ͕
                                                                                                                 2023,
Ăƚ
at ĂƉƉƌŽǆŝŵĂƚĞůǇ
   approximately ϭϰϬϴ
                    1408 ŚŽƵƌƐ
                           hours Ăƚ
                                 at ZE
                                    RNDC Ϯ>^͕
                                           2LS, /Ŷǀ͘
                                                 inv.      TR ĂŶĚ  anc /Ŷǀ͘
                                                                        inv                  ĂƩĞŵƉƚĞĚ
                                                                                             attempted ƚŽto ŐĞƚ
                                                                                                             getaĂ
ƐƚĂƚĞŵĞŶƚ
statement ĨƌŽŵ
             from W/
                   Pic. ͕ ƌĞŐĂƌĚŝŶŐ
                                 regarding ƚŚĞ
                                             the ĂůůĞŐĂƟŽŶ
                                                  allegation ŚĞ
                                                              he ŵĂĚĞ
                                                                 made ƚŽto ŵĞĚŝĐĂů
                                                                            medical ŽŶ
                                                                                     on ϬϯͬϮϲͬϮϯ͕
                                                                                         03/26/23, ƚŚĂƚ
                                                                                                    that ŚĞhe ǁĂƐ
                                                                                                               was
ďĞĂƚĞŶ   ƵƉ  ďǇ  K  ƐƚĂī ĂŶĚ  ƐƉƌĂǇĞĚ͘ ,ŽǁĞǀĞƌ͕
beaten up by DOC staff and sprayed. However, Pic      W/           ƌĞĨƵƐĞĚ
                                                                    refused to give a statement. Therefore, ŚŝƐ
                                                                              ƚŽ ŐŝǀĞ Ă ƐƚĂƚĞŵĞŶƚ͘   dŚĞƌĞĨŽƌĞ͕    his
ĂůůĞŐĂƟŽŶ
allegation ŝƐ
            is ƵŶƐƵďƐƚĂŶƟĂƚĞĚ͘
               unsubstantiated.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

dŚĞ ZĂƉŝĚ
The Rapid ZĞǀŝĞǁ
          Review ǁĂƐ
                 was ĐŽŶĚƵĐƚĞĚ
                     conducted ďǇ
                               by tĂƌĚĞŶ
                                  Warden                                          ͕, ĂŶĚ
                                                                                     and ƚŚĞ
                                                                                          the ĨĂĐŝůŝƚǇ
                                                                                               facility ĚĞĞŵĞĚ
                                                                                                         deemed ƚŚŝƐ
                                                                                                                   this ŝŶĐŝĚĞŶƚ
                                                                                                                         incident
 ĂǀŽŝĚĂďůĞ͕
 avoidable, ƐƚĂƟŶŐ
               stating ƚŚĂƚ
                        that ƐƵƉĞƌǀŝƐŽƌ
                               supervisor ;ĂƉƚĂŝŶ
                                              (Captain eee:                    Ϳ ĨĂŝůĞĚ ƚŽto ĨŽůůŽǁ    dŽƵƌ ŽŵŵĂŶĚĞƌΖƐ
                                                                                              follow Tour    Commander's ŽƌĚĞƌƐorders
 ĂŶĚ
 and ŝŶƐƚƌƵĐƚĞĚ
      instructed ƐƚĂī
                    staff ƚŽ
                           to ĚĞƉĂƌƚ
                               depart ƚŚĞthe ĂƌĞĂ͘
                                              area. dŚĞƌĞĨŽƌĞ͕
                                                      Therefore, Ăa DĞŵŽƌĂŶĚƵŵ
                                                                     Memorandum ŽĨ          of ŽŵƉůĂŝŶƚ
                                                                                               Complaint ;DKͿ
                                                                                                             (MOC) ǁĂƐwas
 ƌĞĐŽŵŵĞŶĚĞĚ͘
 recommended. KŶ     On Ɖƌŝů
                          April ϭϮ͕
                                 12, ϮϬϮϯ͕
                                      2023, /Ŷǀ͘
                                               inv.         ƐƉŽŬĞ
                                                            spoke ǁŝƚŚ
                                                                    with ĞƉƵƚǇ
                                                                           Deputy tĂƌĚĞŶWarden [ne              ǀŝĂ
                                                                                                                via ƚĞůĞƉŚŽŶĞ͕
                                                                                                                    telephone, ĨŽƌ   for
 clarification ŽĨ
 ĐůĂƌŝĮĐĂƟŽŶ     of ƚŚĞ
                    the DK
                         MOC ƌĞĐŽŵŵĞŶĚĞĚ͘
                                 recommended. t        owe ŝŶĨŽƌŵĞĚ
                                                                   informed ƚŚĂƚ that ƚŚĞ
                                                                                        the DK
                                                                                              MOC ǁĂƐwas ŐĞŶĞƌĂƚĞĚ
                                                                                                          generated ĨŽƌ for ĂƉƚĂŝŶ
                                                                                                                            Captain
|      | for ignoring a direct order to lock-in the housing area. Although the MOC was generated, ŝƚ
            ĨŽƌ  ŝŐŶŽƌŝŶŐ    Ă ĚŝƌĞĐƚ  ŽƌĚĞƌ    ƚŽ  ůŽĐŬ-ŝŶ  ƚŚĞ  ŚŽƵƐŝŶŐ    ĂƌĞĂ͘      ůƚŚŽƵŐŚ     ƚŚĞ  DK   ǁĂƐ   ŐĞŶĞƌĂƚĞĚ͕       it ŝƐ
                                                                                                                                          is
 ŶŽƚ
 not ůŝŶŬĞĚ
      linked ƚŽ
              to D^
                  CMS ďĞĐĂƵƐĞ
                         because ŝƚ it ŝƐ
                                       is ŶŽƚ
                                           not ĂƐƐŽĐŝĂƚĞĚ
                                                associated ƚŽ to ƚŚĞ
                                                                 the hƐĞ
                                                                      Use ŽĨof &ŽƌĐĞ
                                                                                 Force ŝŶĐŝĚĞŶƚ͘
                                                                                          incident. ĚĚŝƟŽŶĂůůǇ͕
                                                                                                       Additionally, tDW         ͕,
 ŝŶĨŽƌŵĞĚ
 informed ƚŚŝƐ
             this ǁƌŝƚĞƌ
                   writer ƚŚĂƚ
                            that ƚŚĞ
                                  the DK
                                        MOC ǁĂƐwas ŐĞŶĞƌĂƚĞĚ͕
                                                      generated, ĂŶĚ
                                                                   and ŝƐis ĂǁĂŝƟŶŐ
                                                                            awaiting Ă    a ƌĞƉŽƌƚ
                                                                                             report ĨƌŽŵ
                                                                                                      from ĂƉƚĂŝŶ
                                                                                                            Captain               ĂůŽŶŐ
                                                                                                                                  along
 ǁŝƚŚ  ƚŚĞ  ĂƉƉƌŽǀĂů    ĨƌŽŵ    tĂƌĚĞŶ
 with the approval from Warden Ji                      DK   >ŽŐ  ŶƵŵďĞƌ      ŝƐ
                                                       MOC Log number is pending.ƉĞŶĚŝŶŐ͘

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶon ƚŚĞ
           the ĂďŽǀĞ
                above ĐŝƌĐƵŵƐƚĂŶĐĞƐ͕
                       circumstances, ƚŚŝƐ
                                        this ŝŶĐŝĚĞŶƚ
                                             incident ĚŽĞƐ
                                                       does ŵĞĞƚ
                                                            meet ƚŚĞ
                                                                 the ĐƌŝƚĞƌŝĂ
                                                                     criteria ŽĨ
                                                                              of Ă
                                                                                 a ĨƵůů
                                                                                   full /
                                                                                        ID ŝŶǀĞƐƟŐĂƟŽŶ͕
                                                                                           investigation, ĚƵĞ
                                                                                                          due ƚŽ
                                                                                                              to
ƚŚŝƐ
this ŝŶĐŝĚĞŶƚ
     incident ďĞŝŶŐ
               being ĐůĂƐƐŝĮĞĚ
                     classified ĂƐ
                                as ĂŶ
                                   an ΗΗ
                                      "A" hK&
                                            UOF ŝŶĐŝĚĞŶƚ͘
                                                 incident.




                                                                                                                               Exhibit
                                                                                                                               Exhibit 35
                                                                                                                                       35 at
                                                                                                                                          at 7
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for April
                                   April 2023
                                         2023 (ϭϱϰϰͬϮϯ)
                                              (1544/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hϭϱϰϰͬϮϬϮϯ
                                                U1544/2023

Z/&
BRIEF /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ
               Summary

KŶ
On DĂƌĐŚ
    March Ϯϲ͕26, ϮϬϮϯ͕
                  2023, Ăƚ at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                              approximately ϭϳϬϭ1701 ŚŽƵƌƐ͕
                                                        hours, ǁŝƚŚŝŶ
                                                                within ƚŚĞ
                                                                       the ĐŽŶĮŶĞƐ
                                                                             confines ŽĨ
                                                                                       of 'Zs
                                                                                          GRVC ϭϳ 17A W/
                                                                                                        ic
                                    ǁĂƐ
                                    was ďĞŝŶŐ
                                          being ĚŝƐƌƵƉƟǀĞ
                                                  disruptive ĂŶĚ
                                                               and ĂĚǀĂŶĐĞĚ
                                                                    advanced ƚŽǁĂƌĚƐ
                                                                                towards ƚŚĞ
                                                                                          the ŚŽƵƐŝŶŐ
                                                                                               housing ĂƌĞĂ
                                                                                                          area ĚŽŽƌ
                                                                                                                 door ŝŶin ŽƌĚĞƌ
                                                                                                                           order




            -
ƚŽ
to Ğǆŝƚ
   exit ƚŚĞ
        the ĂƌĞĂ͘
             area. W/
                     PIC              ƉƵƐŚĞĚ
                                      pushed KĸĐĞƌ
                                                 Office          ƚŽ
                                                                 to ƚŚĞ
                                                                    the ƵƉƉĞƌ
                                                                         upper ƚŽƌƐŽ
                                                                                 torso ĂƌĞĂ
                                                                                       area ĂŶĚ
                                                                                             and ĞǆŝƚĞĚ
                                                                                                    exited ƚŚĞ
                                                                                                            the ŚŽƵƐŝŶŐ
                                                                                                                  housing ĂƌĞĂ͘
                                                                                                                            area.
Ɛ
As KĸĐĞƌ
   Officer I        ǁĂƐ
                      was ĂƩĞŵƉƟŶŐ
                            attempting ƚŽto ƉƌĞǀĞŶƚ
                                             prevent               ĨƌŽŵ
                                                                   from ĞǆŝƟŶŐ
                                                                          exiting ƚŚĞ
                                                                                   the ŚŽƵƐŝŶŐ
                                                                                       housing ƵŶŝƚ͕
                                                                                                  unit, ƐŚĞ
                                                                                                        she ĐŽƵůĚ
                                                                                                              could ďĞbe ƐĞĞŶ
                                                                                                                          seen
momentarily grabbing in
ŵŽŵĞŶƚĂƌŝůǇ      ŐƌĂďďŝŶŐ                 by the neck area. Officers JM and
                                          ďǇ  ƚŚĞ  ŶĞĐŬ  ĂƌĞĂ͘  KĸĐĞƌƐ           ĂŶĚ         secured the PIC on the ǁĂůů͕
                                                                                             ƐĞĐƵƌĞĚ     ƚŚĞ  W/  ŽŶ  ƚŚĞ  wall,
ĂŶĚ
and ƚŚĞ
     the W/
          PIC ƉƵůůĞĚ
               pulled ĂǁĂǇ
                         away ďĞĨŽƌĞ
                                before ŚĞ
                                        he ĐĞĂƐĞĚ
                                            ceased ŚŝƐhis ĂŐŐƌĞƐƐŝŽŶ͘
                                                           aggression. Ɛ
                                                                        As KĸĐĞƌ
                                                                            Officer         ǁĂƐ
                                                                                            was ĂƩĞŵƉƟŶŐ
                                                                                                  attempting ƚŽ  to ƌĞƐƚƌĂŝŶ
                                                                                                                     restrain W/
                                                                                                                                PIC
a. ͕ ŚŝƐ     his ĞůďŽǁͬĨŽƌĞĂƌŵ
                  elbow/forearm ŵĂĚĞ  made ĐŽŶƚĂĐƚ
                                              contact ƚŽ0       i        ŚĞĂĚͬĨĂĐŝĂů
                                                                         head/facial ĂƌĞĂ͘
                                                                                       area. W/
                                                                                              Pic               ǁĂƐ
                                                                                                                was ƚŚĞŶ
                                                                                                                      then
ĞƐĐŽƌƚĞĚ   ŽƵƚ  ŽĨ  ƚŚĞ   ĂƌĞĂ͕  ƚĞƌŵŝŶĂƟŶŐ     ƚŚĞ
escorted out of the area, terminating the incident.  ŝŶĐŝĚĞŶƚ͘

sŝĚĞŽ
Video ^ƵƌǀĞŝůůĂŶĐĞ
      Surveillance

KŶ
On DĂƌĐŚ
    March Ϯϳ͕
            27, ϮϬϮϯ͕
                2023, ƚŚŝƐ
                      this ŝŶǀĞƐƟŐĂƚŽƌ
                           investigator ǀŝĞǁĞĚ
                                        viewed ƚŚĞ
                                                the ĨŽůůŽǁŝŶŐ
                                                    following ĨƌŽŵ
                                                              from DĂƌĐŚ
                                                                   March Ϯϲ͕
                                                                         26, ϮϬϮϯ͕
                                                                             2023, Ăƚ
                                                                                   at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                      approximately ϭϲϯϬ
                                                                                                    1630
ŚŽƵƌƐ
hours ƚŽ
       to ϭϴϬϬ
          1800 ŚŽƵƌƐ
                hours ŝŶ
                       in 'Zs
                          GRVC ϭϳ
                                17A ŚŽƵƐŝŶŐ
                                     housing ĂƌĞĂ͘
                                             area.

(A)       as
;Ϳ

t͗

;Ϳ

;Ϳ

;Ϳ

^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ͕
          Injuries, ĐĐƵƌĂĐǇ
                    Accuracy ŽĨ
                             of hK&
                                UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                                    classification:

KŶ
On DĂƌĐŚ
    March Ϯϲ͕
            26, ϮϬϮϯ͕
                2023, W/
                      PIC                ǁĂƐ
                                          was ƐĞĞŶ
                                              seen ŝŶ
                                                    in ƚŚĞ
                                                        the 'Zs
                                                             GRVC ĐůŝŶŝĐ
                                                                   clinic ǁŚĞƌĞ
                                                                          where ŚĞ
                                                                                he ƌĞĨƵƐĞĚ
                                                                                   refused ƚŽ
                                                                                           to ďĞ
                                                                                              be ƚƌĞĂƚĞĚ
                                                                                                 treated ĂŶĚ
                                                                                                         and ŚĂĚ
                                                                                                             had ŶŽ
                                                                                                                 no
serious ŝŶũƵƌǇ͘
ƐĞƌŝŽƵƐ injury. W/
                PI                  was ƌĞƚƵƌŶĞĚ
                                    ǁĂƐ returned ƚŽ
                                                  to ŚŝƐ
                                                      his ŚŽƵƐŝŶŐ
                                                           housing ĂƌĞĂ͘
                                                                   area.

ƌŝĞĨ
Brief ƐƵŵŵĂƌǇ
      summary ŽĨ
              of ^ƚĂī
                 Staff ĂŶĚ
                       and W/
                           PIC ƐƚĂƚĞŵĞŶƚƐ͘
                               statements.

PIC
W/

      .....
ĐŽŵƉůĂŝŶƚ
complaint
ĐŽƌƌĞĐƟŽŶ
               refused ƚŽ
               ƌĞĨƵƐĞĚ

            ŽĸĐĞƌƐ͕
                         to ƉƌŽǀŝĚĞ

                      ƚĂŬĞŶ
                             provide Ăa ƐƚĂƚĞŵĞŶƚ
                               ǁĂƐ
                              ĂĚǀĂŶƚĂŐĞ
                                        statement ƚŽ
                               was ƉůĂĐĞĚ
                                    placed ďǇ
                                          ŽĨ
                                            by W/
                                               Pl
                                             ƉƐǇĐŚ
correction officers, taken advantage of psych meds.
ĂŶĚ
and ƐƚĂī
     staff ƉƵŶĐŚĞĚ
           punched Śŝŵ
                     him ŝŶin ƚŚĞ
                              the ĨĂĐĞ͘
                                  face.
                                                   to ƚŚĞ
                                                      the ĨĂĐŝůŝƚǇ

                                                   ŵĞĚƐ͘
                                                          facility Žƌ
                                                               W/
                                                               PIC
                                                                   or ŵĞĚŝĐĂů
                                                                      medical ƐƚĂī͘

                                                                      ǁĞŶƚ  ŽŶ
                                                                               staff. KŶ
                                                                             ƐƚĂƚĞĚ
                                                                                ƚŽ
                                                                                       On Ɖƌŝů
                                                                             stated ƚŚĂƚ
                                                                                    ƐƚĂƚĞ
                                                                                           April Ϯ͕
                                                                                       that ŚĞ
                                                                                           ƚŚĂƚ ŚĞ
                                                                                                  2, ϮϬϮϯ͕
                                                                                             he ǁĂƐ
                                                                                                     2023, Ăa ϯϭϭ
                                                                                                 was ďĞŝŶŐ
                                                                                                     ǁĞŶƚ
                                                                                                              311
                                                                                                      being ďƌŝďĞĚ
                                                                                                              bribed ďǇ
                                                                                                           ŝŶƚŽ
                                                                      went on to state that he went into the hallƚŚĞ
                                                                                                                      by
                                                                                                                     ŚĂůů


KŶ

ƉƵƐŚĞĚ
ĨĂĐĞ
       .
On Ɖƌŝů
    April ϭϯ͕


pushed ƉĂƐƚ
      ĂŶĚ
           13, ϮϬϮϯ͕
               2023, /ŶǀĞƐƟŐĂƚŽƌƐ
                  ŝŶ
          past KĸĐĞƌ
               Officer
           KĸĐĞƌ
face and Officer
ƐŝŶĐĞ
since ŚĞ
       he ŐŽƚ
           got ŝŶƚŽ
               into ƚŚĞ
                       Investigators
                  in 'Zs͘
                     GRVC. W/
                             PIC


                           ĐŚŽŬĞĚ
                                 ƚŽ
                                 to ŐĞƚ
                                    get Ăŝƌ
                                     Śŝŵ͘
                                         air ŝŶ
                                                ƐƚĂƚĞĚ
                                                stated ƚŚĂƚ
                                              in ƚŚĞ
                                            dŚĞƌĞ
                                                 the ŚĂůů͘
                                                      hall.
                                                     ǁĞƌĞ
                                                            ĂŶĚ
                                                            and
                                                        that ůĂƐƚ


                                                             ϯ
                                                                last ŵŽŶƚŚ


                                                                ŽĸĐĞƌƐ
                                                                      month ŚĞ
                                                                   MM ƐƚĂƚĞĚ
                                                                          ϭ  ŵĂůĞ
                                                                                 ŝŶƚĞƌǀŝĞǁĞĚ
                                                                                 interviewed W/
                                                                              he ǁĂƐ
                                                                                  was ŚĂǀŝŶŐ
                                                                           stated ƚŚĂƚ
                                                                                   ĂŶĚ
                                                                                        having Ă
                                                                                   that KĸĐĞƌ
                                                                                         Officer
                                                                                         Ϯ
                                                                                                 PIC
                                                                                                 a ŵĞŶƚĂů


                                                                                                 -
                                                                                           ĨĞŵĂůĞƐ͘
                                                                                                   mental ďƌĞĂŬĚŽǁŶ͕


                                                                                                       KĸĐĞƌ
                            choked him. There were 3 officers 1 male and 2 females. Officer Ji said that
                     the ŝŶĐŝĚĞŶƚ
                          incident ǁŝƚŚ
                                     with KĸĐĞƌ
                                            Officer i, ͕ ŚĞ     he ǁĂƐŶΖƚ
                                                                     wasn't ŐŽŝŶŐ
                                                                             going ƚŽto ĨĞĞĚ
                                                                                        feed Śŝŵ
                                                                                              him ĞǆƚƌĂ
                                                                                                             breakdown, ĂŶĚ
                                                                                                           ƉƵŶĐŚĞĚ
                                                                                                           punched Śŝŵ


                                                                                                     extra ĐƌĂĐŬĞƌƐ͘
                                                                                                                      him ŝŶ
                                                                                                                     ƐĂŝĚ
                                                                                                            crackers. ǆƚƌĂ
                                                                                                                             and ŚĞ
                                                                                                                            in ƚŚĞ
                                                                                                                           ƚŚĂƚ
                                                                                                                       Extra
                                                                                                                               the
                                                                                                                                   he




ĐƌĂĐŬĞƌƐ
crackers ŶŽƚ
           not ŝŶƐƟƚƵƟŽŶĂů
                institutional ĨŽŽĚ͘
                               food.




                                                                                                                        Exhibit
                                                                                                                        Exhibit 35
                                                                                                                                35 at
                                                                                                                                   at 8
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ǀĂŝůĂďůĞ
Available ƐƚĂī
           staff ƌĞƉŽƌƚƐ
                  reports ǁĞƌĞ
                          were ŶŽƚ
                               not ĐŽŶƐŝƐƚĞŶƚ
                                   consistent ǁŝƚŚ
                                               with ǁŚĂƚ
                                                    what ǁĂƐ
                                                           was ŽďƐĞƌǀĞĚ
                                                                observed ŽŶ
                                                                         on ǀŝĚĞŽ
                                                                            video ĨŽŽƚĂŐĞ͘
                                                                                   footage. K
                                                                                            com” ŶŽƌ  nor K
                                                                                                           CO
BE ŵĂĚĞ nade ŶŽƚĞ
               note ƚŚĂƚ
                     that K
                          coMls Ɛ ĨŽƌĞĂƌŵ
                                     forearm ŵĂĚĞ
                                              made ĐŽŶƚĂĐƚ
                                                     contact ƚŽ
                                                              to W/
                                                                 Pic    as Ɛ ŚĞĂĚͬĨĂĐŝĂů
                                                                                head/facial ĂƌĞĂ
                                                                                            area ĚƵƌŝŶŐ
                                                                                                 during ƚŚĞ
                                                                                                         the
ŝŶĐŝĚĞŶƚ͘
incident.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ĚĞĞŵĞĚ
             deemed ƚŚŝƐ
                       this ŝŶĐŝĚĞŶƚ
                             incident ƵŶĂǀŽŝĚĂďůĞ͕
                                      unavoidable, ĚƵĞ
                                                    due ƚŽ
                                                         to W/
                                                            i        a     ĂŐŐƌĞƐƐŝŽŶ
                                                                            aggression ƚŽǁĂƌĚƐ
                                                                                       towards ƐƉŽŶƚĂŶĞŽƵƐ
                                                                                                spontaneous
ĂĚǀĂŶĐĞŵĞŶƚ    ƚŽǁĂƌĚƐ     ƐƚĂī  ĂŶĚ ƉƵƐŚŝŶŐ  ƉĂƐƚ ƐƚĂī ƚŽ Ğǆŝƚ ƚŚĞ ŚŽƵƐŝŶŐ
advancement towards staff and pushing past staff to exit the housing area. owĂƌĞĂ͘ t     cia ŶŽƚ
                                                                                             ĚŝĚ not ŝĚĞŶƟĨǇ
                                                                                                     identify
ĂŶǇ
any ƉƌŽĐĞĚƵƌĂů
    procedural ŝƐƐƵĞƐ͘
                 issues.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶon ƚŚĞ
            the ĞǀŝĚĞŶĐĞ
                evidence ĂƐas ĐŝƚĞĚ
                              cited ĂďŽǀĞ͕
                                    above, ŝƚ
                                            it ŝƐ
                                               is ƌĞĐŽŵŵĞŶĚĞĚ
                                                  recommended ƚŚĂƚthat ƚŚŝƐ
                                                                       this ĐĂƐĞ
                                                                            case ďĞ
                                                                                  be ƌĞĨĞƌƌĞĚ
                                                                                     referred ƚŽ
                                                                                              to ƚŚĞ
                                                                                                  the &Ƶůů
                                                                                                       Full /
                                                                                                            ID ƚĞĂŵ
                                                                                                               team
ĚƵĞ
due ƚŽ
     to Ăa ďůŽǁ
           blow ƚŽ
                 to ƚŚĞ
                    the ŚĞĂĚ͘
                        head. sŝĚĞŽ
                               Video ĞǀŝĚĞŶĐĞ
                                      evidence ƐŚŽǁƐ
                                                  shows KĸĐĞƌ
                                                          Officer JM ƐƚƌŝŬŝŶŐ
                                                                        striking W/
                                                                                 ici            ƚŽ
                                                                                                to ƚŚĞ
                                                                                                    the ĨĂĐŝĂůͬŚĞĂĚ
                                                                                                         facial/head
ĂƌĞĂ  ǁŝƚŚ  ŚŝƐ ĞůďŽǁ  ĂƐ ƚŚĞ  W/ ǁĂƐ  ƉƵƐŚŝŶŐ    ƉĂƐƚ
area with his elbow as the PIC was pushing past him.    Śim.




                                                                                                         Exhibit
                                                                                                         Exhibit 35
                                                                                                                 35 at
                                                                                                                    at 9
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CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for April
                                   April 2023
                                         2023 (ϭϲϱϲͬϮϯ)
                                              (1656/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF ϭϲϱϲ-23
                                                    1656-23 NIC
                                                            NIC

/ŶĐŝĚĞŶƚ
Incident ^ƵŵŵĂƌǇ
           Summary :͗ KŶ   On Ɖƌŝů
                               April ϭ͕
                                      1, ϮϬϮϯ͕
                                         2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                     approximately ϬϵϬϳ 0907 ŚŽƵƌ
                                                                               hou fie
                                                                     was ďĞŝŶŐ
                                                                     ǁĂƐ  being ĂīŽƌĚĞĚ ďƌĞĂŬĨĂƐƚ
                                                                                             breakfast ae when ŚĞ
                                                                                                          ǁŚĞŶ    he ƚŚƌĞǁ
                                                                                                                     threw ŵŝůŬ
                                                                                                                              milk
ƚŽǁĂƌĚƐ
towards KĸĐĞƌ
           Officer                       ĚĚŝƟŽŶĂů
                                         Additional ƐƚĂīstaff ĂƌƌŝǀĞĚ
                                                               arrived ŝŶ
                                                                        in ƚŚĞ
                                                                           the ĂƌĞĂ͕
                                                                                area, W/
                                                                                       PIC                  was
                                                                                                            was rear-ĐƵīĞĚ
                                                                                                                 rear-cuffed ĨƌŽŵ
                                                                                                                                from
ƚŚĞ  ĐƵĸŶŐ    ƉŽƌƚ͕   ƐƚĂī   ƐĞĂƌĐŚĞĚ    ŚŝƐ ĐĞůů͕  ƚŚĞŶ   ĂƩĞŵƉƚĞĚ
the cuffing port, staff searched his cell, then attempted to place Pl    ƚŽ ƉůĂĐĞ  W/                 ŝŶ
                                                                                                       in  ƚŚĞ
                                                                                                           -
                                                                                                           a    ĂĚũĂĐĞŶƚ  ĐĞůů
                                                                                                                           cell  ĚƵĞ
                                                                                                                                 due
ƚŽ
to ŚŝƐ
   his ĐƵƌƌĞŶƚ
        current ĐĞůů
                  cell ďĞŝŶŐ
                        being ŝŶŽƉĞƌĂďůĞ͘
                                inoperable. W/ae                   ƌĞƐŝƐƚĞĚ
                                                                    resisted KĸĐĞƌƐ
                                                                              Officers                  ĂŶĚ
ĐŽŶƚƌŽů   ŚŽůĚ  ǁŚŝůĞ    ďĞŝŶŐ   ĞƐĐŽƌƚĞĚ   ŝŶƚŽ   ƚŚĞ  ĐĞůů ĂŶĚ   ǁĂƐ  ƚĂŬĞŶ
control hold while being escorted into the cell and was taken down to the roca  ĚŽǁŶ    ƚŽ ƚŚĞ  ŐƌŽƵŶĚ    |ee...                ͘ W/
               ŝƐ
               is ŚĞůĚ
                  held ŽŶ on ƚŚĞ
                             the ŐƌŽƵŶĚ
                                  ground ƵŶƟů
                                            until ƚŚĞ
                                                   the ƉƌŽďĞ
                                                         probe ƚĞĂŵ
                                                                 team ĂƌƌŝǀĞĚ͕
                                                                        arrived, ĂƐƐŝƐƚĞĚ
                                                                                  assisted ƚŽto ŚŝƐ
                                                                                                his ĨĞĞƚ͕
                                                                                                    feet, ĞƐĐŽƌƚĞĚ
                                                                                                            escorted ƚŽto ƚŚĞ
                                                                                                                          the ĐůŝŶŝĐ͕
                                                                                                                                clinic,
ƐĞĞŶ
seen ďǇby ŵĞĚŝĐĂů
           medical ƐƚĂī͕
                      staff, ƚŚĞŶ
                             then ĞƐĐŽƌƚĞĚ
                                    escorted ďĂĐŬ
                                                back ŝŶƚŽ
                                                       into ŚŝƐ
                                                             his ĐĞůů͕
                                                                 cell, ĂŶĚ
                                                                       and ƐĞĐƵƌĞĚ͕
                                                                            secured, ƚĞƌŵŝŶĂƟŶŐ
                                                                                        terminating ƚŚĞthe ŝŶĐŝĚĞŶƚ͘
                                                                                                             incident.

'ĞŶĞƚĞĐ ǀŝĚĞŽ ƐƵƌǀĞŝůůĂŶĐĞ ĂŶŐůĞƐ
ǀŝĞǁĞĚ
viewed ĨƌŽŵ
       from Ϭϴϰϱ
            0845 ŚŽƵƌƐ
                  hours ƚŽ
                        to ϬϵϰϬ
                           0940 ŚŽƵƌƐ
                                hours ŽŶ
                                      on Ɖƌŝů
                                         April ϭ
                                               1 ͕ϮϬϮϯ͕
                                                 ,2023, ĂĐĐƵƌĂƚĞůǇ
                                                        accurately ĚĞƉŝĐƚĞĚ
                                                                   depicted ƚŚĞ
                                                                            the ŝŶĐŝĚĞŶƚ
                                                                                incident ĂƐ
                                                                                         as ŶĂƌƌĂƚĞĚ
                                                                                            narrated
above.
above.

t͗
BWC:




,ĂŶĚŚĞůĚ
Handheld sŝĚĞŽ͗
         Video:




^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͕
          injuries, ƚŚĞ
                    the ĂĐĐƵƌĂĐǇ
                        accuracy ŽĨ
                                 of hK&
                                    UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                                        classification:

W/
Pic            ne           ƌĞĐĞŝǀĞĚ
                            received ƉƌŽŵƉƚ
                                      prompt ŵĞĚŝĐĂů
                                              medical ĂƩĞŶƟŽŶ͕
                                                         attention, ďůĞĞĚŝŶŐ
                                                                     bleeding ĨƌŽŵ
                                                                              from ŶŽƐĞ͕
                                                                                    nose, ƐǁĞůůŝŶŐ
                                                                                          swelling ŽŶ
                                                                                                   on ĨŽƌĞŚĞĂĚ
                                                                                                      forehead
ĂŶĚ
and ŶŽƐĞ͕
    nose, ĨĂĐŝĂů
          facial ĐŽŶƚƵƐŝŽŶ͕
                 contusion, ŶŽƐĞ
                            nose ĐŽŶƚƵƐŝŽŶ͕
                                  contusion, ĂŶĚ
                                             and Ăa ĨĂĐŝĂů
                                                    facial ďŽŶĞ
                                                            bone ǆ-ƌĂǇ
                                                                  x-ray ǁĂƐ
                                                                        was ŽƌĚĞƌĞĚ͘
                                                                             ordered.

EŽ
No ŝŶũƵƌŝĞƐ
     injuries ƚŽ
              to ƐƚĂī
                  staff ǁĞƌĞ
                        were ƌĞƉŽƌƚĞĚ
                              reported ĨŽƌ
                                        for ƚŚŝƐ
                                            this ŝŶĐŝĚĞŶƚ͘
                                                 incident. ,ŽǁĞǀĞƌ͕
                                                             However, ŝƚ
                                                                       it ǁĂƐ
                                                                          was ƌĞƉŽƌƚĞĚ
                                                                               reported ƚŚĂƚ
                                                                                          that W/
                                                                                                PIC
ƐƵƐƚĂŝŶĞĚ
sustained aĂ ĨĂĐŝĂů
               facial ĂŶĚ
                       and ŶŽƐĞ
                           nose ĐŽŶƚƵƐŝŽŶ
                                 contusion ĂŶĚ
                                             and ƉŽƐƚ-ĐŽŶĐƵƐƐŝǀĞ
                                                  post-concussive ƐǇŶĚƌŽŵĞ
                                                                     syndrome ĚƵƌŝŶŐ
                                                                                 during ƚŚŝƐ
                                                                                         this ŝŶĐŝĚĞŶƚ
                                                                                              incident ĂƐ as Ăa ƌĞƐƵůƚ
                                                                                                                result ŽĨ
                                                                                                                        of
ƐƚĂī
staff ƚĂŬŝŶŐ
       taking Śŝŵ
               him ĚŽǁŶ
                     down ƚŽ
                           to ƚŚĞ
                              the ŐƌŽƵŶĚ͘
                                  ground. dŚĞƌĞĨŽƌĞ͕
                                            Therefore, ƚŚŝƐ
                                                         this ŝŶĐŝĚĞŶƚ
                                                              incident ŝƐ
                                                                       is ĂĐĐƵƌĂƚĞůǇ
                                                                          accurately ĐůĂƐƐŝĮĞĚ
                                                                                      classified ĂƐ as ĂŶ
                                                                                                       an ΗΗ
                                                                                                           "A" hƐĞ
                                                                                                                Use ŽĨ
                                                                                                                     of
&ŽƌĐĞ͘
Force.

^ƵŵŵĂƌǇ
Summary ŽĨ
        of ^ƚĂī
           Staff ĂŶĚ
                 and W/
                     PIC ƐƚĂƚĞŵĞŶƚƐ͗
                         statements:

KŶ
On Ɖƌŝů
     April ϭϭ͕
           11, ϮϬϮϯ͕
                2023, /ŶǀĞƐƟŐĂƚŽƌƐ
                       Investigators [in                               ŽĨ
                                                                        of ƚŚĞ
                                                                           the ŝŶǀĞƐƟŐĂƟŽŶ
                                                                               investigation ŝǀŝƐŝŽŶ
                                                                                              Division ŝŶƚĞƌǀŝĞǁĞĚ
                                                                                                        interviewed W/PIC
               Ăƚ
               at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                  approximately ϬϵϬϳ
                                   0907 ŚŽƵƌƐ
                                         hours ŝŶin 'Zs
                                                    GRVC ŚŽƵƐŝŶŐ
                                                           housing ĂƌĞĂ
                                                                    area ϭϭ
                                                                           11A Ğůů
                                                                               Cell ηϮϬ
                                                                                    #20 ǁĞƌĞ
                                                                                         were ŚĞ
                                                                                               he ƌĞĨƵƐĞĚ
                                                                                                   refused ƚŽ
                                                                                                            to ŐŝǀĞ
                                                                                                               give Ăa
ƐƚĂƚĞŵĞŶƚ͘
statement. dŚŝƐ
              This ŝŶĐŝĚĞŶƚ
                    incident ǁĂƐ
                              was ĐĂƉƚƵƌĞĚ
                                   captured ŝŶ
                                             in ŝƚƐ
                                                its ĞŶƟƌĞƚǇ
                                                    entirety ŽŶ
                                                              on 'ĞŶĞƚĞĐ͕
                                                                 Genetec, ,ĂŶĚŚĞůĚ͕
                                                                             Handheld, ĂŶĚ
                                                                                         and t
                                                                                              BWC sŝĚĞŽ͘
                                                                                                    Video. /Ŷ
                                                                                                            In ĂĚĚŝƟŽŶ͕
                                                                                                               addition,
ƐƚĂī   ƌĞƉŽƌƚƐ  ǁĞƌĞ   ĐŽŶƐŝƐƚĞŶƚ  ǁŝƚŚ ƚŚĞ ĞǀĞŶƚƐ   ĐĂƉƚƵƌĞĚ   ŽŶ 'ĞŶĞƚĞĐ͕    ,ĂŶĚŚĞůĚ͕
staff reports were consistent with the events captured on Genetec, Handheld, and BWC Video. ĂŶĚ t    sŝĚĞŽ͘

hŶĂǀŽŝĚĂďůĞͬǀŽŝĚĂďůĞ
Unavoidable/Avoidable ĂŶĚ
                      and &ĂĐŝůŝƚǇ
                          Facility ZĂƉŝĚ
                                   Rapid ZĞǀŝĞǁ͗
                                         Review:

dŚĞ ZĂƉŝĚ
The Rapid ZĞǀŝĞǁ
          Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by t
                              ow iim                           ĚĞƚĞƌŵŝŶĞĚ
                                                               determined ƚŚĂƚ
                                                                          that ƚŚŝƐ
                                                                               this ŝŶĐŝĚĞŶƚ
                                                                                    incident ǁĂƐ
                                                                                             was ƵŶĂǀŽŝĚĂďůĞ͕
                                                                                                 unavoidable, ŶŽ
                                                                                                              no
ƉƌŽĐĞĚƵƌĂů
procedural ĞƌƌŽƌƐ
           errors ǁĞƌĞ
                  were ŝĚĞŶƟĮĞĚ͘
                       identified.




                                                                                                                       Exh
                                                                                                                       Exh bit
                                                                                                                           bit 35
                                                                                                                               35 at
                                                                                                                                  at 10
                                                                                                                                     10
        Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 12 of 71




dŚĞ ŝŶǀĞƐƟŐĂƟŽŶ
The investigation ĚĞƚĞƌŵŝŶĞĚ
                  determined ƚŚĂƚ
                             that ƚŚŝƐ
                                  this ŝŶĐŝĚĞŶƚ
                                       incident ǁŝůů
                                                will ďĞ
                                                     be ƌĞĨĞƌƌĞĚ
                                                        referred ĨŽƌ
                                                                 for ĨƵƌƚŚĞƌ
                                                                     further ŝŶǀĞƐƟŐĂƟŽŶ͘
                                                                             investigation.

ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
               evidence ĂƐ
                         as ĐŝƚĞĚ
                            cited ĂďŽǀĞ͕
                                  above, ŝƚ
                                          it ŝƐ
                                             is ƌĞĐŽŵŵĞŶĚĞĚ
                                                recommended ƚŚĂƚ that ƚŚŝƐ
                                                                      this ĐĂƐĞ
                                                                           case ďĞ
                                                                                 be ƌĞĨĞƌƌĞĚ
                                                                                    referred ĨŽƌ
                                                                                             for ĨƵƌƚŚĞƌ
                                                                                                 further
ŝŶǀĞƐƟŐĂƟŽŶ    ĚƵĞ ƚŽ W/
investigation due to PCE               ƌĞĐĞŝǀŝŶŐ
                                        eceiving a facial injury as a result of staff action during ƚŚŝƐ
                                                   Ă ĨĂĐŝĂů ŝŶũƵƌǇ ĂƐ Ă ƌĞƐƵůƚ ŽĨ ƐƚĂī ĂĐƟŽŶ  ĚƵƌŝŶŐ  this ŝŶĐŝĚĞŶƚ͘
                                                                                                           incident.




                                                                                                      Exh
                                                                                                      Exh bit
                                                                                                          bit 35
                                                                                                              35 at
                                                                                                                 at 11
                                                                                                                    11
           Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 13 of 71




CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for May
                                   May 2023
                                       2023 (UOF
                                            (UOF 1951/23)
                                                 1951/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϭϵϱϭͬϮϯ
                                                       1951/23

&ĂĐŝůŝƚǇ͗
Facility: 'Zs
          GRVC

Synopsis
Synopsis

On Ɖƌŝů
KŶ     April ϭϲ͕16, ϮϬϮϯ͕
                     2023, Ăƚ  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                    approximately ϮϬ͗ϭϮ͗ϯϬ  20:12:30 ŚŽƵƌƐ
                                                                         hours ŽƌƌĞĐƟŽŶ
                                                                                   Correction KĸĐĞƌ  Officer                   TT               entered ƚŚĞ
                                                                                                                                               ĞŶƚĞƌĞĚ     the
'Zs
GRVC ƵŝůĚŝŶŐ
           Building ϭϭ   11 ǀĞƐƟďƵůĞ
                             vestibule ǁŝƚŚ    with W/
                                                      PIC 'ŽŶǌĂůĞǌ͕
                                                            Gonzalez, :ŽƐŚƵĂ
                                                                           Joshua ͬ B/C ϮϭϬϮϮϬϬϱϳϲ
                                                                                             2102200576 Ez^/      NYSID η    # ϬϴϭϮϰϲϬϱ:
                                                                                                                                 08124605J ;i. Ϳ͘ ƚ           At
ϮϬ͗ϭϮ͗ϯϰ
20:12:34 ŚŽƵƌƐ   hours a) Ϳ W/         PIC 'ŽŶǌĂůĞǌ
                                              Gonzalez ǁĂƐ   was ŽďƐĞƌǀĞĚ
                                                                   observed ƉƵƫŶŐ putting ŚŝƐ his ůĞŌ
                                                                                                    left ůĞŐ
                                                                                                          leg ŽƵƚ
                                                                                                                out ŝŶ in ĨƌŽŶƚ
                                                                                                                          front ŽĨ   of Śŝŵ
                                                                                                                                         him ĂŶĚ
                                                                                                                                               and ĚƌŽƉƉŝŶŐ
                                                                                                                                                     dropping
ŚŝƐ    ƌŝŐŚƚ   ůĞŐ   ƚŽ Ă   ďĞŶƚ    ŬŶĞĞ      ůŽǁĞƌŝŶŐ
his right leg to a bent knee lowering his body. coi”        ŚŝƐ  ďŽĚǇ͘    K                  ǁĂƐ
                                                                                               was observed holding PIC Gonzalez ďǇ
                                                                                                      ŽďƐĞƌǀĞĚ         ŚŽůĚŝŶŐ      W/    'ŽŶǌĂůĞǌ     by ŚŝƐ
                                                                                                                                                            his ůĞŌ
                                                                                                                                                                  left
ƵƉƉĞƌ
upper Ăƌŵ͘ arm. ƚ  At ϮϬ͗ϭϮ͗ϯϲ
                        20:12:36 ŚŽƵƌƐ   hours K  coi”                ƉůĂĐĞĚ
                                                                       placed ďŽƚŚ
                                                                                 both ŚŝƐhis ůĞŌ
                                                                                               left ĂŶĚ
                                                                                                     and ƌŝŐŚƚ
                                                                                                             right ĂƌŵƐ
                                                                                                                      arms ĂŶĚ and ŚĂŶĚƐ
                                                                                                                                       hands ĂƌŽƵŶĚ
                                                                                                                                                around W/ PIC
Gonzalez ůĞŌ
'ŽŶǌĂůĞǌ         left Ăƌŵ
                      arm ĂŶĚ and ƐǁƵŶŐ
                                     swung W/    PIC 'ŽŶǌĂůĞǌ
                                                       Gonzalez ĂƌŽƵŶĚaround ƚŽ to ƚŚĞ
                                                                                     the ůĞŌ
                                                                                           left ĂŶĚ
                                                                                                  and ďĂĐŬ
                                                                                                         back ƌĞƐƵůƟŶŐ
                                                                                                                  resulting ŝŶ    in ďŽƚŚ
                                                                                                                                      both K CO                and
                                                                                                                                                                ĂŶĚ
PIC Gonzalez falling to the floor. At 20:12:37 PIC Gonzalez fell to the ground landing face down hitting ŚŝƐ
W/    'ŽŶǌĂůĞǌ       ĨĂůůŝŶŐ    ƚŽ   ƚŚĞ    ŇŽŽƌ͘   ƚ   ϮϬ͗ϭϮ͗ϯϳ      W/  'ŽŶǌĂůĞǌ       ĨĞůů   ƚŽ  ƚŚĞ    ŐƌŽƵŶĚ      ůĂŶĚŝŶŐ       ĨĂĐĞ   ĚŽǁŶ    ŚŝƫŶŐ       his
ĨĂĐĞ
face ŽŶ  on ƚŚĞ
              the ŇŽŽƌ
                    floor ǁŚŝůĞ
                            while ŝŶ   in ƌĞĂƌ
                                           rear ŵĞĐŚĂŶŝĐĂů
                                                   mechanical ƌĞƐƚƌĂŝŶƚƐ͘
                                                                     restraints. ƚ At ϮϬ͗ϭϮ͗ϯϴ
                                                                                        20:12:38 ŚŽƵƌƐ   hours K  coi”                  ƵƟůŝǌĞĚ
                                                                                                                                          utilized ŚŝƐ
                                                                                                                                                    his ƌŝŐŚƚ
                                                                                                                                                         right
forearm ĂŶĚ
ĨŽƌĞĂƌŵ        and ƉůĂĐĞĚ
                      placed ŝƚ  it ŽŶ
                                     on ƚŚĞ
                                          the ďĂĐŬback ŽĨof W/
                                                             PIC 'ŽŶǌĂůĞǌΖƐ
                                                                  Gonzalez's ŶĞĐŬ  neck ǁŚŝůĞ
                                                                                           while ƵƐŝŶŐusing ƚŚĞthe ƌĞƐƚ
                                                                                                                      rest ŽĨof ŚŝƐ
                                                                                                                                  his ƵƉƉĞƌ
                                                                                                                                        upper ƚŽƌƐŽ
                                                                                                                                                 torso ĂƌĞĂ
                                                                                                                                                         area ƚŽto
ůĂǇ
lay ŽŶ on W/
            PIC 'ŽŶǌĂůĞǌΖƐ
                  Gonzalez's ďĂĐŬ͘  back. ;a). Ϳ͘ ƚ       At ϮϬ͗ϭϮ͗ϰϱ
                                                               20:12:45 ŚŽƵƌƐhours K CO                              ǁĂƐ
                                                                                                                       was ŽďƐĞƌǀĞĚ
                                                                                                                              observed ĞǆŝƟŶŐ exiting ƚŚĞ
                                                                                                                                                        the ΗΗ
                                                                                                                                                             "A"
stĂƟŽŶ
station ǁĂůŬŝŶŐ
             walking ƚŽǁĂƌĚƐ
                          towards W/    PIC 'ŽŶǌĂůĞǌ
                                                Gonzalez ĂŶĚ  and K CO                ĂŶĚ
                                                                                        and ŬŶĞĞůŝŶŐ
                                                                                                kneeling ŽŶ    on ƚŚĞ
                                                                                                                    the ŐƌŽƵŶĚ
                                                                                                                          ground ďǇ     by ƚŚĞ
                                                                                                                                            the ŚĞĂĚ
                                                                                                                                                  head ĂƌĞĂ
                                                                                                                                                         area ŽĨ of
W/    'ŽŶǌĂůĞǌ͘       ƚ
PIC Gonzalez. At 20:13:22 [|ϮϬ͗ϭϯ͗ϮϮ        ;             K
                                                          CO                 ǁĂƐ    ŽďƐĞƌǀĞĚ         ĂĚũƵƐƟŶŐ        ŚŝƐ  ƌŝŐŚƚ
                                                                              was observed adjusting his right arm placement moving Ăƌŵ    ƉůĂĐĞŵĞŶƚ       ŵŽǀŝŶŐ
ŝƚit ĨƌŽŵ
     from W/PIC 'ŽŶǌĂůĞǌΖƐ
                   Gonzalez's ŶĞĐŬ   neck ĂƌĞĂ area ƚŽto ƚŚĞ
                                                          the ƵƉƉĞƌ
                                                                upper ďĂĐŬ͘
                                                                          back. ƚAt ƚŚĂƚ
                                                                                      that ƐĂŵĞ
                                                                                              same ƟŵĞ͕ time, K  CO                      ĞŶƚĞƌĞĚ
                                                                                                                                          entered ƚŚĞthe
ǀĞƐƟďƵůĞ
vestibule ĨƌŽŵ   from ƚŚĞthe ϭϭ11A ŚŽƵƐŝŶŐ
                                        housing ĂƌĞĂ area ĂŶĚand ƐƚŽŽĚ
                                                                   stood ĂďŽǀĞ
                                                                            above W/ PIC 'ŽŶǌĂůĞǌ
                                                                                            Gonzalez ĂŶĚ     and KƐa                       ĂŶĚ
                                                                                                                                            and i. ͘ K      co
                  ĞŶƚĞƌƐ     ƚŚĞ    ŚŽƵƐŝŶŐ        ĂƌĞĂ   ĂŶĚ   ǁĂƐ    ŽďƐĞƌǀĞĚ      ŐĞƫŶŐ        ůĞŐ   ƌĞƐƚƌĂŝŶƚƐ
                   enters the housing area and was observed getting leg restraints and placing them on PIC               ĂŶĚ    ƉůĂĐŝŶŐ      ƚŚĞŵ   ŽŶ   W/
'ŽŶǌĂůĞǌ
Gonzalez ϮϬ͗ϭϱ͗ϬϮ20:15:02 ;i. Ϳ͘ W/           PIC 'ŽŶǌĂůĞǌ
                                                    Gonzalez ǁĂƐ  was ŶŽƚnot ŽďƐĞƌǀĞĚ
                                                                               observed ŬŝĐŬŝŶŐ
                                                                                              kicking Žƌ   or ƌĞƐŝƐƟŶŐ
                                                                                                                resisting ŝŶ   in ĂŶǇ
                                                                                                                                   any ŽďǀŝŽƵƐ
                                                                                                                                          obvious ŵĂŶŶĞƌ
                                                                                                                                                     manner
ŽŶĐĞ
once ŽŶ   on ƚŚĞ
               the ŐƌŽƵŶĚ͘
                     ground. ƚ    At ϮϬ͗ϭϱ͗ϯϳ
                                        20:15:37 ŚŽƵƌƐ hours ĂƉƚĂŝŶ
                                                                Captain                          ĂƌƌŝǀĞĚ
                                                                                                 arrived Ăƚ   at ƚŚĞ
                                                                                                                  the ďƵŝůĚŝŶŐ
                                                                                                                         building ϭϭ    11 ǀĞƐƟďƵůĞ
                                                                                                                                            vestibule ǁŚŝůĞ
                                                                                                                                                         while W/ PIC
'ŽŶǌĂůĞǌ
Gonzalez ǁĂƐ     was ƐƟůů
                       still ƐĞĐƵƌĞĚ
                              secured ŽŶ     on ƚŚĞ
                                                  the ŐƌŽƵŶĚ͘
                                                        ground. W/  PIC 'ŽŶǌĂůĞǌ
                                                                          Gonzalez ǁĂƐ  was ĂƐƐŝƐƚĞĚ
                                                                                                assisted ƚŽ   to ŚŝƐ
                                                                                                                   his ĨĞĞƚ
                                                                                                                        feet ĂŶĚand ĞƐĐŽƌƚĞĚ
                                                                                                                                        escorted ƚŽ to ƚŚĞ
                                                                                                                                                        the ĐůŝŶŝĐ
                                                                                                                                                              clinic
ďǇ
by KƐcos                ĂŶĚ
                         and i                     ƐƵƉĞƌǀŝƐĞĚ
                                                   supervised ďǇ    by ĂƉƚĂŝŶ
                                                                        Captain BE             ǁŝƚŚŽƵƚ
                                                                                                without ĨƵƌƚŚĞƌ
                                                                                                              further ŝƐƐƵĞ͕
                                                                                                                           issue, ƚĞƌŵŝŶĂƟŶŐ
                                                                                                                                      terminating ƚŚĞ  the
ŝŶĐŝĚĞŶƚ͘
incident.

Photographic ǀŝĚĞŶĐĞ
WŚŽƚŽŐƌĂƉŚŝĐ Evidence

The ĨĂĐŝůŝƚǇ
dŚĞ facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ĨƌŽŶƚ-ĨĂĐŝŶŐ
                              front-facing ŝŵĂŐĞ
                                           image ŽĨ
                                                 of W/
                                                    PIC 'ŽŶǌĂůĞǌ
                                                        Gonzalez

sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ͗
      evidence:

dŚĞ
The ĨŽůůŽǁŝŶŐ
    following ǀŝĚĞŽ
               video ĞǀŝĚĞŶĐĞ
                      evidence ǁĂƐ
                                was ƌĞǀŝĞǁĞĚ
                                     reviewed ĨƌŽŵ
                                              from Ɖƌŝů
                                                   April ϭϲ͕
                                                         16, ϮϬϮϯ͕
                                                             2023, ĨƌŽŵ
                                                                   from ϮϬϬϬ
                                                                        2000 ŚŽƵƌƐ
                                                                             hours ƚŽ
                                                                                   to ϮϬϯϬ
                                                                                      2030 ŚŽƵƌƐ
                                                                                           hours ĂŶĚ
                                                                                                 and
ĚĞƉŝĐƚĞĚ
depicted ƚŚĞ
          the ŝŶĐŝĚĞŶƚ
              incident ĂƐ
                        as ŶĂƌƌĂƚĞĚ
                           narrated ĂďŽǀĞ͘
                                    above.

The /ŶǀĞƐƟŐĂƚŽƌ
dŚĞ  Investigator ĂŶĚ
                   and ƐƵƉĞƌǀŝƐŽƌ
                       supervisor ǀĞƌŝĮĞĚ
                                   verified ƚŚĂƚ
                                            that ƚŚĞƌĞ
                                                 there ǁĂƐ
                                                       was ŽĚǇ
                                                           Body tŽƌŶ
                                                                Worn ĂŵĞƌĂ
                                                                     Camera ĨŽŽƚĂŐĞ͕
                                                                            footage, ďƵƚ
                                                                                     but ŶŽ
                                                                                         no ŚĂŶĚŚĞůĚ
                                                                                            handheld
ĞǀŝĚĞŶĐĞ
evidence ĂƐƐŽĐŝĂƚĞĚ
           associated ǁŝƚŚ
                       with ƚŚŝƐ
                            this ŝŶĐŝĚĞŶƚ͘
                                 incident.

Facility ĂŶĚ
&ĂĐŝůŝƚǇ and ůŽĐĂƟŽŶ
             location

ŶŐůĞƐ͗
Angles:




                                                                                                                                                  Exh
                                                                                                                                                  Exh bit
                                                                                                                                                      bit 35
                                                                                                                                                          35 at
                                                                                                                                                             at 12
                                                                                                                                                                12
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5
ŶŐůĞƐ

ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ͗
          Camera:




,ĂŶĚŚĞůĚ
Handheld ĂŵĞƌĂ͗
         Camera:

Eͬ
N/A

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ
          injuries

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ͕
                    Report, &zϮϯͬϭϬϰϴ
                              FY23/1048 ŶŽƚĞĚ
                                            noted ŽŶon Ɖƌŝů
                                                       April ϭϲ͕
                                                              16, ϮϬϮϯ͕
                                                                   2023, Ăƚat ϮϬϯϬ
                                                                              2030 ŚŽƵƌƐ͕
                                                                                    hours, W/
                                                                                           PIC 'ŽŶǌĂůĞǌ
                                                                                               Gonzalez ǁĂƐ
                                                                                                          was ƉƌŽĚƵĐĞĚ
                                                                                                               produced
ĨŽƌ
for ƉƌŽŵƉƚ
    prompt ŵĞĚŝĐĂů
              medical ĂƩĞŶƟŽŶ͘
                        attention. /ŶũƵƌǇ
                                    Injury ƚŽto /ŶŵĂƚĞ
                                                 Inmate ZĞƉŽƌƚ
                                                         Report ƐƚĂƚĞƐ
                                                                  states ƚŚĂƚ
                                                                          that W/
                                                                                PIC 'ŽŶǌĂůĞǌ
                                                                                    Gonzalez ǁĂƐ
                                                                                              was ŝŶǀŽůǀĞĚ
                                                                                                   involved ŝŶ
                                                                                                             in Ă
                                                                                                                a hƐĞ
                                                                                                                  Use ŽĨ
                                                                                                                       of
Force ǁŝƚŚ
&ŽƌĐĞ  with K
             DOC ƐƚĂī
                   staff ŝŶ
                         in 'Zs
                            GRVC ŝŶƐŝĚĞ
                                   inside ŽĨof ƚŚĞ
                                                the ϭϭ
                                                    11 
                                                       A ǀĞƐƟďƵůĞ͘
                                                          vestibule. W/
                                                                       PIC 'ŽŶǌĂůĞǌ
                                                                            Gonzalez ǁĂƐ
                                                                                       was ĂŵďƵůĂƚŽƌǇ
                                                                                           ambulatory ǁŝƚŚ
                                                                                                        with Ăa ƐƵƉĞƌĮĐŝĂů
                                                                                                                superficial
ĂďƌĂƐŝŽŶ   ŽŶ  ƚŚĞ ƵƉƉĞƌ   ĂŶĚ  ůŽǁĞƌ   ůŝƉ͕  ŶŽ  ĞĚĞŵĂ͕   ĂŶĚ  ŶŽ  ĂĐƟǀĞ
abrasion on the upper and lower lip, no edema, and no active bleeding.       ďůĞĞĚŝŶŐ͘

There ǁĞƌĞ
dŚĞƌĞ were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

dŚŝƐ ŝŶĐŝĚĞŶƚ
This incident ǁĂƐ
              was ĐŽƌƌĞĐƚůǇ
                  correctly ĐůĂƐƐŝĮĞĚ
                            classified ĂƐ
                                       as Ă
                                          a ΗΗ
                                            '"B" hK&
                                                 UOF ĚƵĞ
                                                     due ƚŽ
                                                         to W/
                                                            PIC ŝŶũƵƌŝĞƐ͘
                                                                injuries.

A ďƌŝĞĨ
 brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͘
                       statements.

W/
PIC 'ŽŶǌĂůĞǌ
    Gonzalez ƌĞĨƵƐĞĚ
             refused ƚŽ
                     to ƉƌŽǀŝĚĞ
                        provide Ă
                                a ƐƚĂƚĞŵĞŶƚ
                                  statement ƚŽ
                                            to ƚŚĞ
                                               the ĨĂĐŝůŝƚǇ͘
                                                   facility.

KŶ
On Ɖƌŝů
   April ϭϵ͕
         19, ϮϬϮϯ͕
             2023, Ăƚ
                    at ϭϵϰϭ
                       1941 ŚŽƵƌƐ͕
                             hours, K
                                    DOC ^ĞƌǀŝĐĞ
                                          Service ĞƐŬ
                                                  Desk ŶŽƟĮĞĚ
                                                       notified /
                                                                ID ŽĨ
                                                                   of ƚŚĞ
                                                                      the ĨŽůůŽǁŝŶŐ
                                                                          following ĂůůĞŐĂƟŽŶ
                                                                                    allegation ;dĂƐŬ
                                                                                               (Task /
                                                                                                     ID
191561) ŵĂĚĞ
ϭϵϭϱϲϭͿ  made ƚŽto ϯϭϭ
                   311 ĐŽŶƐƟƚƵĞŶƚ
                        constituent ƐĞƌǀŝĐĞƐ͗
                                    services:

on Ɖƌŝů
ŽŶ  April ϭϲƚŚ
           16th ĂŌĞƌ
                 after ĐŽŵŝŶŐ
                       coming ĨƌŽŵ
                                from ŐĞƫŶŐ
                                       getting ŵǇmy ŵĞĚŝĐŝŶĞ͕
                                                     medicine, /| ĂƐŬĞĚ
                                                                  asked Ăa ͘K͘
                                                                           C.O. ŝĨ
                                                                                 if /| ĐĂŶ
                                                                                       can ƚĂŬĞ
                                                                                           take Ăa ƐŚŽǁĞƌ͕
                                                                                                   shower, ŚĞ
                                                                                                            he ƐƚĂƚĞĚ
                                                                                                                stated ŚĞhe
didn't ŬŶŽǁ
ĚŝĚŶΖƚ   know ĂŶǇƚŚŝŶŐ
                anything ĂďŽƵƚ
                          about ƚŚĂƚ
                                  that ĂŶĚ
                                        and ǁŚŝůĞ
                                             while /| ǁĂƐ
                                                      was ŚĂŶĚĐƵīĞĚ
                                                           handcuffed ŚĞ he ƐůĂŵŵĞĚ
                                                                            slammed ŵĞ    me ŽŶon ŵǇ
                                                                                                  my ĨĂĐĞ
                                                                                                      face ĂŶĚ
                                                                                                           and ƚǁŝƐƚĞĚ
                                                                                                                twisted ŵǇ  my
Ăƌŵ
arm ƐŚĂƩĞƌŝŶŐ
      shattering ŵǇmy ƚĞĞƚŚ
                       teeth ĨŽƌ
                             for ŶŽ
                                  no ƌĞĂƐŽŶ͕
                                      reason, ŶŽno ĚŝƐƉŽƐŝƟŽŶ
                                                    disposition ǁĂƐ
                                                                 was ŚĞůĚ
                                                                      held ǁŚĞŶ
                                                                            when ŚĞ  he ǁĂƐ
                                                                                         was ƚŚĞ
                                                                                              the ŽŶĞ
                                                                                                   one ǁŚŽ
                                                                                                        who ƵƐĞĚ
                                                                                                             used ĞǆƚƌĂ
                                                                                                                    extra
ĨŽƌĐĞ
force ĂŶĚ
       and /| ĂůƐŽ
              also ƌĞĐĞŝǀĞĚ
                    received ϳ
                             7 ĞǆƚƌĂ
                                extra ĚĂǇƐ
                                       days ŝŶ
                                             in ŵǇ
                                                 my ƉƌŽŐƌĂŵ
                                                     program ǁŚĞŶ
                                                               when /| ǁĂƐ
                                                                        was ƚŚĞ
                                                                             the ŽŶĞ
                                                                                  one ŝŶũƵƌĞĚ͘
                                                                                         injured.

^ĞĐƵƌƵƐ
Securus ZĞǀŝĞǁ͗
        Review:

/ŶǀĞƐƟŐĂƚŽƌ
Investigator [MM        ĐŽŶĚƵĐƚĞĚ
                        conducted Ă a ƌĞǀŝĞǁ
                                      review ŽĨ
                                              of ^ĞĐƵƌƵƐ
                                                 Securus ĐĂůůƐ
                                                         calls ŵĂĚĞ
                                                               made ƚŽ
                                                                    to ϯϭϭ
                                                                       311 ƵƐŝŶŐ
                                                                           using W/
                                                                                 PIC 'ŽŶǌĂůĞƐ
                                                                                     Gonzales W/E
                                                                                              PIN η
                                                                                                  # ŽŶ
                                                                                                    on
Ɖƌŝů
April ϭϵ͕
      19, ϮϬϮϯ
          2023 ĂŶĚ
               and ĨŽƵŶĚ
                   found ƚŚĞ
                         the ĨŽůůŽǁŝŶŐ
                             following ƉĞƌƟŶĞŶƚ
                                        pertinent ĐĂůů͘
                                                   call.

ĂƚĞ͗
Date: Ɖƌŝů
      April ϭϵ͕
            19, ϮϬϮϯ
                2023

&ĂĐŝůŝƚǇ͗
Facility: 'Zs
          GRVC

WŽƌƚ
Port >ŽĐĂƟŽŶ͗
     Location: ůĚ
               Bld ϭϭ
                   11A Z
                       R hƉƉƌ
                         Uppr

Number ŝĂůĞĚ͗
EƵŵďĞƌ Dialed: ϮϭϮ-639-ϵϲϳϱ
               212-639-9675

Pin EƵŵďĞƌ
WŝŶ Number hƐĞĚ͗
           Used: ϳϱϯϴϱϮ
                 753852

Time: 1931 ŚŽƵƌƐ
dŝŵĞ͗ ϭϵϯϭ hours ƚŽ
                 to ϭϵ͗ϯϳ
                    19:37 ŚŽƵƌƐ
                          hours

^ĞĐƵƌƵƐ
Securus ƐǇŶŽƉƐŝƐ͗
        synopsis:




                                                                                                                Exh
                                                                                                                Exh bit
                                                                                                                    bit 35
                                                                                                                        35 at
                                                                                                                           at 13
                                                                                                                              13
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Η/
 "| ǁĂŶƚ
    want ƚŽto ŵĂŬĞ
               make Ă a ĐŽŵƉůĂŝŶƚ
                         complaint ĂŐĂŝŶƐƚ
                                        against ZŝŬĞƌƐ
                                                   Rikers /ƐůĂŶĚ
                                                              Island ƐƚĂī͕
                                                                       staff, /| ǁĂƐ
                                                                                 was ƐůĂŵŵĞĚ
                                                                                      slammed ŽŶ   on ŵǇmy ĨĂĐĞ
                                                                                                             face ŽŶ
                                                                                                                   on ^ƵŶĚĂǇ͘
                                                                                                                        Sunday. /| ĚŽdo ŶĞĞĚ
                                                                                                                                         need
ŵĞĚŝĐĂů
 medical ĂƩĞŶƟŽŶ͕
            attention, ƚŚŝƐ
                          this ŚĂƉƉĞŶĞĚ
                                happened ^ƵŶĚĂǇ͘Sunday. /ΖǀĞI've ďĞĞŶ
                                                                  been ƌĞĐĞŝǀŝŶŐ
                                                                           receiving ŵĞĚŝĐĂů
                                                                                        medical ĂƩĞŶƟŽŶ͕
                                                                                                  attention, ďƵƚ but ƚŚĞǇ
                                                                                                                      they ƐĂŝĚ
                                                                                                                              said ƚŚĞǇ
                                                                                                                                    they ƉƵƚ
                                                                                                                                           put
 me on to see a dentist my teeth are shattered. Yes, | was treated already for that. My book and case
ŵĞ    ŽŶ  ƚŽ  ƐĞĞ Ă  ĚĞŶƟƐƚ     ŵǇ   ƚĞĞƚŚ    ĂƌĞ  ƐŚĂƩĞƌĞĚ͘       zĞƐ͕   / ǁĂƐ   ƚƌĞĂƚĞĚ   ĂůƌĞĂĚǇ    ĨŽƌ  ƚŚĂƚ͘  DǇ    ďŽŽŬ   ĂŶĚ    ĐĂƐĞ
ŶƵŵďĞƌ
 number ŝƐ  is ϮϭϬϮϮϬϬϱϳϲ͕
               2102200576, /Ζŵ    I'm ŝŶ
                                       in 'Zs
                                           GRVC ŚŽƵƐŝŶŐ
                                                    housing ĂƌĞĂ area ϭϭ͘
                                                                        11A. /| ǁĂƐ
                                                                                 was ƐůĂŵŵĞĚ
                                                                                      slammed ŽŶ   on ŵǇmy ĨĂĐĞ
                                                                                                             face ďǇby Ăa ĐŽƌƌĞĐƟŽŶ
                                                                                                                           correction ŽĸĐĞƌ
                                                                                                                                         officer
and ŵǇ
ĂŶĚ    my ƚĞĞƚŚ
           teeth ĂƌĞ
                   are ƐŚĂƩĞƌĞĚ͘
                        shattered. /ΖǀĞ  I've ƐĞĞŶ
                                               seen Ăa ƌ͘
                                                         Dr. ďƵƚ
                                                               but ƚŚĞǇ
                                                                    they ƚŽůĚ
                                                                            told ŵĞ
                                                                                  me ŝůů
                                                                                      ill ŚĂǀĞ
                                                                                          have ƚŽ
                                                                                                to ŐĞƚ
                                                                                                    get ŵǇmy ƚĞĞƚŚ
                                                                                                               teeth ƌĞŵŽǀĞĚ͘
                                                                                                                       removed. /| ǁĂƐ was
slĂŵŵĞĚ
slammed ŽŶ    on ŵǇ
                  my ĨĂĐĞ
                      face ďĞĐĂƵƐĞ
                              because /| ǁĂŶƚĞĚ
                                            wanted ƚŽ  to ƚĂŬĞ
                                                            take Ă a ƐŚŽǁĞƌ͘
                                                                     shower. /| ĚŝĚŶΖƚ
                                                                                   didn't ƌĞĐĞŝǀĞ
                                                                                            receive Ă a ƟĐŬĞƚ
                                                                                                         ticket Žƌ
                                                                                                                 or ŶŽƚŚŝŶŐ
                                                                                                                     nothing ĨŽƌ for ŝƚ
                                                                                                                                     it ďĞĐĂƵƐĞ
                                                                                                                                        because
/| ǁĂƐŶΖƚ
   wasn't ŝŶin ƚŚĞ
               the ǁƌŽŶŐ͕
                    wrong, ƚŚĞ the ŽƌƌĞĐƟŽŶ
                                     Correction KĸĐĞƌOfficer ǁĂƐwas ŝŶin ƚŚĞ
                                                                          the ǁƌŽŶŐ͘
                                                                                wrong. dŚĞǇ
                                                                                          They ĚŝĚŶΖƚ
                                                                                                didn't ǁĂŶƚ
                                                                                                          want ŵĞ me ƚŽ
                                                                                                                      to ƚĂŬĞ
                                                                                                                           take Ă a ƐŚŽǁĞƌ͕
                                                                                                                                    shower, ƐŽ so
they slammed me on my face while | was handcuffed. | was handcuffed while they did it."
ƚŚĞǇ    ƐůĂŵŵĞĚ     ŵĞ   ŽŶ   ŵǇ   ĨĂĐĞ   ǁŚŝůĞ   / ǁĂƐ    ŚĂŶĚĐƵīĞĚ͘         / ǁĂƐ  ŚĂŶĚĐƵīĞĚ       ǁŚŝůĞ    ƚŚĞǇ   ĚŝĚ  ŝƚ͘Η

ĚĚŝƟŽŶĂůůǇ͕
Additionally, ƐĞǀĞƌĂů
              several ĐĂůůƐ
                      calls ǁĞƌĞ
                            were ŵĂĚĞ
                                 made ƚŽ
                                      to ϯϭϭ
                                         311 ŝŶ
                                             in ƌĞĨĞƌĞŶĐĞ
                                                reference ƚŽ
                                                          to W/
                                                             PIC 'ŽŶǌĂůĞǌ
                                                                 Gonzalez ĂůůĞŐŝŶŐ
                                                                          =                                                      ss



W/
PIC /ŶƚĞƌǀŝĞǁ͗
    Interview:

On Ɖƌŝů
KŶ  April Ϯϲ͕
          26, ϮϬϮϯ͕
               2023, Ăƚ
                      at Ϭϵ͗Ϭϭ
                         09:01 ŚŽƵƌƐ
                                hours ŝŶ
                                      in ƚŚĞ
                                         the 'Zs
                                              GRVC ϭϭ
                                                    11A ŚŽƵƐŝŶŐ
                                                        housing ĂƌĞĂ͕
                                                                 area ian
EE                        ŝŶƚĞƌǀŝĞǁĞĚ
                           terviewed W/
                                       PIC 'ŽŶǌĂůĞǌ
                                            Gonzalez ǁŚŽ
                                                     who ƉƌŽǀŝĚĞĚ
                                                          provided Ă a ǀŽůƵŶƚĂƌǇ
                                                                       voluntary ƐƚĂƚĞŵĞŶƚ͕
                                                                                 statement, ĂŶĚ
                                                                                            and Ă
                                                                                                a ,/W
                                                                                                  HIPAA
ŵĞĚŝĐĂů
medical ƌĞůĞĂƐĞ
          release ĨŽƌŵ͘
                   form.

W/
PIC 'ŽŶǌĂůĞǌ
     Gonzalez ǀĞƌďĂůůǇ
                 verbally ƐƚĂƚĞĚ
                             stated ƚŽto /ŶǀĞƐƟŐĂƚŽƌƐ
                                           Investigators ƚŚĂƚthat ΗĂ"a ůŝŐŚƚ-ƐŬŝŶŶĞĚ
                                                                        light-skinned ŽĸĐĞƌofficer ĐĂŵĞ
                                                                                                      came ƚŽ to ƚĂŬĞ
                                                                                                                  take Śŝŵ
                                                                                                                        him ĨŽƌfor Kd
                                                                                                                                    DOT
;ŵĞĚŝĐĂƟŽŶͿ
(medication) at around 1930 hours. PIC Gonzalez asked the Officer if he could take a shower. The KĸĐĞƌ
                 Ăƚ ĂƌŽƵŶĚ     ϭϵϯϬ    ŚŽƵƌƐ͘    W/  'ŽŶǌĂůĞǌ      ĂƐŬĞĚ     ƚŚĞ   KĸĐĞƌ    ŝĨ  ŚĞ  ĐŽƵůĚ   ƚĂŬĞ   Ă ƐŚŽǁĞƌ͘      dŚĞ  Officer
ƌĞƉůŝĞĚ
replied /| ĚŽŶΖƚ
           don't ŬŶŽǁ
                   know ĂŶǇƚŚŝŶŐ
                           anything ĂďŽƵƚ
                                        about ƚŚĂƚ͘
                                                 that. ƐAs ŚĞhe ǁĂƐ
                                                                  was ďĞŝŶŐ
                                                                         being ĞƐĐŽƌƚĞĚ
                                                                                  escorted ŽƵƚout ĨŽƌfor ŵĞĚŝĐĂƟŽŶ
                                                                                                         medication W/   PIC 'ŽŶǌĂůĞǌ
                                                                                                                                Gonzalez
ůĞĂŶĞĚ
leaned ƚŽǁĂƌĚƐ
         towards ƚŚĞ the ΗΗ
                          "A" ƐƚĂƟŽŶ
                               station ǁŝŶĚŽǁ
                                           window ƚŽ  to ĂƐŬ
                                                           ask ƚŚĞ
                                                                the ŽĸĐĞƌ
                                                                      officer ŝĨif ŚĞ
                                                                                   he ĐŽƵůĚ
                                                                                       could ƚĂŬĞ
                                                                                                take Ă a ƐŚŽǁĞƌ͕
                                                                                                         shower, ƚŚĂƚthat ŝƐis ǁŚĞŶ
                                                                                                                               when ŚĞ he ǁĂƐ
                                                                                                                                           was
ƐůĂŵŵĞĚ     ƚŽ  ƚŚĞ  ŇŽŽƌ    ŽŶ  ŚŝƐ ĨĂĐĞ    ĂŶĚ   ĨĞůƚ ůŝŬĞ  ŚŝƐ  ƚĞĞƚŚ    ǁĞƌĞ    ƐŚĂƩĞƌĞĚ͘       W/  'ŽŶǌĂůĞǌ
slammed to the floor on his face and felt like his teeth were shattered. PIC Gonzalez explained that after            ĞǆƉůĂŝŶĞĚ      ƚŚĂƚ  ĂŌer
ŚĞ
he ǁĂƐ
    was ƐůĂŵŵĞĚ
         slammed ŽŶ    on ƚŚĞ
                           the ŇŽŽƌ
                                floor ƚŚĞ
                                        the ŽĸĐĞƌ
                                              officer ĐŽŶƟŶƵĞĚ
                                                        continued ƚŽ   to ŚŽůĚ
                                                                            hold Śŝŵ
                                                                                   him ĚŽǁŶ͘
                                                                                        down. ůƐŽ͕Also, W/
                                                                                                          PIC ƐƚĂƚĞĚ
                                                                                                                stated ƚŚĂƚ
                                                                                                                         that ŚĞhe ƚŽůĚ
                                                                                                                                    told ƚŚĞ
                                                                                                                                          the
ŽĐƚŽƌ
Doctor ƚŚĂƚ
         that ŚŝƐ
               his ƚĞĞƚŚ
                    teeth ǁĞƌĞ
                            were ƐŚĂƩĞƌĞĚ͕
                                   shattered, ĂŶĚ   and ƚŚĞ
                                                          the ŽĐƚŽƌ
                                                                Doctor ƐƚĂƚĞĚ
                                                                           stated ƚŚĞǇ
                                                                                    they ǁĞƌĞ
                                                                                          were ĂůƌĞĂĚǇ
                                                                                                    already ůŝŬĞ
                                                                                                               like ƚŚĂƚ͘
                                                                                                                    that. ,ĞHe ĨƵƌƚŚĞƌ
                                                                                                                                 further
ĞǆƉůĂŝŶĞĚ
explained ƚŚĂƚ
             that ƚŚĞ
                   the KĸĐĞƌ
                         Officer ĚŝĚ
                                  did ŶŽƚ
                                        not ǁƌŝƚĞ
                                              write Ă a ƟĐŬĞƚ
                                                         ticket ĂŌĞƌ
                                                                 after ƚŚĞthe ƵƐĞ
                                                                               use ŽĨof ĨŽƌĐĞ͕
                                                                                        force, ĂŶĚand ŚĞhe ǁĂƐ
                                                                                                            was ƐƵƉƉŽƐĞĚ
                                                                                                                   supposed ƚŽ   to ǁƌŝƚĞ
                                                                                                                                     write ŝƚ͘
                                                                                                                                            it.
dŚĞ ƐĞƌŐĞĂŶƚ
The  sergeant ǁƌŽƚĞ
                 wrote ŝƚ it ƚŚĞ
                             the ŶĞǆƚ
                                  next ĚĂǇΗ͘
                                          day".

KŶ
On DĂǇ
    May ϭϴƚŚ͕
         18th, ϮϬϮϯ͕
                  2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                              approximately ϭϭϰϱ   1145 ŚŽƵƌƐ͕
                                                          hours, /ŶǀĞƐƟŐĂƚŽƌƐ
                                                                   Investigators in                    ĂŶĚ
                                                                                                       and K/col                      ǁĞŶƚ
                                                                                                                                        went
to 'ĞŽƌŐĞ
ƚŽ George Z͘R. sŝĞƌŶŽ
                Vierno ĞŶƚĞƌΖƐ
                         Center's 'ĞŶĞƌĂů
                                       General KĸĐĞ
                                                  Office ǁŝƚŚ
                                                          with Ăa ƐŝŐŶĞĚ
                                                                    signed ,/W
                                                                              HIPAA ĨŽƌŵform ĂŶĚ
                                                                                               and ƌĞƋƵĞƐƚĞĚ
                                                                                                     requested ƚŚĞ  the jail   file ĨŽƌ
                                                                                                                         ũĂŝů ĮůĞ   for W/
                                                                                                                                         PIC
'ŽŶǌĂůĞǌ͘
Gonzalez. hƉŽŶ
            Upon ƌĞǀŝĞǁ
                     review ŽĨ of ƚŚĞ
                                   the ĮůĞ͕
                                        file, /ŶǀĞƐƟŐĂƚŽƌƐ
                                              Investigators ǁĞƌĞ
                                                               were ƵŶĂďůĞ
                                                                       unable ƚŽ  to ĮŶĚ
                                                                                      find ĂŶǇ
                                                                                            any ŵĞĚŝĐĂů
                                                                                                  medical ĚŽĐƵŵĞŶƚĂƟŽŶ
                                                                                                              documentation ƚŚĂƚ    that
ƌĞĨĞƌĞŶĐĞĚ   ĂŶǇ    ƉƌŝŽƌ  ĚĞŶƚĂů    ŝƐƐƵĞƐ͘    ĚĚŝƟŽŶĂůůǇ͕    /ŶǀĞƐƟŐĂƚŽƌƐ       ǁĞŶƚ    ƚŽ  ƚŚĞ  ĨĂĐŝůŝƚǇ
referenced any prior dental issues. Additionally, Investigators went to the facility Clinic and requested     ůŝŶŝĐ  ĂŶĚ    ƌĞƋƵĞƐƚĞĚ
medical ƐƚĂīΖƐ
ŵĞĚŝĐĂů  staff's ĂƐƐŝƐƚĂŶĐĞ
                   assistance ŝŶ  in ƌĞǀŝĞǁŝŶŐ
                                      reviewing ƚŚĞthe W/ΖƐ
                                                        PIC's ĚĞŶƚĂů
                                                               dental ŚŝƐƚŽƌǇ
                                                                         history ƚŚĂƚ
                                                                                    that ŵĂǇ
                                                                                          may ďĞ be ŽŶ
                                                                                                     on ĮůĞ͘
                                                                                                         file. The    only ŝŶĨŽƌŵĂƟŽŶ
                                                                                                                dŚĞ ŽŶůǇ     information
ƉƌŽǀŝĚĞĚ
provided ƚŽ
          to /ŶǀĞƐƟŐĂƚŽƌƐ
               Investigators ǁĂƐ was ƚŚĂƚ
                                        that ŽŶon KĐƚŽďĞƌ
                                                  October Ϯϴ͕28, ϮϬϮϮ͕
                                                                   2022, ŽŶ on W/
                                                                                PIC 'ŽŶǌĂůĞǌΖƐ
                                                                                      Gonzalez's ŵĞĚŝĐĂů
                                                                                                     medical ŚŝƐƚŽƌǇ
                                                                                                                 history /ŶƚĂŬĞ
                                                                                                                            Intake ĨŽƌŵ͕
                                                                                                                                     form,
ŶŽƚĞĚ
noted ŚĞ
       he ŚĂĚ
           had ƚŽŽƚŚ
                 tooth ƉĂŝŶ͘
                         pain. /ŶǀĞƐƟŐĂƚŽƌƐ
                                  Investigators ƌĞƋƵĞƐƚĞĚ
                                                    requested Ă   a ƉƌŝŶƚŽƵƚ
                                                                     printout ŽĨ of ƚŚŝƐ
                                                                                     this ĚŽĐƵŵĞŶƚ
                                                                                           document ĂŶĚ  and ǁĞƌĞ
                                                                                                                were ĚĞŶŝĞĚ͘
                                                                                                                        denied. KŶ  On Ɖƌŝů
                                                                                                                                        April
28, ϮϬϮϯ͕
Ϯϴ͕ 2023, W/
           Pic               was ƌĞĐŽŵŵĞŶĚĞĚ
                             ǁĂƐ    recommended ƚŽ      to ƚŚĞ
                                                           the ĨĂĐŝůŝƚǇ
                                                                 facility ĚĞŶƟƐƚ
                                                                           dentist ǁŝƚŚ
                                                                                      with ĂŶan ĂƉƉŽŝŶƚŵĞŶƚ
                                                                                                 appointment ďƵƚ    but ĚŝĚ
                                                                                                                          did ŶŽƚ
                                                                                                                                not ĂƩĞŶĚ͘
                                                                                                                                     attend.


A ƌĞƋƵĞƐƚ
  request ǁĂƐwas ŵĂĚĞ
                   made ǀŝĂvia ĞŵĂŝů
                                email ƚŽ
                                       to ƚŚĞ
                                           the ĨĂĐŝůŝƚǇΖƐ
                                                facility's ĞƉƵƚǇ
                                                            Deputy ŝƌĞĐƚŽƌ
                                                                       Director ŽĨof ĞŶƚĂů
                                                                                     Dental ^ĞƌǀŝĐĞƐ
                                                                                             Services ĨŽƌ
                                                                                                        for ZŝŬĞƌΖƐ
                                                                                                             Riker's /ƐůĂŶĚ
                                                                                                                      Island ƌ͘Dr.
P|           Dr.
             ƌ͘     BM ƌĞƐƉŽŶĚĞĚ
                               responded ƚŽ  to Ăa ƌĞǀŝĞǁ
                                                   review ŽĨ of W/
                                                                 PIC 'ŽŶǌĂůĞǌΖƐ
                                                                      Gonzalez's ĚĞŶƚĂů
                                                                                    dental ŚŝƐƚŽƌǇ
                                                                                            history ǁŚŝůĞ
                                                                                                     while ŝŶin ĐƵƐƚŽĚǇ
                                                                                                                custody ĂŶĚ and
ƐƚĂƚĞĚ
stated ƚŚĂƚ
        that ŚĞhe ŚĂĚ
                   had ĐůĞĂŶŝŶŐ
                        cleaning ŽŶ on ϭϭͬϮϮͬϮϬϮϮ
                                        11/22/2022 ĂŶĚ   and ĂŶan ĞǆƚƌĂĐƟŽŶ
                                                                   extraction ŽĨ of Ă
                                                                                    a ƐĞǀĞƌĞůǇ
                                                                                      severely ĚĞĐĂǇĞĚ
                                                                                                 decayed ĂŶĚand ďƌŽŬĞŶ
                                                                                                                  broken ƚŽŽƚŚ
                                                                                                                            tooth ηϰ#4
ŽŶ
on ϭϮͬϮϮͬϮϬϮϮ͘
    12/22/2022. ,Ğ   He ĂůƐŽ
                         also ŚĂĚ
                                had ĂŶ
                                     an ĞǆŝƐƟŶŐ
                                         existing ƵƉƉĞƌ
                                                    upper ƉĂƌƟĂů
                                                             partial ĚĞŶƚƵƌĞ
                                                                      denture ƌĞƉůĂĐŝŶŐ
                                                                                  replacing ƵƉƉĞƌ
                                                                                             upper ĨƌŽŶƚ
                                                                                                     front ƚĞĞƚŚ
                                                                                                            teeth ƚŚĂƚ
                                                                                                                    that ǁĞƌĞ
                                                                                                                          were
ŵĂĚĞ
made ǁŚŝůĞ
       while ŝŶ in ĐƵƐƚŽĚǇ
                   custody ƵƉƐƚĂƚĞ
                              upstate ĂŶĚ
                                        and ƚŚĞǇ
                                              they ǁĞƌĞ
                                                     were ŝŶin ƌĞĐĞŝƉƚ
                                                                receipt ŽĨof Ăa ĐŽŵƉůĂŝŶƚ
                                                                                complaint ĨƌŽŵ
                                                                                            from K
                                                                                                   DOC ,h
                                                                                                         HAU ŽŶ on ϰͬϮϬͬϮϯ
                                                                                                                    4/20/23
ƌĞƋƵĞƐƟŶŐ
requesting ƚŚĂƚ
              that ƚŚĞ
                    the W/
                         PIC ďĞbe ƐĞĞŶ
                                   seen ďĞĐĂƵƐĞ
                                          because ΗŚŝƐ
                                                     "his ƚĞĞƚŚ
                                                           teeth ŚĂǀĞ
                                                                    have ďĞĞŶ
                                                                           been ƐŚĂƩĞƌŝŶŐ
                                                                                  shattering ƐŝŶĐĞ
                                                                                              since Ɖƌŝů
                                                                                                     April ϭϲƚŚ͘
                                                                                                            16th. ^ĞǀĞƌĂů
                                                                                                                    Several
appointments ;ϰͬϮϰ
ĂƉƉŽŝŶƚŵĞŶƚƐ       (4/24 ĂŶĚ
                          and ϰͬϮϴͿ
                                 4/28) ǁĞƌĞ
                                        were ŵĂĚĞ
                                               made ƚŽ  to ĞǀĂůƵĂƚĞ
                                                           evaluate ŚŝƐ his ĐŽŵƉůĂŝŶƚ͕
                                                                             complaint, ďƵƚ
                                                                                          but ŚĞ
                                                                                               he ǁĂƐ
                                                                                                   was ŶŽƚ
                                                                                                        not ƉƌŽĚƵĐĞĚ
                                                                                                              produced ƚŽ  to ƚŚĞ
                                                                                                                               the
ĚĞŶƚĂů
dental ĐůŝŶŝĐ͘
        clinic.




                                                                                                                                Exh
                                                                                                                                Exh bit
                                                                                                                                    bit 35
                                                                                                                                        35 at
                                                                                                                                           at 14
                                                                                                                                              14
        Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 16 of 71




&ƵƌƚŚĞƌŵŽƌĞ͕
Furthermore, W/W
              PIPC 'ŽŶǌĂůĞǌ
                    Gonzalez ƐƚĂƚĞĚ
                             stated ƚŚĂƚ
                                    that ƚŚĞ
                                         the ĚŽĐƚŽƌ
                                             doctor ŶŽƚĞĚ
                                                    noted ƚŚĞ
                                                          the ŵŝƐƐŝŶŐ
                                                              missing ĨƌŽŶƚ
                                                                      front ƚĞĞƚŚ
                                                                            teeth ǁĞƌĞ
                                                                                  were ƉƌĞĞǆŝƐƟŶŐ
                                                                                       preexisting ĂŶĚ
                                                                                                   and
not ĨƌŽŵ
ŶŽƚ from ƚŚĞ
         the hƐĞ
             Use ŽĨ
                  of &ŽƌĐĞ͘
                     Force.

Staff ƌĞƉŽƌƚƐ
^ƚĂī  reports

All ƐƚĂī
ůů staff ƌĞƉŽƌƚƐ
          reports ǁĞƌĞ
                  were ƌĞǀŝĞǁĞĚ
                       reviewed ĂŶĚ
                                and ǁĞƌĞ
                                    were ĐŽŶƐŝƐƚĞŶƚ
                                         consistent ǁŝƚŚ
                                                    with ƚŚĞ
                                                         the ǀŝĚĞŽ
                                                             video ĞǀŝĚĞŶĐĞ
                                                                   evidence ĂŶĚ
                                                                            and ĞĂĐŚ
                                                                                each ŽƚŚĞƌ͘
                                                                                     other.

ůů
All ƌĞƉŽƌƚƐ
    reports ƵƟůŝǌĞĚ
              utilized ŐĞŶĞƌĂůŝǌĞĚ
                        generalized ƚĞƌŵŝŶŽůŽŐǇ
                                     terminology ;ƵƐĞĚ
                                                    (used ƵƉƉĞƌ
                                                           upper ĐŽŶƚƌŽů
                                                                   control ŚŽůĚƐͿ
                                                                           holds) ǁŝƚŚŽƵƚ
                                                                                   without ĚĞƐĐƌŝďŝŶŐ
                                                                                            describing ƚŚĞ
                                                                                                        the ƵƐĞ
                                                                                                            use ŽĨ
                                                                                                                of
ĨŽƌĐĞ
force Žƌ
       or ǁŚĂƚ
           what ǁĂƐ
                  was ŽďƐĞƌǀĞĚ
                        observed ŝŶ
                                  in ĚĞƚĂŝů͘
                                     detail. ĚĚŝƟŽŶĂůůǇ͕
                                             Additionally, KĸĐĞƌ
                                                            Officer            ĨĂŝůĞĚ
                                                                               failed ƚŽ
                                                                                      to ŵĞŶƟŽŶ
                                                                                         mention ƚŚĞ
                                                                                                   the ĨŽƌĐĞ
                                                                                                       force ƚŽ
                                                                                                             to ƚŚĞ
                                                                                                                the
ďĂĐŬ
back ŽĨ
      of ƚŚĞ
          the W/ΖƐ
               PIC's ŶĞĐŬ͘
                      neck.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

The Rapid ZĞǀŝĞǁ
dŚĞ ZĂƉŝĚ Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by ĞƉƵƚǇ
                              Deputy tĂƌĚĞŶ
                                     Warden PE                      noted ƚŚĂƚ
                                                                    ŶŽƚĞĚ that ƚŚĞ
                                                                               the ŝŶĐŝĚĞŶƚ
                                                                                   incident ǁĂƐ
                                                                                            was ƵŶĂǀŽŝĚĂďůĞ
                                                                                                unavoidable ǁŝƚŚ
                                                                                                            with ŶŽ
                                                                                                                 no
ƉĂŝŶĨƵů
painful ĞƐĐŽƌƚ
        escort ƚĞĐŚŶŝƋƵĞƐ
               techniques Žƌ
                          or ƉƌŽĐĞĚƵƌĂů
                             procedural ĞƌƌŽƌƐ
                                        errors ŶŽƚĞĚ͘
                                               noted.

The Investigation ŝǀŝƐŝŽŶ
dŚĞ /ŶǀĞƐƟŐĂƟŽŶ   Division ĚŽĞƐ
                           does ŶŽƚ
                                not ĐŽŶĐƵƌ
                                    concur ǁŝƚŚ
                                           with ƚŚĞ
                                                the ZĂƉŝĚ
                                                    Rapid ZĞǀŝĞǁ
                                                          Review ĮŶĚŝŶŐƐ
                                                                 findings ĂŶĚ
                                                                          and ŶŽƚĞĚ
                                                                              noted ;ϮͿ
                                                                                    (2) ƚǁŽ
                                                                                        two ǀŝŽůĂƟŽŶƐ
                                                                                            violations
ŽďƐĞƌǀĞĚ
observed ŽŶ on 'ĞŶĞƚĞĐ
                Genetec sŝĚĞŽ
                           Video ƐƵƌǀĞŝůůĂŶĐĞ͘
                                   surveillance. dŚĞThe ĮƌƐƚ
                                                         first ǀŝŽůĂƟŽŶ
                                                               violation ǁĂƐ
                                                                          was ŽďƐĞƌǀĞĚ
                                                                                observed ǁŚĞŶwhen KĸĐĞƌ
                                                                                                    Officer             ƚŽŽŬ
                                                                                                                        took
W/
PIC 'ŽŶǌĂůĞǌ
     Gonzalez ƚŽto ƚŚĞ
                   the ŐƌŽƵŶĚ
                        ground ĂŶĚand ƵƟůŝǌĞĚ
                                        utilized ŚŝƐ
                                                  his ƌŝŐŚƚ
                                                      right ĨŽƌĞĂƌŵ
                                                             forearm ƚŽto ƚŚĞ
                                                                           the ďĂĐŬ
                                                                                back ŽĨ
                                                                                      of W/
                                                                                          PIC 'ŽŶǌĂůĞǌΖƐ
                                                                                               Gonzalez's ŶĞĐŬ
                                                                                                            neck ĨŽƌ
                                                                                                                  for
approximately
approximately forty-Ɛŝǆ
                  forty-six ;ϰϲͿ
                             (46) ƐĞĐŽŶĚƐ
                                   seconds ďĞĨŽƌĞ
                                              before ƌĞƉŽƐŝƟŽŶŝŶŐ
                                                       repositioning ƚŽ to ƚŚĞ
                                                                            the ƵƉƉĞƌ
                                                                                 upper ďĂĐŬ͘
                                                                                         back. dŚĞ
                                                                                                The ƐĞĐŽŶĚ
                                                                                                     second ǁĂƐ
                                                                                                              was aĂ ǀŝŽůĂƟŽŶ
                                                                                                                      violation
ŽĨ
of ƚŚĞ
   the ZƵůĞƐ
        Rules ĂŶĚ
               and ZĞŐƵůĂƟŽŶƐ͕
                     Regulations, ĚƵĞdue ƚŽ
                                          to ďƵŝůĚŝŶŐ
                                              building ϭϭ11 A ĂŶĚ
                                                               and  B ŚŽƵƐŝŶŐ
                                                                       housing ĂƌĞĂ
                                                                                  area ĚŽŽƌƐ
                                                                                        doors ĂŶĚ
                                                                                                and ƚŚĞ
                                                                                                     the ĚŽŽƌ
                                                                                                          door ƚŽ
                                                                                                                to ƚŚĞ
                                                                                                                   the ĐŽƌƌŝĚŽƌ
                                                                                                                        corridor
being open at the same time for an extended period.
ďĞŝŶŐ  ŽƉĞŶ   Ăƚ ƚŚĞ  ƐĂŵĞ    ƟŵĞ   ĨŽƌ  ĂŶ  ĞǆƚĞŶĚĞĚ    ƉĞƌŝŽĚ͘

A &ĂĐŝůŝƚǇ
   Facility ZĞĨĞƌƌĂů
            Referral ǁĂƐ
                     was ŐĞŶĞƌĂƚĞĚ
                          generated ƌĞĐŽŵŵĞŶĚŝŶŐ
                                     recommending KĸĐĞƌƐ
                                                    Officers [in                                                 ĂŶĚ
                                                                                                                 and i
|      iyĨŽƌ Ăa ŽƌƌĞĐƟǀĞ
                 Corrective /ŶƚĞƌǀŝĞǁ
                            Interview ĨŽƌ
                                      for ƵŶƐĞĐƵƌĞĚ
                                          unsecured ŚŽƵƐŝŶŐ
                                                    housing ĂƌĞĂ
                                                             area ĚŽŽƌƐ͘
                                                                  doors.

Conclusion:
ŽŶĐůƵƐŝŽŶ͗

ĂƐĞĚ
Based ŽŶon ƚŚĞ
            the ĞǀŝĚĞŶĐĞ
                  evidence ĐŝƚĞĚ
                             cited ĂďŽǀĞ͕
                                    above, ŝƚ
                                            it ŝƐ
                                               is ƌĞĐŽŵŵĞŶĚĞĚ
                                                  recommended ƚŚĂƚ
                                                                that ƚŚŝƐ
                                                                      this ĐĂƐĞ
                                                                           case ďĞ
                                                                                be ƌĞĨĞƌƌĞĚ
                                                                                   referred ĨŽƌ
                                                                                            for ĨƵƌƚŚĞƌ
                                                                                                further ŝŶǀĞƐƟŐĂƟŽŶ
                                                                                                        investigation
ĚƵĞ
due ƚŽ
     to ƚŚĞ
         the W/ΖƐ
              PIC's ĂůůĞŐĂƟŽŶ
                     allegation ƚŚĂƚ
                                 that ŚĞ
                                       he ǁĂƐ
                                          was ƐůĂŵŵĞĚ
                                                 slammed ŽŶ
                                                         on ŚŝƐ
                                                            his ŚĞĂĚ͘
                                                                head.




                                                                                                                 Exh
                                                                                                                 Exh bit
                                                                                                                     bit 35
                                                                                                                         35 at
                                                                                                                            at 15
                                                                                                                               15
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for May
                                   May 2023
                                       2023 (UOF
                                            (UOF ϭϱϵϴͬϮϯ)
                                                 1598/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF ϭϱϵϴͬϮϯ
                                                    1598/23

&ĂĐŝůŝƚǇ͗
Facility: ZE
          RNDC

^ǇŶŽƉƐŝƐ͗
Synopsis:

KŶ
On DĂƌĐŚ
     March Ϯϵ͕    29, ϮϬϮϯ͕
                        2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                   approximately ϭϲϱϭ   1651 ŚŽƵƌƐ
                                                                 hours ŝŶ  in ZE
                                                                               RNDC ŝŶ  in ϲ
                                                                                           6 ĞŶƚƌĂů
                                                                                              Central EŽƌƚŚ North ǀĞƐƟďƵůĞ
                                                                                                                    vestibule ĂƌĞĂ͕ area, WĞƌƐŽŶ
                                                                                                                                            Person ŝŶ   in
Custody ;W/Ϳ
ƵƐƚŽĚǇ         (PIC)                                                             became ĚŝƐƌƵƉƟǀĞ
                                                                                  ďĞĐĂŵĞ      disruptive ďǇ    by ĞŶƚĞƌŝŶŐ
                                                                                                                    entering ƚŚĞ  the ǀĞƐƟďƵůĞ
                                                                                                                                       vestibule ĂƌĞĂ  area
ƵŶĂƵƚŚŽƌŝǌĞĚ
unauthorized ;                                                   Ϳ͘). KĸĐĞƌ
                                                                      Officer                                    ĂƉƉĞĂƌĞĚ
                                                                                                                 appeared ƚŽ     to ĞǆĐŚĂŶŐĞ
                                                                                                                                     exchange ǁŽƌĚƐwords
ǁŝƚŚ
with PICW/                    ĂŶĚ
                               and utilized hand gestures to step back inside the housing area by blocking him ĨƌŽŵ
                                    ƵƟůŝǌĞĚ     ŚĂŶĚ   ŐĞƐƚƵƌĞƐ       ƚŽ ƐƚĞƉ    ďĂĐŬ    ŝŶƐŝĚĞ   ƚŚĞ     ŚŽƵƐŝŶŐ       ĂƌĞĂ   ďǇ  ďůŽĐŬŝŶŐ     Śŝŵ    from
ŐŽŝŶŐ
going ĂŶǇany ĨƵƌƚŚĞƌ
                  further ĂŶĚand ĚŝƌĞĐƟŶŐ
                                  directing Śŝŵ him ďĂĐŬ
                                                     back ŝŶƐŝĚĞ
                                                             inside ;                                                Ϳ͘). W/
                                                                                                                          PIC       MM ďĞŐĂŶ   began
pushing ŚŝƐ
ƉƵƐŚŝŶŐ        his ŚĞĂĚ
                     head ŽŶƚŽ
                            onto KĸĐĞƌƐ
                                   Officers              head ;
                                                         ŚĞĂĚ                                        KĸĐĞƌ                    ƵƟůŝǌĞĚ ŚŝƐ ƌŝŐŚƚ
ƚŽǁĂƌĚƐ        ƚŚĞ    W/ΖƐ ŶĞĐŬ   ƚŽ  ƉƵƐŚ     Śŝŵ  ďĂĐŬ   ĂŶĚ
towards the PIC's neck to push him back and simultaneously PIC       ƐŝŵƵůƚĂŶĞŽƵƐůǇ        W/                    ďĞŐĂŶ
                                                                                                                  began ƚŽ    to ƚŚƌŽǁ
                                                                                                                                 throw ĐůŽƐĞĚ
                                                                                                                                           closed ĮƐƚfist




                -
punches ƚŽǁĂƌĚ
ƉƵŶĐŚĞƐ         toward KĸĐĞƌ
                           Officer                                                          A ƐƚƌƵŐŐůĞ
                                                                                              struggle ƚŚĞŶ  then ĞŶƐƵĞĚensued ďĞƚǁĞĞŶ
                                                                                                                                   between ƚŚĞ  the W/PIC
and KĸĐĞƌ
ĂŶĚ    Officer               with ƚŚĞ
                             ǁŝƚŚ  the W/
                                         PIC ƚŚƌŽǁŝŶŐ
                                               throwing ƐĞǀĞƌĂů
                                                            several ƉƵŶĐŚĞƐ
                                                                        punches ƚŽǁĂƌĚƐ
                                                                                     towards KĸĐĞƌOfficer                   upper ƚŽƌƐŽ
                                                                                                                            ƵƉƉĞƌ   torso ĂŶĚand ƉŽƐƐŝďůǇ
                                                                                                                                                   possibly
ĨĂĐŝĂů
facial ĂƌĞĂ͕
         area, ĂŶĚ  and KĸĐĞƌ
                          Officer JM ƌĞƚƵƌŶĞĚreturned ƐƚƌŝŬĞƐ͘
                                                         strikes. KĸĐĞƌ
                                                                      Officer                                     ĞǆŝƚĞĚ
                                                                                                                  exited ƚŚĞ  the ďƵďďůĞ
                                                                                                                                   bubble ĂƌĞĂarea ĂŶĚ
                                                                                                                                                     and
assisted KĸĐĞƌ
ĂƐƐŝƐƚĞĚ       Officer J          with ƐĞĐƵƌŝŶŐ
                                  ǁŝƚŚ  securing W/ PIC                    to ƚŚĞ
                                                                            ƚŽ  the ŇŽŽƌ͕
                                                                                     floor, ŚŽǁĞǀĞƌ
                                                                                             however ƚŚĞ     the W/
                                                                                                                   PIC ĐŽŶƟŶƵĞĚ
                                                                                                                           continued ƚŽ  to ƐƚƌƵŐŐůĞ
                                                                                                                                             struggle
ĂŐĂŝŶƐƚ    ƐƚĂī       Ăƚ ǁŚŝĐŚ    ƉŽŝŶƚ
against staff at which point Officer     KĸĐĞƌ              ĂƉƉĞĂƌĞĚ         ƚŽ
                                                            appeared to strike iiƐƚƌŝŬĞ   W/                   ;                                       Ϳ ĂƐ
ƚŚĞ
the ŽĸĐĞƌ
      officer ǁĂƐ  was ŽďƐĞƌǀĞĚ
                         observed ĚƌĂǁŝŶŐ
                                      drawing ďĂĐŬ back ŚŝƐ
                                                          his ůĞŌ
                                                               left Ăƌŵ
                                                                      arm ĂŶĚand ƚŚĞŶ
                                                                                   then ŵŽǀŝŶŐ
                                                                                           moving ŝƚ    it ĨŽƌǁĂƌĚ͕
                                                                                                           forward, ǁŝƚŚ   with W/
                                                                                                                                 PIC
ďŽĚǇ
body ƚŚĞŶ
        then ƌĞĐŽŝůŝŶŐ͘
                   recoiling. ĂƉƚĂŝŶ
                                Captain                                  KĸĐĞƌƐ
                                                                         Officers                                                                      ĂŶĚ
                                  ƵƟůŝǌĞĚ    ĐŽŶƚƌŽů   ŚŽůĚƐ    ƚŽ    ƐĞĐƵƌĞ    ƚŚĞ  W/   ƚŽ  ƚŚĞ  ŇŽŽƌ
                                  utilized control holds to secure the PIC to the floor and in restraints. PICĂŶĚ    ŝŶ    ƌĞƐƚƌĂŝŶƚƐ͘   W/
wĂƐ
was ĞƐĐŽƌƚĞĚ
       escorted ŽƵƚ    out ŽĨ
                            of ďƵŝůĚŝŶŐ
                                building ϱ  5 ƚŽ
                                               to ƚŚĞ
                                                  the ĐŽƌƌŝĚŽƌ
                                                       corridor Pe                                   Ϳ͘. dŚĞ
                                                                                                           The ƉƌŽďĞ
                                                                                                                 probe ƚĞĂŵ team ĞƐĐŽƌƚĞĚ
                                                                                                                                    escorted W/ PIC ƚŽ to
ƚŚĞ
the ŵĂŝŶ
      main ŝŶƚĂŬĞintake ƐĞĂƌĐŚ
                          search ĂƌĞĂ
                                    area ƚŚĞŶ
                                           then ƐĞĐƵƌĞĚ
                                                  secured ŝŶ  in ƉĞŶpen ηϳ͕
                                                                         #7, ǁŝƚŚŽƵƚ
                                                                               without ĂŶǇ any ĨƵƌƚŚĞƌ
                                                                                                 further ŝŶĐŝĚĞŶƚ
                                                                                                              incident fF    ;                     Ăƚ
                                                                                                                                                    at
            Ϳ͘).

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ͗
             Evidence:

dŚĞ ĨĂĐŝůŝƚǇ
The facility ƵƉůŽĂĚĞĚ
             uploaded ŽŶĞ
                      one ;ϭͿ
                          (1) ƐŝĚĞ
                              side ƉƌŽĮůĞ
                                   profile ƉŚŽƚŽŐƌĂƉŚ
                                           photograph ŽĨ
                                                      of W/
                                                         Pic                                            ŵĂƌŬĞĚ
                                                                                                        marked ĂƐ
                                                                                                               as Ă
                                                                                                                  a ƌĞĨƵƐĂů͘
                                                                                                                    refusal.

dŚĞ ĨĂĐŝůŝƚǇ
The facility ƵƉůŽĂĚĞĚ
             uploaded ŽŶĞ
                      one ;ϭͿ
                          (1) ĨƌŽŶƚ͕
                              front, ůĞŌ
                                     left ŚĂŶĚ͕
                                          hand, ůĞŌ
                                                left ƐŝĚĞ͕
                                                     side, ƌŝŐŚƚ
                                                           right ǁƌŝƐƚ
                                                                 wrist ƉƌŽĮůĞ
                                                                       profile ƉŚŽƚŽŐƌĂƉŚ
                                                                               photograph ŽĨ
                                                                                          of KĸĐĞƌ
                                                                                             Officer

sŝĚĞŽ
Video ǀŝĚĞŶĐĞ͗
      Evidence:

dŚĞ ĨŽůůŽǁŝŶŐ
The following ǀŝĚĞŽ
              video ĞǀŝĚĞŶĐĞ
                    evidence ǁĂƐ
                             was ƌĞǀŝĞǁĞĚ
                                 reviewed ĨƌŽŵ
                                          from DĂƌĐŚ
                                               March Ϯϵ͕
                                                     29, ϮϬϮϯ͕
                                                         2023, ĂŶĚ
                                                               and ϭϲϱϬ
                                                                   1650 ŚŽƵƌƐ
                                                                        hours ƚŽ
                                                                              to ϭϳϯϬ
                                                                                 1730 ŚŽƵƌƐ
                                                                                      hours ĂŶĚ
                                                                                            and
ĚĞƉŝĐƚĞĚ
depicted ƚŚĞ
         the ŝŶĐŝĚĞŶƚ
             incident ĂƐ
                      as ŶĂƌƌĂƚĞĚ
                         narrated ĂďŽǀĞ͗
                                  above:




The ĨŽůůŽǁŝŶŐ
dŚĞ following ŽĚǇ
              Body tŽƌŶ
                   Worn ĂŵĞƌĂ
                        Camera ;tͿ
                               (BWC) ǀŝĚĞŽƐ
                                     videos ǁĞƌĞ
                                            were ĂůƐŽ
                                                 also ƌĞǀŝĞǁĞĚ͗
                                                      reviewed:




                                                                                                                                         Exh
                                                                                                                                         Exh bit
                                                                                                                                             bit 35
                                                                                                                                                 35 at
                                                                                                                                                    at 16
                                                                                                                                                       16
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dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ
The investigator ĂŶĚ
                 and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ƌĞǀŝĞǁĞĚ
                                reviewed ƚŚĞ
                                         the 'ĞŶĞƚĞĐ
                                             Genetec ĂŶĚ
                                                     and t
                                                         BWC ĨŽŽƚĂŐĞ͕
                                                             footage, ĂŶĚ
                                                                      and ǀĞƌŝĮĞĚ
                                                                          verified ƚŚĂƚ
                                                                                   that ƚŚĞƌĞ
                                                                                        there ǁĂƐ
                                                                                              was ŶŽ
                                                                                                  no
handheld ĞǀŝĚĞŶĐĞ
ŚĂŶĚŚĞůĚ evidence ĂƐƐŽĐŝĂƚĞĚ
                  associated ǁŝƚŚ
                             with ƚŚŝƐ
                                  this ŝŶĐŝĚĞŶƚ͘
                                       incident.

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͗
          injuries:

/ŶũƵƌǇ
Injury ĂŶĚand /ŶŵĂƚĞ
               Inmate ZĞƉŽƌƚ͕
                       Report, ϯϰϱϴ&zϮϯ
                                3458FY23 ŶŽƚĞĚ
                                            noted ŽŶ
                                                   on DĂƌĐŚ
                                                       March Ϯϵ͕
                                                               29, ϮϬϮϯ͕
                                                                   2023, Ăƚ
                                                                          at ϭϴϯϬ
                                                                              1830 ŚŽƵƌƐ͕
                                                                                    hours, W/
                                                                                             ae              ǁĂƐ
                                                                                                             was
ƉƌŽĚƵĐĞĚ
produced ĨŽƌ  for ƉƌŽŵƉƚ
                  prompt ŵĞĚŝĐĂů
                           medical ĂƩĞŶƟŽŶ
                                    attention ĂŶĚ
                                               and ŽŶ
                                                    on ĞǆĂŵ-Ϭ͘ϱ
                                                        exam-0.5 Đŵcm ƐƵƉĞƌĮĐŝĂů
                                                                       superficial ůŝŶĞĂƌ
                                                                                    linear ǁŽƵŶĚ
                                                                                            wound ĂďŽǀĞ
                                                                                                    above ůĞŌ
                                                                                                            left ƵƉƉĞƌ
                                                                                                                 upper
ĞǇĞ
eye ůŝĚ͘
      lid. dƌĞĂƚŵĞŶƚ͗
           Treatment: ƉĂŝŶ
                        pain ŵĞĚƐ͕
                              meds, ǆx ƌĂǇƐ
                                       rays Ăŵ
                                            am ŽĨ
                                                of ůĞŌ
                                                   left ǁƌŝƐƚ
                                                        wrist ǁŽƵŶĚ
                                                              wound ƚŽto ůĞŌ
                                                                          left ƵƉƉĞƌ
                                                                               upper ĞǇĞůŝĚ͘
                                                                                      eyelid. ƐƚĞƌŝ
                                                                                              steri ƐƚƌŝƉƐ͕
                                                                                                    strips, ĂŶĚ
                                                                                                            and ƚĞƚĂŶƵƐ
                                                                                                                  tetanus
ƐŚŽƚ͘
shot.

Ez
NYC ,ĞĂůƚŚ
      Health н+ ,ŽƐƉŝƚĂůƐ
                 Hospitals ZĞƉŽƌƚ͕
                             Report, ŽŶ on DĂƌĐŚ
                                             March Ϯϵ͕29, ϮϬϮϯ͕
                                                            2023, Ăƚat ϭϳϮϭ
                                                                        1721 ŚŽƵƌƐ͕
                                                                                hours, KĸĐĞƌ
                                                                                        Officer SE                        ǁĂƐ
                                                                                                                          was ƐĞĞŶ
                                                                                                                                seen
ďǇ
by ŵĞĚŝĐĂů
    medical ƐƚĂī
             staf                     ŶŽƚĞĚ
                                      noted ƉĂƟĞŶƚ
                                                patient ŝƐis ĂůĞƌƚ
                                                             alert ĂŶĚ
                                                                    and ŽƌŝĞŶƚĞĚ
                                                                           oriented ǆ x ϯ͕
                                                                                         3, ŶŽ
                                                                                            no ĚŝƐƚƌĞƐƐ͕
                                                                                                distress, ŚĞĂĚ-ƐŽŌ
                                                                                                          head-soft ƟƐƐƵĞ
                                                                                                                     tissue
hematoma/redness ĨŽƌ
ŚĞŵĂƚŽŵĂͬƌĞĚŶĞƐƐ         for ĨŽƌĞŚĞĂĚ
                             forehead ĂŶĚ  and ŽƚŚĞƌ
                                                 other ĂďƌĂƐŝŽŶƐ͘
                                                         abrasions. >ĞŌ  Left ĞǇĞ
                                                                               eye ƌĞĚŶĞƐƐ͕
                                                                                    redness, ĞǇĞƐ
                                                                                               eyes WZZ>͕
                                                                                                      PERRLA, KD/͘
                                                                                                               EOMI. ^</E
                                                                                                                       SKIN
ƌĞĚŶĞƐƐ
redness and superficial abrasion to forehead and left hand, no active bleeding, NO deformity, ^ĞŶƐŽƌǇ
          ĂŶĚ  ƐƵƉĞƌĮĐŝĂů    ĂďƌĂƐŝŽŶ     ƚŽ  ĨŽƌĞŚĞĂĚ     ĂŶĚ   ůĞŌ  ŚĂŶĚ͕     ŶŽ  ĂĐƟǀĞ   ďůĞĞĚŝŶŐ͕   EK  ĚĞĨŽƌŵŝƚǇ͕  Sensory
ĂŶĚ
and ŵŽƚŽƌ
     motor ŝŶƚĂĐƚ͘
             intact. DŽǀŝŶŐ
                       Moving Ăůůall ĞǆƚƌĞŵŝƟĞƐ͘
                                     extremities. <E-ďŝůĂƚĞƌĂů
                                                      KNEE-bilateral ƐŽƌĞŶĞƐƐ
                                                                           soreness ƚŽ to ƉĂůƉĂƟŽŶ͘
                                                                                           palpation. >ƵŶŐƐ
                                                                                                        Lungs ĐůĞĂƌ
                                                                                                              clear ďŝůĂƚĞƌĂů͕
                                                                                                                    bilateral,
heart-regular ƌŚǇƚŚŵ͕
ŚĞĂƌƚ-ƌĞŐƵůĂƌ    rhythm, ďĚ-ƐŽŌ
                            Abd-soft ŶŽŶ non ƚĞŶĚĞƌ͘
                                               tender. ƐƐĞƐƐŵĞŶƚ͗
                                                         Assessment: DƵůƟƉůĞ Multiple ĐŽŶƚƵƐŝŽŶƐ
                                                                                        contusions ƚŽ to ŚĞĂĚ͕
                                                                                                         head, ĨŽƌĞŚĞĂĚ͕
                                                                                                               forehead, ĂŶĚand
ĨĂĐĞ͘
face. KƚŚĞƌ
       Other ƐŽŌ
              soft ƟƐƐƵĞ
                    tissue ŝŶũƵƌŝĞƐ
                            injuries ƚŽto ƌŝŐŚƚ
                                           right ŚĂŶĚ͘
                                                  hand. WůĂŶ͗
                                                           Plan: ŝĐĞ
                                                                  ice ƉĂĐŬƐ͘
                                                                       packs.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

dŚĞ ŝŶĐŝĚĞŶƚ
The incident ǁĂƐ
             was ĐŽƌƌĞĐƚůǇ
                 correctly ĐůĂƐƐŝĮĞĚ
                           classified ĂƐ
                                      as Ă
                                         a ΗΗ
                                           "A" hK&
                                               UOF ĚƵĞ
                                                   due ƚŽ
                                                       to W/
                                                          PIC ŝŶũƵƌŝĞƐ
                                                              injuries ĂŶĚ
                                                                       and ƐƚĂī
                                                                           staff ŝŶũƵƌŝĞƐ͘
                                                                                 injuries.

Brief ^ƵŵŵĂƌǇ
ƌŝĞĨ Summary ŽĨ
              of W/
                 PIC ƐƚĂƚĞŵĞŶƚƐ͗
                     statements:

KŶ
On DĂƌĐŚ
   March Ϯϵ͕
         29, ϮϬϮϯ͕
             2023, W/
                   PIC                       ƌĞĨƵƐĞĚ
                                              refused ƚŽ
                                                      to ƉƌŽǀŝĚĞ
                                                         provide Ă
                                                                 a ƐƚĂƚĞŵĞŶƚ
                                                                   statement ƚŽ
                                                                             to ƚŚĞ
                                                                                the ĨĂĐŝůŝƚǇ͘
                                                                                    facility.

KŶ
On DĂǇ
     May ϯ͕3, ϮϬϮϯ͕
               2023, Ăƚ
                      at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                          approximately ϭϰϮϳ   1427 ŚŽƵƌƐ
                                                      hours ^/
                                                             S|                  ĂŶĚ
                                                                                 and K/
                                                                                     CO|          ME        ŝŶƚĞƌǀŝĞǁĞĚ
                                                                                                            interviewed W/ PIC
P|            inside ĐĞůů
              ŝŶƐŝĚĞ  cell ηϰ
                            #4 ŽĨ
                                of ƚŚĞ
                                    the 'Zs
                                          GRVC ϭϭ11A ǇĂƌĚ
                                                       yard ĂƌĞĂ͘
                                                             area. W/PIC             stated ƚŚĂƚ
                                                                                      ƐƚĂƚĞĚ   that ĚƵƌŝŶŐ
                                                                                                      during ƚŚĞ
                                                                                                              the ŝŶĐŝĚĞŶƚ͕
                                                                                                                   incident, ƚŚĞthe
ŽĸĐĞƌ
officer ΗĐĂŵĞ
         "came Ăƚ at Śŝŵ
                     him ŝŶin Ăa ƚŚƌĞĂƟŶŐ
                                 threating ŵĂŶŶĞƌΗ
                                               manner" ĂŶĚ and ŚĞhe ĨĞůƚ
                                                                     felt ŚĞ
                                                                          he ŶĞĞĚĞĚ
                                                                              needed ƚŽto ĚĞĨĞŶĚ
                                                                                           defend ŚŝŵƐĞůĨ͘
                                                                                                     himself. dŚĞ
                                                                                                               The W/
                                                                                                                     PIC ƐƚĂƚĞĚ
                                                                                                                          stated ƚŚĂƚ
                                                                                                                                   that
ǁŚĞŶ
when ŚĞ he ǁĂƐ
            was ĚŽǁŶ
                  down ŽŶ on ƚŚĞ
                              the ŐƌŽƵŶĚ͕
                                    ground, ƚŚĞ the ƐĂŵĞ
                                                     same ŽĸĐĞƌ
                                                            officer ƉƵŶĐŚĞĚ
                                                                      punched Śŝŵhim ŝŶ
                                                                                     in ŚŝƐ
                                                                                         his ůĞŌ
                                                                                             left ĞǇĞůŝĚ͘
                                                                                                   eyelid. ,Ğ
                                                                                                            He ƐƚĂƚĞĚ
                                                                                                                stated ƚŚĂƚ
                                                                                                                         that ŚĞ
                                                                                                                               he ǁĂƐ
                                                                                                                                    was
ƐĞĞŶ
seen ďǇby ŵĞĚŝĐĂů
          medical ĨŽƌfor ŝŶũƵƌǇ
                          injury ŝŶin ŚŝƐ
                                       his ůĞŌ
                                           left ĞǇĞůŝĚ
                                                 eyelid ďƵƚ
                                                         but ƚŚĞ
                                                              the ŝŶũƵƌǇ
                                                                    injury ŚĂĚ
                                                                            had ŶŽǁ
                                                                                 now ŚĞĂůĞĚ͘
                                                                                      healed. ƚ At ƚŚĞ
                                                                                                    the ƟŵĞ
                                                                                                         time ŽĨof ƚŚĞ
                                                                                                                   the ŝŶƚĞƌǀŝĞǁ͕
                                                                                                                        interview,
W/
ic                 ďŽƌĞ   ŶŽ  ǀŝƐŝďůĞ   ƐŝŐŶ  ŽĨ  ŝŶũƵƌǇ ƚŽ  ŚŝƐ  ůĞŌ  ĞǇĞůŝĚ
                   bore no visible sign of injury to his left eyelid area.     ĂƌĞĂ͘

Staff ZĞƉŽƌƚƐ͗
^ƚĂī  Reports:

ůů
All ƐƚĂī
    staff ƌĞƉŽƌƚƐ
          reports ǁĞƌĞ
                  were ƌĞǀŝĞǁĞĚ
                       reviewed ĂŶĚ
                                and ǁĞƌĞ
                                    were ŐĞŶĞƌĂůůǇ
                                         generally ĐŽŶƐŝƐƚĞŶƚ
                                                   consistent ǁŝƚŚ
                                                              with ĞĂĐŚ
                                                                   each ŽƚŚĞƌ͘
                                                                        other.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

dŚĞ ZĂƉŝĚ
The Rapid ZĞǀŝĞǁ
          Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by ĂƉƚĂŝŶ
                              Captai                        ŶŽƚĞĚ
                                                            noted ƚŚĞ
                                                                    the ŝŶĐŝĚĞŶƚ
                                                                        incident ǁĂƐ
                                                                                  was ĂǀŽŝĚĂďůĞ
                                                                                       avoidable ĂŶĚ
                                                                                                  and ĨƵƌƚŚĞƌ
                                                                                                      further ŶŽƚĞĚ
                                                                                                                noted
ƚŚĂƚ
that KĸĐĞƌ
      Officer                                                                                           ǁĂƐ
                                                                                                        was ŵĂĚĞ
                                                                                                             made
the ƐƵďũĞĐƚ
ƚŚĞ  subject ŽĨ
              of Ăa ŽŵŵĂŶĚ
                    Command ŝƐĐŝƉůŝŶĞ
                               Discipline ĨŽƌ
                                          for ŽƉĞŶŝŶŐ
                                              opening ƚŚĞ
                                                        the ΗΗ
                                                            "B" ŐĂƚĞ
                                                                 gate ĂŶĚ
                                                                       and ĂůůŽǁŝŶŐ
                                                                            allowing ĂŶ
                                                                                      an ƵŶĂƵƚŚŽƌŝǌĞĚ
                                                                                          unauthorized W/
                                                                                                        PIC ƚŽ
                                                                                                            to ĞŶƚĞƌ
                                                                                                                enter
ƚŚĞ
the ǀĞƐƟďƵůĞ
    vestibule ǁŚŝůĞ
                while ƚŚĞ
                       the ΗΗ
                           "A" ĚŽŽƌ
                               door ǁĂƐ
                                      was ŽƉĞŶĞĚ͘
                                          opened. KĸĐĞƌ
                                                    Officer
PO                                     ǁĂƐ
                                       was made the ƐƵďũĞĐƚ
                                            ŵĂĚĞ  ƚŚĞ  subject ŽĨ
                                                                of Ăa ŽŵŵĂŶĚ
                                                                      Command ŝƐĐŝƉůŝŶĞ
                                                                                  Discipline ĨŽƌ
                                                                                             for ƵŶƐĞĐƵƌĞĚ
                                                                                                 unsecured ĐĞůůƐ͘
                                                                                                            cells.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶ
      on ƚŚĞ
         the ĞǀŝĚĞŶĐĞ
             evidence ĂƐas ĐŝƚĞĚ
                           cited ĂďŽǀĞ͕
                                  above, ƚŚŝƐ
                                           this ŝŶĐŝĚĞŶƚ
                                                incident ŵĞĞƚƐ
                                                         meets ƚŚĞ
                                                               the ĐƌŝƚĞƌŝĂ
                                                                    criteria ĨŽƌ
                                                                             for Ă
                                                                                 a &Ƶůů
                                                                                   Full /
                                                                                        ID /ŶǀĞƐƟŐĂƟŽŶ
                                                                                           Investigation ĚƵĞ
                                                                                                          due ƚŽ
                                                                                                               to
W/
PIC    EE     ƐƵƐƚĂŝŶŝŶŐ  ĂŶ  ΗΗ  ŝŶũƵƌǇ ƚŽ  ŚŝƐ ůĞŌ ƵƉƉĞƌ ĞǇĞůŝĚ ĂŶĚ  ƚŚĞ  W/ΖƐ ĂůůĞŐĂƟŽŶ   ŽĨ ŚĞĂĚ  ƐƚƌŝŬĞƐ͘
              sustaining an "A" injury to his left upper eyelid and the PIC's allegation of head strikes.




                                                                                                                       Exh
                                                                                                                       Exh bit
                                                                                                                           bit 35
                                                                                                                               35 at
                                                                                                                                  at 17
                                                                                                                                     17
            Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 19 of 71




CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for May
                                   May 2023
                                       2023 (UOF
                                            (UOF ϭϲϬϳͬϮϯ)
                                                 1607/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF ϭϲϬϳͬϮϯ
                                                    1607/23

AMKC
AMKC

ƌŝĞĨ
Brief /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ
               Summary

On DĂƌĐŚ
KŶ   March ϯϬ͕30, ϮϬϮϯ
                    2023 Ăƚ  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                 approximately ϬϮϯϵ       0239 ŚŽƵƌƐ
                                                                  hours ŝŶ    in D<
                                                                                  AMKC YƵĂĚ   Quad ϭϰ  14 hƉƉĞƌ
                                                                                                             Upper ŚŽƵƐŝŶŐ
                                                                                                                        housing ĂƌĞĂ͕ area, W/ i
ĞǆŝƚĞĚ
exited ŚŝƐ
        his ĐĞůů
             cell ĂŶĚ
                   and ǁĂƐwas ƚĂůŬŝŶŐ
                                  talking ǁŝƚŚwith W/ PIC           ǁŚĞŶ
                                                                     when W/     PIC             ŐƌĂďďĞĚ
                                                                                                   grabbed W/   PIC                   ďǇ
                                                                                                                                        by ƚŚĞ
                                                                                                                                            the ƐŚŝƌƚ
                                                                                                                                                    shirt ĂŶĚand
shoved Śŝŵ
ƐŚŽǀĞĚ    him ŝŶƚŽ
                into ƚŚĞ
                       the ĐĞůů͘
                              cell. W/Ɛ
                                      PICs                                                                                                               all ĞŶƚĞƌĞĚ
                                                                                                                                                         Ăůů   entered
ƚŚĞ  ĐĞůů ĂŶĚ   ƵƉŽŶ     ĞǆŝƟŶŐ
the cell and upon exiting PIC        W/                    ĞǆŝƚĞĚ    ĂŌĞƌ        ƚŚĞŵ͘
                                                             exited after them. PIC          W/                    ǁĂƐ
                                                                                                                    was picked up by his belt ĂŶĚ
                                                                                                                          ƉŝĐŬĞĚ       ƵƉ   ďǇ    ŚŝƐ  ďĞůƚ     and
ƐůĂŵŵĞĚ
slammed ŽŶ  on ƚŚĞ
                 the ŇŽŽƌ
                       floor ŚĞ  he ǁĂƐ
                                      was ƚŚĞŶthen ŬŝĐŬĞĚ͕
                                                      kicked, ƉƵŶĐŚĞĚ͕
                                                                 punched, ƐƚŽŵƉĞĚ   stomped ŽŶ      on ŵƵůƟƉůĞ
                                                                                                         multiple ƟŵĞƐ times ƚŽ  to ŚŝƐ
                                                                                                                                      his ďŽĚǇ
                                                                                                                                           body ĂŶĚ   and ŚĞĂĚhead ŽŶ   on

the tier and in his cel by Ps i
ƚŚĞ ƟĞƌ ĂŶĚ ŝŶ ŚŝƐ ĐĞůů ďǇ W/Ɛ
PO                                        ĞŶƚĞƌĞĚ       YƵĂĚ    hƉƉĞƌ        ϭϰ    ĂŶĚ    ƉƌŽĐĞĞĚĞĚ          ƚŽ
                                          entered Quad Upper 14 and proceeded to enter the tier with her chemicalĞŶƚĞƌ    ƚŚĞ    ƟĞƌ    ǁŝƚŚ      ŚĞƌ
                                                                                                                                                         cor
                                                                                                                                                          KĸĐĞƌ
                                                                                                                                                        ĐŚĞŵŝĐĂů




                             -
ĂŐĞŶƚ
agent ƵŶŚŽůƐƚĞƌĞĚ
        unholstered ĂŶĚ    and ƵƟůŝǌĞĚ
                                   utilized ŽŶĞ one ĂƉƉůŝĐĂƟŽŶ
                                                       application ŝŶ   in Ăa ĚŽǁŶǁĂƌĚ
                                                                                  downward ƐǁŝƉĞ     swipe ƚŚĂƚthat ĚŝĚdid ŶŽƚ
                                                                                                                            not ŵĂŬĞmake ĐŽŶƚĂĐƚ͕
                                                                                                                                             contact, ďƵƚ     but ƚŚĞthe
PICs ĚŝƐƉĞƌƐĞĚ͘
W/Ɛ  dispersed. KĸĐĞƌ
                     Officer                    instructed W/
                                                ŝŶƐƚƌƵĐƚĞĚ      ic                        to Ğǆŝƚ
                                                                                          ƚŽ   exit ǁŚŝĐŚ
                                                                                                     which ŚĞ   he ƌĞĨƵƐĞĚ͘
                                                                                                                     refused. KĸĐĞƌOfficer                     grabbed
                                                                                                                                                               ŐƌĂďďĞĚ
W/
PIC       EEE ƐŚŽƵůĚĞƌshoulder ĂŶĚ   and ƉƵƐŚĞĚͬƉƵůůĞĚ
                                             pushed/pulled Śŝŵ      him ƚŽǁĂƌĚƐ
                                                                             towards ƚŚĞ     the ŐĂƚĞ͕
                                                                                                   gate, ǁŚŝĐŚ
                                                                                                            which ŚĞ  he ƌĞƐŝƐƚĞĚ
                                                                                                                           resisted ƉƵůůŝŶŐ
                                                                                                                                          pulling ĂǁĂǇ away ĂŶĚ   and
walked ďĂĐŬ
ǁĂůŬĞĚ    back ƚŽto ŚŝƐ
                     his ĐĞůů
                           cell ;                                                         Ϳ͘ W/                     repeatedly ƚƌŝĞĚ
                                                                                                                     ƌĞƉĞĂƚĞĚůǇ         tried ƚŽ  to ŽƉĞŶ
                                                                                                                                                      open ŚŝƐ   his ĐĞůů
                                                                                                                                                                       cell
ĂŶĚ   ǁĂƐ  ƵŶĂďůĞ     ƚŽ͘
and was unable to. Captain  ĂƉƚĂŝŶ                                                ĂƉƚĂŝŶ                                          ĂŶĚ    ĂƉƚĂŝŶ
                                                                                                                                     and Captain
                       ĞŶƚĞƌĞĚ
                       entered ƚŚĞ   the ƟĞƌtier ĂŶĚ
                                                   and ƐƉŽŬĞ
                                                          spoke ƚŽ to W/
                                                                       PIC                        ǁŚŽ
                                                                                                  who ƌĞĨƵƐĞĚ
                                                                                                         refused ƚŽ   to Ğǆŝƚ
                                                                                                                          exit ĂŶĚand ďĞĐĂŵĞ
                                                                                                                                          became ĂŶŝŵĂƚĞĚ
                                                                                                                                                        animated
ĂĚǀĂŶĐŝŶŐ
advancing ƚŽǁĂƌĚƐ
              towards ƚŚĞ   the ďĂĐŬ
                                   back ŽĨ of ƚŚĞ
                                                the ƟĞƌ
                                                      tier ǁŚĞŶ
                                                            when KĸĐĞƌ
                                                                     Officer                      ƐƚĞƉƉĞĚ
                                                                                                  stepped ŝŶ    in ĨƌŽŶƚ
                                                                                                                    front ŽĨof Śŝŵhim ǁŝƚŚ
                                                                                                                                         with ŚĞƌ her ĂƌŵƐ
                                                                                                                                                        arms
ĞǆƚĞŶĚĞĚ
extended blocking his movement. At approximately 0247 hours the Probe team entered the tier ĂŶĚ
             ďůŽĐŬŝŶŐ      ŚŝƐ   ŵŽǀĞŵĞŶƚ͘           ƚ  ĂƉƉƌŽǆŝŵĂƚĞůǇ             ϬϮϰϳ      ŚŽƵƌƐ     ƚŚĞ    WƌŽďĞ     ƚĞĂŵ      ĞŶƚĞƌĞĚ        ƚŚĞ   ƟĞƌ     and
ĂƉƉƌŽĂĐŚĞĚ
approached W/   PIC                   ĂƐ
                                        as ŽƚŚĞƌ
                                             other ƐƚĂīstaff ĞǆŝƚĞĚ
                                                              exited ƚŚĞthe ĂƌĞĂ area ;a                                      Ϳ͘. KĸĐĞƌ
                                                                                                                                   Officer
        ƐƉŽŬĞ
        spoke ƚŽ  to W/
                      PIC                     ǁŚŽ
                                              who ƚƵƌŶĞĚ
                                                      turned ĂǁĂǇaway ĂŶĚ  and ƌĞŵĂŝŶĞĚ
                                                                                    remained ďǇ      by ŚŝƐ
                                                                                                          his ĐĞůů
                                                                                                               cell Ăƚ
                                                                                                                     at ǁŚŝĐŚ
                                                                                                                         which ƟŵĞ  time KĸĐĞƌƐ
                                                                                                                                             Officers
                                          ĂŶĚ
                                          and                                                 ŐƌĂďďĞĚ
                                                                                              grabbed W/   Pic          a's ΖƐ ǁƌŝƐƚƐ
                                                                                                                                     wrists ǁŚĞŶ when W/   PIC




                  --
             held ŽŶƚŽ
             ŚĞůĚ    onto ƚŚĞ the ŚĂŶĚůĞ
                                    handle ŽĨ    of ƚŚĞ
                                                     the ĐĞůů
                                                           cell ĂŶĚ
                                                                 and ƉƵůůĞĚ
                                                                       pulled ŚŝƐ     his ŚĂŶĚƐ
                                                                                            hands ĂǁĂǇaway ĂĐƟǀĞůǇ
                                                                                                                actively ƌĞƐŝƐƟŶŐ
                                                                                                                            resisting ĂŶĚ   and ƚǁŝƐƟŶŐ
                                                                                                                                                    twisting ŚŝƐ    his
body. Officers
ďŽĚǇ͘  KĸĐĞƌƐ                  and BE
                               ĂŶĚ                 cach attempted to pull PIC
                                                   ĞĂĐŚ    ĂƩĞŵƉƚĞĚ           ƚŽ   ƉƵůů    W/                      hands away from the cell. Officer
                                                                                                                    ŚĂŶĚƐ    ĂǁĂǇ       ĨƌŽŵ       ƚŚĞ  ĐĞůů͘     KĸĐĞƌ
           ƵƟůŝǌĞĚ
           utilized ŽŶĞone ĂƉƉůŝĐĂƟŽŶ
                               application ŽĨ     of ĐŚĞŵŝĐĂů
                                                      chemical ĂŐĞŶƚagent ƚŽ    to W/PIC                    ĨĂĐŝĂů ĂƌĞĂ ƚŚĂƚ ĚŝĚ ŶŽƚ ƚĂŬĞ ŝƚƐ
ĚĞƐŝƌĞĚ
desired ĞīĞĐƚ
          effect ;                                                      Ϳ͘). KĸĐĞƌ
                                                                              Officer                   ǁĂƐ
                                                                                                        was ĂƉƉůǇŝŶŐ
                                                                                                               applying ƌĞƐƚƌĂŝŶƚƐ
                                                                                                                             restraints ĂƐ      as W/
                                                                                                                                                    Pic         a
ƌĞĨƵƐĞĚ   ƚŽ  ůĞƚ  ŐŽ   ŽĨ  ƚŚĞ    ŚĂŶĚůĞ͕
refused to let go of the handle, Officer         KĸĐĞƌ               ŐƌĂďďĞĚ           ĂŶĚ     ƉƵůůĞĚ
                                                                      grabbed and pulled repeatedly PIC  ƌĞƉĞĂƚĞĚůǇ        W/                         Ăƌŵ
                                                                                                                                                       arm until ŝt
                                                                                                                                                               ƵŶƟů      it
ƌĞůĞĂƐĞĚ
released ƚŚĞ
           the ŚĂŶĚůĞ͕
                  handle, ĂŶĚ  and ŚĞ he ǁĂƐ
                                           was ĐŽŵƉůĞƚĞůǇ
                                                   completely ŇĞǆ   flex ĐƵīĞĚ
                                                                             cuffed ;                                                 Ϳ͘ KĸĐĞƌi                      ǁĂƐ
                                                                                                                                                                     was
holding ƚŚĞ
ŚŽůĚŝŶŐ   the ƌĞƐƚƌĂŝŶƚƐ
                restraints ǁƌŝƐƚ wrist ĂƌĞĂ
                                          area ǁŚĞŶ
                                                  when ŚĞ   he ƉƵůůĞĚ
                                                                pulled ĂŶĚ   and W/ PIC                    turned ĂŶĚ
                                                                                                            ƚƵƌŶĞĚ      and ǁĞŶƚ
                                                                                                                              went ĚŽǁŶ  down ƚŽ    to ƚŚĞ
                                                                                                                                                        the ŇŽŽƌfloor
ĂŶĚ
and ƌĞŵĂŝŶĞĚ
      remained ŽŶ   on ƚŚĞ
                         the ŇŽŽƌ
                                floor ƵŶƟů
                                         until ŚĞhe ǁĂƐ
                                                      was ĂƐƐŝƐƚĞĚ
                                                             assisted ƚŽ    to ŚŝƐ
                                                                                 his ĨĞĞƚ͕
                                                                                       feet, ĞƐĐŽƌƚĞĚ
                                                                                                escorted ŽƵƚ   out ŽĨof YƵĂĚ
                                                                                                                         Quad hƉƉĞƌUpper ϭϰ     14 ĂŶĚ
                                                                                                                                                     and ĚŽǁŶdown ƚŚĞ   the
ƐƚĂŝƌƐ
stairs ǁŚĞƌĞ
       where ŚĞ  he ǁĂƐ
                      was ƐĞĐƵƌĞĚ
                              secured ŝŶ    in Ăa ƌĞƐƚƌĂŝŶƚ
                                                   restraint ĐŚĂŝƌ
                                                                chair fr ;                                                                        ͘

sŝĚĞŽ
Video ^ƵƌǀĞŝůůĂŶĐĞ
      Surveillance ZĞǀŝĞǁ
                   Review

The following ĐĂŵĞƌĂ
dŚĞ ĨŽůůŽǁŝŶŐ camera ĂŶŐůĞƐ
                     angles ĨŽƌ
                            for D<
                                AMKC YƵĂĚ
                                     Quad ϭϰ
                                          14 hƉƉĞƌ
                                             Upper ŚŽƵƐŝŶŐ
                                                   housing ĂƌĞĂ
                                                           area ǁĞƌĞ
                                                                were ƌĞǀŝĞǁĞĚ
                                                                     reviewed ĨŽƌ
                                                                              for DĂƌĐŚ
                                                                                  March ϯϬ͕
                                                                                        30, ϮϬϮϯ
                                                                                            2023
ďĞƚǁĞĞŶ
between ƚŚĞ
        the ŚŽƵƌƐ
            hours ŽĨ
                  of ϬϮϭϱ
                     0215 ĂŶĚ
                          and ϬϯϮϮ͘
                              0322. ĂŵĞƌĂ
                                    Camera ĂŶŐůĞƐ͗
                                           angles:




t




                                                                                                                                                       Exh
                                                                                                                                                       Exh bit
                                                                                                                                                           bit 35
                                                                                                                                                               35 at
                                                                                                                                                                  at 18
                                                                                                                                                                     18
        Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 20 of 71




'ĞŶĞƚĞĐ͕
Genetec, ,ĂŶĚŚĞůĚ
         Handheld ĂŶĚ
                  and t
                      BWC ^ƵƌǀĞŝůůĂŶĐĞ Footage ĚĞƉŝĐƚ
                          Surveillance &ŽŽƚĂŐĞ depict ƚŚĞ
                                                      the ŝŶĐŝĚĞŶƚ
                                                          incident ĂƐ
                                                                   as ƐƚĂƚĞĚ
                                                                      stated ĂďŽǀĞ
                                                                             above

-On Po
-KŶ                                   04:32 ŽĨ
                                   Ăƚ Ϭϰ͗ϯϮ  of ĞůĂƉƐĞĚ
                                                elapsed ƟŵĞ
                                                         time ŽŶĞ
                                                              one ĐĂƉƚĂŝŶ
                                                                   captain ŝƐ
                                                                           is ŚĞĂƌĚ
                                                                              heard ƐĂǇŝŶŐ
                                                                                     saying ǁĞ
                                                                                             we ŶĞĞĚ
                                                                                                 need ƚŽ
                                                                                                       to ƐƚŽƉ
                                                                                                          stop
ǁŝƚŚ
with ƚŚĞƐĞ
      these ŵŽƚŚĞƌĨƵĐŬĞƌƐ
            motherfuckers ƚŚĂƚ
                          that ĂƌĞ
                               are ŐŝǀŝŶŐ
                                   giving ƵƐ
                                           us ŝƐƐƵĞƐ
                                              issues ŝŶ
                                                     in ŽƵƌ
                                                        our ŚŽƵƐŝŶŐ
                                                            housing ĂƌĞĂƐ
                                                                     areas ;ƚŚĞ
                                                                           (the ĐĂŵĞƌĂ
                                                                                 camera ǁĂƐ
                                                                                          was ƋƵŝĐŬůǇ
                                                                                               quickly ƚƵƌŶĞĚ
                                                                                                       turned
ŽīͿ͘
off).

^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ͕
          Injuries, ĐĐƵƌĂĐǇ
                    Accuracy ŽĨ
                             of ĐůĂƐƐŝĮĐĂƟŽŶ
                                classification

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury η# ϲϳϭϯͬ&zϮϯ͕
                         6713/FY23, ŽŶon DĂƌĐŚ
                                         March ϯϬ͕
                                                30, ϮϬϮϯ͕
                                                    2023, Ăƚ
                                                           at ϭϬϬϬ
                                                               1000 ŚŽƵƌƐ͕
                                                                     hours, W/
                                                                             PIC           ǁĂƐ
                                                                                           was ĂīŽƌĚĞĚ
                                                                                               afforded ĚĞůĂǇĞĚ
                                                                                                        delayed
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ
          attention ŝŶ
                     in ǁŚŝĐŚ
                        which ŵĞĚŝĐĂů
                               medical ŶŽƚĞĚ͗
                                        noted: /ŶŵĂƚĞ
                                               Inmate ĮŐŚƚ
                                                       fight ƉĂƟĞŶƚ
                                                              patient ĚĞŶŝĞƐ
                                                                       denies ĂŶǇ
                                                                                any ŝŶũƵƌǇ͘
                                                                                    injury. dŚĞƌĞ
                                                                                            There ǁĞƌĞ
                                                                                                  were ŶŽ
                                                                                                        no ǀŝƐŝďůĞ
                                                                                                           visible
ŝŶũƵƌŝĞƐ͘
injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury η# ϱϲϳϭϮͬ&zϮϯ͕
                         56712/FY23, ŽŶon DĂƌĐŚ
                                          March ϯϬ͕
                                                 30, ϮϬϮϯ͕
                                                     2023, Ăƚ
                                                            at ϬϵϭϬ
                                                               0910 ŚŽƵƌƐ͕
                                                                    hours, W/
                                                                            Pic    a       ǁĂƐ
                                                                                           was ĂīŽƌĚĞĚ
                                                                                               afforded ĚĞůĂǇĞĚ
                                                                                                        delayed
medical ĂƩĞŶƟŽŶ
ŵĞĚŝĐĂů   attention ŝŶ
                     in ǁŚŝĐŚ
                        which ŵĞĚŝĐĂů
                               medical ŶŽƚĞĚ͗
                                        noted: ĚĞŶŝĞƐ
                                               denies ĂŶǇ
                                                       any ĐŽŵƉůĂŝŶƚƐ͕
                                                           complaints, ŶŽ
                                                                        no ƐŝŐŶ
                                                                           sign ŽĨ
                                                                                of ŝŶũƵƌǇ͘
                                                                                   injury. dŚĞƌĞ
                                                                                           There ǁĞƌĞ
                                                                                                  were ŶŽ
                                                                                                       no ǀŝƐŝďůĞ
                                                                                                          visible
ŝŶũƵƌŝĞƐ͘
injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽ to /ŶũƵƌǇ
                  Injury η# ϲϳϬϴͬ&zϮϯ͕
                            6708/FY23, ŽŶ  on DĂƌĐŚ
                                               March ϯϬ͕30, ϮϬϮϯ͕
                                                            2023, Ăƚ
                                                                   at ϬϰϬϬ
                                                                      0400 ŚŽƵƌƐ͕
                                                                            hours, W/Pic     TE ǁĂƐ  was ĂīŽƌĚĞĚ
                                                                                                           afforded ƉƌŽŵƉƚ
                                                                                                                     prompt
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ
          attention ǁŚŝĐŚ
                        which ŚĞhe ƌĞĨƵƐĞĚ͘
                                    refused. DĞĚŝĐĂů
                                                Medical ŶŽƚĞĚ
                                                          noted ƉĂƟĞŶƚ
                                                                 patient ǁĂƐ
                                                                          was ƉƌĞƐĞŶƚĞĚ
                                                                               presented ŝŶ in Ă
                                                                                               a ǁŚĞĞůĐŚĂŝƌ͕
                                                                                                 wheelchair, ĂŌĞƌ
                                                                                                               after
ĂůƚĞƌĐĂƟŽŶ
altercation reported that he was assaulted by multiple PICs. Exam: No acute distress, nasal ďůĞĞĚŝŶŐ
              ƌĞƉŽƌƚĞĚ     ƚŚĂƚ  ŚĞ  ǁĂƐ  ĂƐƐĂƵůƚĞĚ    ďǇ  ŵƵůƟƉůĞ   W/Ɛ͘ ǆĂŵ͗    EŽ  ĂĐƵƚĞ  ĚŝƐƚƌĞƐƐ͕ ŶĂƐĂů  bleeding ƌŝŐŚƚ
                                                                                                                         right
ĨƌŽŶƚĂů
frontal ĂŶĚ
         and ůĞŌ
               left ƚĞŵƉŽƌĂů
                     temporal ƐǁĞůůŝŶŐ͘
                                 swelling. ZĞĨƵƐĞĚ
                                             Refused ŵĞĚŝĐĂů
                                                       medical ĞǆĂŵŝŶĂƟŽŶ
                                                                 examination ǁŝƚŚ
                                                                                with ŵĞĚŝĐĂů
                                                                                       medical ĂŶĚ
                                                                                                and ŽĐƚŽƌ
                                                                                                     Doctor
ĂƐĞ
Case ĚŝƐĐƵƐƐĞĚ
       discussed ǁŝƚŚwith ƌ͘
                           Or. RB ;ƵƌŐŝ(urgi ĐĂƌĞͿ
                                              care) D^
                                                     EMS ƌƵŶ
                                                           run ƌĞĐŽŵŵĞŶĚĞĚ͘
                                                                recommended. /ƚ   It ǁĂƐ
                                                                                     was ŶŽƚĞĚ
                                                                                          noted ƉŽƐƚ-ĐŽŶĐƵƐƐŝǀĞ
                                                                                                  post-concussive
ƐǇŶĚƌŽŵĞ
syndrome or head injury requiring imaging such as CT or MRI. There were visible ŝŶũƵƌŝĞƐ͘
             Žƌ  ŚĞĂĚ    ŝŶũƵƌǇ ƌĞƋƵŝƌŝŶŐ    ŝŵĂŐŝŶŐ   ƐƵĐŚ   ĂƐ d Žƌ DZ/͘  dŚĞƌĞ    ǁĞƌĞ  ǀŝƐŝďůĞ injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
                Injury η# ϲϳϭϱͬ&zϮϯ͕
                          6715/FY23, ŽŶ
                                     on DĂƌĐŚ
                                         March ϯϬ͕
                                                30, ϮϬϮϯ͕
                                                     2023, Ăƚ
                                                           at ϭϬϭϱ
                                                              1015 ŚŽƵƌƐ͕
                                                                   hours, W/
                                                                           ic               ǁĂƐ
                                                                                            was ĂīŽƌĚĞĚ
                                                                                                 afforded
ĚĞůĂǇĞĚ
delayed ŵĞĚŝĐĂů
          medical ĂƩĞŶƟŽŶ
                     attention ǁŚŝĐŚ
                               which ŚĞ
                                     he ƌĞĨƵƐĞĚ͘
                                        refused. DĞĚŝĐĂů
                                                   Medical ŶŽƚĞĚ
                                                            noted ĚĞŶŝĞƐ
                                                                  denies ŝŶũƵƌǇ͕
                                                                          injury, ƌĞĨƵƐŝŶŐ
                                                                                  refusing ŵĞĚŝĐĂů͘
                                                                                           medical. dŚĞƌĞ
                                                                                                    There ǁĞƌĞ
                                                                                                          were
ŶŽ
no ǀŝƐŝďůĞ
   visible ŝŶũƵƌŝĞƐ͘
            injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to /ŶũƵƌǇ
             Injury η
                    # ϲϳϭϭͬ&zϮϯ͕
                      6711/FY23, ŽŶ
                                  on DĂƌĐŚ
                                     March ϯϬ͕
                                           30, ϮϬϮϯ͕
                                               2023, Ăƚ
                                                      at ϬϵϭϬ
                                                         0910 ŚŽƵƌƐ͕
                                                               hours, W/
                                                                      PIC      ǁĂƐ
                                                                                was ĂīŽƌĚĞĚ
                                                                                    afforded ĚĞůĂǇĞĚ
                                                                                               delayed
ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ    ǁŚŝĐŚ ŚĞ ƌĞĨƵƐĞĚ͘ DĞĚŝĐĂů ŶŽƚĞĚ  ĚĞŶŝĞƐ  ŝŶũƵƌǇ͘ dŚĞƌĞ ǁĞƌĞ ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͘
medical attention which he refused. Medical noted denies injury. There were no visible injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽ to /ŶũƵƌǇ
                Injury η
                       # ϲϳϭϰͬ&zϮϯ͕
                         6714/FY23, ŽŶ
                                     on DĂƌĐŚ
                                        March ϯϬ͕
                                               30, ϮϬϮϯ͕
                                                   2023, Ăƚ
                                                          at ϬϵϱϬ
                                                             0950 ŚŽƵƌƐ͕
                                                                   hours, W/
                                                                          PICA      ǁĂƐ
                                                                                    was ĂīŽƌĚĞĚ
                                                                                         afforded ĚĞůĂǇĞĚ
                                                                                                   delayed
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ
          attention ǁŚŝĐŚ
                      which ŚĞ
                            he ƌĞĨƵƐĞĚ͘
                               refused. DĞĚŝĐĂů
                                        Medical ŶŽƚĞĚ
                                                 noted ƉĂƟĞŶƚ
                                                        patient ƌĞĨƵƐĞĚ
                                                                 refused ĂŶĚ
                                                                         and ŶŽ
                                                                              no ǀŝƐŝďůĞ
                                                                                 visible ŝŶũƵƌŝĞƐ͘
                                                                                         injuries. dŚĞƌĞ
                                                                                                   There ǁĞƌĞ
                                                                                                         were ŶŽ
                                                                                                              no
ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͘
visible injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
              Injury η
                     # ϲϳϭϬͬ&zϮϯ͕
                       6710/FY23, ŽŶ
                                   on DĂƌĐŚ
                                      March ϯϬ͕
                                             30, ϮϬϮϯ͕
                                                 2023, Ăƚ
                                                        at ϬϲϮϮ
                                                            0622 ŚŽƵƌƐ͕
                                                                   hours, W/
                                                                          Pic                ǁĂƐ ĂīŽƌĚĞĚ
                                                                                           was   afforded ƉƌŽŵƉƚ
                                                                                                          prompt
medical ĂƩĞŶƟŽŶ
ŵĞĚŝĐĂů  attention ǁŚŝĐŚ
                    which ŚĞ
                          he ƌĞĨƵƐĞĚ͘
                             refused. dŚĞƌĞ
                                      There ǁĞƌĞ
                                            were ŶŽno ǀŝƐŝďůĞ
                                                      visible ŝŶũƵƌŝĞƐ͘
                                                               injuries.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
                 Injury η# ϲϳϭϲͬ&zϮϯ͕
                           6716/FY23, ŽŶon DĂƌĐŚ
                                           March ϯϬ͕
                                                   30, ϮϬϮϯ͕
                                                        2023, Ăƚ
                                                               at ϭϬϭϬ
                                                                  1010 ŚŽƵƌƐ͕
                                                                        hours, W/
                                                                                Pic        ǁĂƐ
                                                                                           was ĂīŽƌĚĞĚ
                                                                                                afforded ĚĞůĂǇĞĚ
                                                                                                         delayed
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ
          attention ŝŶ in ǁŚŝĐŚ
                          which ŵĞĚŝĐĂů
                                 medical ŶŽƚĞĚ͗
                                          noted: ƌŝŐŚƚ
                                                  right ǁƌŝƐƚ
                                                         wrist ƐǁŽůůĞŶ͕
                                                               swollen, ƚĞŶĚĞƌ͕
                                                                         tender, ŵŽǀĞŵĞŶƚ
                                                                                  movement ƌĞĚƵĐĞĚ͘
                                                                                            reduced. dƌĞĂƚŵĞŶƚ͗
                                                                                                      Treatment: ǆ-
                                                                                                                 x-
ƌĂǇ͕ ƉĂŝŶ ŬŝůůĞƌ͘  dŚĞƌĞ   ǁĞƌĞ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͘
ray, pain killer. There were visible injuries.

This ŝŶĐŝĚĞŶƚ
dŚŝƐ incident ŝƐ
              is ŝŶĐŽƌƌĞĐƚůǇ
                 incorrectly ĐůĂƐƐŝĮĞĚ
                               classified ĂƐ
                                          as Ăa'"B".
                                                ΗΗ͘ The   correct ĐůĂƐƐŝĮĐĂƟŽŶ
                                                     dŚĞ ĐŽƌƌĞĐƚ   classification ŝƐ
                                                                                  is Ăa'"C"  as W/Ɛ
                                                                                        ΗΗ ĂƐ   Pics i        and
                                                                                                               ĂŶĚ
P|         ǁĞƌĞ
           were ŝŶǀŽůǀĞĚ
                  involved ŝŶ
                            in Ăa ĮŐŚƚ
                                  fight ĂŶĚ
                                        and ƚŚĞ
                                             the ŝŶũƵƌŝĞƐ
                                                  injuries ƐƵƐƚĂŝŶĞĚ
                                                            sustained ǁĞƌĞ
                                                                       were ĚƵĞ
                                                                              due ƚŽ
                                                                                  to ƚŚĂƚ
                                                                                      that ĮŐŚƚ
                                                                                            fight ĂŶĚ
                                                                                                   and ƐƚĂī
                                                                                                       staff ĂĐƟŽŶƐ͘
                                                                                                             actions.


A ƌĞƋƵĞƐƚ
  request ǁĂƐ
          was ƐĞŶƚ
              sent ƚŽ
                   to ƚŚĞ
                      the ĐŚŝĞĨΖƐ
                          chief's ŽĸĐĞ
                                  office ƌĞƋƵĞƐƟŶŐ
                                         requesting ƚŚŝƐ
                                                    this ŝŶĐŝĚĞŶƚ
                                                         incident ďĞ
                                                                  be ƌĞĐůĂƐƐŝĮĞĚ
                                                                     reclassified

ƌŝĞĨ
Brief ƐƵŵŵĂƌǇ
      summary ŽĨ
              of W/;ƐͿ
                 PIC(s) ĂŶĚ
                        and ^ƚĂī
                            Staff ^ƚĂƚĞŵĞŶƚ;ƐͿ
                                  Statement(s)




                                                                                                               Exh
                                                                                                               Exh bit
                                                                                                                   bit 35
                                                                                                                       35 at
                                                                                                                          at 19
                                                                                                                             19
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W/Ɛ                                                                                              ƌĞĨƵƐĞĚ ƚŽ ƉƌŽǀŝĚĞ Ă
statement ƚŽ
ƐƚĂƚĞŵĞŶƚ to ƚŚĞ
             the ĨĂĐŝůŝƚǇ͘
                 facility.

KŶ
On Ɖƌŝů


ƐƚĂƚĞĚ͕
ŝĨif ŚĞ
       April ϲ͕
Investigator
/ŶǀĞƐƟŐĂƚŽƌ
stated, ŚĞ
     he ǁŽƵůĚ
door ďĞ
ĚŽŽƌ
              6, ϮϬϮϯ
                 2023 Ăƚ


            he ƐƉŽŬĞ
                spoke ƚŽ
         would ůŝŬĞ
                  like ƚŽ
          be ĐůŽƐĞĚ͘
             closed.
                         at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                            approximately Ϭϴϯϵ
                           EE
                         to WZ͘
                       to ƐƉĞĂŬ
                           speak ĂďŽƵƚ
                                 about ƚŚĞ
                                            0839 ŚŽƵƌƐ
                                    ŝŶƚĞƌǀŝĞǁĞĚ
                            PREA. W/
                                   PIC
                                         the hK&͕
                                                  hours /ŶǀĞƐƟŐĂƚŽƌ
                                     interviewed W/
                                                  Pic       a ŝŶ
                                                   then ŶŽĚĚĞĚ
                                                  ƚŚĞŶ
                                             UOF, ĂŶĚ
                                                   and ŚĞ
                                                         nodded ŝŶ
                                                        he ůĂŝĚ
                                                                       -
                                                          Investigator [in
                                                                   in D<
                                                                       AMKCQ_Y Ě
                                                                   in Ăa ŶŽ
                                                            laid ďĂĐŬ
                                                                 back ĚŽǁŶ
                                                                          no ŵŽƟŽŶ
                                                                                         ĂŶĚ
                                                                                         and ŽƌƌĞĐƟŽŶ
                                                                                   d hƉƉĞƌ
                                                                                      Upper ϰ
                                                                             motion ƐƚĂƟŶŐ͕
                                                                         down ŽŶon ŚŝƐ
                                                                                              Correction KĸĐĞƌ
                                                                                              4 ĐĞůů
                                                                                                 cell η
                                                                                      stating, ΗŶŽƚ
                                                                                   his ďĞĚ
                                                                                        bed ĂŶĚ
                                                                                                      # Ϯϰ
                                                                                                            Officer
                                                                                                         24 ĂƌĞĂ͘
                                                                                                            area. W/
                                                                                                "not ŶĞĐĞƐƐĂƌŝůǇ
                                                                                                                   Pic
                                                                                                       necessarily ǁŚĞŶ
                                                                                             and ƌĞƋƵĞƐƚĞĚ
                                                                                                   requested ƚŚĂƚ
                                                                                                                     when ĂƐŬĞĚ
                                                                                                                that ŚŝƐ
                                                                                                                              asked
                                                                                                                       his ĐĞůů
                                                                                                                           cell



ǀĂŝůĂďůĞ
Available ƐƚĂī
          staff ƌĞƉŽƌƚƐ
                reports ǁĞƌĞ
                        were ĐŽŶƐŝƐƚĞŶƚ
                             consistent ǁŝƚŚ
                                        with ǁŚĂƚ
                                             what ǁĂƐ
                                                  was ŽďƐĞƌǀĞĚ
                                                      observed ŽŶ
                                                               on ǀŝĚĞŽ
                                                                  video ĨŽŽƚĂŐĞ͘
                                                                        footage.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

The  facility ƌĂƉŝĚ
dŚĞ ĨĂĐŝůŝƚǇ  rapid ƌĞǀŝĞǁ
                    review ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                        that ƚŚŝƐ
                                              this ŝŶĐŝĚĞŶƚ
                                                   incident ǁĂƐ
                                                            was ĂǀŽŝĚĂďůĞ
                                                                 avoidable ĂŶĚ
                                                                            and ŝĚĞŶƟĮĞĚ
                                                                                identified ƚŚĞ
                                                                                            the ĨŽůůŽǁŝŶŐ
                                                                                                following
violations: Officer
ǀŝŽůĂƟŽŶƐ͗    KĸĐĞƌ          will be made the subject of a Corrective Interview being off post ;DK^
                             ǁŝůů ďĞ ŵĂĚĞ   ƚŚĞ  ƐƵďũĞĐƚ ŽĨ Ă ŽƌƌĞĐƟǀĞ  /ŶƚĞƌǀŝĞǁ  ďĞŝŶŐ  Žī  ƉŽƐƚ  (MOS ƐŚŽƵůĚ
                                                                                                          should
 ŚĂǀĞ
 have ƌĞƚƵƌŶĞĚ
       returned ƐƚƌĂŝŐŚƚ
                 straight ďĂĐŬ
                            back ƚŽ
                                  to ƉŽƐƚ
                                      post ĂŌĞƌ
                                            after ĞƐĐŽƌƟŶŐ
                                                   escorting W/
                                                               PIC ƚŽ
                                                                   to ĐůŝŶŝĐͿ͘
                                                                      clinic). dŚĞ
                                                                                The ĨĂĐŝůŝƚǇ
                                                                                     facility ǁŝůů
                                                                                               will ďĞ
                                                                                                     be ŵĂŬŝŶŐ
                                                                                                        making ĂƉƚĂŝŶ
                                                                                                                Captain
|     | ƚŚĞthe ƐƵďũĞĐƚ
               subject ŽĨ
                        of Ăa ŽŵŵĂŶĚ
                               Command ŝƐĐŝƉůŝŶĞ
                                             Discipline ĨŽƌ
                                                         for ŝŶƐƚƌƵĐƟŶŐ
                                                             instructing KĸĐĞƌ
                                                                            Officer             to ůĞĂǀĞ
                                                                                                ƚŽ  leave ŚĞƌ
                                                                                                          her ƉŽƐƚ͘
                                                                                                              post. dŚĞ
                                                                                                                     The
 ŽŵŵĂŶĚ
 Command ŝƐĐŝƉůŝŶĞ
             Discipline ǁĂƐ
                         was ĐƌĞĂƚĞĚ
                               created ϬϰͬϭϴͬϮϯ
                                          04/18/23 ƵŶĚĞƌ
                                                      under ĞƉĂƌƚŵĞŶƚ
                                                              Department    CD >ŽŐ
                                                                                   Log η͗
                                                                                        #: ϭϰϰϯͬϮϯ
                                                                                            1443/23 ĂŶĚand ŽŵŵĂŶĚ
                                                                                                            Command    CD >ŽŐ
                                                                                                                            Log
 η͗
 #: D<ϰϭϮͬϮϯ͘
    AMKC412/23. dŚĞ The ĨĂĐŝůŝƚǇ
                         facility ǁŝůů
                                  will ĂůƐŽ
                                        also ďĞ
                                              be ŵĂŬŝŶŐ
                                                  making KĸĐĞƌ
                                                           Officer Ji ƚŚĞ  the ƐƵďũĞĐƚ
                                                                                subject ŽĨ of ϱϬϬϯ
                                                                                              5003B ĐŽƵŶƐĞůŝŶŐ
                                                                                                       counseling ĨŽƌ
                                                                                                                   for ĨĂŝůƵƌĞ
                                                                                                                       failure
 ƚŽ ĐĂƉƚƵƌĞ  ƚŚĞ ŝŶĐŝĚĞŶƚ   ŽŶ   ŚĂŶĚŚĞůĚ͘
 to capture the incident on handheld.

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ŚĂƐ
                           has ŐĞŶĞƌĂƚĞĚ
                               generated aĂ ĨĂĐŝůŝƚǇ
                                            facility ƌĞĨĞƌƌĂů
                                                     referral ƌĞƋƵĞƐƟŶŐ
                                                              requesting ƚŚĂƚ
                                                                         that ƚŚĞ
                                                                              the ĨĂĐŝůŝƚǇ
                                                                                  facility ŝŵƉĂƌƚ
                                                                                           impart Ăůů
                                                                                                  all ĚŝƐĐŝƉůŝŶĞ
                                                                                                      discipline
ĂƐ
as ƉĞƌ
   per ƚŚĞ
       the ƌĂƉŝĚ
            rapid ƌĞǀŝĞǁ
                   review ĂŶĚ
                          and ŐĞŶĞƌĂƚĞ
                              generate ƚŚĞ
                                        the ĐŽƌƌĞĐƟǀĞ
                                            corrective ŝŶƚĞƌǀŝĞǁ
                                                       interview ĂŶĚ
                                                                 and ϱϬϬϯ
                                                                     5003B ĐŽƵŶƐĞůŝŶŐ
                                                                           counseling ĚŽĐƵŵĞŶƚĂƟŽŶ
                                                                                      documentation ĂŶĚ
                                                                                                    and
ĨŽƌǁĂƌĚ  ƚŽ  ƚŚĞ /ŶǀĞƐƟŐĂƟŽŶ  ŝǀŝƐŝŽŶ͘
forward to the Investigation Division.

&ŝŶĂů
Final ŶŽƚĞ͗
      note: KĸĐĞƌ
            Officer is                              ŚĂƐ
                                                    has Ă
                                                        a 
                                                          CD ůŝƐƚĞĚ
                                                             listed ŝŶ
                                                                    in D^
                                                                       CMS ƵŶĚĞƌ
                                                                           under hϭϲϬϳͬϮϯ͕
                                                                                 U1607/23, ŚŽǁĞǀĞƌ
                                                                                           however ƚŚŝƐ
                                                                                                   this 
                                                                                                        CD ŝƐ
                                                                                                           is ĨŽƌ
                                                                                                              for
hϭϲϭϮͬϮϯ͘
U1612/23.

ŽŶĐůƵƐŝŽŶ
Conclusion

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                      that ƚŚĞ
                                           the ĨŽƌĐĞ
                                               force ƵƟůŝǌĞĚ
                                                     utilized ǁĂƐ
                                                              was ĂǀŽŝĚĂďůĞ͕
                                                                  avoidable, ďƵƚ
                                                                             but ďĞĐĂŵĞ
                                                                                 became ŶĞĐĞƐƐĂƌǇ͕
                                                                                        necessary,
ƉƌŽƉŽƌƟŽŶĂƚĞ͕
proportionate, ĂŶĚ
                and ŝŶ
                     in ĂĐĐŽƌĚĂŶĐĞ
                        accordance ǁŝƚŚ
                                      with ƚŚĞ
                                           the hƐĞ
                                               Use ŽĨ
                                                    of &ŽƌĐĞ
                                                       Force ŝƌĞĐƟǀĞ
                                                              Directive ϱϬϬϲZ-
                                                                        5006R-D ĂŶĚ
                                                                                and ŚĞŵŝĐĂů
                                                                                    Chemical ŐĞŶƚƐ
                                                                                             Agents ŝƌĞĐƟǀĞ
                                                                                                    Directive
ϰϱϭϬZ-,͕
4510R-H, ƚŽ
          to ƐƚŽƉ
             stop Ă
                  a W/
                    PIC ĮŐŚƚ͕
                         fight, ŐĂŝŶ
                                gain ĐŽŵƉůŝĂŶĐĞ
                                     compliance ĂŶĚ
                                                  and ĂǀŽŝĚ
                                                       avoid ŝŶũƵƌǇ͘
                                                             injury.

ĂƐĞĚ
Based ŽŶ
      on ƚŚĞ
         the ĞǀŝĚĞŶĐĞ
             evidence ĂƐ
                      as ĐŝƚĞĚ
                         cited ĂďŽǀĞ͕
                               above, ŝƚ
                                      it ŝƐ
                                         is ƌĞĐŽŵŵĞŶĚĞĚ
                                            recommended ƚŚĂƚ
                                                        that ƚŚŝƐ
                                                             this ĐĂƐĞ
                                                                  case ďĞ
                                                                       be ĐůŽƐĞĚ
                                                                          closed ǁŝƚŚ
                                                                                 with Ă
                                                                                      a &ĂĐŝůŝƚǇ
                                                                                        Facility ƌĞĨĞƌƌĂů͘
                                                                                                 referral.




                                                                                                                   Exh
                                                                                                                   Exh bit
                                                                                                                       bit 35
                                                                                                                           35 at
                                                                                                                              at 20
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for May
                                   May 2023
                                       2023 (UOF
                                            (UOF 1910/23)
                                                 1910/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&͗
                                                UOF: hϭϵϭϬͬϮϯ
                                                     U1910/23

&ĂĐŝůŝƚǇ͗
Facility: D<
          AMKC

ƌŝĞĨ
Brief /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ͗
               Summary:

KŶ
On Ɖƌŝů
    April ϭϰ͕
           14, ϮϬϮϯ͕
                 2023, Ăƚ
                        at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                           approximately ϭϲϮϱ    1625 ŚŽƵƌƐ͕
                                                        hours, ŝŶin ,Wt
                                                                     BHPW ϭϵ  19 EŽƌƚŚ
                                                                                   North ĐŽƌƌŝĚŽƌ
                                                                                          corridor ĂƌĞĂ͕
                                                                                                    area, W/
                                                                                                            PIC
                                                ǁĂƐ
                                                was ƐĐƌĞĂŵŝŶŐ
                                                      screaming Ăƚ  at ƐƚĂī͕
                                                                        staff, KĸĐĞƌ
                                                                                Officer                                ǁĂƐ
                                                                                                                       was ŝŶin Ăa ǀĞƌďĂů
                                                                                                                                    verbal
exchange ǁĂƐ
ĞǆĐŚĂŶŐĞ     was ĂŶƚĂŐŽŶŝǌŝŶŐ
                   antagonizing ƚŚĞthe W/
                                        PIC                 DĞĚŝĐĂů ƐƚĂī                          wrapped ŚŝƐ
                                                                                                  ǁƌĂƉƉĞĚ      his ĂƌŵƐ
                                                                                                                   arms ĂƌŽƵŶĚ
                                                                                                                           around W/  PIC
             ƵƉƉĞƌ    ĐŚĞƐƚ  ĂƌĞĂ  ĂŶĚ   Ă   ƐƚƌƵŐŐůĞ
              upper chest area and a struggle ensued. PICĞŶƐƵĞĚ͘     W/              ǁĂƐ  ƚĂŬĞŶ  ƚŽ ƚŚĞ   ŇŽŽƌ͕   KĸĐĞƌ
                                                                                      was taken to the floor, Officer




                               -
                    ŐƌĂďďĞĚ
                    grabbed ĂŶĚ
                              and ŚĞůĚ
                                    held W/PIC               ůĞŐƐ
                                                               legs ĂƐas ƌĞƐƚƌĂŝŶƚƐ
                                                                          restraints ǁĞƌĞ
                                                                                       were ĂƉƉůŝĞĚ͘
                                                                                             applied. KĸĐĞƌ
                                                                                                       Officer                   ŚĂĚ
                                                                                                                                 had
both ŽĨ
ďŽƚŚ  of ŚŝƐ
          his ŚĂŶĚƐ
               hands ŽŶon W/
                           ic                   arms ĂŶĚ
                                               ĂƌŵƐ    and ĐŚĞƐƚ
                                                            chest ǁŚĞŶ
                                                                     when W/ Pic            stated ǇŽƵƌ
                                                                                             ƐƚĂƚĞĚ  your ŐŽŝŶŐ
                                                                                                            going ƚŽto ůŽƐĞ
                                                                                                                        lose ǇŽƵƌ
                                                                                                                               your job.
                                                                                                                                      ũŽď͘




                                                                                         -
KĸĐĞƌ
Officer               ƉůĂĐĞĚ  ŚŝƐ ŚĂŶĚ     ŽŶ
                      placed his hand on Pic     W/              ŶĞĐŬ͕   ĂŶĚ   ǇŽƵ   ŚĞĂƌ Śŝŵ   ĐŚŽŬŝŶŐ   Ăƚ  Ϯ͗ϮϬ   ŽĨ
                                                                  neck, and you hear him choking at 2:20 of elapsed time ĞůĂƉƐĞĚ      ƟŵĞ
ŽĨ                                       ͘. W/
                                             PIC ĂůůĞŐĞĚ
                                                  alleged ŽŶon ĐĂŵĞƌĂ
                                                                camera ƚŚĂƚ that KĸĐĞƌ
                                                                                  Officer              ƉƵŶĐŚĞĚ
                                                                                                       punched Śŝŵ  him ŝŶin ŚŝƐ
                                                                                                                              his ĨĂĐĞ͘
                                                                                                                                   face.
KŶ
On t
    BWC                                             Ăƚ
                                                    at ϬϬ͗Ϭϴ
                                                        00:08 ŽĨof ĞůĂƉƐĞĚ
                                                                    elapsed ƟŵĞtime ǇŽƵ
                                                                                      you ŽďƐĞƌǀĞ
                                                                                           observe KĸĐĞƌ
                                                                                                     Officer           move  ŵŽǀĞ ŚŝƐ  his
ŚĂŶĚ
hand ĨƌŽŵ
       from W/PIC              ďĂĐŬ
                                back ĂŶĚ
                                       and ǇŽƵ you ŚĞĂƌ
                                                    hear Ă a ƐŵĂĐŬŝŶŐ
                                                             smacking ƐŽƵŶĚ sound ;ĐĂŶŶŽƚ
                                                                                     (cannot ĐŽŶĮƌŵ
                                                                                              confirm ŝĨif ƚŚĞƌĞ
                                                                                                           there ǁĂƐ
                                                                                                                   was Ă a ƐŵĂĐŬ
                                                                                                                            smack Žƌ  or
ƉƵŶĐŚͿ͘
punch).

Ɛ
As Ăa ƌĞƐƵůƚ͕
      result, ƚŚŝƐ
              this ĐĂƐĞ
                   case ŝƐ
                        is ďĞŝŶŐ
                            being ƌĞĨĞƌƌĞĚ
                                   referred ĨŽƌ
                                             for ĨƵƌƚŚĞƌ
                                                 further ŝŶǀĞƐƟŐĂƟŽŶ
                                                          investigation ĨŽƌ
                                                                        for ĐŚŽŬŝŶŐ
                                                                            choking ŽĨ
                                                                                    of ƚŚĞ
                                                                                       the W/
                                                                                           PIC ĂŶĚ
                                                                                               and ƚŚĞ
                                                                                                   the ĂůůĞŐĂƟŽŶ
                                                                                                       allegation
that ŚĞ
ƚŚĂƚ  he ǁĂƐ
          was ƉƵŶĐŚĞĚ
               punched ŝŶ in ƚŚĞ
                             the ĨĂĐĞ͘
                                 face. W/
                                        PIC ŝŶƚĞƌǀŝĞǁ
                                            interview ŶĞĐĞƐƐĂƌǇ͘
                                                        necessary.

sŝĚĞŽ
Video ZĞǀŝĞǁ͗
      Review:

,ĂŶĚŚĞůĚ
Handheld ĐĂŵĞƌĂ
         camera ĨŽŽƚĂŐĞ
                footage

t͗
BWC:



'ĞŶĞƚĞĐ ŶŐůĞƐ͗                                                ǁĞƌĞ ƌĞǀŝĞǁĞĚ͘

Body ĂŵĞƌĂ
ŽĚǇ Camera

dŚĞ
The ďŽĚǇ-ǁŽƌŶ
    body-worn ĐĂŵĞƌĂ
                camera ĚĞƉŝĐƚĞĚ
                         depicted KĸĐĞƌ
                                   Officer                      ĂŶƚĂŐŽŶŝǌŝŶŐ
                                                                antagonizing W/
                                                                              PIC                  ĂŶĚ
                                                                                                   and ĂŌĞƌ
                                                                                                       after Ă
                                                                                                             a ƐƚƌƵŐŐůĞ
                                                                                                               struggle ŚĞ
                                                                                                                        he ŝƐ
                                                                                                                           is
observed ƉůĂĐŝŶŐ
ŽďƐĞƌǀĞĚ placing ŚŝƐ
                  his ŚĂŶĚ
                      hand ŽŶ
                            on W/
                               PIC                      neck ĂŶĚ
                                                        ŶĞĐŬ and ĂƉƉůǇŝŶŐ
                                                                  applying ƉƌĞƐƐƵƌĞ͘
                                                                           pressure.

/ŶŵĂƚĞ
Inmate ^ƚĂƚĞŵĞŶƚƐ͕
       Statements, ^ƚĂī
                   Staff ZĞƉŽƌƚƐ͕
                         Reports, /ŶũƵƌǇ
                                  Injury ƚŽ
                                         to /ŶŵĂƚĞ
                                            Inmate ZĞƉŽƌƚ͕
                                                   Report, d
                                                           TC >ŽŐďŽŽŬ
                                                              Logbook ƉĂŐĞ
                                                                      page


A ƌĞǀŝĞǁ
   review ŽĨof D^
               CMS ƌĞǀĞĂůĞĚ
                     revealed ƚŚĞ
                                the ƌĞƋƵŝƌĞĚ
                                     required D^
                                               CMS ĂƩĂĐŚŵĞŶƚƐ
                                                    attachments ŝŶĐůƵĚŝŶŐ
                                                                  including ƚŚĞ
                                                                             the ŝŶŵĂƚĞ
                                                                                   inmate ƐƚĂƚĞŵĞŶƚƐ͕
                                                                                             statements, ƐƚĂī
                                                                                                          staff ƌĞƉŽƌƚƐ͕
                                                                                                                reports,
/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ͕
                     Report, ĂŶĚ
                              and ƚŚĞ
                                   the d
                                        TC >ŽŐďŽŽŬ
                                            Logbook ƉĂŐĞ
                                                     page ǁĞƌĞ
                                                          were ƵƉůŽĂĚĞĚ
                                                                uploaded ďǇ by ƚŚĞ
                                                                                the ĨĂĐŝůŝƚǇ͘
                                                                                     facility. /ŶŵĂƚĞ
                                                                                               Inmate I           ƌĞĨƵƐĞĚ
                                                                                                                   refused
ƚŽ
to ƉƌŽǀŝĚĞ
    provide Ă a ƐƚĂƚĞŵĞŶƚ
                statement ƚŽto ƚŚĞ
                                the ĨĂĐŝůŝƚǇ
                                    facility ĂŶĚ
                                             and ĂĐĐŽƌĚŝŶŐ
                                                 according ƚŽ
                                                           to ƚŚĞ
                                                              the /ŶũƵƌǇ
                                                                   Injury ƚŽ
                                                                          to /ŶŵĂƚĞ
                                                                              Inmate ZĞƉŽƌƚ͕
                                                                                        Report, ƚŚĞ
                                                                                                 the W/
                                                                                                      PIC ǁĂƐ
                                                                                                          was ƐĞĞŶ
                                                                                                               seen ďǇby
ŵĞĚŝĐĂů͕
medical, ĂŶĚ
           and ŶŽno ŝŶũƵƌŝĞƐ
                    injuries ǁĞƌĞ
                              were ŽďƐĞƌǀĞĚ͘
                                    observed.

ZĞĐŽŵŵĞŶĚĂƟŽŶ͗
Recommendation:

Based ŽŶ
ĂƐĞĚ    on ƚŚĞ
            the ĞǀŝĚĞŶĐĞ͕
                evidence, ƚŚŝƐ
                          this ĐĂƐĞ
                               case ŵĞĞƚƐ
                                     meets ƚŚĞ
                                            the ĐƌŝƚĞƌŝĂ
                                                criteria ĨŽƌ
                                                          for ĨƵƌƚŚĞƌ
                                                              further ŝŶǀĞƐƟŐĂƟŽŶ
                                                                       investigation ĚƵĞ
                                                                                     due ƚŽ
                                                                                         to ƚŚĞ
                                                                                            the ĐŚŽŬŝŶŐ
                                                                                                choking ŽĨ
                                                                                                        of ƚŚĞ
                                                                                                           the
PIC. /ƚ
W/͘ It ŝƐ
        is ƌĞĐŽŵŵĞŶĚĞĚ
           recommended ƚŚĂƚ
                          that ƚŚŝƐ
                               this ĐĂƐĞ
                                    case ďĞ
                                          be ƌĞĨĞƌƌĞĚ
                                             referred ĨŽƌ
                                                       for ĨƵƌƚŚĞƌ
                                                            further ŝŶǀĞƐƟŐĂƟŽŶ͘
                                                                     investigation.

ΎdŚŝƐ
*This ŝŶĐŝĚĞŶƚ
      incident ǁĂƐ
               was ƌĞǀŝĞǁĞĚ
                   reviewed ĂŶĚ
                            and ƐĞŶƚ
                                sent ĨŽƌ
                                     for /ŵŵĞĚŝĂƚĞ
                                         Immediate ĐƟŽŶ͘
                                                   Action. KĸĐĞƌ
                                                           Officer                                    ǁĂƐ
                                                                                                      was ƐƵƐƉĞŶĚĞĚ
                                                                                                          suspended ŽŶ
                                                                                                                    on Ɖƌŝů͕
                                                                                                                       April,
ϮϬ͕ ϮϬϮϯ  Ăƚ ϮϬϬϯ ŚŽƵƌƐ͘
20, 2023 at 2003 hours.




                                                                                                                          Exh
                                                                                                                          Exh bit
                                                                                                                              bit 35
                                                                                                                                  35 at
                                                                                                                                     at 21
                                                                                                                                        21
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          Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 24 of 71




Pic       =   7      ii   are listed in the COD and the facility did not generate incident photographs for
them.

Video Evidence

The following video evidence was reviewed from April 22, 2023, 0600 hours to 0715 hours and depicted
the incident as narrated above.




GRVC Corridor




GRVC Main Intake:



GRVC Clinic




Handheld Video:




A Handheld Recorder was observed on Genetec Video being utilized by        a member of Probe team staff
Officer                   However, this handheld video was unable to be located with the facility
handheld flies. An email was generated requesting this file.

BWC:




Staff/PIC injuries




                                                                                                Exh bit 35 at 23
        Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 25 of 71




/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϰϳϮͿ
                            (FY23/3472) ŶŽƚĞĚ
                                            noted ŽŶ
                                                   on Ɖƌŝů
                                                       April ϮϮ͕
                                                              22, ϮϬϮϯ͕
                                                                    2023, Ăƚ
                                                                           at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                              approximately Ϭϴϭϱ
                                                                                              0815 ŚŽƵƌƐ͕
                                                                                                     hours, W/
                                                                                                              Pic
ǁĂƐ
was ƉƌŽĚƵĐĞĚ
      produced ĨŽƌ
                 for ƉƌŽŵƉƚ
                     prompt ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                         attention, ƐƵƐƚĂŝŶĞĚ
                                                     sustained ŵƵůƟƉůĞ
                                                                   multiple ĐŽŶƚƵƐŝŽŶƐ
                                                                              contusions ĂŶĚ
                                                                                          and ďƵŵƉƐ
                                                                                               bumps ƚŽto ƚŚĞ
                                                                                                           the ďŽĚǇ͕
                                                                                                               body, ůĞŌ
                                                                                                                      left
hand and foot swelling. Was treated with ace wrap to left hand, sling, and ice pack. PIC
ŚĂŶĚ   ĂŶĚ  ĨŽŽƚ ƐǁĞůůŝŶŐ͘  tĂƐ  ƚƌĞĂƚĞĚ   ǁŝƚŚ  ĂĐĞ  ǁƌĂƉ   ƚŽ  ůĞŌ  ŚĂŶĚ͕   ƐůŝŶŐ͕ ĂŶĚ ŝĐĞ ƉĂĐŬ͘ W/           was
                                                                                                                ǁĂƐ
ƚƌĂŶƐĨĞƌƌĞĚ
transferred ƚŽto ĞůůĞǀƵĞ
                 Bellevue ŚŽƐƉŝƚĂů
                           hospital ĂŶĚ
                                      and ĂƐ
                                           as ƉĞƌ
                                              per ŵĞĚŝĐĂů
                                                   medical ŚĞhe ƐƵƐƚĂŝŶĞĚ
                                                                  sustained Ă  a ůƵŵďĞƌ
                                                                                 lumber ƐƉŝŶĞ
                                                                                         spine ĨƌĂĐƚƵƌĞ͕
                                                                                               fracture, ůĞŌ
                                                                                                          left ƉŝŶŬǇ
                                                                                                               pinky ĮŶŐĞƌ
                                                                                                                     finger
ĨƌĂĐƚƵƌĞ͕
fracture, ƌŝŐŚƚ
           right ĨŽŽƚ
                 foot ĨƌĂĐƚƵƌĞ͕
                      fracture, ŶĂƐĂů
                                 nasal ĨƌĂĐƚƵƌĞ͕
                                        fracture, ĂŶĚ
                                                   and ƉŽƐƚ-ĐŽŶĐƵƐƐŝǀĞ
                                                        post-concussive ƐǇŶĚƌŽŵĞ͘
                                                                              syndrome.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϰϴϯͿ
                          (FY23/3483) ŶŽƚĞĚ
                                        noted ŽŶ
                                               on Ɖƌŝů
                                                   April ϮϮ͕
                                                          22, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                           approximately ϭϮϮϬ
                                                                                          1220 ŚŽƵƌƐ͕
                                                                                               hours, W/
                                                                                                       PIC           ǁĂƐ
                                                                                                                   was
ƉƌŽĚƵĐĞĚ
produced ĨŽƌ
           for ĚĞůĂǇĞĚ
               delayed ŵĞĚŝĐĂů
                        medical ĂƩĞŶƟŽŶ͕
                                attention, ŚĂĚ
                                            had ŶŽ
                                                 no ǀŝƐŝďůĞ
                                                     visible ŝŶũƵƌŝĞƐ͕
                                                              injuries, ĂŶĚ
                                                                          and ƌĞĨƵƐĞĚ
                                                                               refused ŵĞĚŝĐĂů
                                                                                       medical ĂƩĞŶƟŽŶ͘
                                                                                               attention.

/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϰϳϲͿ
                           (FY23/3476) ŶŽƚĞĚ
                                        noted ŽŶ
                                               on Ɖƌŝů
                                                   April ϮϮ͕
                                                          22, ϮϬϮϯ͕
                                                               2023, Ăƚ
                                                                      at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϭϭϱ
                                                                                         1115 ŚŽƵƌƐ͕
                                                                                               hours, W/
                                                                                                        Pic”
was ƉƌŽĚƵĐĞĚ
ǁĂƐ   produced ĨŽƌ
                 for ƉƌŽŵƉƚ
                     prompt ŵĞĚŝĐĂů
                             medical ĂƩĞŶƟŽŶ͕
                                     attention, ŚĂĚ
                                                 had ŶŽno ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                   injuries, ĂŶĚ
                                                                             and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                          medical ĂƩĞŶƟŽŶ͘
                                                                                                    attention.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                   Report ;&zϮϯͬϯϰϴϳͿ
                          (FY23/3487) ŶŽƚĞĚ
                                       noted ŽŶ
                                             on Ɖƌŝů
                                                April ϮϮ͕
                                                      22, ϮϬϮϯ͕
                                                          2023, Ăƚ
                                                                at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                   approximately ϭϮϰϬ1240 ŚŽƵƌƐ͕
                                                                                           hours, W/
                                                                                                  Pic
A            es produced for delayed medical attention, had no visible injuries, and refused medical
            ǁĂƐ  ƉƌŽĚƵĐĞĚ  ĨŽƌ ĚĞůĂǇĞĚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕   ŚĂĚ  ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ  ƌĞĨƵƐĞĚ  ŵĞĚŝĐĂů
ĂƩĞŶƟŽŶ͘
attention.

Injury ƚŽ
/ŶũƵƌǇ to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϰϴϴͿ
                         (FY23/3488) ŶŽƚĞĚ
                                       noted ŽŶ
                                              on Ɖƌŝů
                                                 April ϮϮ͕
                                                        22, ϮϬϮϯ͕
                                                            2023, Ăƚ
                                                                  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                     approximately ϭϮϬϰ
                                                                                      1204 ŚŽƵƌƐ͕
                                                                                           hours, W/
                                                                                                  PIC
Fs            ǁĂƐ
              was ƉƌŽĚƵĐĞĚ
                  produced ĨŽƌ
                            for ĚĞůĂǇĞĚ
                                delayed ŵĞĚŝĐĂů
                                         medical ĂƩĞŶƟŽŶ͕
                                                  attention, ŚĂĚ
                                                              had ŶŽ
                                                                  no ǀŝƐŝďůĞ
                                                                     visible ŝŶũƵƌŝĞƐ͕
                                                                             injuries, ĂŶĚ
                                                                                       and ƌĞĨƵƐĞĚ
                                                                                           refused ŵĞĚŝĐĂů
                                                                                                   medical
ĂƩĞŶƟŽŶ͘
attention.

/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϰϴϱͿ
                           (FY23/3485) ŶŽƚĞĚ
                                         noted ŽŶ
                                                on Ɖƌŝů
                                                   April ϮϮ͕
                                                          22, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϯϬϬ
                                                                                         1300 ŚŽƵƌƐ͕
                                                                                              hours, ia
was ƉƌŽĚƵĐĞĚ
ǁĂƐ   produced ĨŽƌ
                 for ĚĞůĂǇĞĚ
                     delayed ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                      attention, ŚĂĚ
                                                  had ŶŽ
                                                       no ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                    injuries, ĂŶĚ
                                                                              and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                          medical ĂƩĞŶƟŽŶ͘
                                                                                                   attention.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϰϴϵͿ
                          (FY23/3489) ŶŽƚĞĚ
                                       noted ŽŶ
                                             on Ɖƌŝů
                                                April ϮϮ͕
                                                      22, ϮϬϮϯ͕
                                                           2023, Ăƚ
                                                                  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                     approximately ϭϮϬϮ
                                                                                    1202 ŚŽƵƌƐ͕
                                                                                         hours, W/
                                                                                                Pic  a
was produced for delayed medical attention, had no visible injuries, and refused medical attention.
ǁĂƐ  ƉƌŽĚƵĐĞĚ   ĨŽƌ ĚĞůĂǇĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͕  ŚĂĚ  ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                   Report ;&zϮϯͬϯϰϵϭͿ
                          (FY23/3491) ŶŽƚĞĚ
                                       noted ŽŶ
                                              on Ɖƌŝů
                                                 April ϮϮ͕
                                                        22, ϮϬϮϯ͕
                                                            2023, Ăƚ
                                                                   at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                       approximately ϭϭϱϲ
                                                                                        1156 ŚŽƵƌƐ͕
                                                                                              hours, W/
                                                                                                      PIC
A            es ƉƌŽĚƵĐĞĚ
            ǁĂƐ  produced ĨŽƌ
                           for ĚĞůĂǇĞĚ
                               delayed ŵĞĚŝĐĂů
                                       medical ĂƩĞŶƟŽŶ͕
                                                attention, ŚĂĚ
                                                            had ŶŽ
                                                                 no ǀŝƐŝďůĞ
                                                                     visible ŝŶũƵƌŝĞƐ͕
                                                                             injuries, ĂŶĚ
                                                                                       and ƌĞĨƵƐĞĚ
                                                                                            refused ŵĞĚŝĐĂů
                                                                                                     medical
ĂƩĞŶƟŽŶ͘
attention.

Injury ƚŽ
/ŶũƵƌǇ to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϰϵϬͿ
                          (FY23/3490) ŶŽƚĞĚ
                                       noted ŽŶ
                                             on Ɖƌŝů
                                                April ϮϮ͕
                                                      22, ϮϬϮϯ͕
                                                           2023, Ăƚ
                                                                  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                     approximately ϭϮϬϬ
                                                                                    1200 ŚŽƵƌƐ͕
                                                                                         hours, W/
                                                                                                Pic
ǁĂƐ  ƉƌŽĚƵĐĞĚ   ĨŽƌ ĚĞůĂǇĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͕  ŚĂĚ  ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘
was produced for delayed medical attention, had no visible injuries, and refused medical attention.

 Injury ƚŽ
 /ŶũƵƌǇ to /ŶŵĂƚĞ
            Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϰϵϭͿ
                           (FY23/3491) ŶŽƚĞĚ
                                        noted ŽŶ
                                               on Ɖƌŝů
                                                  April ϮϮ͕
                                                         22, ϮϬϮϯ͕
                                                             2023, Ăƚ
                                                                    at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                        approximately ϭϭϱϴ
                                                                                         1158 ŚŽƵƌƐ͕
                                                                                               hours, W/
                                                                                                       Pic
|            ǁĂƐ
             was ƉƌŽĚƵĐĞĚ
                  produced ĨŽƌ
                            for ĚĞůĂǇĞĚ
                                delayed ŵĞĚŝĐĂů
                                        medical ĂƩĞŶƟŽŶ͕
                                                 attention, ŚĂĚ
                                                             had ŶŽ
                                                                  no ǀŝƐŝďůĞ
                                                                      visible ŝŶũƵƌŝĞƐ͕
                                                                              injuries, ĂŶĚ
                                                                                        and ƌĞĨƵƐĞĚ
                                                                                             refused ŵĞĚŝĐĂů
                                                                                                      medical
 ĂƩĞŶƟŽŶ͘
 attention.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϱϭϯͿ
                         (FY23/3513) ŶŽƚĞĚ
                                       noted ŽŶ
                                              on Ɖƌŝů
                                                 April ϮϮ͕
                                                       22, ϮϬϮϯ͕
                                                           2023, Ăƚ
                                                                  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                     approximately ϭϰϱϬ1450 ŚŽƵƌƐ͕
                                                                                            hours, W/
                                                                                                   PIC
P|            was ƉƌŽĚƵĐĞĚ
              ǁĂƐ produced ĨŽƌ
                            for ĚĞůĂǇĞĚ
                                delayed ŵĞĚŝĐĂů
                                         medical ĂƩĞŶƟŽŶ͕
                                                  attention, ŚĂĚ
                                                              had ŶŽ
                                                                   no ǀŝƐŝďůĞ
                                                                      visible ŝŶũƵƌŝĞƐ͕
                                                                              injuries, ĂŶĚ
                                                                                        and ƌĞĨƵƐĞĚ
                                                                                            refused ŵĞĚŝĐĂů
                                                                                                     medical
ĂƩĞŶƟŽŶ͘
attention.

Injury ƚŽ
/ŶũƵƌǇ to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϰϳϰͿ
                         (FY23/3474) ŶŽƚĞĚ
                                     noted ŽŶ
                                           on Ɖƌŝů
                                              April ϮϮ͕
                                                    22, ϮϬϮϯ͕
                                                        2023, Ăƚ
                                                               at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                  approximately ϬϵϱϬ
                                                                                 0950 ŚŽƵƌƐ͕
                                                                                      hours, W/
                                                                                             Pic”
ǁĂƐ  ƉƌŽĚƵĐĞĚ   ĨŽƌ ƉƌŽŵƉƚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕  ŚĂĚ ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͘
was produced for prompt medical attention, had no visible injuries, and refused medical attention.

Injury ƚŽ
/ŶũƵƌǇ  to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϱϬϭͿ
                           (FY23/3501) ŶŽƚĞĚ
                                        noted ŽŶon Ɖƌŝů
                                                   April Ϯϯ͕
                                                          23, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϭϬϬ
                                                                                         1100 ŚŽƵƌƐ͕
                                                                                              hours, W/
                                                                                                      Pic mm”
ǁĂƐ
was ƉƌŽĚƵĐĞĚ
      produced ĨŽƌ
                 for ĚĞůĂǇĞĚ
                     delayed ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                      attention, ŚĂĚ
                                                  had ŶŽ
                                                       no ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                    injuries, ĂŶĚ
                                                                              and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                          medical ĂƩĞŶƟŽŶ͘
                                                                                                   attention.

/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϱϭϲͿ
                           (FY23/3516) ŶŽƚĞĚ
                                        noted ŽŶon Ɖƌŝů
                                                   April Ϯϰ͕
                                                          24, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϱϭϬ
                                                                                         1510 ŚŽƵƌƐ͕
                                                                                              hours, W/
                                                                                                      ic
ǁĂƐ
was ƉƌŽĚƵĐĞĚ
      produced ĨŽƌ
                 for ĚĞůĂǇĞĚ
                     delayed ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                      attention, ŚĂĚ
                                                  had ŶŽ
                                                       no ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                    injuries, ĂŶĚ
                                                                              and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                          medical ĂƩĞŶƟŽŶ͘
                                                                                                   attention.




                                                                                                            Exh
                                                                                                            Exh bit
                                                                                                                bit 35
                                                                                                                    35 at
                                                                                                                       at 24
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/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϱϭϳͿ
                           (FY23/3517) ŶŽƚĞĚ
                                        noted ŽŶon Ɖƌŝů
                                                   April Ϯϰ͕
                                                          24, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϱϯϱ
                                                                                         1535 ŚŽƵƌƐ͕
                                                                                               hours, W/
                                                                                                       ici
ǁĂƐ
was ƉƌŽĚƵĐĞĚ
      produced ĨŽƌ
                 for ĚĞůĂǇĞĚ
                     delayed ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                      attention, ŚĂĚ
                                                  had ŶŽ
                                                       no ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                    injuries, ĂŶĚ
                                                                              and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                           medical ĂƩĞŶƟŽŶ͘
                                                                                                    attention.

/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϱϭϴͿ
                           (FY23/3518) ŶŽƚĞĚ
                                        noted ŽŶon Ɖƌŝů
                                                   April Ϯϰ͕
                                                          24, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϱϮϭ
                                                                                         1521 ŚŽƵƌƐ͕
                                                                                              hours, W/
                                                                                                      Pic
ǁĂƐ
was ƉƌŽĚƵĐĞĚ
      produced ĨŽƌ
                 for ĚĞůĂǇĞĚ
                     delayed ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                      attention, ŚĂĚ
                                                  had ŶŽ
                                                       no ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                    injuries, ĂŶĚ
                                                                              and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                          medical ĂƩĞŶƟŽŶ͘
                                                                                                   attention.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϱϰϴͿ
                          (FY23/3548) ŶŽƚĞĚ
                                       noted ŽŶ
                                             on Ɖƌŝů
                                                April Ϯϱ͕
                                                      25, ϮϬϮϯ͕
                                                           2023, Ăƚ
                                                                  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                     approximately ϭϱϯϱ
                                                                                    1535 ŚŽƵƌƐ͕
                                                                                         hours, W/
                                                                                                Pic i”
ǁĂƐ  ƉƌŽĚƵĐĞĚ   ĨŽƌ ĚĞůĂǇĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͕  ŚĂĚ  ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘
was produced for delayed medical attention, had no visible injuries, and refused medical attention.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                   Report ;&zϮϯͬϯϱϭϱͿ
                          (FY23/3515) ŶŽƚĞĚ
                                      noted ŽŶ
                                            on Ɖƌŝů
                                               April Ϯϰ͕
                                                     24, ϮϬϮϯ͕
                                                         2023, Ăƚ
                                                                at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                    approximately ϭϰϱϱ
                                                                                     1455 ŚŽƵƌƐ͕
                                                                                           hours, W/
                                                                                                  Pic
PR           es produced for prompt medical attention, had no visible injuries, and refused medical
            ǁĂƐ  ƉƌŽĚƵĐĞĚ  ĨŽƌ ƉƌŽŵƉƚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕   ŚĂĚ  ŶŽ  ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ  ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů
ĂƩĞŶƟŽŶ͘
attention.

Injury ƚŽ
/ŶũƵƌǇ to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                  Report ;&zϮϯͬϯϱϭϮͿ
                          (FY23/3512) ŶŽƚĞĚ
                                       noted ŽŶ
                                             on Ɖƌŝů
                                                April Ϯϰ͕
                                                      24, ϮϬϮϯ͕
                                                           2023, Ăƚ
                                                                  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                     approximately ϭϰϯϱ
                                                                                    1435 ŚŽƵƌƐ͕
                                                                                         hours, W/
                                                                                                Pic i”
ǁĂƐ  ƉƌŽĚƵĐĞĚ   ĨŽƌ ĚĞůĂǇĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͕  ŚĂĚ  ŶŽ ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ͕ ĂŶĚ ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘
was produced for delayed medical attention, had no visible injuries, and refused medical attention.

Injury ƚŽ
/ŶũƵƌǇ  to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                    Report ;&zϮϯͬϯϱϭϰͿ
                           (FY23/3514) ŶŽƚĞĚ
                                        noted ŽŶon Ɖƌŝů
                                                   April Ϯϰ͕
                                                          24, ϮϬϮϯ͕
                                                               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                          approximately ϭϰϰϴ
                                                                                         1448 ŚŽƵƌƐ͕
                                                                                              hours, W/
                                                                                                      ici”
ǁĂƐ
was ƉƌŽĚƵĐĞĚ
      produced ĨŽƌ
                 for ĚĞůĂǇĞĚ
                     delayed ŵĞĚŝĐĂů
                              medical ĂƩĞŶƟŽŶ͕
                                      attention, ŚĂĚ
                                                  had ŶŽ
                                                       no ǀŝƐŝďůĞ
                                                           visible ŝŶũƵƌŝĞƐ͕
                                                                    injuries, ĂŶĚ
                                                                              and ƌĞĨƵƐĞĚ
                                                                                  refused ŵĞĚŝĐĂů
                                                                                          medical ĂƩĞŶƟŽŶ͘
                                                                                                   attention.

sĂƌŝŽƵƐ
Various W/Ɛ
        PICs ĚƵƌŝŶŐ
              during ŝŶĐŝĚĞŶƚ
                      incident ǁĞƌĞ
                                were ƐĞĞŶ
                                      seen ŵŽƌĞ
                                            more ƚŚĂŶ
                                                  than ĨŽƵƌ
                                                        four ;ϰͿ
                                                              (4) ŚŽƵƌƐ
                                                                   hours ĂŌĞƌ
                                                                         after ƚŚĞ
                                                                                the hƐĞ
                                                                                     Use ŽĨ
                                                                                         of &ŽƌĐĞ
                                                                                             Force ŝŶĐŝĚĞŶƚ
                                                                                                   incident ĂŶĚ
                                                                                                            and
ƉƌŽĚƵĐĞĚ
produced ĨŽƌ
           for ĚĞůĂǇĞĚ
               delayed ŵĞĚŝĐĂů
                         medical ĚƵĞ
                                  due ƚŽ
                                       to ŵƵůƟƉůĞ
                                          multiple W/Ɛ
                                                   PICs ďĞŝŶŐ
                                                         being ŝŶǀŽůǀĞĚ
                                                                 involved ŝŶ
                                                                           in ƚŚŝƐ
                                                                              this ŝŶĐŝĚĞŶƚ͘
                                                                                   incident.

There ǁĞƌĞ
dŚĞƌĞ were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ͗
                Classification:

No ŝŶũƵƌŝĞƐ
EŽ
ĂŶĚ
ƉĞƌ
    injuries ƚŽ
     ďƵŵƉƐ
per ŵĞĚŝĐĂů
ĨƌĂĐƚƵƌĞ͕
fracture, ĂŶĚ
Force. dŚĞ
&ŽƌĐĞ͘
             to ƐƚĂī
              ƚŽ
     medical ŚĞ
                 staff ǁĞƌĞ
                  ƚŚĞ
                       were ƌĞƉŽƌƚĞĚ
                      ďŽĚǇ͕
               he ƐƵƐƚĂŝŶĞĚ
           and ƉŽƐƚ-ĐŽŶĐƵƐƐŝǀĞ
        The ĂĐĐƵƌĂĐǇ
             accuracy ŽĨ
                              reported ĨŽƌ
                             ůĞŌ
                   sustained Ă


                        of ƚŚŝƐ
                                  ŚĂŶĚ
                               a ůƵŵďĞƌ
                                         for ƚŚŝƐ
                                         ĂŶĚ
                                 lumber ƐƉŝŶĞ
                 post-concussive ƐǇŶĚƌŽŵĞ͘
                                              this ŝŶĐŝĚĞŶƚ͘
                                               ĨŽŽƚ
                                                    incident. ,ŽǁĞǀĞƌ͕
                                                      ƐǁĞůůŝŶŐ͘
                                           spine ĨƌĂĐƚƵƌĞ͕
                                                               However, W/

                                                   fracture, ůĞŌ
                                    syndrome. Therefore,
                           this ĐůĂƐƐŝĮĐĂƟŽŶ
                                 classification ǁŝůů
                                                  will ďĞ
                                                                 W/
                                                              left ƉŝŶŬǇ
                                                    dŚĞƌĞĨŽƌĞ͕ ƚŚŝƐ
                                                       be ĂƐƐĞƐƐĞĚ
                                                                            Pic

                                                                    pinky ĮŶŐĞƌ


                                                           assessed ĚƵƌŝŶŐ
                                                                               ƚƌĂŶƐĨĞƌƌĞĚ
                                                                           finger ĨƌĂĐƚƵƌĞ͕
                                                                  this ŝŶĐŝĚĞŶƚ
                                                                       incident ŝƐ
                                                                                            -
                                                                                           sustained ŵƵůƟƉůĞ
                                                                                          ƐƵƐƚĂŝŶĞĚ
and bumps to the body, left hand and foot swelling. Pic im” transferred to Bellevue hospital ĂŶĚ
                                                                                              ƚŽ
                                                                                    fracture, ƌŝŐŚƚ
                                                                                  is ĂĐĐƵƌĂƚĞůǇ
                                                                       during ĨƵƌƚŚĞƌ
                                                                                                        multiple ĐŽŶƚƵƐŝŽŶƐ
                                                                                                 ĞůůĞǀƵĞ
                                                                                               right ĨŽŽƚ
                                                                                                                  contusions
                                                                                                             ŚŽƐƉŝƚĂů
                                                                                                      foot ĨƌĂĐƚƵƌĞ͕
                                                                                     accurately ĐůĂƐƐŝĮĞĚ
                                                                                                                        and ĂƐ
                                                                                                            fracture, ŶĂƐĂů
                                                                                                   classified ĂƐ
                                                                                further ŝŶǀĞƐƟŐĂƟŽŶ͘
                                                                                          investigation.
                                                                                                               as ĂŶ
                                                                                                                       nasal
                                                                                                                  an ΗΗ
                                                                                                                      "A" hƐĞ
                                                                                                                             as

                                                                                                                           Use ŽĨ
                                                                                                                                of


W/
PIC ƐƚĂƚĞŵĞŶƚƐ͗
    statements:

KŶ
 On Ɖƌŝů
     April Ϯϰ͕
            24, ϮϬϮϯ͕
                  2023, /ŶǀĞƐƟŐĂƚŽƌƐ
                           Investigators                      ĂŶĚ                        Ăƚ
                                                                                         at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                             approximately ϭϮϱϭ    1251 ŚŽƵƌƐ
                                                                                                                          hours ŝŶ  in ,Wt
                                                                                                                                        BHPW ϭϱ  15
 East ZŽŽŵ
ĂƐƚ   Room ηϮϲ #26 ŝŶƚĞƌǀŝĞǁĞĚ
                      interviewed W/    PIC           ͘ W/             provided Ăa ƐƚĂƚĞŵĞŶƚ
                                                                         ƉƌŽǀŝĚĞĚ         statement ŽŶ    on t
                                                                                                               BWC ƚŚĂƚ
                                                                                                                      that ŝŶin ƐƵŵ
                                                                                                                                sum ĂŶĚ and
 substance ĚĞƚĂŝůĞĚ
ƐƵďƐƚĂŶĐĞ      detailed ƚŚĞ the ĨŽůůŽǁŝŶŐ͗
                                  following: W/ PIC             was ƚƌĂŶƐĨĞƌƌĞĚ
                                                                 ǁĂƐ   transferred ĨƌŽŵ from ŵƵůƟƉůĞ
                                                                                                 multiple ĨĂĐŝůŝƟĞƐ
                                                                                                              facilities ƵŶƟů
                                                                                                                          until ŚĞhe ĞŶĚĞĚ
                                                                                                                                       ended ƵƉ up ŝŶ in
ƚŚĞ  'Zs     DĂŝŶ    /ŶƚĂŬĞ͘     W/            ǁĂƐ   ƚŚĞƌĞ    ŝŶƐŝĚĞ   ŽĨ  ϵ  ƉĞŶ    ĨŽƌ  ϳ  ŚŽƵƌƐ͘
 the GRVC Main Intake. Pic i” was there inside of 9 pen for 7 hours. During this time staff threatened   ƵƌŝŶŐ     ƚŚŝƐ ƟŵĞ     ƐƚĂī    ƚŚƌĞĂƚĞŶĞĚ
Śŝŵ
 him ĂŶĚ
      and ƚŽůĚ
            told Śŝŵ
                   him ŝĨif ŚĞ
                            he ĐŽŶƟŶƵĞĚ
                                 continued ƚŽ   to ĂĐƚ
                                                    act ƵƉup ƚŚĂƚ
                                                              that ƚŚĞǇ
                                                                     they ǁŽƵůĚ
                                                                           would ƉƵƚ  put Śŝŵhim ŝŶin Ăa ŚŽƵƐŝŶŐ
                                                                                                         housing ĂƌĞĂarea ǁŝƚŚ
                                                                                                                            with ŚŝƐhis ŽƉƉŽƐŝƟŽŶ͘
                                                                                                                                         opposition.
W/
 PIC     MM ĂůůĞŐĞĚ
                alleged ƚŚĂƚ
                           that ƚŚĞǇ
                                  they ĚƌĂŐŐĞĚ
                                          dragged Śŝŵ him ĂŶĚand ƵƐĞĚ
                                                                   used ĨŽƌĐĞ
                                                                          force ƚŽ to ďƌŝŶŐ
                                                                                       bring Śŝŵhim ƚŽto 'Zs
                                                                                                          GRVC ŚŽƵƐŝŶŐ
                                                                                                                   housing ĂƌĞĂarea ϭϬ10A ϭϱ15 ĐĞůů
                                                                                                                                                 cell
ĂŶĚ
 and ŽŶĐĞ
      once ƚŚĞǇ
              they ŐŽƚ
                     got ŝŶƚŽ
                           into ƚŚĞ
                                  the ĐĞůů
                                       cell ƐƚĂī
                                             staff ƐƚĂƌƚĞĚ
                                                    started ƚŽ to ďĞĂƚ
                                                                   beat Śŝŵ
                                                                          him ƵƉ͕up, ďĂŶŐĞĚ
                                                                                       banged ŚŝƐ  his ŚĞĂĚ͕
                                                                                                        head, ĂŶĚand ƚŚƌĞǁ
                                                                                                                       threw Śŝŵhim ŽŶ on ƚŽƉ
                                                                                                                                           top ŽĨof
 the ďĞĚĨƌĂŵĞ͘
ƚŚĞ   bedframe. tŚŝůĞWhile ŝŶ  in ƚŚĞ
                                   the ĐĞůů
                                        cell ŚĞ
                                              he ĚŝĚŶΖƚ
                                                  didn't ĞĂƚeat ĨŽƌ
                                                                 for ƚǁŽ
                                                                      two ĚĂǇƐ͕
                                                                            days, ĂŶĚand ŚĞ he ƐƚĂƌƚĞĚ
                                                                                                started ŇŽŽĚŝŶŐ
                                                                                                           flooding ƚŚĞ the ŚŽƵƐŝŶŐ
                                                                                                                              housing ĂƌĞĂarea ĂŶĚ
                                                                                                                                                 and
Ăa ĨĞŵĂůĞ    ŽƌƌĞĐƟŽŶ       ŽĸĐĞƌ     ƚŽůĚ   Śŝŵ    ƚŚĂƚ  ŚĞ   ǁĂƐ   ŐŽŝŶŐ    ƚŽ  ŐĞƚ  ƐĞƚ   ƵƉ͘   dǁŽ
   female Correction officer told him that he was going to get set up. Two days later a Captain told the  ĚĂǇƐ    ůĂƚĞƌ  Ă  ĂƉƚĂŝŶ     ƚŽůĚ  ƚŚĞ
 PICs ŝŶ
W/Ɛ   in ƚŚĞ
          the ĂƌĞĂ
                area ƚŚĂƚ
                       that ƐŚĞ
                              she ǁĂƐ
                                    was ĂďŽƵƚ
                                           about ƚŽ to ůĞƚ
                                                       let Śŝŵ
                                                             him ŽƵƚ
                                                                   out ŽĨ
                                                                        of ŚŝƐ
                                                                            his ĐĞůů͘
                                                                                 cell. tŚĞŶ
                                                                                        When ŚĞ   he ǁĂƐ
                                                                                                       was ůĞƚ
                                                                                                             let ŽƵƚ
                                                                                                                  out ŽĨ
                                                                                                                       of ĐĞůů͕
                                                                                                                           cell, ŚĞ
                                                                                                                                  he ĨŽƵŐŚƚ
                                                                                                                                       fought
ŵƵůƟƉůĞ
 multiple W/Ɛ
             PICs ĂŶĚ
                   and ƚŚĞǇ
                         they ƐƚƌƵĐŬ
                                 struck Śŝŵhim ǁŝƚŚ
                                                 with Ă  a ƉĂŶ͕
                                                            pan, Ăa ĐĂŶĞ͕
                                                                     cane, ĂŶĚ
                                                                             and ǀĂƌŝŽƵƐ
                                                                                    various ŽďũĞĐƚƐ
                                                                                                objects ƵŶƟů
                                                                                                           until ŚĞhe ŵĂĚĞ
                                                                                                                       made ŚŝƐ his ǁĂǇ
                                                                                                                                     way ƚŽ to ƚŚĞ
                                                                                                                                               the
ŚŽƵƐŝŶŐ     ĂƌĞĂ   ŐĂƚĞ͘   ,Ğ    ǁĂƐ  ĞƐĐŽƌƚĞĚ      ƚŽ  ŝŶƚĂŬĞ͕   ŚĞůĚ   ŝŶ  Ă  ĐĞůů  ĨŽƌ  ƐĞǀĞƌĂů    ŚŽƵƌƐ
 housing area gate. He was escorted to intake, held in a cell for several hours bleeding and was denied         ďůĞĞĚŝŶŐ     ĂŶĚ   ǁĂƐ    ĚĞŶŝĞĚ
 medical.
ŵĞĚŝĐĂů͘

W/
Pic          ĂŐƌĞĞĚ
             agreed ƚŽ
                    to ƐŝŐŶ
                       sign ,/W͘ dŚĞ ůůĞŐĂƟŽŶƐ
                            HIPAA. The Allegations ŵĂĚĞ
                                                   made ďǇ
                                                        by W/
                                                           Pic                                      ǁŝůů
                                                                                                    will ďĞ
                                                                                                         be ĂĚĚƌĞƐƐĞĚ
                                                                                                            addressed ĚƵƌŝŶŐ
                                                                                                                      during ĨƵƌƚŚĞƌ
                                                                                                                             further
ŝŶǀĞƐƟŐĂƟŽŶ͘
investigation.




                                                                                                                                      Exh
                                                                                                                                      Exh bit
                                                                                                                                          bit 35
                                                                                                                                              35 at
                                                                                                                                                 at 25
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^ƚĂī
Staff ZĞƉŽƌƚƐ͗
      Reports:

^ƚĂī
Staff ƌĞƉŽƌƚƐ
      reports ǁĞƌĞ
                were ƌĞǀŝĞǁĞĚ
                       reviewed ĂŶĚand ǁĞƌĞ
                                         were ŶŽƚ
                                               not ĐŽŶƐŝƐƚĞŶƚ
                                                    consistent ǁŝƚŚ
                                                                 with ƚŚĞ
                                                                        the ǀŝĚĞŽ
                                                                            video ĞǀŝĚĞŶĐĞ͘
                                                                                    evidence. ĂƉƚĂŝŶ
                                                                                                 Captain              ĚĞƉŝĐƚĞĚ
                                                                                                                       depicted
ŝŶ  ŚĞƌ hƐĞ  ŽĨ &ŽƌĐĞ   ƌĞƉŽƌƚ  ƚŚĂƚ  ƐŚĞ   ƵƟůŝǌĞĚ  ĐŚĞŵŝĐĂů   ĂŐĞŶƚƐ    ƚŽǁĂƌĚƐ   ŵƵůƟƉůĞ     W/Ɛ ƚŚĂƚ
in her Use of Force report that she utilized chemical agents towards multiple PICs that were assaulting    ǁĞƌĞ    ĂƐƐĂƵůƟŶŐ
W/
Pic           ,ŽǁĞǀĞƌ͕
               However, Ă  a ƌĞǀŝĞǁ
                             review ŽĨof 'ĞŶĞƚĞĐ
                                          Genetec sŝĚĞŽ
                                                    Video ĚŝĚ
                                                           did ŶŽƚ
                                                                not ĐĂƉƚƵƌĞ
                                                                     capture ĂƉƚĂŝŶ
                                                                               Captain BE            ƵƟůŝǌŝŶŐ
                                                                                                     vtilizing ŚĞƌ
                                                                                                                her ĐŚĞŵŝĐĂů
                                                                                                                     chemical
agent ĚƵƌŝŶŐ
ĂŐĞŶƚ   during ƚŚŝƐ
                this ŝŶĐŝĚĞŶƚ͘
                      incident. KĸĐĞƌ
                                 Officer                           submitted Ăa hƐĞ
                                                                   ƐƵďŵŝƩĞĚ       Use ŽĨof &ŽƌĐĞ
                                                                                            Force tŝƚŶĞƐƐ
                                                                                                   Witness ƌĞƉŽƌƚ
                                                                                                              report ƚŚĂƚ
                                                                                                                       that ŝŶ
                                                                                                                            in
ƐƵŵ
sum ĂŶĚ
      and ƐƵďƐƚĂŶĐĞ
           substance ĚĞƚĂŝůĞĚ
                         detailed ŚŝƐ
                                   his ĂĐƟŽŶƐ
                                        actions ŝŶ
                                                 in ĞƐĐŽƌƟŶŐ
                                                    escorting W/
                                                               Pic      Mout ŽƵƚ ŽĨ
                                                                                  of ƚŚĞ
                                                                                     the ĂƌĞĂ
                                                                                           area ĚƵƌŝŶŐ
                                                                                                 during ƚŚŝƐ
                                                                                                          this ŝŶĐŝĚĞŶƚ͘
                                                                                                               incident.
,ŽǁĞǀĞƌ͕
However, ŚŝƐhis ƌĞƉŽƌƚ
                 report ĨĂŝůĞĚ
                         failed ƚŽ
                                to ĂĐĐƵƌĂƚĞůǇ
                                    accurately ĚĞƐĐƌŝďĞ
                                                 describe ƚŚĞ
                                                            the ŝŶĐŝĚĞŶƚ
                                                                 incident ĂŶĚ
                                                                            and ĚŝĚ
                                                                                did ŶŽƚ
                                                                                      not ŝŶĐůƵĚĞ
                                                                                           include ƚŚĂƚ
                                                                                                     that ŚĞ
                                                                                                           he ƌĞƐƉŽŶĚĞĚ
                                                                                                               responded ƚŽ  to
ƚŚĞ  ĂƌĞĂ  ǁŝƚŚ  ĂƉƚĂŝŶ
the area with Captain                 ĂŶĚ   ŚĞƌ ĂĐƟŽŶƐ   ĚƵƌŝŶŐ   ƚŚĞ  ŝŶĐŝĚĞŶƚ͘  dŚĞƐĞ    ĚŝƐĐƌĞƉĂŶĐŝĞƐ     ǁŝůů
                                      and her actions during the incident. These discrepancies will be addressed  ďĞ  ĂĚĚƌĞƐƐĞĚ
ĚƵƌŝŶŐ
during ĨƵƌƚŚĞƌ
         further ŝŶǀĞƐƟŐĂƟŽŶ͘
                   investigation.

hŶĂǀŽŝĚĂďůĞͬǀŽŝĚĂďůĞ
Unavoidable/Avoidable ĂŶĚ
                      and &ĂĐŝůŝƚǇ
                          Facility ZĂƉŝĚ
                                   Rapid ZĞǀŝĞǁ͗
                                         Review:

dŚĞ ZĂƉŝĚ
The Rapid ZĞǀŝĞǁ
          Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by tĂƌĚĞŶ
                              Warden                         ĚĞƚĞƌŵŝŶĞĚ
                                                             determined ƚŚĂƚthat ƚŚŝƐ
                                                                                    this ŝŶĐŝĚĞŶƚ
                                                                                          incident ǁĂƐwas ƵŶĂǀŽŝĚĂďůĞ
                                                                                                            unavoidable ĂŶĚ and
 ƉƌŽĐĞĚƵƌĂů
 procedural ĞƌƌŽƌƐ
               errors ǁĞƌĞ
                        were ŝĚĞŶƟĮĞĚ͘
                               identified. KĸĐĞƌ
                                              tt              ___—_—                         ŝƐ
                                                                                             is Ăa ŶĞǁůǇ
                                                                                                   newly ĂƐƐŝŐŶĞĚ
                                                                                                            assigned ŽĸĐĞƌ͘
                                                                                                                       officer. KĸĐĞƌ
                                                                                                                                  Officer
|     | ǁŝůů
          will ďĞ
                be ƐŚŽǁŶ
                     shown ƚŚĞ
                             the ǀŝĚĞŽ
                                  video ŽĨ of ƚŚĞ
                                               the ŝŶĐŝĚĞŶƚ
                                                    incident ƚŽto ĂĚĚƌĞƐƐ
                                                                  address Ăůůall ƚŚĞ
                                                                                 the ĚĞĮĐŝĞŶĐŝĞƐ
                                                                                        deficiencies ŝŶ in ƚŚĞ
                                                                                                            the ĂƌĞĂ͘
                                                                                                                 area. The    cell ĚŽŽƌ
                                                                                                                        dŚĞ ĐĞůů    door /ͬ
 ƉĂŶƚƌǇ
 pantry ĚŽŽƌ
         door   /ͬ janitor's
                   ũĂŶŝƚŽƌΖƐ ĐůŽƐĞƚ
                              closet ǁĞƌĞ
                                       were ƵŶƐĞĐƵƌĞĚ
                                               unsecured ĂŶĚ and ƚŚĞ
                                                                  the ŽĸĐĞƌ
                                                                       officer ƐŚŽƵůĚ
                                                                                 should ŚĂǀĞhave ƚƵƌŶĞĚ
                                                                                                   turned ŽŶ on ŚĞƌ
                                                                                                                 her t͘
                                                                                                                      BWC. /Ŷ  In
 ĚĚŝƟŽŶ͕
 Addition, ĐŚĞŵŝĐĂů
             chemical ĂŐĞŶƚƐ
                          agents ǁĞƌĞ
                                  were ƵƟůŝǌĞĚ
                                           utilized Ă a ƚŽƚĂů
                                                        total ŽĨ
                                                              of ϰǆ
                                                                 4x ŚŽǁĞǀĞƌ
                                                                     however ƚŚĞ  the W/;ƐͿ
                                                                                        PIC(s) ǁŽƵůĚ
                                                                                                 would ŶŽƚnot ƐƚŽƉ
                                                                                                               stop ƚŚĞŝƌ
                                                                                                                     their ĂŐŐƌĞƐƐŝŽŶ͘
                                                                                                                            aggression.
 CaƉƚĂŝŶ
 Captain ee!                                ǁŝůů ďĞ
                                                  be suspended for failure to supervise. The captain was observed ŝŶ
                                                     ƐƵƐƉĞŶĚĞĚ     ĨŽƌ ĨĂŝůƵƌĞ   ƚŽ   ƐƵƉĞƌǀŝƐĞ͘     dŚĞ   ĐĂƉƚĂŝŶ   ǁĂƐ  ŽďƐĞƌǀĞĚ      in
 ƚŚĞ
 the ĂƌĞĂ
     area ĨĂŝůŝŶŐ
           failing ƚŽto ƐƵƉĞƌǀŝƐĞ
                        supervise ĂŶĚ and ůĂĐŬĞĚ
                                            lacked Ă a ƐĞŶƐĞ
                                                        sense ŽĨ
                                                               of ƵƌŐĞŶĐǇ
                                                                  urgency ƚŽ to ƌĞŵŽǀĞ
                                                                                 remove ƚŚĞ  the ǀŝĐƟŵ
                                                                                                   victim ŽƵƚ
                                                                                                            out ŽĨ
                                                                                                                 of ƚŚĞ
                                                                                                                    the ĂƌĞĂ͘
                                                                                                                         area. ĂƉƚĂŝŶ
                                                                                                                                  Captain
a          ǁĂƐ
            2: ŵĂĚĞ
                  made ƐƵďũĞĐƚ
                          subject ŽĨof Ăa ;ϭϰͿ
                                          (14) ĨŽƵƌƚĞĞŶ-ĚĂǇ
                                                 fourteen-day ƐƵƐƉĞŶƐŝŽŶ
                                                                  suspension ŽŶ   on DĂǇ
                                                                                       May ϯ͕ϮϬϮϯ͘
                                                                                              3,2023.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶon ƚŚĞ
             the ĞǀŝĚĞŶĐĞ
                  evidence ĐŝƚĞĚcited ĂďŽǀĞ͕
                                       above, ŝƚ it ŝƐ
                                                     is ƌĞĐŽŵŵĞŶĚĞĚ
                                                         recommended ƚŚĂƚ that ƚŚŝƐ
                                                                                 this ĐĂƐĞ
                                                                                        case ďĞ
                                                                                              be ƌĞĨĞƌƌĞĚ
                                                                                                  referred ĨŽƌfor ĨƵƌƚŚĞƌ
                                                                                                                   further
ŝŶǀĞƐƟŐĂƟŽŶ͘
investigation. W/ Pic            ĂůůĞŐĞĚ
                                   alleged ƚŚĂƚ
                                            that ĂƉƚĂŝŶ
                                                    Captain J            ƐĞƚ
                                                                         set Śŝŵ
                                                                             him ƵƉ  up ĂŶĚ
                                                                                         and ĂůůŽǁĞĚ
                                                                                               allowed ƚŚĞthe W/Ɛ
                                                                                                                PICs ŝŶ
                                                                                                                      in ŚŽƵƐŝŶŐ
                                                                                                                          housing ĂƌĞĂ
                                                                                                                                    area
ϭϬ
10A ƚŽ
     to ĂƐƐĂƵůƚ
         assault Śŝŵ͘
                    him. /ƚIt ǁĂƐ
                              was ŽďƐĞƌǀĞĚ
                                    observed ŽŶ  on 'ĞŶĞƚĞĐ
                                                        Genetec sŝĚĞŽ
                                                                  Video ƚŚĂƚ
                                                                         that W/
                                                                                Pic              ĐĞůů
                                                                                                 cell ĚŽŽƌ
                                                                                                      door ŬĞƉƚ
                                                                                                              kept ŽƉĞŶŝŶŐ͕
                                                                                                                     opening, ĚĞƐƉŝƚĞ
                                                                                                                                 despite
W/
PIC            ƌĞƉĞĂƚĞĚůǇ
                repeatedly ƉƵůůŝŶŐ
                               pulling ƚŚĞ
                                        the ĚŽŽƌ
                                              door ŝŶ  in ĂƩĞŵƉƚƐ
                                                           attempts ƚŽ
                                                                     to ŬĞĞƉ
                                                                        keep ŝƚit ĐůŽƐĞĚ͘
                                                                                  closed. W/PIC              ĐĞůů
                                                                                                              cell ĚŽŽƌ
                                                                                                                    door ďĞŝŶŐ
                                                                                                                           being ŽƉĞŶĞĚ
                                                                                                                                   opened
ŐĂǀĞ  ƐĞǀĞƌĂů    W/Ɛ   ŝŶ ƚŚĞ   ĂƌĞĂ  ƚŚĞ  ĂďŝůŝƚǇ     ƚŽ  ĂƐƐĂƵůƚ Śŝŵ͘
gave several PICs in the area the ability to assault him. In addition, oe/Ŷ ĂĚĚŝƟŽŶ͕       W/           ĂůůĞŐĞĚ    ƚŚĂƚ
                                                                                                                    that the day ŚĞ
                                                                                                                           ƚŚĞ ĚĂǇ   he
arƌŝǀĞĚ
arrived ŝŶin 'Zs͕
              GRVC, ŚĞ he ǁĂƐ
                           was ĚƌĂŐŐĞĚ
                                  dragged ďǇ by ƐƚĂī
                                                 staff ƚŽ to 'Zs
                                                             GRVC ,ŽƵƐŝŶŐ
                                                                    Housing ĂƌĞĂ
                                                                              area ϭϬ͕10A, ĚƌĂŐŐĞĚ
                                                                                             dragged ƚŽ to ĐĞůů
                                                                                                            cell ηϭϱ͕
                                                                                                                  #15, ĂŶĚ
                                                                                                                         and ƐƚĂī
                                                                                                                              staff
ďĂŶŐĞĚ
banged ŚŝƐ his ŚĞĂĚ
                head ŽŶon ƚŚĞ
                           the ŵĞƚĂů
                                 metal ďĞĚ
                                         bed ĨƌĂŵĞ͘
                                               frame.




                                                                                                                           Exh
                                                                                                                           Exh bit
                                                                                                                               bit 35
                                                                                                                                   35 at
                                                                                                                                      at 26
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for May
                                   May 2023
                                       2023 (UOF
                                            (UOF 2110/23)
                                                 2110/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: /ŶǀĞƐƟŐĂƟǀĞ
                                                Investigative ZĞƉŽƌƚ
                                                              Report

hK&
UOF η͗
    #: ϮϭϭϬͬϮϯ
       2110/23

&ĂĐŝůŝƚǇ͗
Facility: ZE
          RNDC

Synopsis
Synopsis

KŶ
On Ɖƌŝů
    April Ϯϱ͕
           25, ϮϬϮϯ͕
               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚǇϭϳϯϱ
                           approximaty1735 ŚŽƵƌƐ͕
                                              hours, ŝŶ
                                                      in ZE͕
                                                          RNDC, KĸĐĞƌƐ
                                                                   Officers
                                                            ĞƐĐŽƌƚĞĚ
                                                            escorted W/
                                                                       PIC                                                ĂŶĚ
                                        ĨƌŽŵ  ƌĞĐƌĞĂƟŽŶ͕      ƚŽǁĂƌĚƐ   ,ŽƵƐŝŶŐ   ƌĞĂ
                                        from recreation, towards Housing Area 5 Main    ϱ DĂŝŶ                          ͘
                                                                                                                        . W/
                                                                                                                          PIC
        walked ďĞŚŝŶĚ
        ǁĂůŬĞĚ   behind W/PIC             W/         ŐƌĂďďĞĚ W/                    upper ďŽĚǇ
                                                                                     ƵƉƉĞƌ    body ĨƌŽŵ
                                                                                                    from ďĞŚŝŶĚ
                                                                                                          behind ĂŶĚand
ƉĞƌĨŽƌŵĞĚ
performed ƚŚƌĞĞ
              three ;ϯͿ
                     (3) ƐǁŝƉŝŶŐ
                          swiping ŵŽƟŽŶƐ
                                   motions ǁŝƚŚ
                                            with ŚŝƐ
                                                  his ƌŝŐŚƚ
                                                      right ŚĂŶĚ
                                                              hand ;                      ͘ W/Ɛ              ĂŶĚ
ĞŶŐĂŐĞĚ    ŝŶ Ă ĮŐŚƚ   ĂŶĚ   ĐŚĂƐĞĚ ŽŶĞ  ĂŶŽƚŚĞƌ   ƚŚƌŽƵŐŚ     ƚŚĞ ĐŽƌƌŝĚŽƌ͘
engaged in a fight and chased one another through the corridor. Officer       KĸĐĞƌ                  ŐƌĂďďĞĚ
                                                                                                     grabbed W/PIC
ďǇ
by ƚŚĞ
   the ƐŚŽƵůĚĞƌƐ͕
         shoulders, ƉƵƐŚĞĚ
                      pushed Śŝŵhim ďĂĐŬ
                                    back ĂŶĚ
                                          and ĂƩĞŵƉƚĞĚ
                                               attempted ƚŽ  to ƉƌĞǀĞŶƚ
                                                                 prevent Śŝŵ
                                                                           him ĨƌŽŵ
                                                                               from ĨƵƌƚŚĞƌ
                                                                                     further ĂĚǀĂŶĐŝŶŐ
                                                                                               advancing ƚŽǁĂƌĚƐ
                                                                                                          towards W/ PIC
a                                    W/HE ƉƵƐŚĞĚpushed KĸĐĞƌ
                                                           Officer J        ĨƌŽŵ
                                                                            from Śŝŵ
                                                                                  him ĂŶĚ
                                                                                       and ƌĂŶ
                                                                                            ran ĚŽǁŶ
                                                                                                 down ƚŚĞ
                                                                                                       the ĐŽƌƌŝĚŽƌ͘
                                                                                                            corridor.




                                                                                                   -
KĸĐĞƌ
Officer iy            ŐƌĂďďĞĚ
                      grabbed W/
                               ae             ďǇ
                                              by ƚŚĞ
                                                 the ǁĂŝƐƚ
                                                      waist ĨƌŽŵ
                                                            from ďĞŚŝŶĚ͕
                                                                 behind, ƉƵůůĞĚ
                                                                          pulled Śŝŵ
                                                                                 him ĐůŽƐĞ
                                                                                     close ĂŶĚ
                                                                                           and ĂƩĞŵƉƚĞĚ
                                                                                                attempted
ƚŽ
to ƐƚŽƉ
   stop Śŝŵ
        him ĨƌŽŵ
            from ĨƵƌƚŚĞƌ
                 further ĂĚǀĂŶĐŝŶŐ
                         advancing ƚŽǁĂƌĚƐ
                                   towards W/
                                            Pic                              W/
                                                                             PIC            ŐƌĂďďĞĚ
                                                                                            grabbed ĂŶĚ
                                                                                                     and
ƉƵƐŚĞĚ  KĸĐĞƌ
pushed Officer [I        ĂƌŵƐ ĨƌŽŵ ĂƌŽƵŶĚ ŚŝƐ   ǁĂŝƐƚ ĂŶĚ  ĐŽŶƟŶƵĞĚ  ƚŽ ĂĚǀĂŶĐĞ  ƚŽǁĂƌĚƐ
                         arms from around his waist and continued to advance towards Pic” W/

KĸĐĞƌ
Officer [I      ǁƌĂƉƉĞĚ
                 wrapped ŚŝƐ
                           his ĂƌŵƐ
                                arms ĂƌŽƵŶĚ
                                      around W/PIC                    ǁĂŝƐƚ͕
                                                                       waist, ƉƵůůĞĚ
                                                                                pulled Śŝŵhim ĂǁĂǇ
                                                                                                away ĨƌŽŵ
                                                                                                        from W/
                                                                                                               PIC     and ĂŶĚ
ƐĞĐƵƌĞĚ
secured Śŝŵ
          him ĂŐĂŝŶƐƚ
               against Ă
                       a ǁŝŶĚŽǁ
                          window ;(                          Ϳ͘ W/                 twisted ĂŶĚ
                                                                                    ƚǁŝƐƚĞĚ      and ƉƵůůĞĚ
                                                                                                      pulled ŚŝƐ
                                                                                                               his ďŽĚǇ
                                                                                                                    body ĂǁĂǇ
                                                                                                                          away ĨƌŽŵ
                                                                                                                                 from
KĸĐĞƌ
Officer         ĂŶĚ  ĂǁĂǇ   ĨƌŽŵ   ƚŚĞ
                and away from the windowǁŝŶĚŽǁ                              ͘  KĸĐĞƌ
                                                                             . Officer             ƉƵůůĞĚ  W/
                                                                                                   pulled PIC                 Žī
                                                                                                                              off ƚŚĞ
                                                                                                                                  the
ǁŝŶĚŽǁ
window ĂŶĚand ƐĞĐƵƌĞĚ
               secured Śŝŵ
                         him ĂŐĂŝŶƐƚ
                               against Ăa ŶĞĂƌďǇ
                                           nearby ǁĂůů͘
                                                    wall. dŽŐĞƚŚĞƌ͕
                                                            Together, KĸĐĞƌ
                                                                         Officer            ĂŶĚ
                                                                                            and                    rear-ĐƵīĞĚ
                                                                                                                   rear-cuffed W/
                                                                                                                                 PIC
             Officer
             KĸĐĞƌ            transferred ĐƵƐƚŽĚǇ
                              ƚƌĂŶƐĨĞƌƌĞĚ    custody ŽĨ of W/
                                                            PIC                         i
                                                                                ƚŽ KĸĐĞƌƐ                       and
                                                                                                                ĂŶĚ
                                  KĸĐĞƌƐ
                                  Officers                   ĂŶĚ                ĞƐĐŽƌƚĞĚ
                                                                                escorted W/ PIC                 ƚŚƌŽƵŐŚ
                                                                                                                 through ƚŚĞ
                                                                                                                           the
ĐŽƌƌŝĚŽƌ͕
corridor, ƚŽǁĂƌĚ
          toward ƚŚĞ
                   the /ŶƚĂŬĞ͘
                        Intake. W/
                                  PIC                ǁĂƐ
                                                     was ŝƌĂƚĞ͘
                                                           irate. W/
                                                                   PIC                 ƉƵůůĞĚ
                                                                                       pulled ĞƐĐŽƌƟŶŐ
                                                                                                  escorting ƐƚĂī
                                                                                                              staff ĨŽƌǁĂƌĚ͕
                                                                                                                     forward, ǇĞůůĞĚ
                                                                                                                                yelled
and refused to comply with Captain
ĂŶĚ  ƌĞĨƵƐĞĚ  ƚŽ  ĐŽŵƉůǇ   ǁŝƚŚ   ĂƉƚĂŝŶ                        ŽƌĚĞƌƐ   ƚŽ  ƐƚŽƉ
                                                                 orders to stop     ;                       ). Officer fin
                                                                                                            Ϳ͘ KĸĐĞƌƐ
ĂŶĚ
and i           ƐĞĐƵƌĞĚ
                secured W/
                          PIC                ŽŶƚŽ
                                             onto ƚŚĞ
                                                    the ǁĂůů
                                                         wall ;



|
 KĸĐĞƌƐ
 Officers
        ŝŶƚŽ
             - A
             ƚŚĞ /ŶƚĂŬĞ
                       ĂŶĚ
                       an (iy
                        ƐĞĂƌĐŚ
                                   ĞƐĐŽƌƚĞĚ
                               ƌŽŽŵ͕
                                    escorted W/
                                     ǁŚĞƌĞ  Ă
                                              ic
                                              ƉŝĞĐĞ ŽĨ
                                                            ŝŶƚŽ
                                                             into /ŶƚĂŬĞ͘
                                                       ƐŚĂƌƉĞŶĞĚ
                                                                  Intake. KĸĐĞƌ
                                                                   ŵĞƚĂů
                                                                          Officer
                                                                          ǁĂƐ  ƌĞĐŽǀĞƌĞĚ͕
                                                                                              ĞƐĐŽƌƚĞĚ
                                                                                              escorted W/
                                                                                          ƚĞƌŵŝŶĂƟŶŐ
      fie the Intake search room, where a piece of sharpened metal was recovered, terminating the
 ŝŶĐŝĚĞŶƚ

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ
             Evidence
                                                                                                       PIC
                                                                                                      ƚŚĞ




dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ƚǁŽ
                        two ;ϮͿ
                             (2) ƉƌŽĮůĞ
                                 profile ƉŚŽƚŽƐ
                                          photos ŽĨ
                                                  of W/
                                                     PIC      EE ĚĞƉŝĐƟŶŐ
                                                                     depicting ŚŝƐ
                                                                               his ƌŝŐŚƚ
                                                                                   right ƉƌŽĮůĞ͘
                                                                                         profile. W/
                                                                                                  ic
was ŽďƐĞƌǀĞĚ
ǁĂƐ observed ǁŝƚŚ
                with Ăa ůĂĐĞƌĂƟŽŶ
                        laceration ƚŽto ŚŝƐ
                                        his ƌŝŐŚƚ
                                            right ĐŚĞĞŬ
                                                  cheek ǁŝƚŚ
                                                         with ĂĐƟǀĞ
                                                              active ďůĞĞĚŝŶŐ͘
                                                                     bleeding.

The ĨĂĐŝůŝƚǇ
dŚĞ facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ƌĞĨƵƐĂů
                              refusal ƉŚŽƚŽ
                                      photo ŽĨ
                                            of W/
                                               Pic im”

The ĨĂĐŝůŝƚǇ
dŚĞ  facility ƉƌŽǀŝĚĞĚ
              provided ŽŶĞ
                       one ;ϭͿ
                            (1) ŝƐĐŽǀĞƌǇ
                                 Discovery ŽĨ
                                            of ŽŶƚƌĂďĂŶĚ
                                               Contraband ^ǇŶŽƉƐŝƐ
                                                            Synopsis ĚĂƚĞĚ
                                                                     dated Ɖƌŝů
                                                                           April Ϯϱ͕
                                                                                 25, ϮϬϮϯ͕
                                                                                     2023, ĚĞƉŝĐƟŶŐ
                                                                                           depicting ĂŶ
                                                                                                     an ŝŵĂŐĞ
                                                                                                        image
of
of a
   a 1-ŝŶĐŚ
     1-inch ƐŚĂƌƉĞŶĞĚ
              sharpened ƉŝĞĐĞ
                         piece ŽĨ
                                of ŵĞƚĂů
                                   metal ƚŚĂƚ
                                          that ǁĂƐ
                                               was ĨŽƵŶĚ
                                                    found ŝŶ
                                                          in W/
                                                              PIC       ǁĂŝƐƚďĂŶĚ͘
                                                                        waistband.

sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ
      evidence

The ĨŽůůŽǁŝŶŐ
dŚĞ  following ǀŝĚĞŽ
                video ĞǀŝĚĞŶĐĞ
                      evidence ǁĂƐ
                               was ƌĞǀŝĞǁĞĚ
                                   reviewed ĨƌŽŵ
                                            from ϭϳϬϬ-ϭϵϬϬ
                                                 1700-1900 ŚŽƵƌƐ
                                                           hours ŽŶ
                                                                 on Ɖƌŝů
                                                                    April Ϯϱ͕
                                                                          25, ϮϬϮϯ͕
                                                                              2023, ĂŶĚ
                                                                                    and ĚĞƉŝĐƚĞĚ
                                                                                        depicted ƚŚĞ
                                                                                                 the
ŝŶĐŝĚĞŶƚ
incident ĂƐ
          as ŶĂƌƌĂƚĞĚ
             narrated ĂďŽǀĞ͘
                      above.




                                                                                                                      Exh
                                                                                                                      Exh bit
                                                                                                                          bit 35
                                                                                                                              35 at
                                                                                                                                 at 27
        Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 29 of 71




RNDC ǇĂƌĚ
ZE yard ĂŶŐůĞƐ
          angles




KĨ
Of ŶŽƚĞ͕
    note, KĸĐĞƌƐ
           Officers ee                        ǁĞƌĞ
                                               cre ŽďƐĞƌǀĞĚ
                                                     observed ĞƐĐŽƌƟŶŐ
                                                                escorting W/Ɛ
                                                                            PICs iT                      ĂŶĚ
                                                                                                          and ƐĞǀĞƌĂů
                                                                                                               several ŽƚŚĞƌ
                                                                                                                        other
ŝĚĞŶƟĮĞĚ
identified W/Ɛ
             PICs ŽƵƚ
                   out ŽĨ
                       of ,ŽƵƐŝŶŐ
                           Housing ƌĞĂ
                                    Area ϱ 5 >ŽǁĞƌ
                                              Lower EŽƌƚŚ͕
                                                      North, ƚŚƌŽƵŐŚ
                                                              through ƚŚĞ
                                                                        the ĐŽƌƌŝĚŽƌ
                                                                             corridor ĂŶĚ
                                                                                       and ŝŶƚŽ
                                                                                            into ƚŚĞ
                                                                                                   the ƌĞĐƌĞĂƟŽŶ
                                                                                                       recreation ĂƌĞĂ
                                                                                                                    area
ǁŝƚŚŽƵƚ
without ĮƌƐƚ
          first ĐŽŶĚƵĐƟŶŐ
                 conducting Ă a ƐĞĂƌĐŚ
                                search ŽĨ
                                        of ƚŚĞ
                                            the ĞƐĐŽƌƚĞĚ
                                                 escorted ƉĂƌƟĞƐ
                                                            parties ;i                    Ϳ͘ KĸĐĞƌ
                                                                                             Officer J       ǁĂƐ
                                                                                                             was ŽďƐĞƌǀĞĚ
                                                                                                                  observed
escorting W/Ɛ
ĞƐĐŽƌƟŶŐ     PCs             TE          and ƐĞǀĞƌĂů
                                         ĂŶĚ   several ŽƚŚĞƌ
                                                        other ŝĚĞŶƟĮĞĚ
                                                               identified W/Ɛ
                                                                           PICs ŽƵƚ
                                                                                 out ŽĨ
                                                                                     of ZE͕
                                                                                         RNDC, ŝŶƚŽ
                                                                                                  into ƚŚĞ
                                                                                                       the ǇĂƌĚ
                                                                                                            yard ĂŶĚ
                                                                                                                  and ƚŚĞŶ
                                                                                                                       then
ĨŽƌŵ
form ƚŚĞ
       the ǇĂƌĚ͕
            yard, ďĂĐŬ
                   back ŝŶƚŽ
                         into ZE
                              RNDC ǁŝƚŚŽƵƚ
                                     without ĮƌƐƚ
                                                first ĐŽŶĚƵĐƟŶŐ
                                                      conducting Ă a ƐĞĂƌĐŚ
                                                                     search ŽĨof ƚŚĞ
                                                                                 the ĞƐĐŽƌƚĞĚ
                                                                                     escorted ƉĂƌƟĞƐ
                                                                                                 parties ;(|

a                          Ϳ͘

ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ͗
          Camera:



dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ
The investigator ĂŶĚ
                 and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ǀĞƌŝĮĞĚ
                                verified ƚŚĂƚ
                                         that ƚŚŝƐ
                                              this hƐĞ
                                                   Use ŽĨ
                                                       of &ŽƌĐĞ
                                                          Force ǁĂƐ
                                                                was ŶŽƚ
                                                                    not ĐĂƉƚƵƌĞĚ
                                                                        captured ŽŶ
                                                                                 on ŚĂŶĚŚĞůĚ͘
                                                                                    handheld.

^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ
          Injuries

According ƚŽ
ĐĐŽƌĚŝŶŐ  to /ŶũƵƌǇ
               Injury ƚŽ
                      to /ŶŵĂƚĞ
                          Inmate ZĞƉŽƌƚ
                                  Report ηϯϳϲϰͬ&zϮϯ͕
                                         #3764/FY23, W/
                                                      PICA     refused ŵĞĚŝĐĂů
                                                               ƌĞĨƵƐĞĚ  medical ĂƩĞŶƟŽŶ
                                                                                 attention ĂŶĚ
                                                                                           and ĚŝĚ
                                                                                               did ŶŽƚ
                                                                                                   not
ƐƵƐƚĂŝŶ
sustain ĂŶǇ
        any ǀŝƐŝďůĞ
             visible ŝŶũƵƌŝĞƐ͘
                     injuries. W/
                               Pic” ǁĂƐ  was ĂīŽƌĚĞĚ
                                             afforded ƉƌŽŵƉƚ
                                                      prompt ŵĞĚŝĐĂů
                                                             medical ĂƩĞŶƟŽŶ͘
                                                                      attention.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
               Injury ƚŽ
                      to /ŶŵĂƚĞ
                         Inmate ZĞƉŽƌƚ
                                 Report ηϯϳϲϯͬ&zϮϯ͕
                                        #3763/FY23, W/
                                                     PIC      EE ƉƌĞƐĞŶƚĞĚ
                                                                    presented ǁŝƚŚ
                                                                               with ĂŶ
                                                                                    an ĂĐƟǀĞůǇ
                                                                                       actively ďůĞĞĚŝŶŐ
                                                                                                bleeding
ǁŽƵŶĚ   ŽŶ  ŚŝƐ ƌŝŐŚƚ ƵƉƉĞƌ  ĐŚĞĞŬ͘
wound on his right upper cheek. ice W/           ǁĂƐ  ƌĞĨĞƌƌĞĚ ƚŽ hƌŐŝĂƌĞ͘ W/
                                                  was referred to UrgiCare. ic              ƌĞĐĞŝǀĞĚ
                                                                                            received ƉƌŽŵƉƚ
                                                                                                      prompt
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ͘
         attention.

Ɛ
As ƉĞƌ
   per ƚŚĞ
       the ĞŶƚƌĂů
           Central KƉĞƌĂƟŽŶƐ
                   Operations ĞƐŬ
                              Desk ;KͿ͕
                                   (COD), ƚŚĞƌĞ
                                          there ǁĞƌĞ
                                                were ŶŽ
                                                     no ƌĞƉŽƌƚĞĚ
                                                        reported ƐƚĂī
                                                                 staff ŝŶũƵƌŝĞƐ͘
                                                                       injuries.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ
                Classification

dŚŝƐ ŝŶĐŝĚĞŶƚ
This incident ǁĂƐ
              was ĐŽƌƌĞĐƚůǇ
                  correctly ĐůĂƐƐŝĮĞĚ
                            classified ĂƐ
                                       as Ă
                                          a ΗΗ
                                            '"B" ƵƐĞ
                                                 use ŽĨ
                                                     of ĨŽƌĐĞ
                                                        force ĚƵĞ
                                                              due ƚŽ
                                                                  to KĸĐĞƌ
                                                                     Officer                 ƐƵƐƚĂŝŶŝŶŐ
                                                                                             sustaining Ă
                                                                                                        a ƐƉƌĂŝŶĞĚ
                                                                                                          sprained
ƐŚŽƵůĚĞƌ͘
shoulder.

A ƌŝĞĨ
 Brief ^ƵŵŵĂƌǇ
        Summary ŽĨ
                of W/
                   PIC ^ƚĂƚĞŵĞŶƚƐ
                       Statements

On Ɖƌŝů
KŶ April Ϯϱ͕
         25, ϮϬϮϯ͕
             2023, W/
                   PIC                  stated ƚŽ
                                        ƐƚĂƚĞĚ to ƚŚĞ
                                                  the ĨĂĐŝůŝƚǇ͕
                                                      facility, Η/
                                                                "| ŐŽƚ
                                                                   got ŝƚit ŽŶ
                                                                            on ǁŝƚŚ
                                                                               with ĮǀĞ
                                                                                    five ;ϱͿ
                                                                                         (5) ŶŝŐŐĂƐ͘Η
                                                                                             niggas."
W/
Pic         ƌĞĨƵƐĞĚ
            refused ƚŽ
                    to ƉƌŽǀŝĚĞ
                       provide Ă
                               a ƐƚĂƚĞŵĞŶƚ
                                 statement ƚŽ
                                           to ƚŚĞ
                                              the ĨĂĐŝůŝƚǇ
                                                  facility Žƌ
                                                           or ƚŽ
                                                              to ŵĞĚŝĐĂů
                                                                 medical ƐƚĂī͘
                                                                         staff.

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                      that ŝŶƚĞƌǀŝĞǁƐ
                                           interviews ǁŝƚŚ
                                                      with W/Ɛ
                                                           Pics                         ĂŶĚ
                                                                                        and Ji ǁĞƌĞ were ƵŶŶĞĐĞƐƐĂƌǇ
                                                                                                           unnecessary
ďĂƐĞĚ
based ŽŶon ƚŚĞ
            the ƚŽƚĂůŝƚǇ
                totality ŽĨ
                         of ƚŚĞ
                             the ŝŶĐŝĚĞŶƚ
                                   incident ďĞŝŶŐ
                                             being ĐĂƉƚƵƌĞĚ
                                                    captured ǀŝĂ
                                                               via ǀŝĚĞŽ
                                                                   video ĞǀŝĚĞŶĐĞ͕
                                                                         evidence, ƚŚĞ
                                                                                    the ĐŽŶƐŝƐƚĞŶĐǇ
                                                                                         consistency ŽĨof ƚŚĞ
                                                                                                          the ƐƵďŵŝƩĞĚ
                                                                                                              submitted
ƌĞƉŽƌƚƐ͕
reports, ƚŚĞ
          the ĂďƐĞŶĐĞ
               absence ŽĨof W/
                             PIC ŝŶũƵƌǇ
                                  injury ĐĂƵƐĞĚ
                                          caused ďǇ
                                                  by ƐƚĂī
                                                      staff ŝŶƚĞƌǀĞŶƟŽŶ͕
                                                            intervention, ĂŶĚ
                                                                          and ƚŚĞ
                                                                               the ůĂĐŬ
                                                                                   lack ŽĨ
                                                                                         of W/
                                                                                            PIC ĂůůĞŐĂƟŽŶƐ
                                                                                                allegations ŵĂĚĞ
                                                                                                             made ƚŽ
                                                                                                                   to
medical ƐƚĂī
ŵĞĚŝĐĂů   staff Žƌ
                or ƚŽ
                   to ƚŚĞ
                      the ĨĂĐŝůŝƚǇ
                           facility ĂŐĂŝŶƐƚ
                                     against K
                                              DOC ƐƚĂī͘
                                                   staff.

^ƚĂī
Staff ZĞƉŽƌƚƐ
      Reports

^ƚĂī
Staff ƌĞƉŽƌƚƐ
      reports ǁĞƌĞ
              were ƐƵďŵŝƩĞĚ
                    submitted ĨŽƌ
                              for ĞĂĐŚ
                                  each ŵĞŵďĞƌ
                                        member ŽĨ of ƐĞƌǀŝĐĞ
                                                     service ƉƌĞƐĞŶƚ
                                                             present ĚƵƌŝŶŐ
                                                                      during ƚŚĞ
                                                                             the hƐĞ
                                                                                 Use ŽĨ
                                                                                     of &ŽƌĐĞ͕
                                                                                        Force, ĂŶĚ
                                                                                               and Ăůů
                                                                                                   all
submitted ƐƚĂƚĞŵĞŶƚƐ
ƐƵďŵŝƩĞĚ    statements ǁĞƌĞ
                        were ĐŽŶƐŝƐƚĞŶƚ
                             consistent ǁŝƚŚ
                                         with ƚŚĞ
                                              the ĂǀĂŝůĂďůĞ
                                                   available ǀŝĚĞŽ
                                                             video ĞǀŝĚĞŶĐĞ͘
                                                                   evidence.




                                                                                                               Exh
                                                                                                               Exh bit
                                                                                                                   bit 35
                                                                                                                       35 at
                                                                                                                          at 28
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&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ
               Review

 Deputy tĂƌĚĞŶ
 ĞƉƵƚǇ   Warden BE ĐŽŶĚƵĐƚĞĚ
                            conducted ƚŚĞ  the ZĂƉŝĚ
                                                 Rapid ZĞǀŝĞǁ
                                                         Review ƌĞůĂƚĞĚ
                                                                   related ƚŽ to ƚŚŝƐ
                                                                                 this ŝŶĐŝĚĞŶƚ͘
                                                                                       incident. dŚĞ
                                                                                                   The ŝŶĐŝĚĞŶƚ
                                                                                                        incident ǁĂƐ
                                                                                                                   was ĚĞĞŵĞĚ
                                                                                                                         deemed
 ĂǀŽŝĚĂďůĞ
 avoidable due to improper escort. No unnecessary painful escort techniques were identified. ĂƉƚĂŝŶ
            ĚƵĞ   ƚŽ  ŝŵƉƌŽƉĞƌ     ĞƐĐŽƌƚ͘    EŽ   ƵŶŶĞĐĞƐƐĂƌǇ     ƉĂŝŶĨƵů     ĞƐĐŽƌƚ  ƚĞĐŚŶŝƋƵĞƐ     ǁĞƌĞ   ŝĚĞŶƟĮĞĚ͘     Captain
FP                 ǁĂƐ
                   was ŝĚĞŶƟĮĞĚ
                          identified ĨŽƌ
                                      for ĨĂŝůŝŶŐ
                                            failing ƚŽ
                                                     to ƐƵƉĞƌǀŝƐĞ
                                                         supervise ƚŚĂƚ
                                                                     that W/Ɛ
                                                                            PICs ǁĞƌĞ
                                                                                   were ďĞŝŶŐ
                                                                                           being ƉƌŽƉĞƌůǇ
                                                                                                  properly ĞƐĐŽƌƚĞĚ
                                                                                                              escorted ŽƵƚ
                                                                                                                         out ŽĨof
 ƌĞĐƌĞĂƟŽŶ͖
 recreation; ƚŚĞƌĞĨŽƌĞ͕
              therefore, ƐŚĞ she ǁĂƐ
                                  was ƚŽto ďĞbe ŵĂĚĞ
                                                 made ƚŚĞthe ƐƵďũĞĐƚ
                                                              subject ŽĨof Ăa DĞŵŽƌĂŶĚƵŵ
                                                                               Memorandum ŽĨ      of ŽŵƉůĂŝŶƚ͘
                                                                                                     Complaint. KĸĐĞƌƐ
                                                                                                                    Officers i
                                                                                                                     ǁĞƌĞ ĂůƐŽ
 identified ĨŽƌ
 ŝĚĞŶƟĮĞĚ   for ĨĂŝůŝŶŐ
                failing ƚŽto ƉƌŽƉĞƌůǇ
                              properly ĞƐĐŽƌƚ
                                          escort W/Ɛ
                                                    PICs ĨƌŽŵ
                                                          from ƌĞĐƌĞĂƟŽŶ
                                                                 recreation ĂŶĚ and ǁĞƌĞ
                                                                                     were ĞĂĐŚ
                                                                                             each ŵĂĚĞ
                                                                                                    made ƚŚĞ
                                                                                                           the ƐƵďũĞĐƚ
                                                                                                                subject ŽĨof Ăa
 Memorandum of Complaint. Office,
 DĞŵŽƌĂŶĚƵŵ        ŽĨ  ŽŵƉůĂŝŶƚ͘    KĸĐĞƌ                EE was identified as failing to ensure that all PICs ĐůĞĂƌĞĚ
                                                                ǁĂƐ   ŝĚĞŶƟĮĞĚ      ĂƐ  ĨĂŝůŝŶŐ ƚŽ  ĞŶƐƵƌĞ  ƚŚĂƚ  Ăůů W/Ɛ  cleared
 ƚŚĞ
 the ŵĂŐŶŽŵĞƚĞƌ
      magnometer ĂŶĚ   and ƐŚĞ
                            she ǁĂƐ
                                  was ƚŽ
                                       to ďĞbe ŵĂĚĞ
                                                made ƚŚĞthe ƐƵďũĞĐƚ
                                                             subject ŽĨ of Ăa DĞŵŽƌĂŶĚƵŵ
                                                                               Memorandum ŽĨ     of ŽŵƉůĂŝŶƚ͘
                                                                                                     Complaint. EŽ No ŽƚŚĞƌ
                                                                                                                        other
 ƉƌŽĐĞĚƵƌĂů
 procedural ǀŝŽůĂƟŽŶƐ
              violations Žƌ or ĐŽƌƌĞĐƟǀĞ
                                corrective ĂĐƟŽŶƐ
                                               actions ǁĞƌĞ
                                                         were ŶŽƚĞĚ͘
                                                                noted.

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ŐĞŶĞƌĂƚĞĚ
             generated Ă a ƚŚŝƌƚǇ
                           thirty ;ϯϬͿ
                                  (30) ĚĂǇ
                                        day ƐƵƐƉĞŶƐŝŽŶ
                                             suspension ĨŽƌ for ĂƉƚĂŝŶ
                                                                Captain
                 ĞīĞĐƟǀĞ
                 effective Ɖƌŝů
                            April Ϯϴ͕
                                  28, ϮϬϮϯ͘
                                       2023. dŚĞ
                                               The ĨĂĐŝůŝƚǇ
                                                    facility ŐĞŶĞƌĂƚĞĚ
                                                              generated Ăa ƚŚŝƌƚǇ
                                                                           thirty ;ϯϬͿ
                                                                                  (30) ĚĂǇ
                                                                                       day ƐƵƐƉĞŶƐŝŽŶ
                                                                                           suspension ĨŽƌ
                                                                                                      for KĸĐĞƌƐ
                                                                                                          Officers
                                     ĞīĞĐƟǀĞ
                                      effective Ɖƌŝů
                                                April Ϯϳ͕
                                                       27, ϮϬϮϯ͘
                                                             2023. dŚĞ
                                                                   The ĂĐĐŽŵƉĂŶǇŝŶŐ
                                                                        accompanying DKƐ
                                                                                        MOCs ǁĞƌĞ
                                                                                               were ŐĞŶĞƌĂƚĞĚ
                                                                                                    generated ƵŶĚĞƌ
                                                                                                                under
numbers ϬϳϬϮͬϮϯ͕
ŶƵŵďĞƌƐ    0702/23, ϬϳϬϯͬϮϯ͕
                     0703/23, ϬϳϬϰͬϮϯ
                                 0704/23 ϬϳϬϱͬϮϯ͕
                                            0705/23, ϬϳϬϲͬϮϯ͕
                                                        0706/23, ϬϳϬϳͬϮϯ
                                                                    0707/23 ĂŶĚ
                                                                             and ϬϳϭϴͬϮϯ͘
                                                                                  0718/23.

dŚĞ
The /ŶǀĞƐƟŐĂƟŽŶ
    Investigation ŝǀŝƐŝŽŶ
                  Division ĐŽŶĐƵƌƐ
                           concurs ǁŝƚŚ
                                   with ƚŚĞ
                                        the ZĂƉŝĚ
                                            Rapid ZĞǀŝĞǁΖƐ
                                                  Review's ĚĞƚĞƌŵŝŶĂƟŽŶ͘
                                                           determination.

ŽŶĐůƵƐŝŽŶ
Conclusion

dŚĞ
The /ŶǀĞƐƟŐĂƟŽŶ
      Investigation ŝǀŝƐŝŽŶ
                       Division ĐŽŶĐůƵĚĞĚ
                                 concluded ƚŚĂƚ that ƚŚĞ
                                                     the ĨŽƌĐĞ
                                                          force ƵƟůŝǌĞĚ
                                                                 utilized ďǇby ƐƚĂī
                                                                               staff ǁĂƐ
                                                                                     was ĂǀŽŝĚĂďůĞ
                                                                                           avoidable ĚƵĞdue ƚŽ
                                                                                                             to ŝŵƉƌŽƉĞƌ
                                                                                                                improper
ĞƐĐŽƌƟŶŐ
escorting ĂŶĚ
            and ĚƵĞ
                  due ƚŽto ĞƐĐŽƌƟŶŐ
                            escorting ƐƚĂī
                                       staff ĨĂŝůŝŶŐ
                                              failing ƚŽ
                                                      to ĞŶƐƵƌĞ
                                                         ensure ƚŚĂƚ
                                                                   that Ăůů
                                                                         all W/Ɛ
                                                                             PICs ĞŶƚĞƌĞĚ
                                                                                   entered ƚŚĞ
                                                                                             the ŵĂŐŶŽŵĞƚĞƌ
                                                                                                  magnometer ƉƌŝŽƌ prior ƚŽto ƌĞ-
                                                                                                                               re-
ĞŶƚƌǇ͘  dŚĞ  /ŶǀĞƐƟŐĂƟŽŶ       ŝǀŝƐŝŽŶ  ĂůƐŽ   ĐŽŶĐůƵĚĞĚ    ƚŚĂƚ  ƚŚĞ  ĨŽƌĐĞ  ƵƟůŝǌĞĚ   ďǇ  ƐƚĂī
entry. The Investigation Division also concluded that the force utilized by staff was necessary andǁĂƐ   ŶĞĐĞƐƐĂƌǇ    ĂŶĚ
ƉƌŽƉŽƌƟŽŶĂƚĞ
proportionate ƉĞƌ  per ƚŚĞ
                        the ĐŽŶƟŶƵƵŵ
                             continuum ŽĨ  of ĨŽƌĐĞ
                                               force ŽƵƚůŝŶĞĚ
                                                      outlined ǁŝƚŚŝŶ
                                                                 within ϱϬϬϲZ-͕
                                                                           5006R-D, ǁŚŝĐŚ
                                                                                       which ĂůůŽǁƐ
                                                                                               allows ĨŽƌ
                                                                                                       for ƐƚĂī
                                                                                                           staff ƚŽ
                                                                                                                 to ƵƟůŝǌĞ
                                                                                                                     utilize ĨŽƌĐĞ
                                                                                                                              force
ǁŚĞŶ
when ůĞƐƐĞƌ
        lesser ŵĞĂŶƐ
                means ŚĂǀĞhave ƉƌŽǀĞŶ
                                proven ŝŶĞīĞĐƟǀĞ͕
                                         ineffective, ƚŽto ƐƚŽƉ
                                                            stop ĂŶ
                                                                  an ĂƐƐĂƵůƚ͕
                                                                      assault, ĂŶĚ
                                                                                 and ƚŽ
                                                                                      to ƉƌĞǀĞŶƚ
                                                                                          prevent ŐƌĂǀĞ
                                                                                                    grave ďŽĚŝůǇ
                                                                                                           bodily ŚĂƌŵ
                                                                                                                   harm ĂŶĚ and
seƌŝŽƵƐ
serious ƉŚǇƐŝĐĂů
          physical ŝŶũƵƌǇ
                     injury ƚŽ
                             to ƐƚĂī
                                staff ĂŶĚ
                                      and ƐƵƌƌŽƵŶĚŝŶŐ
                                            surrounding ƉĞƌƐŽŶƐ͘
                                                            persons.

KĸĐĞƌƐ
Officers iy                 ĂƉƉƌŽƉƌŝĂƚĞůǇ
                            appropriately ŐƌĂďďĞĚ
                                            grabbed W/Ɛ
                                                     PICs a:          ĂŶĚ ia ďǇ    by ƚŚĞŝƌ
                                                                                       their ǁĂŝƐƚƐ
                                                                                              waists ĂŶĚ
                                                                                                       and ƚŽƌƐŽƐ
                                                                                                            torsos ƚŽ
                                                                                                                    to
ƉƌĞǀĞŶƚ  ƚŚĞŵ  ĨƌŽŵ  ĂĚǀĂŶĐŝŶŐ  ƚŽǁĂƌĚ   ŽŶĞ  ĂŶŽƚŚĞƌ  ĂŶĚ ƚŽ ĐĞĂƐĞ ƚŚĞŝƌ ĂĐƟǀĞ    ĐŽŵďĂƟǀĞ       ďĞŚĂǀŝŽƌ͘
prevent them from advancing toward one another and to cease their active combative behavior. Officers        KĸĐĞƌƐ
PO                         ĂƉƉƌŽƉƌŝĂƚĞůǇ
                           appropriately ƐĞĐƵƌĞĚ
                                           secured W/
                                                    ae             ĂŐĂŝŶƐƚ
                                                                   against ĨĂĐŝůŝƚǇ
                                                                            facility ǁĂůůƐ
                                                                                      walls ƵŶƟů
                                                                                             until ŚĞ
                                                                                                   he ǁĂƐ
                                                                                                        was ĂďůĞ
                                                                                                             able ƚŽ
                                                                                                                  to
ĐĂůŵ
calm ĚŽǁŶ
      down ƚŽ
            to ƉƌĞǀĞŶƚ
               prevent ĨƵƌƚŚĞƌ
                       further ĚŝƐƌƵƉƟǀĞ
                                disruptive ďĞŚĂǀŝŽƌ
                                            behavior ĂŶĚ
                                                      and ĚŝŵŝŶŝƐŚ
                                                          diminish ƚŚĞ
                                                                   the ƉŽƐƐŝďůĞ
                                                                        possible ƌŝƐŬ
                                                                                   risk ŽĨ
                                                                                         of ŝŶũƵƌǇ
                                                                                            injury ƚŽ
                                                                                                    to W/
                                                                                                        PIC ǁŚŝůĞ
                                                                                                            while
ďĞŝŶŐ  ĞƐĐŽƌƚĞĚ͘
being escorted.

dŚĞ
The /ŶǀĞƐƟŐĂƟŽŶ
      Investigation ŝǀŝƐŝŽŶ
                    Division ĐŽŶĐƵƌƐ
                               concurs ǁŝƚŚ
                                       with ƚŚĞ
                                            the ĚŝƐĐŝƉůŝŶĞ
                                                 discipline ŐĞŶĞƌĂƚĞĚ
                                                            generated ďǇ
                                                                       by ƚŚĞ
                                                                          the ĨĂĐŝůŝƚǇ
                                                                               facility ƚŽ
                                                                                        to ĂĚĚƌĞƐƐ
                                                                                            address ƚŚĞ
                                                                                                     the ŝŶǀŽůǀĞĚ
                                                                                                         involved
staff's ǀŝŽůĂƟŽŶƐ
ƐƚĂīΖƐ  violations ĂŶĚ
                   and ŝƚ
                        it ŝƐ
                           is ƌĞĐŽŵŵĞŶĚĞĚ
                              recommended ƚŚĂƚ
                                             that ƚŚŝƐ
                                                   this ĐĂƐĞ
                                                        case ďĞ
                                                             be ĐůŽƐĞĚ
                                                                closed ǁŝƚŚ
                                                                       with ŶŽ
                                                                             no ĨƵƌƚŚĞƌ
                                                                                 further ŝŶǀĞƐƟŐĂƟǀĞ
                                                                                           investigative ĂĐƟŽŶ͘
                                                                                                         action.




                                                                                                                       Exh
                                                                                                                       Exh bit
                                                                                                                           bit 35
                                                                                                                               35 at
                                                                                                                                  at 29
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for May
                                   May 2023
                                       2023 (UOF
                                            (UOF 2239/23)
                                                 2239/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϮϮϯϵͬϮϯ
                                                       2239/23

&ĂĐŝůŝƚǇ͗
Facility: 'Zs
          GRVC

Synopsis
Synopsis

On DĂǇ
KŶ   May ϯ͕3, ϮϬϮϯ͕
               2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                           approximately ϬϳϮϰ0724 ŚŽƵƌƐ͕
                                                    hours, ǁŝƚŚŝŶ
                                                             within ƚŚĞ
                                                                      the ĐŽŶĮŶĞƐ
                                                                           confines ŽĨof 'ĞŽƌŐĞ
                                                                                          George Z͘R. sŝĞƌŶŽ
                                                                                                       Vierno ĞŶƚĞƌ
                                                                                                                 Center ;'ZsͿ
                                                                                                                           (GRVC)
^,
ESH /ŶƚĂŬĞ͖
      Intake; ƵƌŝŶŐ
                During ŽƵƌƚ
                          Court ƉƌŽĚƵĐƟŽŶ͕
                                 production, KĸĐĞƌ
                                                Officer                          ƉƌŽĐĞĞĚĞĚ
                                                                                 proceeded ƚŽ  to ƐĞĐƵƌĞ
                                                                                                  secure WĞƌƐŽŶ
                                                                                                            Person ŝŶ in ƵƐƚŽĚǇ
                                                                                                                          Custody
;W/Ϳ
(PIC)                                                     ŚĂŶĚƐ
                                                          hands ďĞŚŝŶĚ
                                                                  behind ŚŝƐ his ďĂĐŬ
                                                                                 back ĂŶĚ
                                                                                       and ĂƉƉůǇŝŶŐ
                                                                                             applying ŵĞĐŚĂŶŝĐĂů
                                                                                                        mechanical ƌĞƐƚƌĂŝŶƚ
                                                                                                                         restraint




                   _...
ŽŶƚŽ   ŚŝƐ ǁƌŝƐƚ
onto his wrist                W/            ƚƵƌŶĞĚ   ĂƌŽƵŶĚ    ĂŶĚ   ŚŝƐ ĞůďŽǁ    ƐƚƌƵĐŬ
                                             turned around and his elbow struck Officer    KĸĐĞƌ              ƚŽ ŚĞƌ   ŚĞĂĚͬĨĂĐŝĂů
                                                                                                              to her head/facial
ĂƌĞĂ͘
area. KĸĐĞƌ
       Officer             ŝŵŵĞĚŝĂƚĞůǇ
                           immediately ĞǆƚĞŶĚĞĚ
                                           extended ŚĞƌher ŚĂŶĚ
                                                             hand ŝŶin Ă
                                                                       a 
                                                                         C ƐŚĂƉĞ
                                                                            shape ĂŶĚ
                                                                                    and ŐƌĂďďĞĚ
                                                                                         grabbed ƚŚĞ the W/ΖƐ
                                                                                                          PIC's ŶĞĐŬ͘
                                                                                                                 neck.
^ŝŵƵůƚĂŶĞŽƵƐůǇ͕
Simultaneously, KĸĐĞƌ Officer                               and
                                                            ĂŶĚ                                     intervened ĂŶĚ
                                                                                                    ŝŶƚĞƌǀĞŶĞĚ      and ŐƌĂďďĞĚ
                                                                                                                          grabbed
and guided Pic
ĂŶĚ   ŐƵŝĚĞĚ    W/            away from Officer
                               ĂǁĂǇ   ĨƌŽŵ   KĸĐĞƌ              Officer
                                                                KĸĐĞƌ              followed behind and struck .
                                                                                  ĨŽůůŽǁĞĚ    ďĞŚŝŶĚ    ĂŶĚ   ƐƚƌƵĐŬ   W/      .
ŝŶ
in ƚŚĞ
   the ƌĞĂƌ
        rear ŽĨof ŚŝƐ
                  his ŚĞĂĚ͘
                       head. /ŶƐƚĂŶƚĂŶĞŽƵƐůǇ͕
                               Instantaneously, ĂŶ  an ŽĸĐĞƌ
                                                        officer ƋƵŝĐŬůǇ
                                                                 quickly ŐƌĂďďĞĚ
                                                                          grabbed KĸĐĞƌ
                                                                                      Officer           ǁŚŝůĞ
                                                                                                        while KĸĐĞƌ
                                                                                                                Officer
ĞƐĐŽƌƚĞĚ
escorted ĂŶĚ and ƐĞĐƵƌĞĚ
                  secured ƚŚĞthe W/
                                  PIC ŝŶƐŝĚĞ
                                       inside aĂ ĐĞůů͕
                                                 cell, ƚŚƵƐ
                                                       thus ƚĞƌŵŝŶĂƟŶŐ
                                                              terminating ƚŚĞ the ŝŶĐŝĚĞŶƚ͘
                                                                                   incident.

Photographic ǀŝĚĞŶĐĞ
WŚŽƚŽŐƌĂƉŚŝĐ Evidence

KŶ
On DĂǇ
   May ϯ͕
       3, ϮϬϮϯ͕
          2023, ĂƉƚĂŝŶ
                Captain                   ƚŽŽŬ
                                          took ŽŶĞ
                                               one ;ϭͿ
                                                   (1) ƉƌŽĮůĞ
                                                       profile ƉŚŽƚŽŐƌĂƉŚ
                                                               photograph ŽĨ
                                                                          of W/
                                                                             Pic                      ŵĂƌŬĞĚ
                                                                                                      marked ĂƐ
                                                                                                             as ƌĞĨƵƐĂů͘
                                                                                                                refusal.

On DĂǇ
KŶ May ϯ͕
       3, ϮϬϮϯ͕
          2023, ĂƉƚĂŝŶ
                Captain                   took ŽŶĞ
                                          ƚŽŽŬ one ;ϭͿ
                                                   (1) ƉƌŽĮůĞ
                                                       profile ƉŚŽƚŽŐƌĂƉŚ
                                                               photograph ŽĨ
                                                                          of KĸĐĞƌ
                                                                             Officer                      left ĨĂĐŝĂů
                                                                                                          ůĞŌ  facial ĂƌĞĂ͕
                                                                                                                      area,
ŵĂƌŬĞĚ
marked ĂƐ
       as ΗŽƚŚĞƌ
          "other ŝŶũƵƌǇΗ͘
                 injury".

sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ͗
      evidence:

'ĞŶĞƚĞĐ
Genetec ǀŝĚĞŽ
          video ƐƵƌǀĞŝůůĂŶĐĞ
                 surveillance ĂŶŐůĞƐ
                               angles J      ǁĞƌĞ
                                              were ƌĞǀŝĞǁĞĚ
                                                    reviewed ĨŽƌ
                                                               for DĂǇ
                                                                   May ϯ͕3, ϮϬϮϯ͕
                                                                            2023, ĨƌŽŵ
                                                                                   from ϬϳϮϬ
                                                                                        0720 ƚŽ
                                                                                             to ϬϳϯϬ
                                                                                                0730 ŚŽƵƌƐ͕
                                                                                                     hours, ŝŶ
                                                                                                            in
'Zs͕
GRVC, /ŶƚĂŬĞ
       Intake ĂƌĞĂ͘
               area. sŝĚĞŽ
                     Video ĨŽŽƚĂŐĞ
                             footage ĚĞƉŝĐƚĞĚ
                                      depicted ƚŚĞ
                                                the ŝŶĐŝĚĞŶƚ
                                                     incident ĂƐ
                                                              as ŶĂƌƌĂƚĞĚ
                                                                  narrated ĂďŽǀĞ͘
                                                                             above.

dŚĞƌĞ
There ǁĂƐ
      was ŶŽ
          no ŚĂŶĚŚĞůĚ
             handheld Žƌ
                      or ŽĚǇ-ǁŽƌŶ
                         Body-worn ĨŽŽƚĂŐĞ
                                   footage ĂƐƐŽĐŝĂƚĞĚ
                                           associated ǁŝƚŚ
                                                      with ƚŚŝƐ
                                                           this ŝŶĐŝĚĞŶƚ͘
                                                                incident.

GRVC: ^,
'Zs͗ ESH /ŶƚĂŬĞ
          Intake

ŶŐůĞƐ͗
Angles: a

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ
          injuries

Injury ƌĞƉŽƌƚ
/ŶũƵƌǇ  report ηϭϬϵϰͬ&zϮϯ
               #1094/FY23 ŝŶĚŝĐĂƚĞĚ
                             indicated ƚŚĂƚ
                                        that ŽŶ
                                             on DĂǇ
                                                May Ϭϯ͕
                                                     03, ϮϬϮϯ͕
                                                          2023, Ăƚ
                                                                at ϬϴϮϬ
                                                                   0820 ŚŽƵƌƐ͕
                                                                         hours, W/
                                                                                Pic          was ĂīŽƌĚĞĚ
                                                                                            ǁĂƐ  afforded
ƉƌŽŵƉƚ
prompt ŵĞĚŝĐĂů
          medical ĂƩĞŶƟŽŶ͘
                   attention. dŚĞ
                              The ŝŶĚŝǀŝĚƵĂů
                                   individual ƌĞĨƵƐĞĚ
                                              refused ŵĞĚŝĐĂů
                                                       medical ĞǀĂůƵĂƟŽŶ
                                                                evaluation ĂŶĚ
                                                                            and ĚĞŶŝĞĚ
                                                                                denied ŝŶũƵƌŝĞƐ͘
                                                                                       injuries. EŽ
                                                                                                 No ǀŝƐŝďůĞ
                                                                                                    visible
ŝŶũƵƌŝĞƐ  ǁĞƌĞ  ŶŽƚĞĚ͘
injuries were noted.

dŚĞƌĞ
There ǁĞƌĞ
      were ŶŽno ƌĞƉŽƌƚĞĚ
                reported ƐƚĂī
                           staff ŝŶũƵƌŝĞƐ
                                  injuries ďǇ
                                            by K
                                                COD Žƌ
                                                     or ƚŚĞ
                                                         the ĨĂĐŝůŝƚǇ͘
                                                             facility. KĸĐĞƌ
                                                                       Officer JM            ŝŶĚŝĐĂƚĞĚ
                                                                                             indicated ŽŶ
                                                                                                       on ŚĞƌ
                                                                                                          her ƌĞƉŽƌƚ
                                                                                                              report ƚŚĂƚ
                                                                                                                     that
ƐŚĞ
she ƐƵƐƚĂŝŶĞĚ
    sustained ŝŶũƵƌŝĞƐ
               injuries ƚŽ
                        to ŚĞƌ
                            her ƌŝŐŚƚ
                                 right Ăƌŵ͕
                                        arm, ĨĂĐŝĂů
                                              facial ĂƌĞĂ͕
                                                     area, ĂŶĚ
                                                            and ĞǇĞ͘
                                                                  eye.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to ƚŚĞ
              the ĞŶƚƌĂů
                   Central KƉĞƌĂƟŽŶ
                            Operation ĞƐŬ
                                       Desk ;KͿ͕
                                             (COD), EŽ
                                                     No ƐƚĂī
                                                         staff Žƌ
                                                               or W/
                                                                  PIC ŝŶũƵƌŝĞƐ
                                                                      injuries ǁĞƌĞ
                                                                               were ƐƵƐƚĂŝŶĞĚ
                                                                                     sustained Žƌ
                                                                                               or ƌĞƉŽƌƚĞĚ͘
                                                                                                  reported.
dŚĞƌĞĨŽƌĞ͕  ƚŚŝƐ ŝŶĐŝĚĞŶƚ ŝƐ ĐŽƌƌĞĐƚůǇ ĐůĂƐƐŝĮĞĚ ĂƐ Ă ΗΗ  hK&   ĂƐ ŽƵƚůŝŶĞĚ  ŝŶ ŝƌĞĐƟǀĞ  ϱϬϬϲZ-͘
Therefore, this incident is correctly classified as a '"C" UOF as outlined in Directive 5006R-D.

A ďƌŝĞĨ
 brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͘
                       statements.




                                                                                                                     Exh
                                                                                                                     Exh bit
                                                                                                                         bit 35
                                                                                                                             35 at
                                                                                                                                at 30
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KŶ
On DĂǇ
    May ϯ͕
        3, ϮϬϮϯ͕
            2023, W/
                  PIC         ME      ƌĞĨƵƐĞĚ
                                       refused ƚŽ
                                               to ƌĞĨƵƐĞ
                                                  refuse ƚŽ
                                                         to ƉƌŽǀŝĚĞ
                                                            provide Ă
                                                                    a ǁƌŝƩĞŶ
                                                                      written Žƌ
                                                                              or ǀĞƌďĂů
                                                                                 verbal ƐƚĂƚĞŵĞŶƚ
                                                                                        statement ƚŽ
                                                                                                  to ƚŚĞ
                                                                                                     the ĨĂĐŝůŝƚǇ
                                                                                                         facility Žƌ
                                                                                                                  or
medical ƐƚĂī͘
ŵĞĚŝĐĂů staff.

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                      that ĂŶ
                                           an ŝŶƚĞƌǀŝĞǁ
                                              interview ǁŝƚŚ
                                                        with ƚŚĞ
                                                             the ŝŶĚŝǀŝĚƵĂů
                                                                 individual ǁĂƐ
                                                                            was ƵŶŶĞĐĞƐƐĂƌǇ
                                                                                unnecessary ĚƵĞ
                                                                                            due ƚŽ
                                                                                                to ƚŚĞ
                                                                                                   the
ĐŽŶƐŝƐƚĞŶĐǇ
consistency ŽĨ
            of ƐƚĂī
               staff ƌĞƉŽƌƚƐ
                     reports ĂŶĚ
                             and ƚŚĞ
                                 the ŝŶĐŝĚĞŶƚ
                                     incident ďĞŝŶŐ
                                              being ĐĂƉƚƵƌĞĚ
                                                    captured ĞŶƟƌĞůǇ
                                                             entirely ŽŶ
                                                                      on ǀŝĚĞŽ
                                                                         video ĞǀŝĚĞŶĐĞ͘
                                                                               evidence.

^ƚĂī
Staff ƌĞƉŽƌƚƐ
      reports

^ƚĂī
Staff ƌĞƉŽƌƚƐ
      reports ǁĞƌĞ
              were ŐĞŶĞƌĂůůǇ
                   generally ĐŽŶƐŝƐƚĞŶƚ
                             consistent ǁŝƚŚ
                                        with ǁŚĂƚ
                                             what ǁĂƐ
                                                  was ŽďƐĞƌǀĞĚ
                                                      observed ŝŶ
                                                               in ƚŚĞ
                                                                  the ǀŝĚĞŽ
                                                                      video ĨŽŽƚĂŐĞ͘
                                                                            footage.

KŶ
On ƚŚĞ
     the ĐŽŶƚƌĂƌǇ͕
          contrary, KĸĐĞƌ
                      Officer      EE ƐƵďŵŝƩĞĚ
                                           submitted hƐĞ
                                                       Use ŽĨ
                                                            of &ŽƌĐĞ
                                                                Force ZĞƉŽƌƚ
                                                                       Report ǁĂƐwas ŝŶĐŽŶƐŝƐƚĞŶƚ
                                                                                       inconsistent ǁŝƚŚ
                                                                                                     with ŚĞƌ
                                                                                                            her ĂĐƟŽŶƐ͕
                                                                                                                actions, ĂƐ
                                                                                                                          as
ǀŝĞǁĞĚ     ŽŶ ƚŚĞ  'ĞŶĞƚĞĐ      ǀŝĚĞŽ͘  dŚĞ  ŽĸĐĞƌ   ŶŽƚĞĚ   ƚŚĂƚ  ƐŚĞ   ƵƟůŝǌĞĚ  ĂŶ   ŽƉĞŶ-ŚĂŶĚ    ƉƵƐŚ
viewed on the Genetec video. The officer noted that she utilized an open-hand push to the PIC's upper     ƚŽ  ƚŚĞ W/ΖƐ  ƵƉƉĞƌ
ďŽĚǇ
body ĂƌĞĂ͘
        area. ƚ
               At ǁŚŝĐŚ
                  which ƟŵĞ͕
                           time, ŚĞƌ
                                   her ŚĂŶĚ
                                        hand ŝŶĂĚǀĞƌƚĞŶƚůǇ
                                              inadvertently ƐůŝƉƉĞĚ
                                                               slipped ŝŶƚŽ
                                                                          into ƚŚĞ
                                                                               the ŝŶĚŝǀŝĚƵĂůΖƐ
                                                                                    individual's ŶĞĐŬ
                                                                                                  neck ĂƌĞĂ͘
                                                                                                        area. KĸĐĞƌ
                                                                                                               Officer
also ŝŶĚŝĐĂƚĞĚ
ĂůƐŽ   indicated ƚŚĂƚ͕
                  that, ǁŚŝůĞ
                          while ƐƚĂī
                                  staff ĂƩĞŵƉƚĞĚ
                                        attempted ƚŽ to ƐĞĐƵƌĞ
                                                        secure ƚŚĞ
                                                                 the ŝŶĚŝǀŝĚƵĂů͕
                                                                      individual, ŚĞƌher ůĞŌ
                                                                                         left ŚĂŶĚ
                                                                                              hand ǁĂƐ
                                                                                                    was ĞŶƚĂŶŐůŝŶŐ
                                                                                                          entangling ǁŝƚŚ
                                                                                                                       with ƚŚĞ
                                                                                                                             the
ŽĸĐĞƌ͘
officer. In addition, fearing her safety from being attacked again, she utilized her right hand by swinging ŝƚ
          /Ŷ ĂĚĚŝƟŽŶ͕    ĨĞĂƌŝŶŐ    ŚĞƌ ƐĂĨĞƚǇ  ĨƌŽŵ   ďĞŝŶŐ  ĂƩĂĐŬĞĚ     ĂŐĂŝŶ͕  ƐŚĞ   ƵƟůŝǌĞĚ ŚĞƌ  ƌŝŐŚƚ ŚĂŶĚ   ďǇ  ƐǁŝŶŐŝŶŐ   it
in ƚŚĞ
ŝŶ the ĚŝƌĞĐƟŽŶ
         direction ŽĨ
                    of ƚŚĞ
                        the W/
                              PIC ƚŽ
                                   to ĐƌĞĂƚĞ
                                      create ĚŝƐƚĂŶĐĞ
                                              distance ĨƌŽŵ
                                                        from ƚŚĞ
                                                               the W/͘
                                                                    PIC.

 Ύ/
 *ID ĚĞƚĞƌŵŝŶĞĚ
      determined ƚŚĂƚ that KĸĐĞƌ
                            Officer J         ƐƵďŵŝƩĞĚ
                                               submitted Ăa ƌĞƉŽƌƚ
                                                             report ǁŚŝĐŚ
                                                                     which ǁĂƐ
                                                                             was ĨĂůƐĞ
                                                                                   false ĂŶĚ
                                                                                         and ŝŶĂĐĐƵƌĂƚĞ͖
                                                                                              inaccurate; 'ĞŶĞƚĞĐ
                                                                                                             Genetec ĨŽŽƚĂŐĞ
                                                                                                                       footage




                                                                                            -
 corroborated ƚŚĞ
 ĐŽƌƌŽďŽƌĂƚĞĚ     the ŽĸĐĞƌΖƐ
                        officer's ĂĐƟŽŶ
                                   action ŽĨ
                                           of ŐƌĂďďŝŶŐ
                                               grabbing W/
                                                         Pic              neck/throat ĂƌĞĂ
                                                                          ŶĞĐŬͬƚŚƌŽĂƚ    area ĂŶĚ
                                                                                               and ĚĞůŝďĞƌĂƚĞůǇ
                                                                                                     deliberately ƐƚƌŝŬŝŶŐ
                                                                                                                   striking ƚŚĞ
                                                                                                                             the
 ŝŶĚŝǀŝĚƵĂů
 individual ƚŽ
             to ŚŝƐ
                 his ŚĞĂĚ͘
                      head. /ŶIn ĂĚĚŝƟŽŶ͕
                                 addition, ŝƚit ǁĂƐ
                                                was ŽďƐĞƌǀĞĚ
                                                     observed ǀŝĂvia ĨŽŽƚĂŐĞ
                                                                     footage ƚŚĂƚ
                                                                               that KĸĐĞƌ
                                                                                     Officer          ĂƩĞŵƉƚĞĚ
                                                                                                      attempted ƚŽ to ĞƐĐŽƌƚ
                                                                                                                      escort
 ĂŶĚ  ƐĞĐƵƌĞ   ƚŚĞ  ŝŶĚŝǀŝĚƵĂů    ĂǁĂǇ
 and secure the individual away from pt  ĨƌŽŵ   KĸĐĞƌ           ͘ KĸĐĞƌ
                                                                . Officer          ĐŽŶƟŶƵĞĚ
                                                                                    continued to advance toward ƚŚĞ
                                                                                                ƚŽ ĂĚǀĂŶĐĞ    ƚŽǁĂƌĚ   the W/͕
                                                                                                                            PIC,
 which ĐĂƵƐĞĚ
 ǁŚŝĐŚ   caused KĸĐĞƌƐ
                   Officers                  ĂŶĚ          to ŝŶƚĞƌǀĞŶĞ͖
                                                          ƚŽ  intervene; BE         conve ďǇ
                                                                           ƐŝŵƵůƚĂŶĞŽƵƐůǇ     by ƉƵůůŝŶŐ
                                                                                                  pulling ĂŶĚ
                                                                                                           and ŐƵŝĚŝŶŐ
                                                                                                                guiding KĸĐĞƌ
                                                                                                                         Officer
| | ĂǁĂǇ away ĨƌŽŵ
                from W/PIC

Facility ZĂƉŝĚ
&ĂĐŝůŝƚǇ Rapid ZĞǀŝĞǁ͗
               Review:

The Rapid ZĞǀŝĞǁ
dŚĞ ZĂƉŝĚ
,ŽǁĞǀĞƌ͕
ŽĸĐĞƌ
officer ŚĂĚ
           Review ĐŽŶĚƵĐƚĞĚ
However, KĸĐĞƌ
        had ŚĞƌ

ŽŶĐůƵƐŝŽŶ͗
Conclusion:
                  conducted ďǇ
          Officer JM ĨĂŝůĞĚ
            her ŚĂŶĚ
                hand ďƌŝĞŇǇ
                               by ĐƟŶŐ
                        failed ƚŽ
                     briefly ĂƌŽƵŶĚ
                                   Acting tĂƌĚĞŶ
                                to ƌĞŵĂŝŶ
                             around ƚŚĞ
                                          Warden [i ŶŽƚĞĚ
                                    remain ƉƌŽĨĞƐƐŝŽŶĂů
                                    the W/ΖƐ
                                        PIC's ŶĞĐŬ͘
                                              neck.        -
                                                          noted ƚŚĂƚ
                                           professional ĚƵƌŝŶŐ
                                                                 that ƚŚĞ
                                                        during ƚŚĞ
                                                                       the ŝŶĐŝĚĞŶƚ
                                                                           incident ǁĂƐ
                                                               the ŝŶĐŝĚĞŶƚ͘
                                                                    incident. /ƚ
                                                                               It ǁĂƐ
                                                                                      was ƵŶĂǀŽŝĚĂďůĞ͘
                                                                                           unavoidable.
                                                                                  was ĨƵƌƚŚĞƌ
                                                                                       further ŶŽƚĞĚ
                                                                                               noted ƚŚĂƚ
                                                                                                      that ƚŚĞ
                                                                                                           the




ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
          the ĞǀŝĚĞŶĐĞ
              evidence ĐŝƚĞĚ
                       cited ĂďŽǀĞ͕
                             above, ƚŚŝƐ
                                    this ŝŶĐŝĚĞŶƚ
                                         incident ǁŝůů
                                                  will ďĞ
                                                       be ƌĞĨĞƌƌĞĚ
                                                          referred ĨŽƌ
                                                                   for ĨƵƌƚŚĞƌ
                                                                       further ŝŶǀĞƐƟŐĂƟŽŶ
                                                                               investigation ;ďůŽǁ
                                                                                             (blow ƚŽ
                                                                                                   to ƚŚĞ
                                                                                                      the
ŚĞĂĚͿ͘
head).

KŶ
On DĂǇ
   May ϵ͕
       9, ϮϬϮϯ͕
          2023, KĸĐĞƌ
                Officer I             ǁĂƐ
                                       was ƐƵƐƉĞŶĚĞĚ
                                           suspended ĨƌŽŵ
                                                     from ĚƵƚǇ͘
                                                          duty.




                                                                                                                   Exh
                                                                                                                   Exh bit
                                                                                                                       bit 35
                                                                                                                           35 at
                                                                                                                              at 31
                                                                                                                                 31
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (1463/23)
                                             (1463/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϭϰϲϯͬϮϯ
                                                       1463/23

&ĂĐŝůŝƚǇ͗
Facility: yd
          BXCT

Synopsis
Synopsis

KŶ
On DĂƌĐŚ
    March ϮϮ͕ 22, ϮϬϮϯ͕
                   2023, Ăƚ at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                 approximately Ϭϴϭϱ   0815 ŚŽƵƌƐ
                                                             hours ŝŶ
                                                                    in ƚŚĞ
                                                                       the yd͕
                                                                            BXCT, ŝŶƚĂŬĞ
                                                                                    intake ĐŽƌƌŝĚŽƌ͕
                                                                                            corridor, W/ic
                   ƌĞĨƵƐĞĚ
                    refused ƚŽ  to ďĞ
                                   be ƐĞĐƵƌĞĚ
                                       secured ŝŶ   in ƚŚĞ
                                                       the ,ŽůĚŝŶŐ
                                                             Holding WĞŶ
                                                                      Pen ĂŌĞƌ
                                                                           after ŵƵůƟƉůĞ
                                                                                  multiple ŽƌĚĞƌƐ
                                                                                             orders ǁĞƌĞ
                                                                                                       were ŐŝǀĞŶ͘      dŚĞ W/
                                                                                                                given. The   PIC ƐƚĂƚĞĚ͕
                                                                                                                                  stated,
"I'm ŶŽƚ
Η/Ζŵ  not ƐŝƫŶŐ
            sitting ŝŶ
                     in Ăa ƉĞŶΗ͘
                           pen". KĸĐĞƌ
                                    Officer SMM ŝŶƐƚƌƵĐƚĞĚ  instructed ƚŚĞ
                                                                        the W/
                                                                             PIC ƚŽ
                                                                                  to ĐŽŵĞ
                                                                                      come ĚŽǁŶƐƚĂŝƌƐ
                                                                                             downstairs Ăƚ    at ǁŚŝĐŚ
                                                                                                                  which ƟŵĞ
                                                                                                                         time ƚŚĞ
                                                                                                                                the W/
                                                                                                                                     PIC
ƐƚĂƚĞĚ   ΗtŚĂƚ     ĂƌĞ  ǇŽƵ    ƚŚƌĞĂƚĞŶŝŶŐ       ŶŝŐŐĂƐ   ĨŽƌ͍  tĞ  ĂƌĞ ŐŽŝŶŐ   ƚŽ  ĮŐŚƚΗ͘  dŚĞ  W/
stated "What are you threatening niggas for? We are going to fight". The PIC stepped forward at which ƐƚĞƉƉĞĚ       ĨŽƌǁĂƌĚ   Ăƚ ǁŚŝĐŚ
ƟŵĞ
time KĸĐĞƌ
      Officer                  ƐƚĞƉƉĞĚ
                               stepped ŝŶ  in ĨƌŽŶƚ
                                                front KĨ
                                                       Of W/
                                                           Pic       and  ĂŶĚ ŵŽŵĞŶƚĂƌŝůǇ
                                                                               momentarily ƉůĂĐĞĚ
                                                                                                placed ŚŝƐ his ƌŝŐŚƚ
                                                                                                                right ŚĂŶĚ
                                                                                                                       hand ŽŶ
                                                                                                                             on ƚŚĞ
                                                                                                                                  the W/Ɛ
                                                                                                                                       PICs
neck ĂƌĞĂ
ŶĞĐŬ   area                               Ϳ͘). W/
                                               PIC             then  immediately ƐƚĂƚĞĚ
                                                               ƚŚĞŶ ŝŵŵĞĚŝĂƚĞůǇ       stated ΗŚĞ
                                                                                              "he just    choked ŵĞ
                                                                                                   ũƵƐƚ ĐŚŽŬĞĚ       me ŽŶ
                                                                                                                         on ĐĂŵĞƌĂ
                                                                                                                             camera Ăs  as
ĂƉƚĂŝŶ
Captain                                        ŐƵŝĚĞĚ   ƚŚĞ   W/ ĂǁĂǇ  ĂŶĚ   ǁĂůŬĞĚ    Śŝŵ  ŽǀĞƌ   ƚŽ  ƚŚĞ
                                               guided the PIC away and walked him over to the pen where ic    ƉĞŶ   ǁŚĞƌĞ   W/
was ƐĞĐƵƌĞĚ
ǁĂƐ  secured ǁŝƚŚŽƵƚ
                  without ĨƵƌƚŚĞƌ
                              further ŝŶĐŝĚĞŶƚ͘
                                        incident.

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ
             Evidence

The facility ƉƌŽǀŝĚĞĚ
dŚĞ ĨĂĐŝůŝƚǇ provided ŽŶĞ
                      one ƉŚŽƚŽŐƌĂƉŚ
                          photograph ŽĨ
                                     of W/
                                        Pic                           depicting Ăa ĨƌŽŶƚ
                                                                      ĚĞƉŝĐƟŶŐ     front ƉƌŽĮůĞ͘
                                                                                         profile.

Video ĞǀŝĚĞŶĐĞ͗
sŝĚĞŽ evidence:

ŽĚǇ
Body ĐĂŵĞƌĂƐ
      cameras |i                              ;tͿ
                                              (BWC) ǁĞƌĞ
                                                    were ƌĞǀŝĞǁĞĚ
                                                         reviewed ŽŶ
                                                                  on DĂƌĐŚ
                                                                     March ϮϮ͕
                                                                           22, ϮϬϮϯ͕
                                                                               2023, ǁŚŝĐŚ
                                                                                     which ǁĞƌĞ
                                                                                           were ĐŽŶƐŝƐƚĞŶƚ
                                                                                                consistent ǁŝƚŚ
                                                                                                           with
the ŶĂƌƌĂƟŽŶ
ƚŚĞ narration ĂďŽǀĞ͘
              above.

Staff/PIC ŝŶũƵƌŝĞƐ
^ƚĂīͬW/  injuries

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ
                    Report &zϮϯͬϭϮϳϰ
                            FY23/1274 ŶŽƚĞĚ
                                         noted ƚŚĂƚ
                                                that W/
                                                      Pic            ǁĂƐ
                                                                     was ƉƌŽǀŝĚĞĚ
                                                                          provided ǁŝƚŚ
                                                                                    with ĚĞůĂǇĞĚ
                                                                                          delayed ŵĞĚŝĐĂů
                                                                                                   medical ĂƩĞŶƟŽŶ
                                                                                                            attention
;ϵ
(9 ŚŽƵƌƐ
   hours ϭϱ
          15 ŵŝŶͿ͘
              min). dŚĞ
                     The ŵĞĚŝĐĂů
                          medical ƐƚĂī
                                  staff ŶŽƚĞĚ
                                         noted ƚŚĂƚ
                                                that ƚŚĞ
                                                      the W/
                                                           PIC ƌĞĨƵƐĞĚ
                                                               refused ƚŽ
                                                                        to ďĞ
                                                                           be ƐĞĞŶ
                                                                              seen ĂŶĚ
                                                                                    and ƐƚĂƚĞĚ
                                                                                         stated ƚŚĂƚ
                                                                                                that ŚĞ
                                                                                                      he ĚŽĞƐ
                                                                                                         does ŶŽƚ
                                                                                                               not
ŚĂǀĞ
have ĂŶǇ
      any ŝŶũƵƌŝĞƐ͘
           injuries. dŚĞƌĞ
                     There ǁĞƌĞ
                             were ŶŽ
                                  no ǀŝƐŝďůĞ
                                      visible ŝŶũƵƌŝĞƐ
                                              injuries ŶŽƚĞĚ
                                                        noted ĂŶĚ
                                                               and ŶŽ
                                                                    no ƚƌĞĂƚŵĞŶƚ
                                                                        treatment ǁĂƐ
                                                                                   was ƉƌŽǀŝĚĞĚ͘
                                                                                        provided.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ͘
                             injuries.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

The Use ŽĨ
dŚĞ hƐĞ of &ŽƌĐĞ
           Force ǁĂƐ
                 was ĐŽƌƌĞĐƚůǇ
                     correctly ĐůĂƐƐŝĮĞĚ
                               classified ĂƐ
                                          as Ăa ΗΗ
                                                "C" ĚƵĞ
                                                    due ƚŽ
                                                        to ŶŽ
                                                           no ƐƚĂī
                                                              staff Žƌ
                                                                    or W/
                                                                       PIC ŝŶũƵƌŝĞƐ͘
                                                                           injuries.


A ďƌŝĞĨ
  brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͘
                       statements.

W/
Pic     a       ƌĞĨƵƐĞĚ
                refused ƚŽ
                        to ƉƌŽǀŝĚĞ
                           provide ƚŚĞ
                                   the ĨĂĐŝůŝƚǇ
                                       facility Žƌ
                                                or ŵĞĚŝĐĂů
                                                   medical ƐƚĂī
                                                           staff ǁŝƚŚ
                                                                 with Ă
                                                                      a ƐƚĂƚĞŵĞŶƚ͘
                                                                        statement.

/ƚIt ǁĂƐ
     was ĚĞƚĞƌŵŝŶĞĚ
          determined ƚŚĂƚ
                       that /
                            ID ŝŶƚĞƌǀŝĞǁƐ
                               interviews ǁĞƌĞ
                                          were ƵŶŶĞĐĞƐƐĂƌǇ
                                               unnecessary ĚƵĞ
                                                           due ƚŽ
                                                               to ƚŚĞ
                                                                  the ŝŶĐŝĚĞŶƚ
                                                                      incident ďĞŝŶŐ
                                                                               being ĐĂƉƚƵƌĞĚ
                                                                                     captured ŝŶ
                                                                                              in ŝƚƐ
                                                                                                 its ĞŶƟƌĞƚǇ
                                                                                                     entirety
ŽŶ
on ǀŝĚĞŽ
      video ĞǀŝĚĞŶĐĞ͘
             evidence.

W/
Pic

    -
ĚĞƉŝĐƚĞĚ
ƐƵďũĞĐƚĞĚ
             ƐƚĂƚĞĚ
             stated ŽŶ
depicted KĸĐĞƌ
         Officer
subjected ƚŽ
                     on t
                        BWC ƚŚĂƚ
                     EE ŵĂŬŝŶŐ
          to ĚŝƐĐŝƉůŝŶĂƌǇ
                              that ƐƚĂī


             disciplinary ĂĐƟŽŶ
                                   staff ĐŚŽŬĞĚ


                          action ;>ĞǀĞů
                                         choked Śŝŵ
                            making ĐŽŶƚĂĐƚ
                                     contact ǁŝƚŚ
                                  (Level ΗΗ
                                                  him ŽŶ
                                              with ƚŚĞ
                                                       on ĐĂŵĞƌĂ͘
                                                           camera. 
                                                    the W/ΖƐ
                                          "E" ŽŵŵĂŶĚ
                                                         PIC's ŶĞĐŬ
                                                                     A ƌĞǀŝĞǁ
                                                               neck ĂƌĞĂ͕
                                              Command ŝƐĐŝƉůŝŶĞͿ
                                                                         review ŽĨ
                                                                      area, ƵŶĚĞƌ
                                                           Discipline) ĂƐ
                                                                                  of ƚŚĞ
                                                                                     the ĂǀĂŝůĂďůĞ
                                                                              under ŚŝƐ
                                                                         as Ăa ƌĞƐƵůƚ
                                                                               result ŽĨ
                                                                                          available ǀŝĚĞŽ
                                                                                          ũĂǁ͘ KĸĐĞƌ
                                                                                      his jaw.
                                                                                       of ƚŚĞ
                                                                                                      video ĞǀŝĚĞŶĐĞ
                                                                                                Officer J
                                                                                          the ĨŽƌĐĞ
                                                                                               force ƵƟůŝǌĞĚ͘
                                                                                                              evidence


                                                                                                      utilized.
                                                                                                                    ǁĂƐ
                                                                                                                    was




                                                                                                                           Exh
                                                                                                                           Exh bit
                                                                                                                               bit 35
                                                                                                                                   35 at
                                                                                                                                      at 32
         Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 34 of 71




^ƚĂī
Staff ƌĞƉŽƌƚƐ
      reports

Available ƐƚĂī
ǀĂŝůĂďůĞ staff ƌĞƉŽƌƚƐ
                reports ĂŶĚ
                        and ĂĚĚĞŶĚƵŵƐ
                            addendums ǁĞƌĞwere ŐĞŶĞƌĂůůǇ
                                               generally ĐŽŶƐŝƐƚĞŶƚ
                                                         consistent ǁŝƚŚ
                                                                    with ǁŚĂƚ
                                                                         what ǁĂƐ
                                                                              was ŽďƐĞƌǀĞĚ
                                                                                  observed ŽŶ
                                                                                           on ƚŚĞ
                                                                                              the ǀŝĚĞŽ
                                                                                                  video
ĞǀŝĚĞŶĐĞ  ĂŶĚ  ǁŝƚŚ  ĞĂĐŚ ŽƚŚĞƌ͘ dŚĞ ĨŽůůŽǁŝŶŐ ŝƐƐƵĞƐ ǁĞƌĞ  ŶŽƚĞĚ͗
evidence and with each other. The following issues were noted:

Officer i
KĸĐĞƌ                        will ďĞ
                             ǁŝůů  be ƐƵďũĞĐƚĞĚ
                                       subjected ƚŽ
                                                  to Ăa ŽƌƌĞĐƟǀĞ
                                                        Corrective /ŶƚĞƌǀŝĞǁ
                                                                     Interview ĂŶĚ
                                                                                and ƌĞƚƌĂŝŶŝŶŐ
                                                                                      retraining ŽŶ
                                                                                                 on ƵƐĞ
                                                                                                    use ŽĨ
                                                                                                         of ĨŽƌĐĞ
                                                                                                            force ǁƌŝƟŶŐ
                                                                                                                  writing
ĚƵĞ
due ƚŽ
     to ƚŚĞ
        the ŽĸĐĞƌ
            officer ĨĂŝůŝŶŐ
                    failing ƚŽ
                            to ƐƉĞĐŝĨǇ
                                 specify ƚŚĞ
                                          the ĨŽƌĐĞ
                                              force ƵƟůŝǌĞĚ
                                                     utilized ƚŽ
                                                              to ƚŚĞ
                                                                 the W/ΖƐ
                                                                      PIC's ŶĞĐŬ͘
                                                                            neck. KĸĐĞƌ
                                                                                   Officer      EE ŶŽƚĞĚ
                                                                                                      noted ƚŚĂƚ
                                                                                                             that ĨŽƌĐĞ
                                                                                                                  force
was utilized to the PIC's chest and chin area to create distance.
ǁĂƐ  ƵƟůŝǌĞĚ  ƚŽ ƚŚĞ W/ΖƐ  ĐŚĞƐƚ   ĂŶĚ  ĐŚŝŶ  ĂƌĞĂ ƚŽ  ĐƌĞĂƚĞ  ĚŝƐƚĂŶĐĞ͘

KĸĐĞƌ
Officer              ǁŝůů
                     will ďĞ
                           be ƐƵďũĞĐƚĞĚ
                              subjected ƚŽ
                                        to Ă
                                           a ŽƌƌĞĐƟǀĞ
                                             Corrective /ŶƚĞƌǀŝĞǁ
                                                        Interview ĂŶĚ
                                                                  and ƌĞƚƌĂŝŶŝŶŐ
                                                                      retraining ĨŽƌ
                                                                                 for ƚŚĞ
                                                                                     the ƵƐĞ
                                                                                         use ŽĨ
                                                                                             of ŐĞŶĞƌĂůŝǌĞĚ
                                                                                                generalized
terminology to describe the force witnessed.
ƚĞƌŵŝŶŽůŽŐǇ ƚŽ ĚĞƐĐƌŝďĞ   ƚŚĞ ĨŽƌĐĞ ǁŝƚŶĞƐƐĞĚ͘

KĸĐĞƌƐ
Officers ee                                                    ǁŝůů ďĞ
                                                                    be ƐƵďũĞĐƚĞĚ
                                                                       subjected ƚŽ
                                                                                  to Ă
                                                                                     a ŽƌƌĞĐƟǀĞ
                                                                                       Corrective /ŶƚĞƌǀŝĞǁ
                                                                                                  Interview
and ƌĞƚƌĂŝŶŝŶŐ
ĂŶĚ  retraining ĨŽƌ
                 for ƌĞƉŽƌƚ
                     report ǁƌŝƟŶŐ
                            writing ĚƵĞ
                                    due ƚŽ
                                        to ƚŚĞ
                                           the ĨĂŝůƵƌĞ
                                               failure ƚŽ
                                                       to ŶŽƚĞ
                                                          note ƚŚĞ
                                                               the ĨŽƌĐĞ
                                                                   force ƵƟůŝǌĞĚ
                                                                         utilized ďǇ
                                                                                  by KĸĐĞƌ
                                                                                     Officer J         to ƚŚĞ
                                                                                                      ƚŽ  the
W/ΖƐ ŶĞĐŬ  ĂƌĞĂ͘
PIC's neck area.




                                                   -
ĂƉƚĂŝŶ
Captain                    ƐƵďŵŝƩĞĚ
                            submitted Ăa ϲϬϬZ
                                           600AR ĂŵĞŶĚŝŶŐ
                                                   amending ŚŝƐ
                                                              his ƌĞƉŽƌƚ
                                                                  report ǁŚŝĐŚ
                                                                          which ŝŶĚŝĐĂƚĞĚ
                                                                                 indicated KĸĐĞƌ
                                                                                           Officer
ƵƟůŝǌĞĚ
utilized Ă
         a ŚŽůĚ
           hold ŽĨ
                of ƚŚĞ
                   the W/ΖƐ
                       PIC's ĐŚŝŶ͘
                               chin. ĂƉƚĂŝŶ
                                     Captain J          ǀŝĞǁĞĚ
                                                         viewed ƚŚĞ
                                                                 the ŝŶĐŝĚĞŶƚ
                                                                      incident ĨŽŽƚĂŐĞ
                                                                               footage ĂŶĚ
                                                                                        and ŶŽƚĞĚ
                                                                                            noted ƚŚĂƚ
                                                                                                   that ƚŚĞ
                                                                                                        the ŚŽůĚ
                                                                                                            hold ďǇ
                                                                                                                 by
KĸĐĞƌ
Officer            ǁĂƐ
                   was ƚŽ
                       to W/
                           Pic       ME ŶĞĐŬ neck ǁŝƚŚ
                                                  with ŚŝƐ
                                                       his ƚŚƵŵď
                                                           thumb ďĞůŽǁ
                                                                    below ƚŚĞ  ũĂǁůŝŶĞ͘
                                                                           the jawline.

A ĨĂĐŝůŝƚǇ
   facility ƌĞĨĞƌƌĂů
            referral ǁŝůů
                     will ďĞ
                          be ŐĞŶĞƌĂƚĞĚ
                             generated ƚŽ
                                       to ĂĚĚƌĞƐƐ
                                          address ŵŝƐƐŝŶŐ
                                                  missing ƌĞƉŽƌƚƐ
                                                          reports ĨƌŽŵ
                                                                  from KĸĐĞƌƐ
                                                                       Officers [in



&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

dŚĞ
The ZĂƉŝĚ
       Rapid ZĞǀŝĞǁ
               Review ĐŽŶĚƵĐƚĞĚ
                        conducted ďǇ
                                   by t
                                      aw     i           ŶŽƚĞĚ
                                                         noted ƚŚĞ
                                                               the ŝŶĐŝĚĞŶƚ
                                                                   incident ǁĂƐ
                                                                              was ĂǀŽŝĚĂďůĞ
                                                                                  avoidable ĚƵĞ
                                                                                             due ƚŽto KĸĐĞƌ
                                                                                                      Officer
                       ĂĚǀĂŶĐŝŶŐ
                       advancing toward the PIC and making contact. Disciplinary action will be ŐĞŶĞƌĂƚĞĚ
                                 ƚŽǁĂƌĚ   ƚŚĞ W/ ĂŶĚ  ŵĂŬŝŶŐ  ĐŽŶƚĂĐƚ͘  ŝƐĐŝƉůŝŶĂƌǇ  ĂĐƟŽŶ  ǁŝůů ďĞ  generated ƚŽ
                                                                                                                  to
Ăa ůĞǀĞů
   level ΗΗ͘
          "E". KĸĐĞƌ
                Officer J        ǁŝůů
                                 will ďĞ
                                      be ƐƵďũĞĐƚĞĚ
                                         subjected ƚŽ
                                                    to Ăa ŽŵŵĂŶĚ
                                                          Command ŝƐĐŝƉůŝŶĞ͕
                                                                     Discipline, ƌĞƚƌĂŝŶŝŶŐ͕
                                                                                 retraining, ĂŶĚ
                                                                                             and ϱϬϬϯ
                                                                                                   5003 ŽƵŶƐĞůŝŶŐ͘
                                                                                                         Counseling.

Ɛ
As ŶŽƚĞĚ
     noted ŝŶ
            in ƚŚĞ
               the ŽŵŵĂŶĚ
                    Command ŝƐĐŝƉůŝŶĞ
                                 Discipline ŝƌĞĐƟǀĞ͕
                                             Directive, ϰϮϱϳ
                                                        4257 Z-͕
                                                               R-B, ƉĞŶĂůƟĞƐ
                                                                     penalties ĨŽƌ
                                                                                for ǀŝŽůĂƟŽŶƐ
                                                                                    violations ƐƉĞĐŝĮĞĚ
                                                                                                 specified ŝŶ
                                                                                                            in ƐĐŚĞĚƵůĞƐ
                                                                                                                schedules -
                                                                                                                          A-
E ƐŚĂůů
   shall ďĞ
         be ŝŵƉŽƐĞĚ
             imposed ĂƐ as ĨŽůůŽǁƐ
                           follows ĨŽƌ
                                    for ŵĞŵďĞƌƐ
                                         members ǁŚŽwho ŚĂǀĞ
                                                          have ŶŽƚ
                                                                not ďĞĞŶ
                                                                     been ĨŽƵŶĚ
                                                                            found ŐƵŝůƚǇ
                                                                                   guilty ŽĨ
                                                                                          of Ăa ǀŝŽůĂƟŽŶ
                                                                                                violation Ăƚ
                                                                                                           at ĂŶǇ
                                                                                                               any
ŽŵŵĂŶĚ
 Command ŝƐĐŝƉůŝŶĞ
              Discipline Žƌ
                          or &ŽƌŵĂů
                             Formal ŝƐĐŝƉůŝŶĂƌǇ
                                       Disciplinary ƉƌŽĐĞĞĚŝŶŐ
                                                     proceeding ĚƵƌŝŶŐ
                                                                   during ƚŚĞ
                                                                           the ƉƌĞǀŝŽƵƐ
                                                                                previous ϭϮ
                                                                                          12 ŵŽŶƚŚƐ͘
                                                                                               months. dŚŝƐ
                                                                                                         This ƉĞŶĂůƚǇ
                                                                                                               penalty
 served a loss of 5-10 vacation or compensatory days.
ƐĞƌǀĞĚ   Ă ůŽƐƐ  ŽĨ ϱ-ϭϬ  ǀĂĐĂƟŽŶ    Žƌ ĐŽŵƉĞŶƐĂƚŽƌǇ     ĚĂǇƐ͘


A ƌĞǀŝĞǁ
   review ŽĨ
           of D^
              CMS ƌĞǀĞĂůĞĚ
                   revealed ŶĞŐĂƟǀĞ
                            negative ĮŶĚŝŶŐƐ
                                      findings ĨŽƌ
                                                for Ăa DĞŵŽƌĂŶĚƵŵ
                                                       Memorandum ŽĨ   of ŽŵƉůĂŝŶƚ
                                                                          Complaint Žƌ
                                                                                    or ŽŵŵĂŶĚ
                                                                                       Command ŝƐĐŝƉůŝŶĞ
                                                                                               Discipline
ŝƐƐƵĞĚ
issued ƚŽ
        to KĸĐĞƌ
           Officer         TE        ǁŝƚŚŝŶ
                                     within ϭϮ
                                             12 ŵŽŶƚŚƐ
                                                 months ŽĨof ƚŚŝƐ
                                                             this ŝŶĐŝĚĞŶƚ͘
                                                                  incident.


A ƌĞǀŝĞǁ
   review ŽĨ  of D^
                  CMS ƌĞǀĞĂůĞĚ
                        revealed ƚŚĂƚ
                                    that KĸĐĞƌ
                                          Officer              ǁĂƐ
                                                               was ƐƵďũĞĐƚ
                                                                     subject ƚŽ  to Ăa ŽŵŵĂŶĚ
                                                                                       Command ŝƐĐŝƉůŝŶĞ
                                                                                                     Discipline ;ĞƉĂƌƚŵĞŶƚ
                                                                                                                 (Department >ŽŐ   Log η
                                                                                                                                       #
1147/23). dŚĞ
ϭϭϰϳͬϮϯͿ͘       The 
                     CD ŶŽƚĞĚ
                          noted ƚŚĂƚ
                                  that KĸĐĞƌ
                                        ice              ee  ƐŚŽƌƚĞŶĞĚ ƚŚĞ  the ĚŝƐƚĂŶĐĞ
                                                                                  distance ďĞƚǁĞĞŶ
                                                                                             between ŚŝŵƐĞůĨ
                                                                                                          himself ĂŶĚ
                                                                                                                   and ƚŚĞ
                                                                                                                        the /ŶǀŽůǀĞĚ
                                                                                                                             Involved
W/
PIC ĂŶĚ
      and ƚŚĞŶ
            then ƵƟůŝǌĞĚ
                   utilized ŚŝƐ
                              his ƌŝŐŚƚ
                                  right ŚĂŶĚ
                                         hand ƚŽ
                                               to ŐƌĂƐƉ
                                                   grasp ƚŚĞ
                                                          the W/ΖƐ
                                                                PIC's ŶĞĐŬ
                                                                       neck ƵŶĚĞƌ
                                                                              under ƚŚĞ     ũĂǁ͘ dŚĞƌĞĨŽƌĞ͕
                                                                                        the jaw.  Therefore, KĸĐĞƌ
                                                                                                                Officer
ǁĂƐ
was ŝŶ in ǀŝŽůĂƟŽŶ
           violation ŽĨof ƚŚĞ
                           the ĞƉĂƌƚŵĞŶƚĂů
                                Departmental ZƵůĞƐRules ĂŶĚ
                                                         and ZĞŐƵůĂƟŽŶƐ
                                                               Regulations ďǇ   by ƵƐŝŶŐ
                                                                                    using ƵŶŶĞĐĞƐƐĂƌǇ
                                                                                            unnecessary ĂŶĚ  and ƉƌŽŚŝďŝƚĞĚ
                                                                                                                  prohibited ĨŽƌĐĞ͘
                                                                                                                               force.
Officer
KĸĐĞƌ                   was ĐŚĂƌŐĞĚ
                        ǁĂƐ   charged ǁŝƚŚ
                                         with ǀŝŽůĂƟŽŶƐ
                                               violations ŽĨof ƚŚĞ
                                                               the hƐĞ
                                                                     Use ŽĨof &ŽƌĐĞ
                                                                               Force ŝƌĞĐƟǀĞ
                                                                                       Directive ϱϬϬϲ
                                                                                                   5006 Z-͕
                                                                                                           R-D, ĞƉŽƌƚŵĞŶƚ
                                                                                                                Deportment ĨŽƌ  for
failƵƌĞ
failure to perform his duties in such a way as to gain the respect and willing disobedience of a PIC ǁŚŝůĞ
           ƚŽ ƉĞƌĨŽƌŵ     ŚŝƐ  ĚƵƟĞƐ   ŝŶ ƐƵĐŚ  Ă  ǁĂǇ  ĂƐ ƚŽ  ŐĂŝŶ   ƚŚĞ  ƌĞƐƉĞĐƚ     ĂŶĚ  ǁŝůůŝŶŐ  ĚŝƐŽďĞĚŝĞŶĐĞ     ŽĨ Ă W/   while
ĨĂŝůŝŶŐ
failing ƚŽto ĨƵƌƚŚĞƌ
              further Ă a ŚŝŐŚ
                           high ŵŽƌĂů
                                 moral ĂŶĚ
                                         and ŵĂǆŝŵƵŵ
                                              maximum ĞĸĐŝĞŶĐǇ
                                                           efficiency ŽĨ of Ăa ƵŶŝĨŽƌŵĞĚ
                                                                                uniformed ŽĸĐĞƌ͕
                                                                                              officer, ĂŶĚ
                                                                                                        and ĐŽŶĚƵĐƚ
                                                                                                              conduct ƵŶďĞĐŽŵŝŶŐ
                                                                                                                        unbecoming
ŽĨ
of ĂŶ
    an ŽĸĐĞƌ͘
         officer.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

dŚŝƐ
This ŝŶǀĞƐƟŐĂƟŽŶ
     investigation ĚĞƚĞƌŵŝŶĞĚ
                    determined ƚŚĂƚ
                                that ƚŚĞ
                                      the ĨŽƌĐĞ
                                           force ƵƟůŝǌĞĚ
                                                 utilized ǁĂƐ
                                                          was ŶĞĐĞƐƐĂƌǇ
                                                               necessary ƚŽ
                                                                         to ŐĂŝŶ
                                                                            gain ĐŽŵƉůŝĂŶĐĞ
                                                                                 compliance ŽĨ
                                                                                            of ƚŚĞ
                                                                                               the ŝŶǀŽůǀĞĚ
                                                                                                    involved
W/
PIC ǁŚĞƌĞ
    where ůĞƐƐĞƌ
            lesser ŵĞĂŶƐ
                   means ƐƵĐŚ
                          such ĂƐ
                               as /W
                                   IPC ƐŬŝůůƐ
                                       skills ǁĞƌĞ
                                              were ŝŶĞīĞĐƟǀĞ
                                                    ineffective ĂŶĚ
                                                                and ƚŚĞƌĞ
                                                                    there ǁĂƐ
                                                                          was ĂŶ
                                                                               an ŝŵŵĞĚŝĂƚĞ
                                                                                  immediate ŶĞĞĚ
                                                                                             need ĨŽƌ
                                                                                                   for




                                                                                                                        Exh
                                                                                                                        Exh bit
                                                                                                                            bit 35
                                                                                                                                35 at
                                                                                                                                   at 33
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ĐŽŵƉůŝĂŶĐĞ͘
compliance. The  dŚĞ ĨŽƌĐĞ
                      force ƵƟůŝǌĞĚ
                             utilized ďǇby KĸĐĞƌ
                                           Officer               ǁĂƐ
                                                                 was ŶŽƚ
                                                                      not ƉƌŽƉŽƌƟŽŶĂů
                                                                           proportional ƚŽ to ƚŚĞ
                                                                                               the ƌĞƐŝƐƚĂŶĐĞ
                                                                                                     resistance ƉŽƐĞĚ
                                                                                                                   posed ďǇ by ƚŚĞ
                                                                                                                                the




                                                                        -
W/͘
PIC. /ƚ
      It ƐŚŽƵůĚ
          should ďĞ
                  be ŶŽƚĞĚ
                      noted ƚŚĂƚ
                              that KĸĐĞƌ
                                    —_—                   ƐƚĞƉƉĞĚ ĨŽƌǁĂƌĚ
                                                                     forward ĂƐ
                                                                              as ƚŚĞ
                                                                                  the ŝŶĐŝĚĞŶƚ
                                                                                       incident ĞƐĐĂůĂƚĞĚ͕
                                                                                                   escalated, ĐůŽƐŝŶŐ
                                                                                                                 closing ƚŚĞ
                                                                                                                           the
ĚŝƐƚĂŶĐĞ     ďĞƚǁĞĞŶ    ŚŝŵƐĞůĨ   ĂŶĚ   ƚŚĞ  W/͘ &ƵƌƚŚĞƌŵŽƌĞ͕
distance between himself and the PIC. Furthermore, Officer          KĸĐĞƌ       IE utilized prohibited force in ƚŚĞ
                                                                                        ƵƟůŝǌĞĚ    ƉƌŽŚŝďŝƚĞĚ     ĨŽƌĐĞ  ŝŶ  the
ĨŽƌĐĞ
force ŽĨ of Ă
            a ŶĞĐŬ
              neck ƌĞƐƚƌĂŝŶƚ͘
                    restraint. Ɛ
                                As ƐƵĐŚ͕
                                    such, KĸĐĞƌ
                                            Officer       EE ǁĂƐ  was ƐƵďũĞĐƚĞĚ
                                                                       subjected ƚŽto Ă
                                                                                      a ůĞǀĞů
                                                                                        level ΗΗ
                                                                                                "E" ŽŵŵĂŶĚ
                                                                                                     Command ŝƐĐŝƉůŝŶĞ
                                                                                                                    Discipline ĨŽƌ
                                                                                                                                 for
ƵŶŶĞĐĞƐƐĂƌǇ
unnecessary ĂŶĚ  and ƉƌŽŚŝďŝƚĞĚ
                       prohibited ĨŽƌĐĞ͕
                                     force, ĂŶĚ
                                             and ǀŝŽůĂƟŽŶƐ
                                                   violations ƚŽ
                                                               to ƚŚĞ
                                                                   the ĞƉĂƌƚŵĞŶƚĂů
                                                                        Departmental ZƵůĞƐ
                                                                                         Rules ĂŶĚand ZĞŐƵůĂƟŽŶƐ͘
                                                                                                        Regulations.
&ƵƌƚŚĞƌŵŽƌĞ͕
Furthermore, KĸĐĞƌƐ
                  Officers [i                                                                                   ǁŝůů
                                                                                                                vy || ďĞ
                                                                                                                      be ƌĞĨĞƌƌĞĚ
                                                                                                                          referred
ĨŽƌ
for Ă
    a ŽƌƌĞĐƟǀĞ
        Corrective /ŶƚĞƌǀŝĞǁ
                     Interview ĂŶĚand ƌĞƚƌĂŝŶŝŶŐ
                                        retraining ŽŶon ƵƐĞ
                                                         use ŽĨ
                                                             of ĨŽƌĐĞ
                                                                 force ƌĞƉŽƌƚ
                                                                        report ǁƌŝƟŶŐ
                                                                                writing ĨŽƌ
                                                                                         for ƚŚĞ
                                                                                              the ĨĂŝůƵƌĞ
                                                                                                    failure ƚŽ
                                                                                                             to ĂĐĐƵƌĂƚĞůǇ
                                                                                                                accurately
describe the force utilized or witnessed.
ĚĞƐĐƌŝďĞ     ƚŚĞ ĨŽƌĐĞ  ƵƟůŝǌĞĚ   Žƌ  ǁŝƚŶĞƐƐĞĚ͘

ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
                evidence ĐŝƚĞĚ
                           cited ĂďŽǀĞ͕
                                 above, ŝƚ
                                         it ŝƐ
                                            is ƌĞĐŽŵŵĞŶĚĞĚ
                                                recommended ƚŚĂƚ
                                                              that ƚŚŝƐ
                                                                   this ĐĂƐĞ
                                                                        case ďĞ
                                                                              be ĐůŽƐĞĚ
                                                                                 closed ǁŝƚŚ
                                                                                         with a Ă ĨĂĐŝůŝƚǇ
                                                                                                  facility ƌĞĨĞƌƌĂů
                                                                                                           referral ƚŽ
                                                                                                                    to
address ƚŚĞ
ĂĚĚƌĞƐƐ  the ĚĞůĂǇ
              delay ŝŶ
                     in ŵĞĚŝĐĂů
                        medical ĂƩĞŶƟŽŶ͕
                                 attention, ŵŝƐƐŝŶŐ
                                               missing t
                                                       BWC ĨŽŽƚĂŐĞ͕
                                                           footage, ĂŶĚ
                                                                     and Ăa ŵŝƐƐŝŶŐ
                                                                            missing ǁŝƚŶĞƐƐ
                                                                                     witness ƌĞƉŽƌƚ͘
                                                                                                report.




                                                                                                                       Exh
                                                                                                                       Exh bit
                                                                                                                           bit 35
                                                                                                                               35 at
                                                                                                                                  at 34
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CMS Preliminary Reviews Report for July 2023 (2698/23)

Investigator’s Justification for Determination: Synopsis

On May 26, 2023, at approximately 1838 hours, in the RMSC Mental Health Clinic i
                                                  was irate as she refused to be secured and removed out of
the mental health clinic. Captain                    attempted to utilize IPC Skills as she tried to gain
compliance from the PIC yet the PIC refused to comply to be escorted out of the area. PIC
then walked away to the front of the mental health clinic waiting area then sat down, Officer
then guided ic                      to her feet from the bench in                               PIC
       then became irate and screamed "I'm not nothing to play with, I'm not playing with nobody in
here" then aggressively pushed the computer off of the desk towards ste
Officer                     then grabbed PIC                by the arm and pushed her against the desk
then secured her arms in restraints                                  ). Officer          then escorted the PIC
out of the area through the corridor as they approached West Gate the PIC refused to be further
escorted by Officer   i.       Officer iT         then utilized a pain compliance hold and lifted the PICs
arms while cuffed to the rear before pushing the PIC towards the door. PIC          head made contact
with the doo          i             before she was pushed towards the ground. Officer
        assisted with grabbing the PICs right hand guiding the PIC to the floor
                                          Pic        TE         was then lifted to her feet, escorted to the
intake and secured in a holding pen, terminating the incident [nl



Photographic Evidence

The facility provided one (1) photo of Pic              Pic          refused to be photographed.

Pic         could not be interviewed as the PIC is no longer in DOC custody.

Video Evidence

The following video evidence was reviewed from 1820 hours to 1920 hours of the incident on May 23,
2023, and it depicted the incident as narrated above.

The Genetec surveillance from the following angles/location we reviewed and requested:




RMSC Mental Health Clinic; West Corridor

BWC




A staff member was observed stating "look at this shit" hz                a                 observed
antagonizing Pic        TT          2: she stated, "do it again, do it again". PIC                    was observed
screaming "your breaking my arm" staff continued to state nobody is hurting you yet the PIC continued
to scream as she refused to comply with escort procedures r




                                                                                                        Exh bit 35 at 35
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Handheld
,ĂŶĚŚĞůĚ

The investigator ĂŶĚ
dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ  and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ǀĞƌŝĮĞĚ
                                verified ƚŚĂƚ
                                         that ƚŚĞƌĞ
                                              there ǁĂƐ
                                                    was ŶŽ
                                                        no ĂƐƐŽĐŝĂƚĞĚ
                                                           associated ,ĂŶĚŚĞůĚ
                                                                      Handheld ǀŝĚĞŽ
                                                                               video ĨŽƌ
                                                                                     for hK&
                                                                                         UOF Ϯϲϵϴ-Ϯϯ͘
                                                                                             2698-23.

^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ
          Injuries

/ŶũƵƌǇ
Injury ƚŽ
        to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ͕
                    Report, &zϮϯͬ
                              FY23/ ϯϮϱϯ
                                     3253 ŶŽƚĞĚ
                                           noted ŽŶon DĂǇ
                                                       May Ϯϲ͕
                                                            26, ϮϬϮϯ͕
                                                                2023, Ăƚ
                                                                      at ϮϬϯϱ
                                                                         2035 ŚŽƵƌƐ͕
                                                                                hours, W/
                                                                                        Pic         ǁĂƐ
                                                                                                    was ƉƌŽĚƵĐĞĚ
                                                                                                         produced
ĨŽƌ
for ƉƌŽŵƉƚ
    prompt ŵĞĚŝĐĂů
              medical ĂƩĞŶƟŽŶ
                        attention ĂŶĚ
                                   and ƐƵƐƚĂŝŶĞĚ
                                        sustained ƉĂŝŶ
                                                    pain ƚĞŶĚĞƌŶĞƐƐ
                                                          tenderness ŽŶ
                                                                      on ůĞŌ
                                                                         left ǁƌŝƐƚ͕
                                                                              wrist, ĚĞĐƌĞĂƐĞĚ
                                                                                      decreased ƌĂŶŐĞ
                                                                                                range ŽĨ
                                                                                                       of ŵŽƟŽŶ
                                                                                                          motion
ĚƵĞ
due ƚŽ
     to ƉĂŝŶ
         pain ĂŶĚ
              and ƟŐŚƚ
                   tight ĐƵī
                          cuff ŝŵƉƌĞƐƐŝŽŶ
                               impression ŽŶon ůĞŌ
                                               left ĨŽƌĞĂƌŵ͘
                                                     forearm.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ
                Classification

This  incident ǁĂƐ
dŚŝƐ ŝŶĐŝĚĞŶƚ   was ĐŽƌƌĞĐƚůǇ
                     correctly ĐůĂƐƐŝĮĞĚ
                                classified ĂƐ
                                            as Ăa ΗΗ
                                                  "B" hK&
                                                       UOF ĚƵĞ
                                                            due ƚŽ
                                                                to ƚŚĞ
                                                                   the W/
                                                                       PIC ƐƵƐƚĂŝŶŝŶŐ
                                                                           sustaining ƐƵƐƚĂŝŶĞĚ
                                                                                        sustained ƉĂŝŶ
                                                                                                    pain ƚĞŶĚĞƌŶĞƐƐ
                                                                                                         tenderness ŽŶ on
left wrist, decreased range of motion due to pain and tight cuff impression on left forearm. It is plausible
ůĞŌ  ǁƌŝƐƚ͕  ĚĞĐƌĞĂƐĞĚ   ƌĂŶŐĞ  ŽĨ ŵŽƟŽŶ     ĚƵĞ   ƚŽ ƉĂŝŶ ĂŶĚ  ƟŐŚƚ ĐƵī  ŝŵƉƌĞƐƐŝŽŶ   ŽŶ  ůĞŌ ĨŽƌĞĂƌŵ͘   /ƚ ŝƐ ƉůĂƵƐŝďůĞ
that ƚŚĞ
ƚŚĂƚ  the W/
           PIC ƐƵƐƚĂŝŶĞĚ
               sustained ƚŚĞ
                           the ŝŶũƵƌǇ
                               injury ƚŽ
                                       to ŚĞƌ
                                          her ǁƌŝƐƚ
                                               wrist ĂŶĚ
                                                      and ĨŽƌĞĂƌŵ
                                                           forearm ĚƵĞ
                                                                    due ƚŽ
                                                                        to ŚĞƌ
                                                                            her ƉŚǇƐŝĐĂů
                                                                                physical ƌĞƐŝƐƚĂŶĐĞ͘
                                                                                          resistance.

ƌŝĞĨ
Brief ^ƵŵŵĂƌǇ
      Summary ŽĨ
              of W/
                 PIC ^ƚĂƚĞŵĞŶƚƐ
                     Statements

W/
PIC ƌĞĨƵƐĞĚ
    refused ƚŽ
            to ƉƌŽǀŝĚĞ
               provide Ă
                       a ƐƚĂƚĞŵĞŶƚ
                         statement ƚŽ
                                   to ƚŚĞ
                                      the ĨĂĐŝůŝƚǇ͕
                                          facility, ŶŽƌ
                                                    nor ĚŝĚ
                                                        did ƚŚĞ
                                                            the W/
                                                                PIC ŵĂŬĞ
                                                                    make ĂŶǇ
                                                                         any ƐƚĂƚĞŵĞŶƚƐ
                                                                             statements ƚŽ
                                                                                        to ŵĞĚŝĐĂů
                                                                                           medical ƐƚĂī
                                                                                                   staff
ǁŚŝůĞ
while ďĞŝŶŐ
      being ĞǆĂŵŝŶĞĚ͘
            examined.

Ŷ
An ŝŶƚĞƌǀŝĞǁ
   interview ĂƩĞŵƉƚ
             attempt ĐŽƵůĚ
                     could ŶŽƚ
                           not ďĞ
                               be ŵĂĚĞ
                                  made ĚƵĞ
                                       due ƚŽ
                                           to ƚŚŝƐ
                                              this W/
                                                   PIC ďĞŝŶŐ
                                                       being ƌĞůĞĂƐĞĚ
                                                             released ĨƌŽŵ
                                                                      from K
                                                                           DOC ĐƵƐƚŽĚǇ͘
                                                                               custody.

^ƚĂī
Staff ZĞƉŽƌƚƐ
      Reports

 All ƐƚĂī
 ůů    staff ƌĞƉŽƌƚƐ
               reports ǁĞƌĞ
                        were ƌĞǀŝĞǁĞĚ
                              reviewed ĂŶĚ  and ǁĞƌĞ
                                                 were ŵŽƐƚůǇ
                                                        mostly ĐŽŶƐŝƐƚĞŶƚ
                                                                 consistent ǁŝƚŚ
                                                                              with ƚŚĞ
                                                                                     the ǀŝĚĞŽ
                                                                                          video ĞǀŝĚĞŶĐĞ
                                                                                                 evidence ĂŶĚand ĞĂĐŚ
                                                                                                                   each ŽƚŚĞƌ͘
                                                                                                                         other.
 ,ŽǁĞǀĞƌ͕
 However, OfficerKĸĐĞƌ              ĨĂŝůĞĚ
                                     failed to describe the type of force utilized in his report. Additionally, KĸĐĞƌ
                                             ƚŽ  ĚĞƐĐƌŝďĞ  ƚŚĞ  ƚǇƉĞ   ŽĨ ĨŽƌĐĞ  ƵƟůŝǌĞĚ   ŝŶ ŚŝƐ ƌĞƉŽƌƚ͘   ĚĚŝƟŽŶĂůůǇ͕      Officer
f                 ƌĞƉŽƌƚ
                  report ǁĂƐ
                          was ŝŶĂĐĐƵƌĂƚĞ͕
                               inaccurate, ƐƉĞĐŝĮĐĂůůǇ
                                               specifically ƚŚĞ
                                                            the ƐĞƋƵĞŶĐĞ
                                                                 sequence ŽĨ  of ĞǀĞŶƚƐ
                                                                                  events ǁŚŝĐŚ
                                                                                           which ůĞĚ
                                                                                                   led ƵƉ
                                                                                                       up ƚŽ
                                                                                                           to ƚŚĞ
                                                                                                              the hK&
                                                                                                                    UOF ŝŶin ƚŚĞ
                                                                                                                               the
 ĐŽƌƌŝĚŽƌ͘
 corridor. W/  PIC     EE ƐƚŽƉƉĞĚ
                              stopped ǁĂůŬŝŶŐ
                                          walking ĚƵƌŝŶŐ
                                                     during ƚŚĞ
                                                            the ĞƐĐŽƌƚ
                                                                  escort ĚŽǁŶ
                                                                          down ƚŚĞthe ĐŽƌƌŝĚŽƌ͕
                                                                                       corridor, ŚŽǁĞǀĞƌ͕
                                                                                                  however, ŝƚ it ĚŝĚ
                                                                                                                 did ŶŽƚ
                                                                                                                      not ĂƉƉĞĂƌ
                                                                                                                           appear ĂƐ  as
 ŝĨif ƚŚĞ
      the W/
            PIC ƉƵůůĞĚ
                 pulled ĂǁĂǇ
                         away ĨƌŽŵ
                               from ƐƚĂī
                                       staff ŶŽƌ
                                             nor ĚƌŽƉƉĞĚ
                                                   dropped ƚŽto ƚŚĞ
                                                                the ŇŽŽƌ͘
                                                                     floor. tŚĞŶ
                                                                             When i            stopped ǁĂůŬŝŶŐ
                                                                                               ƐƚŽƉƉĞĚ    walking ĚƵƌŝŶŐ
                                                                                                                     during ƚŚĞ the
 ĞƐĐŽƌƚ͕
 escort, KĸĐĞƌOfficer            ůŝŌĞĚ
                                 lifted ŚĞƌ
                                          her ĂƌŵƐ
                                               arms ƚŽǁĂƌĚƐ
                                                      towards ŚĞƌ
                                                                her ŚĞĂĚ
                                                                     head ďĞĨŽƌĞ
                                                                            before ƉƵƐŚŝŶŐ
                                                                                     pushing ŚĞƌ
                                                                                               her ƚŽǁĂƌĚƐ
                                                                                                     towards ƚŚĞ
                                                                                                               the ĚŽŽƌ
                                                                                                                    door ŝŶ in ƚŚĞ
                                                                                                                                the
 ĐŽƌƌŝĚŽƌ͘
 corridor.                ƉƌŽĐĞĞĚĞĚ      ƚŽ Śŝƚ ŚĞƌ  ŚĞĂĚ  ĂŐĂŝŶƐƚ   ƚŚĞ  ĚŽŽƌ   ĂŶĚ  ǁĂƐ   ƉƵƐŚĞĚ    ƚŽ ƚŚĞ
                          proceeded to hit her head against the door and was pushed to the ground by staff.   ŐƌŽƵŶĚ    ďǇ   ƐƚĂī͘

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ
               Review

dŚĞ ZĂƉŝĚ
The Rapid ZĞǀŝĞǁ
          Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by ĞƉƵƚǇ
                              Deputy tĂƌĚĞŶ
                                     Warden finn                                 ƚŚŝƐ
                                                                                 this ŝŶĐŝĚĞŶƚ
                                                                                      incident ǁĂƐ
                                                                                               was ƵŶĂǀŽŝĚĂďůĞ͕
                                                                                                   unavoidable, ŶŽ
                                                                                                                no
ƉƌŽĐĞĚƵƌĂů
procedural ĞƌƌŽƌƐ
           errors ĂŶĚ
                  and ĨŽƌĐĞ
                      force ǁĂƐ
                            was ŶĞĐĞƐƐĂƌǇ͘
                                necessary.

ŽŶĐůƵƐŝŽŶ
Conclusion

ĂƐĞĚ
Based ŽŶ
      on ƚŚĞ
          the ĞǀŝĚĞŶĐĞ
              evidence ĐŝƚĞĚ
                         cited ĂďŽǀĞ͕
                                above, ŝƚit ŝƐ
                                            is ƌĞĐŽŵŵĞŶĚĞĚ
                                               recommended ƚŚĂƚthat ƚŚŝƐ
                                                                     this ĐĂƐĞ
                                                                          case ďĞ
                                                                               be ƵƉŐƌĂĚĞĚ
                                                                                  upgraded ƚŽ
                                                                                            to &h>>
                                                                                               FULL /
                                                                                                     ID ĚƵĞ
                                                                                                        due ƚŽ
                                                                                                            to ƚŚĞ
                                                                                                               the
ŚĞĂĚ
head ƐƚƌŝŬĞ
     strike ĂŶĚ
            and ƚŚĞ
                 the ƉĂŝŶĨƵů
                     painful ĞƐĐŽƌƚ
                              escort ƚĞĐŚŶŝƋƵĞ͘
                                       technique. ĚĚŝƟŽŶĂůůǇ͕
                                                    Additionally, ĂƉƚĂŝŶ
                                                                   Captain [i ǁĂƐ was ŽďƐĞƌǀĞĚ
                                                                                      observed ĂŶƚĂŐŽŶŝǌŝŶŐ
                                                                                                antagonizing W/
                                                                                                              PIC
Po              ĚƵƌŝŶŐ
                during ƚŚĞ
                        the ŝŶĐŝĚĞŶƚ͘
                             incident.




                                                                                                                         Exh
                                                                                                                         Exh bit
                                                                                                                             bit 35
                                                                                                                                 35 at
                                                                                                                                    at 36
           Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 38 of 71




CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (ϮϳϳϰͬϮϯ)
                                             (2774/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϮϳϳϰͬϮϯ
                                                       2774/23

&ĂĐŝůŝƚǇ͗
Facility: ZE
          RNDC

^ǇŶŽƉƐŝƐ͗
Synopsis:

On DĂǇ
KŶ May ϯϭ͕
       31, ϮϬϮϯ͕
           2023, Ăƚ
                 at ϭϳϮϴ
                    1728 ŚŽƵƌƐ
                         hours ŝŶ
                               in ZE
                                  RNDC ŚŽƵƐŝŶŐ
                                       housing ĂƌĞĂ
                                               area ϰ>^
                                                    4LS WĞƌƐŽŶƐ
                                                        Persons /Ŷ
                                                                In ƵƐƚŽĚǇ
                                                                   Custody ;W/ƐͿ
                                                                           (PICs)




                                                                                                  ǁĞƌĞ
                                                                                                  were ŝŶǀŽůǀĞĚ
                                                                                                       involved ŝŶ
                                                                                                                in Ă
                                                                                                                   a ƵƐĞ
                                                                                                                     use ŽĨ
                                                                                                                         of ĨŽƌĐĞ
                                                                                                                            force ǁŝƚŚ
                                                                                                                                  with K
                                                                                                                                       DOC
ƐƚĂī͘
staff.

 ƚ
 At ϭϳϭϰ
    1714 ŚŽƵƌƐ
         hours ƚŚĞ
               the ŇŽŽƌ
                   floor ŽĸĐĞƌ
                         officer ǁĂƐ
                                 was ŵĂŬŝŶŐ
                                     making ƚŽƵƌƐ
                                             tours ǁŚĞŶ
                                                    when W/
                                                           PIC ŝŶ
                                                                in ƚŚĞ
                                                                   the ŚŽƵƐŝŶŐ
                                                                        housing ĂƌĞĂ
                                                                                 area ĐŽǀĞƌĞĚ
                                                                                      covered ƵƉ
                                                                                              up ƚŚĞ
                                                                                                 the 'ĞŶĞƚĞĐ
                                                                                                     Genetec
ĐĂŵĞƌĂ
camera ĂŶŐůĞƐ
        angles                          ^ĞĐƵƌŝƚǇ
                                        Security ƐƚĂī
                                                  staff ĐŽŶƐŝƐƟŶŐ
                                                        consisting ŽĨof KĸĐĞƌƐ
                                                                        Officers


                                                              ĂƌƌŝǀĞĚ
                                                              arrived Ăƚ
                                                                      at ƚŚĞ
                                                                          the ĂƌĞĂ͘
                                                                               area. ^ĞĐƵƌŝƚǇ
                                                                                     Security ƐƚĂī
                                                                                              staff ďĞŐĂŶ
                                                                                                    began ƐƉĞĂŬŝŶŐ
                                                                                                            speaking ǁŝƚŚ
                                                                                                                     with W/
                                                                                                                          PIC ŝŶ
                                                                                                                              in
the ŚŽƵƐŝŶŐ
ƚŚĞ housing ĂƌĞĂ
            area                                          Additional ƐƚĂī
                                                          ĚĚŝƟŽŶĂů   staff ĂƌƌŝǀĞĚ
                                                                             arrived ĐŽŶƐŝƐƟŶŐ
                                                                                     consisting ŽĨ
                                                                                                 of KĸĐĞƌ
                                                                                                    Officer

                                                           ĂƌƌŝǀĞĚ͘
                                                           arrived. ThedŚĞ W/Ɛ
                                                                              PICs ŝŶin ƚŚĞ
                                                                                         the ĚĂǇƌŽŽŵ
                                                                                                  dayroom ďĞŐĂŶ  began ǁƌĂƉƉŝŶŐ
                                                                                                                           wrapping ƚŚĞŝƌ   their ĨĂĐĞƐ
                                                                                                                                                     faces ŝŶ in
sheets ĂŶĚ
ƐŚĞĞƚƐ     and ƚ-ƐŚŝƌƚƐ͘
                 t-shirts. ĂƉƚĂŝŶƐ
                             Captains                                ǁĞƌĞ
                                                                     were ƐƉĞĂŬŝŶŐ
                                                                             speaking ǁŝƚŚ    with ƚŚĞthe W/
                                                                                                            PIC ǁŚĞŶ
                                                                                                                   when KĸĐĞƌ
                                                                                                                            Officer [i ǁĂůŬĞĚ    walked
ĂƌŽƵŶĚ
around ƚŚĞ  the ĨƌŽŶƚ
                 front ŽĨof ƚŚĞŵ͘
                             them. KĸĐĞƌ
                                       Officer                   ĂŶĚ
                                                                 and ĂƉƚĂŝŶ
                                                                       Captain i                ƚŚĞŶ
                                                                                                then ƵƟůŝǌĞĚ
                                                                                                        utilized ĐŚĞŵŝĐĂů
                                                                                                                     chemical ĂŐĞŶƚƐagents ƚŽǁĂƌĚ
                                                                                                                                                toward ƚŚĞ   the
ĨĂĐŝĂů
facial ĂƌĞĂ
         area ŽĨof W/
                    PIC                                                           KĸĐĞƌ
                                                                                   Officer         MM ƚŚĞŶ  then ƵƟůŝǌĞĚ
                                                                                                                    utilized ŚŝƐhis ĐŚĞŵŝĐĂů
                                                                                                                                       chemical ĂŐĞŶƚƐ agents
                              KĸĐĞƌ                      ƚŚĞŶ
                                                         then ƵƟůŝǌĞĚ
                                                                 utilized ƚŚĞ
                                                                           the D<ϵMK9 ƚŽǁĂƌĚ
                                                                                          toward ƚŚĞ    the ĞŶƟƌĞ
                                                                                                              entire ŚŽƵƐŝŶŐ
                                                                                                                         housing ĂƌĞĂ͘ area. ,ŝƐ His
ĂƉƉůŝĐĂƟŽŶ       ŽĨ  ĐŚĞŵŝĐĂů      ĂŐĞŶƚƐ     ůĂƐƚĞĚ  ĂƉƉƌŽǆŝŵĂƚĞůǇ        ϭϬ    ƐĞĐŽŶĚƐ
application of chemical agents lasted approximately 10 seconds without pause. Officer            ǁŝƚŚŽƵƚ     ƉĂƵƐĞ͘      KĸĐĞƌ                ƚŚĞŶ
                                                                                                                                              then ƌĂŶran ƵƉ up
ƚŽ
to W/
    PIC           ĂŶĚ
                   and ƉƵůůĞĚ
                         pulled ŚŝƐhis ůĞŐƐ
                                        legs ŽƵƚ
                                               out ĨƌŽŵ
                                                    from ƵŶĚĞƌŶĞĂƚŚ
                                                           underneath Śŝŵ    him ĐĂƵƐŝŶŐ
                                                                                    causing Śŝŵ    him ƚŽ to ĨĂůů
                                                                                                              fall ĨĂĐĞ
                                                                                                                    face ĚŽǁŶ
                                                                                                                           down
a). Ϳ͘ W/  PIC              then ƚŚƌĞǁ
                             ƚŚĞŶ     threw ĂŶ an ŝŶƐƟƚƵƟŽŶĂů
                                                   institutional ƚĂďůĞƚ
                                                                     tablet ŵĂŬŝŶŐ
                                                                              making ĐŽŶƚĂĐƚ
                                                                                          contact ǁŝƚŚ   with KĸĐĞƌ
                                                                                                                  Officer         ͘. KĸĐĞƌ
                                                                                                                                      Officer
ƚŚĞŶ    ƵƟůŝǌĞĚ     ĂŶŽƚŚĞƌ     ĂƉƉůŝĐĂƟŽŶ       ŽĨ ĐŚĞŵŝĐĂů      ĂŐĞŶƚƐ    ƚŽǁĂƌĚ
then utilized another application of chemical agents toward the same PIC. aie,          ƚŚĞ      ƐĂŵĞ    W/͘    ĂƉƚĂŝŶ               ley  ĂŶĚ KĸĐĞƌƐ
                                                                                                                                                  Officers
                                                     utilized ƚŚĞŝƌ
                                                     ƵƟůŝǌĞĚ    their ĐŚĞŵŝĐĂů
                                                                        chemical ĂŐĞŶƚƐ
                                                                                      agents ƚŽǁĂƌĚ toward ƚŚĞ  the W/
                                                                                                                      PIC ĂŐĂŝŶƐƚ
                                                                                                                            against ƚŚĞ   the ǁĂůů
                                                                                                                                                wall ŝŶ in ƚŚĞ
                                                                                                                                                            the
ĚĂǇƌŽŽŵ                                     KĸĐĞƌ
                                             Officer J ƚŚĞŶ  then ƚŚƌĞǁ
                                                                     threw ŵƵůƟƉůĞ
                                                                               multiple ƉƵŶĐŚĞƐpunches ƚŽ   to W/
                                                                                                                 Pic              ŚĞĂĚ
                                                                                                                                   head ǁŚŝůĞwhile ŚĞ  he ǁĂƐ
                                                                                                                                                            was
on ƚŚĞ
ŽŶ  the ŐƌŽƵŶĚ
          ground                                    Officer
                                                    KĸĐĞƌ                         then ƌĂŶ
                                                                                  ƚŚĞŶ       ran ƚŽto ƚŚĞ
                                                                                                       the ďĂĐŬ
                                                                                                             back ŽĨ  of ƚŚĞ
                                                                                                                          the ĚĂǇƌŽŽŵ
                                                                                                                               dayroom ĂŶĚ       and ƵƟůŝǌĞĚ
                                                                                                                                                        utilized
his D<ϵ
ŚŝƐ  MK9 ĂŐĂŝŶƐƚ
             against ƚŚĞthe W/
                              PIC ŝŶin ƚŚĞ
                                       the ďĂĐŬ
                                             back ĐŽƌŶĞƌ
                                                    corner                                Ϳ͘). KĸĐĞƌ
                                                                                                Officer             then ƉƵƐŚĞĚ
                                                                                                                    ƚŚĞŶ     pushed W/    Pic i              to
                                                                                                                                                              ƚŽ
ƚŚĞ  ŐƌŽƵŶĚ
the cround is                                   ĐĐŽƌĚŝŶŐ
                                                According to  ƚŽ                      KĸĐĞƌ                ǁĂƐ     ƐƉĞĂŬŝŶŐ
                                                                                       Officer fi was speaking in a provoking andŝŶ   Ă  ƉƌŽǀŽŬŝŶŐ         ĂŶĚ
unprofessional ŵĂŶŶĞƌ
unprofĞƐƐŝŽŶĂů         manner ƚŽǁĂƌĚ
                                   toward W/  Pic i. ͘ KĸĐĞƌ
                                                            Office            was ĂůƐŽ
                                                                              ǁĂƐ    also ŽďƐĞƌǀĞĚ
                                                                                               observed ƵƟůŝǌŝŶŐ
                                                                                                              utilizing ƐƚƌŝŬĞƐ
                                                                                                                           strikes ƚŽ   to               head
                                                                                                                                                         ŚĞĂĚ
ĂƌĞĂ
area Ăƚat ϭϳ͗Ϯϵ͗ϱϳ͘
            17:29:57. ^ƚĂīStaff ďĞŐĂŶ
                                  began ĂƉƉůǇŝŶŐ
                                           applying ŵĞĐŚĂŶŝĐĂů
                                                        mechanical ƌĞƐƚƌĂŝŶƚƐ
                                                                         restraints ƚŽ  to Ăůů all W/Ɛ
                                                                                                    PICs ŝŶǀŽůǀĞĚ͘
                                                                                                           involved. KŶĐĞ Once ƚŚĞǇ they ǁĞƌĞwere ƐĞĐƵƌĞ͕
                                                                                                                                                      secure,
ƚŚĞǇ   ǁĞƌĞ     Ăůů ĂƐƐŝƐƚĞĚ     ƚŽ  ƚŚĞŝƌ  ĨĞĞƚ  ĂŶĚ   ĞƐĐŽƌƚĞĚ
they were all assisted to their feet and escorted out of the area.    ŽƵƚ  ŽĨ   ƚŚĞ   ĂƌĞĂ͘                                         ĂŶĚ
                                                                                                                                     and i
captured ƚŚĞ
ĐĂƉƚƵƌĞĚ      the ĞƐĐŽƌƚ͘
                    escort. ůůAll W/Ɛ
                                    PICs ǁĞƌĞ
                                          were ĞƐĐŽƌƚĞĚ
                                                  escorted ƚŽ  to ƚŚĞ
                                                                   the ŝŶƚĂŬĞ
                                                                         intake ĚĞĐŽŶƚĂŵŝŶĂƟŽŶ
                                                                                   decontamination ĂƌĞĂ          area ǁŝƚŚŽƵƚ
                                                                                                                         without ĨƵƌƚŚĞƌ
                                                                                                                                       further ŝŶĐŝĚĞŶƚ͘
                                                                                                                                                     incident.

sŝĚĞŽ
Video ǀŝĚĞŶĐĞ͗
      Evidence:

'ĞŶĞƚĞĐ
Genetec ĂŶŐůĞƐ
          angles                                                                             ǁĞƌĞ
                                                                                             were ŽďƐĞƌǀĞĚ
                                                                                                  observed ĨƌŽŵ
                                                                                                           from ϭϳϬϬ
                                                                                                                1700 ŚŽƵƌƐ
                                                                                                                     hours ƚŽ
                                                                                                                           to ϭϳϰϱ
                                                                                                                              1745
ŚŽƵƌƐ
hours ĨŽƌ
      for DĂǇ
           May ϯϭ͕
                 31, ϮϬϮϯ͘
                     2023.
captured the incident ĂŶĚ
ĐĂƉƚƵƌĞĚ   ƚŚĞ ŝŶĐŝĚĞŶƚ  and ƚŚĞ
                             the ĞƐĐŽƌƚ
                                 escort ƚŽ
                                        to ƚŚĞ
                                           the ŝŶƚĂŬĞ͘
                                               intake.




                                                                                                                                             Exh
                                                                                                                                             Exh bit
                                                                                                                                                 bit 35
                                                                                                                                                     35 at
                                                                                                                                                        at 37
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,ŽƵƐŝŶŐ
Housing ƌĞĂ
        Area ŶŐůĞƐ͗
             Angles:



t͗

ƐĐŽƌƚ
Escort ŶŐůĞƐ͗
       Angles:

a
t

'ĞŶĞƚĞĐ
Genetec ƐĐŽƌƚ
        Escort ŶŐůĞƐ͗
               Angles:




WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ͗
             Evidence:

The facility ƉƌŽǀŝĚĞĚ
dŚĞ ĨĂĐŝůŝƚǇ provided ŽŶĞ
                      one ƉŚŽƚŽŐƌĂƉŚ
                          photograph ŽĨ
                                     of ĞĂĐŚ
                                        each W/
                                             PIC ƟƚůĞĚ
                                                 titled ΗKƚŚĞƌ-ƌĞĨƵƐĞĚ͘Η
                                                        "Other-refused."

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͗
          injuries:

dŚĞƌĞ
There ǁĞƌĞ
      were ŶŽ
           no ƐƚĂī
              staff ŝŶũƵƌŝĞƐ
                    injuries ƌĞƉŽƌƚĞĚ
                             reported ƚŽ
                                      to K
                                         COD ĨŽƌ
                                             for ƚŚŝƐ
                                                 this ŝŶĐŝĚĞŶƚ͘
                                                      incident.

According ƚŽ
ĐĐŽƌĚŝŶŐ to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϱ
                           FY23/4225 W/
                                     Pic           refused ŵĞĚŝĐĂů
                                                   ƌĞĨƵƐĞĚ medical ĞǀĂůƵĂƟŽŶ͘
                                                                   evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϰ
                           FY23/4224 W/
                                     PIC      ME     ƌĞĨƵƐĞĚ
                                                     refused ŵĞĚŝĐĂů
                                                             medical ĞǀĂůƵĂƟŽŶ͘
                                                                     evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϯ
                           FY23/4223 W/
                                     Pic             ƌĞĨƵƐĞĚ
                                                     refused ŵĞĚŝĐĂů
                                                             medical ĞǀĂůƵĂƟŽŶ͘
                                                                     evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϮ
                           FY23/4222 W/
                                     Pic            ƌĞĨƵƐĞĚ
                                                    refused ŵĞĚŝĐĂů
                                                            medical ĞǀĂůƵĂƟŽŶ͘
                                                                    evaluation.

According ƚŽ
ĐĐŽƌĚŝŶŐ to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &ZϮϯͬϰϮϮϬ
                           FR23/4220 W/
                                     Pic           TE         refused ŵĞĚŝĐĂů
                                                              ƌĞĨƵƐĞĚ medical ĞǀĂůƵĂƟŽŶ͘
                                                                              evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϭϵ
                           FY23/4219 W/
                                     ic       a       ƌĞĨƵƐĞĚ
                                                      refused ŵĞĚŝĐĂů
                                                              medical ĞǀĂůƵĂƟŽŶ͘
                                                                      evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϭϴ
                           FY23/4218 W/
                                     PIC (EE ƌĞĨƵƐĞĚ
                                             refused ŵĞĚŝĐĂů
                                                     medical ĞǀĂůƵĂƟŽŶ͘
                                                             evaluation.

According ƚŽ
ĐĐŽƌĚŝŶŐ to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϭϳ
                           FY23/4217 W/
                                     Pic           refused ŵĞĚŝĐĂů
                                                   ƌĞĨƵƐĞĚ medical ĞǀĂůƵĂƟŽŶ͘
                                                                   evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϭ͕
                           FY23/4221, W/
                                      Pic           ƌĞĨƵƐĞĚ
                                                    refused ŵĞĚŝĐĂů
                                                            medical ĞǀĂůƵĂƟŽŶ͘
                                                                    evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϲ
                           FY23/4226 W/
                                     me         ƌĞĨƵƐĞĚ
                                                refused ŵĞĚŝĐĂů
                                                        medical ĞǀĂůƵĂƟŽŶ͘
                                                                evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϳ
                           FY23/4227 W/
                                     Pic            ƌĞĨƵƐĞĚ
                                                    refused ŵĞĚŝĐĂů
                                                            medical ĞǀĂůƵĂƟŽŶ͘
                                                                    evaluation.

According ƚŽ
ĐĐŽƌĚŝŶŐ to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϴ
                           FY23/4228 W/
                                     PIC      ME      refused ŵĞĚŝĐĂů
                                                      ƌĞĨƵƐĞĚ medical ĞǀĂůƵĂƟŽŶ͘
                                                                      evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϮϵ
                           FY23/4229 W/
                                     Pic            ƌĞĨƵƐĞĚ
                                                    refused ŵĞĚŝĐĂů
                                                            medical ĞǀĂůƵĂƟŽŶ͘
                                                                    evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϯϬ
                           FY23/4230 W/
                                     PIC        ƌĞĨƵƐĞĚ
                                                refused ŵĞĚŝĐĂů
                                                        medical ĞǀĂůƵĂƟŽŶ͘
                                                                evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϯϮϭ
                           FY23/4321 W/
                                     Pic            ƌĞĨƵƐĞĚ
                                                    refused ŵĞĚŝĐĂů
                                                            medical ĞǀĂůƵĂƟŽŶ͘
                                                                    evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϯϮ
                           FY23/4232 W/
                                     ic               ƌĞĨƵƐĞĚ
                                                      refused ŵĞĚŝĐĂů
                                                              medical ĞǀĂůƵĂƟŽŶ͘
                                                                      evaluation.

ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϯϯ
                           FY23/4233 W/
                                     PIC           ƌĞĨƵƐĞĚ
                                                   refused ŵĞĚŝĐĂů
                                                           medical ĞǀĂůƵĂƟŽŶ͘
                                                                   evaluation.




                                                                                            Exh
                                                                                            Exh bit
                                                                                                bit 35
                                                                                                    35 at
                                                                                                       at 38
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ĐĐŽƌĚŝŶŐ
According ƚŽ
          to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϯϰ
                           FY23/4234 W/
                                     PIC                      ƌĞĨƵƐĞĚ
                                                              refused ŵĞĚŝĐĂů
                                                                      medical ĞǀĂůƵĂƟŽŶ͘
                                                                              evaluation.

According ƚŽ
ĐĐŽƌĚŝŶŐ to ŝŶũƵƌǇ
             injury ƌĞƉŽƌƚ
                    report &zϮϯͬϰϮϯϱ
                           FY23/4235 W/
                                     ic                           refused ŵĞĚŝĐĂů
                                                                  ƌĞĨƵƐĞĚ medical ĞǀĂůƵĂƟŽŶ͘
                                                                                  evaluation.

ůů
All ŝŶǀŽůǀĞĚ
    involved W/
             PIC ǁĞƌĞ
                 were ĂīŽƌĚĞĚ
                      afforded ƉƌŽŵƉƚ
                               prompt ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ
                                              attention ĂƐ
                                                        as ƉĞƌ
                                                           per ƚŚĞŝƌ
                                                               their ƌĞƐƉĞĐƟǀĞ
                                                                     respective ŝŶũƵƌǇ
                                                                                injury ƌĞƉŽƌƚƐ͘
                                                                                       reports.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

This ŝŶĐŝĚĞŶƚ
dŚŝƐ  incident ǁĂƐ
                was ƉƌŽƉĞƌůǇ
                     properly ĐůĂƐƐŝĮĞĚ
                               classified ĂƐ
                                          as Ăa ΗΗ
                                                '"C" ƵƐĞ
                                                     use ŽĨ
                                                         of ĨŽƌĐĞ
                                                            force ĂƐ
                                                                  as ƚŚĞƌĞ
                                                                     there ǁĞƌĞ
                                                                           were ŶŽ
                                                                                no ŝŶũƵƌŝĞƐ
                                                                                   injuries ƐƵƐƚĂŝŶĞĚ
                                                                                            sustained ďǇ
                                                                                                      by ^ƚĂī
                                                                                                         Staff Žƌ
                                                                                                               or
W/
PIC ĂƐ
     as Ă
        a ƌĞƐƵůƚ
          result ŽĨ
                 of ƚŚŝƐ
                    this ŝŶĐŝĚĞŶƚ͘
                         incident.


A ďƌŝĞĨ
  brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͗
                       statements:

 All ŝŶǀŽůǀĞĚ
 ůů  involved W/
                PIC ǁĞƌĞ
                    were ŝŶƚĞƌǀŝĞǁĞĚ
                           interviewed ďǇby K/Ɛ
                                             COs i                                  PIC
                                                                                    W/             stated ΗtĞ
                                                                                                    ƐƚĂƚĞĚ  "We ŚĂĚ
                                                                                                                had
ŶŽ
no ďƌĞĂĚ͕
     bread, ƐĞƌǀŝĐĞƐ͕
             services, ĨŽŽĚ͕
                        food, ƐŽ
                              so ƚŚĞǇ
                                 they ƐƉƌĂǇĞĚ
                                       sprayed ƵƐ͘
                                                 us. /ƚΖƐ
                                                      It's ďĞĐĂƵƐĞ
                                                           because ǁĞΖƌĞ
                                                                    we're ^ƉĂŶŝƐŚ͘Η
                                                                          Spanish." W/
                                                                                     PIC         ƐƚĂƚĞĚ͕
                                                                                                 stated, ΗdŚĞǇ
                                                                                                          "They
ǀŝŽůĂƚĞĚ
violated ĨŽƌ
           for ŶŽ
               no ƌĞĂƐŽŶ͘Η
                   reason." dŚĞ
                             The ƌĞƐƚ
                                  rest ŽĨ
                                       of ƚŚĞ
                                          the W/Ɛ
                                               PICs ƌĞĨƵƐĞĚ
                                                     refused ƚŽto ƉƌŽǀŝĚĞ
                                                                  provide ĂŶǇ
                                                                          any ĨŽƌŵ
                                                                              form ŽĨ
                                                                                    of ƐƚĂƚĞŵĞŶƚ͘
                                                                                        statement.

Staff ƌĞƉŽƌƚƐ͗
^ƚĂī  reports:

Use ŽĨ
hƐĞ of ĨŽƌĐĞ
       force ƌĞƉŽƌƚƐ
             reports ǁĞƌĞ
                     were ƐƵďŵŝƩĞĚ
                          submitted ďǇ
                                    by KĸĐĞƌƐ
                                       Officers

                hƐĞ
                 Use ŽĨ
                      of ĨŽƌĐĞ
                          force ǁŝƚŶĞƐƐ
                                 witness ƌĞƉŽƌƚƐ
                                            reports ǁĞƌĞ
                                                      were ƐƵďŵŝƩĞĚ
                                                             submitted ďǇ   by ƚŚĞ
                                                                               the ƌĞƐƚ
                                                                                     rest ŽĨ
                                                                                           of ƚŚĞ
                                                                                              the ƐƚĂī
                                                                                                   staff ƉƌĞƐĞŶƚ͘
                                                                                                           present. KĸĐĞƌ
                                                                                                                     Officer
ƐƵďŵŝƩĞĚ
submitted Ă  a ƌĞƉŽƌƚ
               report ǁŝƚŚ
                         with ŵƵůƟƉůĞ
                               multiple ŝŶĂĐĐƵƌĂĐŝĞƐ͘
                                           inaccuracies. ,Ğ He ƐƚĂƚĞĚ
                                                                 stated ƚŚĂƚ
                                                                          that ŚĞ
                                                                                he ĂƩĞŵƉƚĞĚ
                                                                                    attempted ƚŽ   to ƐƉĞĂŬ
                                                                                                       speak ǁŝƚŚ
                                                                                                               with ƚŚĞ
                                                                                                                     the W/
                                                                                                                          PIC ƚŽ
                                                                                                                               to ŐĂŝŶ
                                                                                                                                   gain
ĐŽŵƉůŝĂŶĐĞ     ŚŽǁĞǀĞƌ͕     ŽŶ  t    ŚĞ  ŝƐ ŚĞĂƌĚ   ƵƐŝŶŐ   ƵŶƉƌŽĨĞƐƐŝŽŶĂů      ĂŶĚ    ƉƌŽǀŽŬŝŶŐ
compliance however, on BWC he is heard using unprofessional and provoking language. He stated that    ůĂŶŐƵĂŐĞ͘     ,Ğ ƐƚĂƚĞĚ    ƚŚĂƚ
ŚĞ
he ǁƌĂƉƉĞĚ
    wrapped ŚŝƐ his ĂƌŵƐ
                    arms ĂƌŽƵŶĚ
                            around W/
                                     PIC            ƵƉƉĞƌ
                                                    upper ƚŽƌƐŽ
                                                             torso ƚŽto ƐŽŌĞŶ
                                                                         soften ƚŚĞ
                                                                                 the ďůŽǁ
                                                                                       blow ŽĨof Śŝŵ
                                                                                                  him ůĂŶĚŝŶŐ
                                                                                                        landing ŽŶon ƚŚĞ
                                                                                                                     the ŇŽŽƌ͘
                                                                                                                          floor.
Video ĨŽŽƚĂŐĞ
sŝĚĞŽ   footage ƐŚŽǁĞĚ
                   showed KĸĐĞƌ
                              a               on ƚŚĞ
                                             ƉƵůůŝŶŐ   the W/ΖƐ
                                                           PIC's ĨĞĞƚ
                                                                   feet ŽƵƚ
                                                                         out ĨƌŽŵ
                                                                              from ƵŶĚĞƌ
                                                                                      under Śŝŵ͘
                                                                                              him. ,ĞHe ĂůƐŽ
                                                                                                          also ŶŽƚĞĚ
                                                                                                                noted ŝŶ
                                                                                                                       in Śŝs
                                                                                                                          his report
                                                                                                                               report
ƚŚĂƚ  ŚĞ ƐǁƵŶŐ     ŚŝƐ ŚĂŶĚ    ǁŝůĚůǇ  ƚŽ ĨĞŶĚ   Žī  ĨƵƌƚŚĞƌ   ĂƩĂĐŬ͕     ďƵƚ ŚĞ  ŝƐ ĐůĞĂƌůǇ   ƐĞĞŶ   ƚŚƌŽǁŝŶŐ
that he swung his hand wildly to fend off further attack, but he is clearly seen throwing punches straight         ƉƵŶĐŚĞƐ    ƐƚƌĂŝŐŚƚ
ƚŽ
to W/
    Pic i. ͘ dŚĞ The ƌĞƐƚ
                      rest ŽĨ
                            of ƚŚĞ
                               the ƐƚĂī
                                    staff ƐƵďŵŝƩĞĚ
                                           submitted ƌĞƉŽƌƚƐ
                                                         reports ƚŚĂƚ
                                                                    that ĂƉƉĞĂƌ
                                                                          appear ƚŽto ďĞbe ĐŽŶƐŝƐƚĞŶƚ
                                                                                            consistent ǁŝƚŚ
                                                                                                          with ǁŚĂƚ
                                                                                                                 what ĐĂŶ
                                                                                                                       can ďĞbe ƐĞĞŶ
                                                                                                                                 seen
ŽŶ
on 'ĞŶĞƚĞĐ
    Genetec ĂŶĚand t
                     BWC ĨŽŽƚĂŐĞ͘
                            footage. dŚĞƌĞ
                                        There ĚŽĞƐ
                                                does ŶŽƚ
                                                       not ĂƉƉĞĂƌ
                                                            appear ƚŽ  to ďĞ
                                                                          be ĂŶǇ
                                                                              any ĞǀŝĚĞŶĐĞ
                                                                                   evidence ŽĨ  of ĐŽůůƵƐŝŽŶ͘
                                                                                                    collusion.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

The ƌĂƉŝĚ
dŚĞ   rapid ƌĞǀŝĞǁ
            review ǁĂƐ
                     was ĐŽŶĚƵĐƚĞĚ
                         conducted ďǇ by t
                                         ow iii            She ŶŽƚĞĚ
                                                           ^ŚĞ   noted ƚŚĂƚ
                                                                        that KĸĐĞƌ
                                                                              Officer J      will ƌĞĐĞŝǀĞ
                                                                                            ǁŝůů   receive Ăa ĐŽŵŵĂŶĚ
                                                                                                               command
ĚŝƐĐŝƉůŝŶĞ
discipline for utilizing chemical agents longer than the recommended time frame. She also noted ƚŚĂƚ
            ĨŽƌ ƵƟůŝǌŝŶŐ ĐŚĞŵŝĐĂů   ĂŐĞŶƚƐ  ůŽŶŐĞƌ ƚŚĂŶ  ƚŚĞ  ƌĞĐŽŵŵĞŶĚĞĚ       ƟŵĞ   ĨƌĂŵĞ͘   ^ŚĞ   ĂůƐŽ ŶŽƚĞĚ   that
KĸĐĞƌ
Officer fi ǁŝůů
              will ďĞ
                   be ŵĂĚĞ
                       made ƐƵďũĞĐƚ
                             subject ƚŽ
                                      to Ă
                                         a ƐƵƐƉĞŶƐŝŽŶ
                                           suspension ĨŽƌ
                                                       for ƵƟůŝǌŝŶŐ
                                                            utilizing ĂŶ
                                                                      an ƵŶĂƵƚŚŽƌŝǌĞĚ
                                                                          unauthorized ƚĂŬĞĚŽǁŶ͘
                                                                                          takedown. The dŚĞ ĨĂĐŝůŝƚǇ
                                                                                                             facility
ŐĞŶĞƌĂƚĞĚ
generated  CD ηϮϬϳϲͬϮϯ͘
                 #2076/23. KĸĐĞƌ
                             Officer fi ǁĂƐwas ƐƵƐƉĞŶĚĞĚ
                                               suspended ĞīĞĐƟǀĞ       :ƵŶĞ ϭ͕
                                                            effective June   1, ϮϬϮϯ͕
                                                                                2023, ƚŽ  :ƵŶĞ ϭϲ͕
                                                                                       to June    16, ϮϬϮϯ͕
                                                                                                      2023, ǁŝƚŚŽƵƚ
                                                                                                              without
pay (Teletype Order No. HQ-01307-0).
ƉĂǇ  ;dĞůĞƚǇƉĞ   KƌĚĞƌ  EŽ͘ ,Y-ϬϭϯϬϳ-ϬͿ͘

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
               evidence ĐŝƚĞĚ
                         cited ĂďŽǀĞ
                                above ŝƚ
                                       it ŝƐ
                                          is ƌĞĐŽŵŵĞŶĚĞĚ
                                             recommended ƚŚĂƚthat ƚŚŝƐ
                                                                   this ĐĂƐĞ
                                                                        case ďĞ
                                                                             be ƌĞĨĞƌƌĞĚ
                                                                                referred ƚŽ
                                                                                         to ĨƵůů
                                                                                            full /
                                                                                                 ID ĨŽƌ
                                                                                                    for ĨƵƌƚŚĞƌ
                                                                                                        further
ŝŶǀĞƐƟŐĂƟŽŶ
investigation ĚƵĞ
               due ƚŽ
                   to ŚĞĂĚ
                      head ƐƚƌŝŬĞƐ
                            strikes ĂŶĚ
                                    and ŝŶĂĐĐƵƌĂĐŝĞƐ
                                          inaccuracies ŝŶ
                                                       in ƐƚĂī
                                                          staff ƌĞƉŽƌƚƐ͘
                                                                 reports.




                                                                                                                        Exh
                                                                                                                        Exh bit
                                                                                                                            bit 35
                                                                                                                                35 at
                                                                                                                                   at 39
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (ϮϳϴϬͬϮϯ)
                                             (2780/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF ϮϳϴϬͬϮϯ
                                                    2780/23

&ĂĐŝůŝƚǇ͗
Facility: 'Zs
          GRVC

ƌŝĞĨ
Brief /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ͗
               Summary:

On DĂǇ
KŶ   May ϯϭ͕
          31, ϮϬϮϯ͕
                2023, Ăƚ at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                            approximately ϮϭϬϴ  2108 ŚŽƵƌƐ
                                                         hours ŝŶ
                                                                in ƚŚĞ
                                                                   the ĐŽŶĮŶĞƐ
                                                                        confines ŽĨ  of 'Zs
                                                                                         GRVC ,ŽƵƐŝŶŐ
                                                                                                   Housing ƌĞĂ
                                                                                                             Area ϳ͕7B, WĞƌƐŽŶ
                                                                                                                          Person ŝŶ in
Custody ;W/Ϳ
ƵƐƚŽĚǇ    (PIC)                                               walked ŝŶƚŽ
                                                               ǁĂůŬĞĚ   into ĐĞůů
                                                                               cell ηϰϯ
                                                                                     #43 ĂƐas W/
                                                                                                PIC
                 ĨŽůůŽǁĞĚ
                  followed ďĞŚŝŶĚ
                              behind ;              Ăƚ
                                                    at Ϯϭ͗Ϭϴ͗ϯϱ
                                                        21:08:35 ŚŽƵƌƐͿ͘
                                                                   hours). DŝŶƵƚĞƐ
                                                                              Minutes ůĂƚĞƌ͕
                                                                                           later, W/
                                                                                                    PIC             ŝƐ
                                                                                                                    is ƐĞĞŶ
                                                                                                                       seen ǁĂůŬŝŶŐ
                                                                                                                              walking ŽƵƚout
ŽĨ  ƚŚĞ ĐĞůů  ĂŶĚ   ĐůŽƐŝŶŐ   ƚŚĞ
of the cell and closing the door   ĚŽŽƌ   ;           Ăƚ  Ϯϭ͗ϭϰ͗ϯϲ   ŚŽƵƌƐͿ͘
                                                      at 21:14:36 hours). PIC   W/                 ƚŚĞŶ  ǁĂůŬĞĚ    ĚŽǁŶ     ƚŚĞ
                                                                                                    then walked down the tier andƟĞƌ   ĂŶĚ
ƚŚƌŽǁƐ
throws ĂŶan ƵŶŝĚĞŶƟĮĞĚ
              unidentified ŽďũĞĐƚ
                               object ŝŶƚŽ
                                        into ĐĞůů
                                              cell ηϯϳ
                                                     #37 ĂŶĚ
                                                           and ĞŶƚĞƌƐ
                                                                enters ŚŝƐ
                                                                        his ĐĞůů
                                                                             cell ;            Ăƚ
                                                                                                at Ϯϭ͗ϭϰ͗ϰϲ
                                                                                                    21:14:46 ŚŽƵƌƐͿ͘
                                                                                                                hours). ;EŽƚĞ͗
                                                                                                                          (Note: KĸĐĞƌ
                                                                                                                                   Officer
                              was ŽďƐĞƌǀĞĚ
                              ǁĂƐ   observed Žī   off ƉŽƐƚ
                                                       post ĨƌŽŵ
                                                             from ϮϬϭϱ
                                                                    2015 ƚŽto Ϯϭϭϴ
                                                                               2118 ǁŝƚŚwith ŵƵůƟƉůĞ
                                                                                               multiple ƵŶƐĞĐƵƌĞĚ
                                                                                                           unsecured ĐĞůů cell ĚŽŽƌƐ
                                                                                                                               doors ůĞŌ
                                                                                                                                       left
ƵŶƐĞĐƵƌĞĚͿ͘     dŚĞ
unsecured). The area aeĂƌĞĂ  ƐƵƉĞƌǀŝƐŽƌ     ĂƉƚĂŝŶ
                                            Captain                                    ĞŶƚĞƌĞĚ
                                                                                       entered the housing area and begins ƚŽ
                                                                                                    ƚŚĞ  ŚŽƵƐŝŶŐ    ĂƌĞĂ   ĂŶĚ  ďĞŐŝŶƐ    to
ƚŽƵƌ
tour ǁŝƚŚ
      with KĸĐĞƌƐ
             Officers             ĂŶĚ                                 ;            Ăƚ
                                                                                   at Ϯϭ͗Ϯϳ͗Ϭϰ
                                                                                       21:27:04 ŚŽƵƌƐͿ͘
                                                                                                     hours). ĂƉƚĂŝŶ
                                                                                                              Captain               ŽƉĞŶĞĚ
                                                                                                                                     opened
cell ηϰϯ
ĐĞůů #43 ĂŶĚ
          and W/PIC            sete ƚŚĞ
                                ŐƌĂďďĞĚ     the ĐĂƉƚĂŝŶΖƐ
                                                  captain's ĐŚĞŵŝĐĂů
                                                               chemical ĂŐĞŶƚƐ
                                                                          agents ĂŶĚ  and ƌĂŶ
                                                                                            ran ĚŽǁŶ
                                                                                                  down ƚŚĞthe ƟĞƌ
                                                                                                               tier ĂŌĞƌ
                                                                                                                     after ƚŚĞ
                                                                                                                            the ŽƚŚĞƌ
                                                                                                                                 other
PIC' ‘i
W/ΖƐ  ez: Ăƚ Ϯϭ͗ϯϰ͗Ϭϳ21:34:07 ŚŽƵƌƐͿ͘
                                  hours).

ĂƉƚĂŝŶ
Captain             ŝŵŵĞĚŝĂƚĞůǇ ĂĚǀĂŶĐĞĚ
                immediately            advanced ƚŽǁĂƌĚ
                                                     toward W/ PIC            ĂŶĚ
                                                                               and ĂƩĞŵƉƚĞĚ
                                                                                     attempted ŵƵůƟƉůĞ
                                                                                                    multiple ƟŵĞƐ
                                                                                                                times ƚŽto ƌĞƚƌŝĞǀĞ
                                                                                                                            retrieve ŚŝƐhis
ĐŚĞŵŝĐĂů    ĂŐĞŶƚƐ   ĨƌŽŵ    ƚŚĞ  W/
chemical agents from the PIC to no availƚŽ ŶŽ  ĂǀĂŝů              Ăƚ  Ϯϭ͗ϯϰ͗ϭϮ    ŚŽƵƌƐͿ͘
                                                            at 21:34:12 hours). Captain     ĂƉƚĂŝŶ               ŐƌĂďďĞĚ     KĸĐĞƌ
                                                                                                                  grabbed Officer
a         ĐŚĞŵŝĐĂů
          chemical ĂŐĞŶƚƐ
                       agents ĂŶĚand ĐŽŶƟŶƵĞĚ
                                       continued ŝŶ   in ŚŝƐ
                                                         his ĂƩĞŵƉƚƐ
                                                              attempts ƚŽ  to ŐĂŝŶ
                                                                              gain ĐŽŵƉůŝĂŶĐĞ
                                                                                     compliance ŽĨ   of W/
                                                                                                         PIC             KĸĐĞƌ
                                                                                                                         Officer
ŽďƐĞƌǀĞĚ
observed ƚŚĞthe ŝŶĐŝĚĞŶƚ
                 incident ĂŶĚ and ĨĂŝůĞĚ
                                   failed ƚŽto ƌĞŶĚĞƌ
                                               render ĂƐƐŝƐƚĂŶĐĞ
                                                          assistance ƚŽ to ƚŚĞ
                                                                            the ĐĂƉƚĂŝŶ
                                                                                 captain ;a: Ăƚ Ϯϭ͗ϯϰ͗ϮϬ   21:34:20 ŚŽƵƌƐͿ͘
                                                                                                                       hours). W/
                                                                                                                                 PIC
         ĂĚǀĂŶĐĞĚ      ƚŽǁĂƌĚ     ŽŶĞ   ŽĨ  ƚŚĞ  W/Ɛ   ǁŝƚŚ  ƚŚĞ   ĐŚĞŵŝĐĂů
         advanced toward one of the PICs with the chemical agents in his hand | ĂŐĞŶƚƐ    ŝŶ ŚŝƐ  ŚĂŶĚ               Ăƚ Ϭϵ͗ϯϰ͗ϯϭ
                                                                                                                | at 09:34:31
ŚŽƵƌƐͿ͘
hours). ĂƉƚĂŝŶ
         Captain                ƐŝŵƵůƚĂŶĞŽƵƐůǇ
                                simultaneously ĚĞƉůŽǇĞĚ
                                                     deployed ;ϮͿ  (2) ƚǁŽ
                                                                       two ďƵƌƐƚƐ
                                                                             bursts ŽĨof ĐŚĞŵŝĐĂů
                                                                                          chemical ĂŐĞŶƚƐ
                                                                                                       agents ƚŽto ƚŚĞ
                                                                                                                   the ĨĂĐŝĂů
                                                                                                                         facial ĂƌĞĂ
                                                                                                                                 area ŽĨof
W/
Pic            ǁŚŝĐŚ
               which ĂĐŚŝĞǀĞĚ
                         achieved ŝƚƐits ĚĞƐŝƌĞĚ
                                          desired ĂīĞĐƚ
                                                    affect ;a: Ăƚ Ϯϭ͗ϯϰ͗ϯϰ  21:34:34 ŚŽƵƌƐͿ
                                                                                        hours) ;EŽƚĞ͗
                                                                                                 (Note: ĂƉƚĂŝŶ
                                                                                                            ee ǁĂƐ
ŽďƐĞƌǀĞĚ
observed ĚĞƉůŽǇŝŶŐ
            deploying ĐŚĞŵŝĐĂů
                           chemical ĂŐĞŶƚ
                                        agent ůĞƐƐ
                                                less ƚŚĂŶ
                                                      than ƚŚĞ
                                                             the ĚŝƐƚĂŶĐĞ
                                                                   distance ŽĨof ;ϯͿ
                                                                                  (3) ƚŚƌĞĞ
                                                                                      three ĨĞĞƚͿ͘
                                                                                              feet). W/
                                                                                                       PIC            ĐĞĂƐĞĚ
                                                                                                                      ceased ŚŝƐhis
ĂŐŐƌĞƐƐŝŽŶ
aggression ĂƐ as ĂƉƚĂŝŶ
                 Captain                 ƌĞƚƌŝĞǀĞĚ
                                         retrieved ƚŚĞ
                                                     the ĐŚĞŵŝĐĂů
                                                           chemical ĂŐĞŶƚƐ
                                                                        agents ĂŶĚ
                                                                                 and ĞƐĐŽƌƚĞĚ
                                                                                       escorted Śŝŵ him ŽƵƚout ŽĨ
                                                                                                               of ƚŚĞ
                                                                                                                  the ŚŽƵƐŝŶŐ
                                                                                                                        housing ĂƌĞĂarea
ŝŶƚŽ ƚŚĞ  ǀĞƐƟďƵůĞ
into the vestibule     ;         Ăƚ Ϯϭ͗ϯϱ͗Ϯϴ     ŚŽƵƌƐͿ͘
                                 at 21:35:28 hours). roo    W/             ǁĂƐ
                                                                            was escorted to decontamination, medical, ĂŶĚ
                                                                                 ĞƐĐŽƌƚĞĚ    ƚŽ  ĚĞĐŽŶƚĂŵŝŶĂƟŽŶ͕          ŵĞĚŝĐĂů͕     and
secured ŝŶ
ƐĞĐƵƌĞĚ   in ƚŚĞ
             the ŝŶƚĂŬĞ
                  intake ǁŝƚŚŽƵƚ
                            without ĨƵƌƚŚĞƌ
                                        further ŝŶĐŝĚĞŶƚ
                                                  incident ;            at ϭϬ͗ϱϳ͗ϱϭ
                                                                       Ăƚ   10:57:51 ŚŽƵƌƐͿ͘
                                                                                        hours). dŚĞ
                                                                                                  The ŝŶĐŝĚĞŶƚ
                                                                                                        incident ŝƐis ŝŶ
                                                                                                                      in ƌĞůĂƟŽŶ
                                                                                                                          relation ƚŽto
K
COD η # ϭϳϳϲ͕
        1776, ǁŚŝĐŚ
                which ǁĂƐ was ĚĞĞŵĞĚ
                                deemed a Ă ƐůĂƐŚŝŶŐ͘
                                              slashing.

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ͗
             Evidence:

The ĨĂĐŝůŝƚǇ
dŚĞ  facility ƉƌŽǀŝĚĞĚ
              provided ;ϭͿ
                       (1) ŽŶĞ
                           one ;ĨƌŽŶƚͿ
                               (front) ƉŚŽƚŽŐƌĂƉŚ
                                       photograph ŽĨ
                                                  of W/
                                                     PIC                           depicting ƚŚĞ
                                                                                   ĚĞƉŝĐƟŶŐ  the ůĂĐĞƌĂƟŽŶ
                                                                                                 laceration ŽŶ
                                                                                                            on ƚŚĞ
                                                                                                               the ƌŝŐŚƚ
                                                                                                                   right ƐŝĚĞ
                                                                                                                         side
of ŚŝƐ
ŽĨ his ĨĂĐŝĂů
       facial ĂƌĞĂ͘
              area.

The /
dŚĞ  ID ĚŝĚ
        did ŶŽƚ
            not ŽďƚĂŝŶ
                obtain ƉŚŽƚŽŐƌĂƉŚƐ
                        photographs ŽĨof ƚŚĞ
                                          the W/
                                               PIC ĂƐ
                                                   as ŝŶƚĞƌǀŝĞǁƐ
                                                      interviews ǁĞƌĞ
                                                                   were ŶŽƚ
                                                                        not ĚĞĞŵĞĚ
                                                                            deemed ŶĞĐĞƐƐĂƌǇ
                                                                                   necessary ĨŽƌ
                                                                                             for ƚŚŝƐ
                                                                                                 this ŝŶĐŝĚĞŶƚ
                                                                                                      incident
as ŶŽ
ĂƐ no W/Ɛ
       PICs ĂŶǇ
            any ĂůůĞŐĂƟŽŶƐ
                allegations ƚŽ
                            to ƚŚĞ
                               the ĨĂĐŝůŝƚǇ
                                   facility Žƌ
                                             or ƚŽ
                                                to ŵĞĚŝĐĂů
                                                   medical ƐƚĂī͘
                                                            staff.

sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ͗
      evidence:

dŚĞ
The ĨŽůůŽǁŝŶŐ
     following ǀŝĚĞŽ
                video ĞǀŝĚĞŶĐĞ
                      evidence ǁĂƐ
                                 was ƌĞǀŝĞǁĞĚ
                                      reviewed DĂǇ
                                                 May ϭϬ͕
                                                     10, ϮϬϮϯ͕
                                                         2023, ĨƌŽŵ
                                                               from ϮϭϬϬ
                                                                     2100 ƚŽ
                                                                           to ϮϮϯϬ
                                                                              2230 ŚŽƵƌƐ
                                                                                    hours ĂŶĚ
                                                                                          and ĚĞƉŝĐƚĞĚ
                                                                                              depicted ƚŚĞ
                                                                                                        the
ŝŶĐŝĚĞŶƚ
incident ĂƐ
          as ŶĂƌƌĂƚĞĚ
             narrated ĂďŽǀĞ͘
                      above. dŚĞ
                              The ŝŶǀĞƐƟŐĂƚŽƌ
                                    investigator ĂŶĚ
                                                 and ƐƵƉĞƌǀŝƐŽƌ
                                                     supervisor ǀĞƌŝĮĞĚ
                                                                verified ƚŚĂƚ
                                                                         that ƚŚĞƌĞ
                                                                              there ǁĂƐ
                                                                                     was ŶŽ
                                                                                         no t͕
                                                                                            BWC, Žƌ
                                                                                                  or ŚĂŶĚŚĞůĚ
                                                                                                     handheld
ĞǀŝĚĞŶĐĞ   ĂƐƐŽĐŝĂƚĞĚ ǁŝƚŚ  ƚŚŝƐ ŝŶĐŝĚĞŶƚ͘
evidence associated with this incident.

Facility ƚŚĞ
&ĂĐŝůŝƚǇ the ůŽĐĂƟŽŶ͗
             location:

'Zs
GRVC ϳ
     7B




                                                                                                                            Exh
                                                                                                                            Exh bit
                                                                                                                                bit 35
                                                                                                                                    35 at
                                                                                                                                       at 40
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'ĞŶĞƚĞĐ
Genetec ǀŝĚĞŽ
        video ƐƵƌǀĞŝůůĂŶĐĞ͗
              surveillance:



/ŶƚĂŬĞ
Intake

'ĞŶĞƚĞĐ ǀŝĚĞŽ ƐƵƌǀĞŝůůĂŶĐĞ͗



ŽƌƌŝĚŽƌ
Corridor

'ĞŶĞƚĞĐ ǀŝĚĞŽ ƐƵƌǀĞŝůůĂŶĐĞ͗


Clinic
ůŝŶŝĐ

Genetec ǀŝĚĞŽ
'ĞŶĞƚĞĐ video ƐƵƌǀĞŝůůĂŶĐĞ͗
              surveillance: il

ŽĚǇ
Body ǁŽƌŶ
     worn ĂŵĞƌĂ͗
          Camera:

Eͬ
N/A

Handheld ĂŵĞƌĂ͗
,ĂŶĚŚĞůĚ Camera:

Eͬ
N/A

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͗
          injuries:

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ͕
                 Report, &zϮϯ-ϯϴϰϲ
                           FY23-3846 ŶŽƚĞĚ
                                     noted ŽŶ
                                            on DĂǇ
                                                May ϯϬ͕
                                                     30, ϮϬϮϯ͕
                                                         2023, Ăƚ
                                                                at ϮϮϭϴ
                                                                   2218 ŚŽƵƌƐ͕
                                                                         hours, W/
                                                                                 PIC         ǁĂƐ ĂīŽƌĚĞĚ
                                                                                           was   afforded
ƉƌŽŵƉƚ
prompt ŵĞĚŝĐĂů
         medical ĂƩĞŶƟŽŶ͘
                 attention. W/
                             PIC        ƐƵƐƚĂŝŶĞĚ
                                        sustained Ăa ϱĐŵ
                                                     5cm ůĂĐĞƌĂƟŽŶ
                                                          laceration ŽŶ
                                                                      on ŚŝƐ
                                                                         his ƌŝŐŚƚ
                                                                             right ĐŚĞĞŬ͘
                                                                                    cheek.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

dŚĞ ŝŶĐŝĚĞŶƚ
The incident ǁĂƐ
             was ŝŶĂĐĐƵƌĂƚĞůǇ
                 inaccurately ĐůĂƐƐŝĮĞĚ
                              classified ĂƐ
                                         as ĂŶ
                                            an ΗΗ
                                               "A" hƐĞ
                                                   Use ŽĨ
                                                       of &ŽƌĐĞ
                                                          Force ĚƵĞ
                                                                due ƚŽ
                                                                    to W/
                                                                       Pic                   ƐƵƐƚĂŝŶŝŶŐ
                                                                                             sustaining Ăa ϱĐŵ
                                                                                                            5cm
ůĂĐĞƌĂƟŽŶ
laceration ƚŽto ŚŝƐ
                his ƌŝŐŚƚ
                    right ĐŚĞĞŬ͘
                          cheek. ,ŽǁĞǀĞƌ͕
                                  However, W/
                                             PIC          ƐƵƐƚĂŝŶĞĚ
                                                          sustained ŚŝƐ
                                                                      his ŝŶũƵƌǇ
                                                                          injury ĂƐ
                                                                                 as Ă
                                                                                    a ƌĞƐƵůƚ
                                                                                      result ŽĨ
                                                                                             of Ă
                                                                                                a ƐůĂƐŚŝŶŐ
                                                                                                  slashing ŶŽƚ
                                                                                                            not ďǇ
                                                                                                                by
ƐƚĂī
staff ĂĐƟŽŶƐ͘
      actions. dŚĞƌĞĨŽƌĞ͕
                Therefore, Ă a ƌĞƋƵĞƐƚ
                               request ǁŝůů
                                       will ďĞ
                                            be ƐƵďŵŝƩĞĚ
                                                 submitted ĨŽƌ
                                                            for Ă
                                                                a ƌĞĐůĂƐƐŝĮĐĂƟŽŶ
                                                                  reclassification ĚŽǁŶŐƌĂĚĞ
                                                                                    downgrade ƚŽ to Ă
                                                                                                    a ΗΗ
                                                                                                      "C" hK&
                                                                                                           UOF
ŝŶĐŝĚĞŶƚ͘
incident.

^ƵŵŵĂƌǇ
Summary ŽĨ
        of W/
           PIC ƐƚĂƚĞŵĞŶƚƐ͗
               statements:

On DĂǇ
KŶ May ϯϭ͕
       31, ϮϬϮϯ͕
           2023, W/
                 PIC               refused ƚŽ
                                   ƌĞĨƵƐĞĚ to ƉƌŽǀŝĚĞ
                                              provide Ăa ƐƚĂƚĞŵĞŶƚ
                                                         statement ƚŽ
                                                                   to ƚŚĞ
                                                                      the ĨĂĐŝůŝƚǇ
                                                                          facility Žƌ
                                                                                   or ŵĞĚŝĐĂů
                                                                                      medical ƐƚĂī͘
                                                                                              staff.

KŶ
On :ƵŶĞ
    June ϭϯ͕
          13, ϮϬϮϯ͕
              2023, Ăƚat Ϭϵϯϱ
                         0935 ŚŽƵƌƐ
                               hours ŝŶ
                                      in ƚŚĞ
                                         the 'Zs
                                             GRVC ϭϭ
                                                   11A ŚŽƵƐŝŶŐ͕
                                                        housing, /ŶǀĞƐƟŐĂƚŽƌƐ
                                                                 Investigators          nn         ĂƩĞŵƉƚĞĚ
                                                                                                   attempted
ƚŽ ŝŶƚĞƌǀŝĞǁ  W/
to interview PIC            ǁŚŽ   ƌĞĨƵƐĞĚ  ƚŽ ƉƌŽǀŝĚĞ Ă ǀŽůƵŶƚĂƌǇ ƐƚĂƚĞŵĞŶƚ͕   ĂŶĚ ƌĞĨƵƐĞĚ ƚŽ ďĞ ƉŚŽƚŽŐƌĂƉŚĞĚ͕
                             who refused to provide a voluntary statement, and refused to be photographed,
Žƌ
or ƐŝŐŶ
   sign ,/WW
        HIPPA ĨŽƌŵ͘
                form.

^ƚĂī
Staff ZĞƉŽƌƚƐ͗
      Reports:

ůů
All ƐƚĂī
    staff ƌĞƉŽƌƚƐ
           reports ǁĞƌĞ
                    were ƌĞǀŝĞǁĞĚ
                           reviewed ĂŶĚ
                                      and ǁĞƌĞ
                                           were ŐĞŶĞƌĂůůǇ
                                                 generally ĐŽŶƐŝƐƚĞŶƚ
                                                             consistent ǁŝƚŚ
                                                                          with ƚŚĞ
                                                                               the ǀŝĚĞŽ
                                                                                    video ĞǀŝĚĞŶĐĞ
                                                                                            evidence ĂŶĚ
                                                                                                       and ǁŝƚŚ
                                                                                                            with ĞĂĐŚ
                                                                                                                 each
ŽƚŚĞƌ͘
other. ^ĞĐŽŶĚůǇ͕
         Secondly, ĂƉƚĂŝŶ
                     Captain            ǁĂƐ
                                        was ŽďƐĞƌǀĞĚ
                                             observed ĚĞƉůŽǇŝŶŐ
                                                        deploying ĐŚĞŵŝĐĂů
                                                                     chemical ĂŐĞŶƚƐ
                                                                                agents ůĞƐƐ
                                                                                        less ƚŚĂŶ
                                                                                              than ƚŚĞ
                                                                                                    the ĚŝƐƚĂŶĐĞ
                                                                                                        distance ŽĨ
                                                                                                                  of ;ϯͿ
                                                                                                                     (3)
ƚŚƌĞĞ   ĨĞĞƚ  ĂŶĚ  ƵůƟŵĂƚĞůǇ    ŵĂĚĞ  ĐŽŶƚĂĐƚ  ǁŝƚŚ  ďĂĐŬ
three feet and ultimately made contact with back of PIC     ŽĨ W/            ŚĞĂĚ͘  ,ŽǁĞǀĞƌ͕
                                                                       ME head. However, Captain  ĂƉƚĂŝŶ
ĂƩĞŵƉƚĞĚ
attempted ƚŽ   to ƌĞƚƌŝĞǀĞ
                  retrieve ŚŝƐ
                            his ĐŚĞŵŝĐĂů
                                chemical ĂŐĞŶƚƐ
                                          agents ĨƌŽŵ
                                                  from ƚŚĞ
                                                         the W/͕
                                                              PIC, ǁŚŽ
                                                                   who ƌĞĨƵƐĞĚ
                                                                         refused ƚŽ
                                                                                  to ĐŽŵƉůǇ͘
                                                                                     comply. W/PIC          ĂĚǀĂŶĐĞĚ
                                                                                                             advanced




                                                                                                             Exh
                                                                                                             Exh bit
                                                                                                                 bit 35
                                                                                                                     35 at
                                                                                                                        at 41
                                                                                                                           41
          Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 43 of 71




ƚŽǁĂƌĚ
toward ƚŚĞ
         the ŽƚŚĞƌ
               other W/Ɛ
                       PICs ǁŝƚŚ
                              with ƚŚĞ
                                     the ĐŚĞŵŝĐĂů
                                          chemical ĂŐĞŶƚƐ
                                                      agents ŝŶin ŚŝƐ
                                                                   his ŚĂŶĚ͘
                                                                        hand. ĂƉƚĂŝŶ
                                                                                 Captain GE           ƌĞƐƉŽŶĚĞĚ
                                                                                                      esponded ƋƵŝĐŬůǇ
                                                                                                                     quickly ĂŶĚ
                                                                                                                              and
ĚĞƉůŽǇĞĚ
deployed ĐŚĞŵŝĐĂů
            chemical ĂŐĞŶƚƐ
                          agents ƚŽǁĂƌĚ
                                    toward ƚŚĞ
                                             the W/
                                                  Pic      ME ĨĂĐŝĂůfacial ĂƌĞĂ
                                                                             area ĂƐ
                                                                                   as ƚŚĞ
                                                                                      the W/
                                                                                            PIC ƚƵƌŶĞĚ
                                                                                                 turned ĂǁĂǇ
                                                                                                          away ĨƌŽŵ
                                                                                                                 from Śŝŵ͘
                                                                                                                         him.
Subsequently, making contact with the back of the PIC's head. Due to limited space on the tier, ĂƉƚĂŝŶ
^ƵďƐĞƋƵĞŶƚůǇ͕     ŵĂŬŝŶŐ      ĐŽŶƚĂĐƚ    ǁŝƚŚ  ƚŚĞ  ďĂĐŬ  ŽĨ  ƚŚĞ   W/ΖƐ   ŚĞĂĚ͘   ƵĞ   ƚŽ ůŝŵŝƚĞĚ   ƐƉĂĐĞ   ŽŶ  ƚŚĞ  ƟĞƌ͕  Captain
         ĐŽƵůĚ
          could ŶŽƚ
                  not ĐůĞĂƌ
                        clear ƚŚĞ
                                the ƌĞĐŽŵŵĞŶĚĞĚ
                                     recommended ĚŝƐƚĂŶĐĞ
                                                        distance ŽĨ  of ;ϯͿ
                                                                         (3) ƚŚƌĞĞ
                                                                              three ĨĞĞƚ͘
                                                                                     feet. dŚĞ
                                                                                            The /ID ĚĞƚĞƌŵŝŶĞĚ
                                                                                                     determined ƚŚĞ  the ĂĐƟŽŶƐ
                                                                                                                          actions ŽĨof
ĂƉƚĂŝŶ
i                   ǁĂƐ ŶŽƚ not ŝŶƚĞŶĚĞĚ
                                  intended ƚŽto ĐĂƵƐĞ
                                                 cause ŚĂƌŵ
                                                         harm ŶŽƌnor ĚĞĞŵĞĚ
                                                                       deemed ŵĂůŝĐŝŽƵƐ͘
                                                                                   malicious. dŚĞThe ĂĐƟŽŶƐ
                                                                                                       actions ŽĨ
                                                                                                                of ƚŚĞ
                                                                                                                    the ĐĂƉƚĂŝŶ
                                                                                                                         captain ǁĞƌĞ
                                                                                                                                   were
to
to prevent
   prevent seƌŝŽƵƐ       ũƵƌǇ ƚŽ
              serious jury     to ƚŚĞ
                                   the W/Ɛ
                                        PICs ĂŶĚ
                                             and ƐƚĂī
                                                   staff ĂƐ
                                                         as W/
                                                             PIC        had   ŚĂĚ ĐŚĞŵŝĐĂů
                                                                                    chemical ĂŐĞŶƚƐ
                                                                                                agents ŝŶin ŚŝƐ
                                                                                                            his ƉŽƐƐĞƐƐŝŽŶ͕
                                                                                                                possession, ŶŽ  no
ĐŽƌƌĞĐƟǀĞ
corrective ĂĐƟŽŶ
             action ŝƐis ĚĞĞŵĞĚ
                          deemed ǁĂƌƌĂŶƚĞĚ͘
                                      warranted.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

The Rapid ZĞǀŝĞǁ
dŚĞ ZĂƉŝĚ Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by ĞƉƵƚǇ
                              Deputy tĂƌĚĞŶ
                                     Warden iin                                            indicated ƚŚĂƚ
                                                                                           ŝŶĚŝĐĂƚĞĚ     that ƚŚĞ
                                                                                                                the ŝŶĐŝĚĞŶƚ
                                                                                                                     incident ǁĂƐwas
ƵŶĂǀŽŝĚĂďůĞ͕
unavoidable, ĂŶĚ and ĨŽƌĐĞ
                       force ǁĂƐ
                              was ŶĞĐĞƐƐĂƌǇ͘
                                     necessary. /Ŷ In ĂĚĚŝƟŽŶ͕
                                                       addition, ǁŝƚŚ
                                                                    with ŶŽ no ƉĂŝŶĨƵů
                                                                                painful ĞƐĐŽƌƚ
                                                                                           escort ƚĞĐŚŶŝƋƵĞƐ͕
                                                                                                     techniques, ďƵƚ  but ƉƌŽĐĞĚƵƌĂů
                                                                                                                           procedural
ĞƌƌŽƌƐ  ǁĞƌĞ  ŝĚĞŶƟĮĞĚ͘      dŚĞ   ĨĂĐŝůŝƚǇ  ŶŽƚĞĚ    ƚŚĂƚ
errors were identified. The facility noted that Captain      ĂƉƚĂŝŶ                ǁŝůů
                                                                                    will be made the subject of a ŽŵŵĂŶĚ
                                                                                          ďĞ   ŵĂĚĞ     ƚŚĞ  ƐƵďũĞĐƚ    ŽĨ Ă  Command
Discipline ĂƐ
ŝƐĐŝƉůŝŶĞ  as ŚĞ
                he ĨĂŝůĞĚ
                     failed ƚŽ
                            to ƐĂĨĞŐƵĂƌĚ
                                safeguard ŚŝƐ his ĐŚĞŵŝĐĂů
                                                   chemical ĂŐĞŶƚƐ͘
                                                                 agents. KĸĐĞƌ
                                                                            Officer              will ďĞ
                                                                                                 ǁŝůů  be ŵĂĚĞ
                                                                                                            made ƚŚĞthe ƐƵďũĞĐƚ
                                                                                                                         subject ŽĨ  of Ăa
ƐƵƐƉĞŶƐŝŽŶ
suspension ĂƐ as ŚĞ
                  he ǁĂƐ
                       was Žī
                            off ƉŽƐƚ
                                 post ĨƌŽŵ
                                        from ϮϬϭϱ
                                               2015 ƚŽ to Ϯϭϭϴ
                                                           2118 ŚŽƵƌƐ͕
                                                                   hours, ǁŚŝĐŚ
                                                                             which ƌĞƐƵůƚĞĚ
                                                                                      resulted ŝŶ  in Ă
                                                                                                      a ƌĂŶĚŽŵ
                                                                                                         random ĂĐƚ act ŽĨ
                                                                                                                         of ǀŝŽůĞŶĐĞ͘
                                                                                                                            violence.
KĸĐĞƌ
Officer    RE ǁŝůů will ďĞ
                         be ŵĂĚĞ
                            made ƚŚĞ the ƐƵďũĞĐƚ
                                          subject ŽĨ of Ăa ŽŵŵĂŶĚ
                                                           Command ŝƐĐŝƉůŝŶĞ
                                                                           Discipline ĂƐ as ŚĞhe ĨĂŝůĞĚ
                                                                                                  failed ƚŽ
                                                                                                          to ĂƐƐŝƐƚ
                                                                                                              assist ĚƵƌŝŶŐ
                                                                                                                      during ƚŚĞthe
ŝŶĐŝĚĞŶƚ͘
incident. &ƵƌƚŚĞƌŵŽƌĞ͕
           Furthermore, KĸĐĞƌ Officer J           ǁĂƐ
                                                   was ƐƵƐƉĞŶĚĞĚ
                                                         suspended ĨŽƌ   for aĂ ƚŽƚĂů
                                                                                total ŽĨof ;ϳͿ
                                                                                            (7) ƐĞǀĞŶ
                                                                                                 seven ĚĂǇƐ
                                                                                                          days ĨƌŽŵ     :ƵŶĞ Ϭϱ͕
                                                                                                                 from June     05, ϮϬϮϯ͕
                                                                                                                                      2023, ƚŽ
                                                                                                                                             to
:ƵŶĞ  ϭϮ͕ ϮϬϮϯ͕    ĨŽƌ  ďĞŝŶŐ  Žī   ƉŽƐƚ͕   ŽďƐĞƌǀĞĚ      ǁŝƚŚ   ŚŝƐ ĐŚĞŵŝĐĂů      ĂŐĞŶƚƐ     ŝŶ ŚŝƐ
June 12, 2023, for being off post, observed with his chemical agents in his pocket, and unsecured cellƉŽĐŬĞƚ͕    ĂŶĚ   ƵŶƐĞĐƵƌĞĚ       ĐĞůů
ĚŽŽƌƐ͘
doors. dŚĞ
        The ƐƵƐƉĞŶƐŝŽŶ
             suspension ǁĂƐ  was ŝŶŝƟĂƚĞĚ
                                    initiated ďǇby ƐƐŝƐƚĂŶƚ
                                                    Assistant ŽŵŵŝƐƐŝŽŶĞƌ
                                                                  Commissioner iin                            ĂŶĚ
                                                                                                              and ĂƵƚŚŽƌŝǌĞĚ
                                                                                                                    authorized ďǇ   by
ŽŵŵŝƐƐŝŽŶĞƌ
Commissioner >ŽƵŝƐ Louis DŽůŝŶĂ͘
                           Molina. ĚĚŝƟŽŶĂůůǇ͕
                                      Additionally, KĸĐĞƌ
                                                        Officer              ǁĂƐ
                                                                             was ƐĞƌǀĞĚ
                                                                                   served ǁŝƚŚwith Ăa DĞŵŽƌĂŶĚƵŵ
                                                                                                        Memorandum ŽĨ       of ŽŵƉůĂŝŶƚ
                                                                                                                                Complaint
ďǇ  ĞƉƵƚǇ   tĂƌĚĞŶ
by Deputy Warden BE               ƉĞŶĚŝŶŐ
                                  pending COA support review. The ID verified the corrective actions ƚĂŬĞŶ
                                             K     ƐƵƉƉŽƌƚ     ƌĞǀŝĞǁ͘    dŚĞ   / ǀĞƌŝĮĞĚ      ƚŚĞ  ĐŽƌƌĞĐƟǀĞ      ĂĐƟŽŶƐ    taken ďǇ  by
ƚŚĞ
the ĐŽŵŵĂŶĚ͘
     command. &ƵƌƚŚĞƌŵŽƌĞ͕
                    Furthermore, Ă    a ƐĞĂƌĐŚ
                                         search ŽĨof D^
                                                      CMS ǇŝĞůĚĞĚ
                                                              yielded ŶĞŐĂƟǀĞ
                                                                        negative ĮŶĚŝŶŐƐ
                                                                                     findings ĨŽƌ for ĂƉƚĂŝŶ
                                                                                                       Captain i, ͕ ĂŶĚ       and KĸĐĞƌƐ
                                                                                                                                     Officers
Po                        ŽŵŵĂŶĚ
                          Command ŝƐĐŝƉůŝŶĞΖƐ͘
                                        Discipline's.   A ĨĂĐŝůŝƚǇ
                                                            facility ƌĞĨĞƌƌĂů
                                                                      referral ǁŝůů
                                                                                 will ďĞ
                                                                                       be ŐĞŶĞƌĂƚĞĚ
                                                                                            generated ƚŽ   to ĞŶƐƵƌĞ
                                                                                                               ensure ƚŚĞthe ĨĂĐŝůŝƚǇ
                                                                                                                              facility
ƉƌŽĚƵĐĞƐ
produces ƚŚĞ
           the ĂĨŽƌĞŵĞŶƟŽŶĞĚ
                 aforementioned ƐƚĂī    staff ǁŝƚŚ
                                              with ƚŚĞthe ŽŵŵĂŶĚ
                                                           Command ŝƐĐŝƉůŝŶĞ͘
                                                                           Discipline.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶon ƚŚĞ
            the ĞǀŝĚĞŶĐĞ
                evidence ĂƐ as ĐŝƚĞĚ
                               cited ĂďŽǀĞ͕
                                      above, ŝƚ
                                              it ŝƐ
                                                 is ƌĞĐŽŵŵĞŶĚĞĚ
                                                    recommended ƚŚĂƚ    that ƚŚŝƐ
                                                                              this ĐĂƐĞ
                                                                                    case ďĞ
                                                                                          be ĐůŽƐĞĚ
                                                                                             closed ǁŝƚŚ
                                                                                                      with aĂ ĨĂĐŝůŝƚǇ
                                                                                                              facility ƌĞĨĞƌƌĂů͘
                                                                                                                        referral.
dŚĞ
The /ŶǀĞƐƟŐĂƟŽŶ
     Investigation ŝǀŝƐŝŽŶ
                     Division ĚĞƚĞƌŵŝŶĞĚ
                               determined ƚŚĂƚ
                                             that ƚŚĞ
                                                    the ĨŽƌĐĞ
                                                          force ƵƟůŝǌĞĚ
                                                                 utilized ŝŶ
                                                                           in ƚŚŝƐ
                                                                               this ŝŶĐŝĚĞŶƚ
                                                                                    incident ǁĂƐ
                                                                                              was ƵŶĂǀŽŝĚĂďůĞ
                                                                                                   unavoidable ĂŶĚ  and
ŶĞĐĞƐƐĂƌǇ
necessary ĚƵĞdue ƚŽ
                 to W/
                     Pic            ĂŐŐƌĞƐƐŝŽŶ
                                     aggression ĂŶĚand ŚŝƐ
                                                         his ƉŽƐƐĞƐƐŝŽŶ
                                                             possession ŽĨ  of ĐŚĞŵŝĐĂů
                                                                                chemical ĂŐĞŶƚƐ͕
                                                                                           agents, ƚŽ
                                                                                                    to ĞŶĨŽƌĐĞ
                                                                                                        enforce ĞƉĂƌƚŵĞŶƚ
                                                                                                                   Department
ƌƵůĞƐ
rules when there was an immediate need for compliance where lesser means such as IPC skills ǁĞƌĞ
      ǁŚĞŶ    ƚŚĞƌĞ  ǁĂƐ   ĂŶ ŝŵŵĞĚŝĂƚĞ    ŶĞĞĚ    ĨŽƌ  ĐŽŵƉůŝĂŶĐĞ     ǁŚĞƌĞ     ůĞƐƐĞƌ ŵĞĂŶƐ    ƐƵĐŚ  ĂƐ  /W ƐŬŝůůƐ were
ŝŶĞīĞĐƟǀĞ͕
ineffective, ĂŶĚ
              and ƚŽ
                   to ƉƌĞǀĞŶƚ
                      prevent ƉŚǇƐŝĐĂů
                                physical ŚĂƌŵ
                                          harm Žƌ or ŝŶũƵƌǇ͘
                                                      injury. dŚĞ
                                                               The ĨŽƌĐĞ
                                                                    force ǁĂƐ
                                                                           was ŵŝŶŝŵĂů
                                                                                  minimal ĂŶĚ
                                                                                            and ƉƌŽƉŽƌƟŽŶĂů
                                                                                                 proportional ƚŽ  to ƚŚĞ
                                                                                                                     the
resistance ĂŶĚ
resistaŶĐĞ   and ƚŚƌĞĂƚ
                 threat ƉŽƐĞĚ
                           posed ďǇ
                                  by W/
                                      Pic            Furthermore, ƚŚĞ
                                                     &ƵƌƚŚĞƌŵŽƌĞ͕      the ĨŽƌĐĞ
                                                                             force ǁĂƐ
                                                                                    was ŝŶ
                                                                                         in ĂĐĐŽƌĚĂŶĐĞ
                                                                                            accordance ǁŝƚŚwith ŝƌĞĐƟǀĞƐ
                                                                                                                 Directives
ϱϬϬϲZ-͕
5006R-D, ϰϱϭϬZ-,͕
            4510R-H, ĂŶĚand ĞƉĂƌƚŵĞŶƚĂů
                             Departmental ZƵůĞƐ
                                             Rules ĂŶĚand ZĞŐƵůĂƟŽŶƐ͘
                                                            Regulations.




                                                                                                                               Exh
                                                                                                                               Exh bit
                                                                                                                                   bit 35
                                                                                                                                       35 at
                                                                                                                                          at 42
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (ϮϴϲϲͬϮϯ)
                                             (2866/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hϮϴϲϲ-23
                                                U2866-23

Synopsis
Synopsis

KŶ
On :ƵŶĞ
   June ϲ͕
        6, ϮϬϮϯ͕
           2023, Ăƚ
                 at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                    approximately ϬϲϬϴ
                                  0608 ŚŽƵƌƐ͕
                                       hours, ŝŶ
                                              in 'Zs
                                                 GRVC ϭϳ
                                                      17B ŚŽƵƐŝŶŐ
                                                          housing ĂƌĞĂ͕
                                                                  area, W/Ɛ
                                                                        PICs
                                                                                                                    ĞǆŝƚĞĚ
                                                                                                                     exited ƚŚĞ
                                                                                                                              the ƉĂŶƚƌǇ
                                                                                                                                    pantry
ĂƌĞĂ͘ W/                   ǁĂůŬĞĚ
                            walked ďĞŚŝŶĚ
                                     behind W/ PIC             ĂŶĚ
                                                                 and ŵĂĚĞ
                                                                       made Ă   a ƐǁŝƉŝŶŐ
                                                                                   swiping ŵŽƟŽŶ
                                                                                            motion ƚŽǁĂƌĚ
                                                                                                      toward ŚŝƐ his ĨĂĐŝĂů
                                                                                                                      facial ĂƌĞĂ
                                                                                                                               area
at Ϭϲ͗Ϭϴ͗ϮϬͿ͘
Ăƚ  06:08:20). W/  PIC              ďĞŐĂŶ
                                      began ƚŽ to ĐŚĂƐĞ
                                                    chase W/
                                                            PIC                  ƚŚĞ
                                                                                 the ŚŽƵƐŝŶŐ
                                                                                      housing ĂƌĞĂ͘
                                                                                                area. W/PIC            ƌĂŶ
                                                                                                                         ran ŝŶƚŽ
                                                                                                                              into Ă a ůŽǁĞƌ
                                                                                                                                         lower
ƟĞƌ   ĐĞůů͕ ĨŽůůŽǁĞĚ    ďǇ
tier cell, followed by PIC W/                                        06:08:50). Officer
                                                                      Ϭϲ͗Ϭϴ͗ϱϬͿ͘      KĸĐĞƌ                       deployed an
                                                                                                                 ĚĞƉůŽǇĞĚ       ĂŶ
ĂƉƉůŝĐĂƟŽŶ
application ŽĨ   of ĐŚĞŵŝĐĂů
                    chemical ĂŐĞŶƚƐ
                               agents ƚŽǁĂƌĚ
                                         toward W/ PIC                    ƉƌĞǀĞŶƟŶŐ
                                                                           preventing Śŝŵ him ĨƌŽŵ
                                                                                               from ĞŶƚĞƌŝŶŐ
                                                                                                      entering ƚŚĞ the ĐĞůů
                                                                                                                         cell
               at Ϭϲ͗Ϭϴ͗ϱϬͿ͘
               Ăƚ  06:08:50). W/
                                PIC                  ǁĂƐ
                                                     was ƐĞĐƵƌĞĚ
                                                           secured ŝŶ   in ƌĞƐƚƌĂŝŶƚƐ
                                                                            restraints ĂŶĚ
                                                                                         and ĞƐĐŽƌƚĞĚ
                                                                                              escorted ŽƵƚ out ŽĨ
                                                                                                                of ƚŚĞ
                                                                                                                    the ŚŽƵƐŝŶŐ
                                                                                                                          housing ĂƌĞĂ area
                                      Ăƚ
                                       at 06:16:50). Pic” was secured in restraints and escorted out ŽĨ
                                           Ϭϲ͗ϭϲ͗ϱϬͿ͘     W/              ǁĂƐ    ƐĞĐƵƌĞĚ   ŝŶ ƌĞƐƚƌĂŝŶƚƐ    ĂŶĚ   ĞƐĐŽƌƚĞĚ     ŽƵƚ    of ƚŚĞ
                                                                                                                                           the
ŚŽƵƐŝŶŐ
housing ĂƌĞĂarea                                         Ăƚ
                                                         at Ϭϲ͗ϭϵ͗ϬϬͿ͘
                                                             06:19:00). W/    PIC                ŝƐ
                                                                                                  is ĞƐĐŽƌƚĞĚ
                                                                                                     escorted ƚŽ  to ƚŚĞ
                                                                                                                      the ^ĞŐ
                                                                                                                            Seg /ŶƚĂŬĞ
                                                                                                                                  Intake ĂŶĚand
secured ŝŶ
ƐĞĐƵƌĞĚ     in ƚŚĞ
                the ĚĞĐŽŶƚĂŵŝŶĂƟŽŶ
                     decontamination ƉĞŶ   pen                                          W/            ŝƐ
                                                                                                       is ĞƐĐŽƌƚĞĚ
                                                                                                          escorted ƚŽ  to ƚŚĞ
                                                                                                                           the DĂŝŶ
                                                                                                                                 Main
Clinic Ϭϲ͗Ϯϰ͗ϯϱͿ͘
ůŝŶŝĐ                          06:24:35). W/ Pic            ŝƐ
                                                               is ĂīŽƌĚĞĚ
                                                                   afforded ŵĞĚŝĐĂů
                                                                                medical ĂƩĞŶƟŽŶ
                                                                                          attention ŝŶ in ĐƵďŝĐůĞ
                                                                                                           cubicle ηϰ“i               Ăƚ
                                                                                                                                      at
06:24:45).
Ϭϲ͗Ϯϰ͗ϰϱͿ͘

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ
             Evidence

The facility ƉƌŽǀŝĚĞĚ
dŚĞ ĨĂĐŝůŝƚǇ provided ƚŚƌĞĞ
                      three ;ϯͿ
                              (3) ƉŚŽƚŽŐƌĂƉŚƐ
                                   photographs ŽĨ
                                                of W/
                                                   PIC   and ŶŽƚĂƚĞĚ
                                                         ĂŶĚ notated ƚŚĂƚ
                                                                      that ŚĞ
                                                                            he ƌĞĨƵƐĞĚ
                                                                               refused ĨƵƌƚŚĞƌ
                                                                                       further ƉŚŽƚŽƐ͘
                                                                                                photos.
The facility ƉƌŽǀŝĚĞĚ
dŚĞ ĨĂĐŝůŝƚǇ provided ŽŶĞ
                      one ;ϭͿ
                           (1) ƌĞĨƵƐĂů
                                 refusal ƉŚŽƚŽ
                                         photo ŽĨ
                                               of W/
                                                  PIC       and ŶŽƚĂƚĞĚ
                                                            ĂŶĚ notated ƚŚĂƚ
                                                                          that ŚĞ
                                                                               he ƌĞĨƵƐĞĚ
                                                                                  refused ĨƵƌƚŚĞƌ
                                                                                           further ƉŚŽƚŽƐ͘
                                                                                                   photos.
dŚĞ /ŶǀĞƐƟŐĂƟŽŶ   ŝǀŝƐŝŽŶ ĚŝĚ ŶŽƚ ƉŚŽƚŽŐƌĂƉŚ ƚŚĞ ĂďŽǀĞ-ŵĞŶƟŽŶĞĚ    W/Ɛ͘
The Investigation Division did not photograph the above-mentioned PICs.

sŝĚĞŽ
Video ǀŝĚĞŶĐĞ
      Evidence

dŚĞ ĨŽůůŽǁŝŶŐ
The following ǀŝĚĞŽ
              video ĞǀŝĚĞŶĐĞ
                    evidence ǁĂƐ
                             was ƌĞǀŝĞǁĞĚ
                                 reviewed ĨƌŽŵ
                                          from ϬϲϬϬ
                                               0600 ƚŽ
                                                    to ϬϴϬϬ
                                                       0800 ŚŽƵƌƐ
                                                            hours ŽĨ
                                                                  of ƚŚĞ
                                                                     the ŝŶĐŝĚĞŶƚ
                                                                         incident ŽŶ
                                                                                  on :ƵŶĞ
                                                                                     June ϲ͕
                                                                                          6, ϮϬϮϯ͕
                                                                                             2023,
ĂŶĚ
and ŝƚ
    it ĚĞƉŝĐƚĞĚ
       depicted ƚŚĞ
                the ŝŶĐŝĚĞŶƚ
                    incident ĂƐ
                             as ŶĂƌƌĂƚĞĚ
                                narrated ĂďŽǀĞ͘
                                         above.

dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ
The investigator ĂŶĚ
                 and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ǀĞƌŝĮĞĚ
                                verified ƚŚĂƚ
                                         that ƚŚĞƌĞ
                                              there ǁĂƐ
                                                    was t
                                                        BWC ĞǀŝĚĞŶĐĞ
                                                            evidence ĂƐƐŽĐŝĂƚĞĚ
                                                                     associated ǁŝƚŚ
                                                                                with ƚŚŝƐ
                                                                                     this ŝŶĐŝĚĞŶƚ͘
                                                                                          incident.
,ŽǁĞǀĞƌ͕
However, ŶŽ
         no ŚĂŶĚŚĞůĚ
            handheld ĐĂŵĞƌĂ
                     camera ĨŽŽƚĂŐĞ
                            footage ŽĨ
                                    of ƚŚŝƐ
                                       this ŝŶĐŝĚĞŶƚ
                                            incident ǁĂƐ
                                                     was ůŽĐĂƚĞĚ͘
                                                         located.

dŚĞ 'ĞŶĞƚĞĐ
The Genetec ^ƵƌǀĞŝůůĂŶĐĞ
            Surveillance ĨŽŽƚĂŐĞ
                         footage ĨƌŽŵ
                                 from ƚŚĞ
                                      the ĨŽůůŽǁŝŶŐ
                                          following ĂŶŐůĞƐͬůŽĐĂƟŽŶ
                                                    angles/location ǁĂƐ
                                                                    was ƌĞǀŝĞǁĞĚ
                                                                        reviewed ĂŶĚ
                                                                                 and ƌĞƋƵĞƐƚĞĚ
                                                                                     requested ĨŽƌ
                                                                                               for
ĂƌĐŚŝǀĂů
archival ƉƵƌƉŽƐĞƐ͗
         purposes:

'Zs
GRVC ϭϳ
     17 
        B ,ŽƵƐŝŶŐ
          Housing ĂƌĞĂ
                  area



GRVC ƵŝůĚŝŶŐ
'Zs Building ϭ1


ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ
          Camera




                                                                                                                              Exh
                                                                                                                              Exh bit
                                                                                                                                  bit 35
                                                                                                                                      35 at
                                                                                                                                         at 43
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^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ
          Injuries

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ͕
                   Report, &zϮϯͬϭϮϬϳ͕
                           FY23/1207, ŶŽƚĞĚ
                                        noted ƚŚĂƚ
                                                that ŽŶ   :ƵŶĞ ϲ͕
                                                      on June  6, ϮϬϮϯ͕
                                                                  2023, Ăƚ
                                                                        at ϭϮϯϰ
                                                                           1234 ŚŽƵƌƐ͕
                                                                                hours, W/
                                                                                       PIC                       ǁĂƐ
                                                                                                                 was
ƉƌŽĚƵĐĞĚ    ĨŽƌ ĚĞůĂǇĞĚ  ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘   dŚĞ   ƚƌĞĂƟŶŐ   ƉŚǇƐŝĐŝĂŶ ŶŽƚĞĚ
produced for delayed medical attention. The treating physician noted the PIC  ƚŚĞ W/                      ƌĞĨƵƐĞĚ
                                                                                                           refused
ŵĞĚŝĐĂů
medical ĞǀĂůƵĂƟŽŶ͕
          evaluation, ǁĂƐ
                       was ĂůĞƌƚ
                           alert ǁŝƚŚ
                                 with ŶŽ
                                      no ǀŝƐŝďůĞ
                                         visible ŝŶũƵƌŝĞƐ͘
                                                  injuries.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ
                   Report &zϮϯͬϭϮϬϰ͕
                           FY23/1204, ŶŽƚĞĚ
                                       noted ƚŚĂƚ
                                              that ŽŶon :ƵŶĞ
                                                         June ϲ͕
                                                               6, ϮϬϮϯ͕
                                                                  2023, Ăƚat ϬϲϰϬ
                                                                             0640 ŚŽƵƌƐ͕
                                                                                   hours, W/
                                                                                            Pic           ƐƵƐƚĂŝŶĞĚ
                                                                                                          sustained Ă
                                                                                                                    a
ϭϮĐŵ
12cm ůŝŶĞĂƌ
       linear ůĂĐĞƌĂƟŽŶ
              laceration ĨƌŽŵ
                         from ƚŚĞ
                               the ďĂĐŬ
                                   back ŽĨ
                                        of ƚŚĞ
                                           the ůĞŌ
                                                left ĞĂƌ
                                                      ear ĚŽǁŶ
                                                           down ƚŚĞ
                                                                  the ůĞŌ
                                                                      left ŶĞĐŬ͕
                                                                            neck, ǁŝƚŚ
                                                                                  with ǀŝƐŝďůĞ
                                                                                        visible ŝŶũƵƌŝĞƐ͘
                                                                                                injuries.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ
                Classification

dŚŝƐ ŝŶĐŝĚĞŶƚ
This incident ǁĂƐ
              was ĐůĂƐƐŝĮĞĚ
                  classified ĂƐ
                             as Ă ΗWΗ hƐĞ
                                a'"P" Use ŽĨ
                                          of &ŽƌĐĞ͘
                                             Force. ZĞĨĞƌĞŶĐĞ
                                                    Reference ƚŽ
                                                              to K
                                                                 COD η
                                                                     # ϭϴϮϮͬϮϯ-^ůĂƐŚŝŶŐ͘
                                                                       1822/23-Slashing.

ĂƐĞĚ
Based ŽŶ
       on ǀŝĚĞŽ
           video ĨŽŽƚĂŐĞ
                 footage ŝƚ
                          it ŚĂƐ
                             has ďĞĞŶ
                                 been ĚĞƚĞƌŵŝŶĞĚ
                                      determined ƚŚĂƚ
                                                   that ƚŚŝƐ
                                                        this ŝŶĐŝĚĞŶƚ
                                                              incident ƐŚŽƵůĚ
                                                                       should ďĞ
                                                                              be ĐůĂƐƐŝĮĞĚ
                                                                                 classified ĂƐ
                                                                                            as Ă
                                                                                               a ΗΗ
                                                                                                 "C" hK&
                                                                                                     UOF ƐŝŶĐĞ
                                                                                                         since
the injuries sustained by PIC
ƚŚĞ ŝŶũƵƌŝĞƐ ƐƵƐƚĂŝŶĞĚ  ďǇ  W/        were attributed to the actions of another PIC.
                                       ǁĞƌĞ ĂƩƌŝďƵƚĞĚ   ƚŽ  ƚŚĞ ĂĐƟŽŶƐ  ŽĨ ĂŶŽƚŚĞƌ  W/͘

ƌŝĞĨ
Brief ^ƵŵŵĂƌǇ
      Summary ŽĨ
              of W/
                 PIC ^ƚĂƚĞŵĞŶƚƐ
                     Statements

W/
ic                ĂŶĚ
                  and I         ďŽƚŚ
                                both ƌĞĨƵƐĞĚ
                                     refused ƚŽ
                                             to ƉƌŽǀŝĚĞ
                                                provide ƐƚĂƚĞŵĞŶƚƐ
                                                        statements ƚŽ
                                                                   to ƚŚĞ
                                                                      the ĨĂĐŝůŝƚǇ͘
                                                                          facility.

dŚĞ ŝŶĐŝĚĞŶƚ
The incident ĂŶĚ
             and hK&
                 UOF ǁĞƌĞ
                     were ĐĂƉƚƵƌĞĚ
                          captured ŽŶ
                                   on 'ĞŶĞƚĞĐ
                                      Genetec ^ƵƌǀĞŝůůĂŶĐĞ
                                              Surveillance ĨŽŽƚĂŐĞ
                                                           footage ŝŶ
                                                                   in ŝƚƐ
                                                                      its ĞŶƟƌĞƚǇ͘
                                                                          entirety. dŚĞƌĞĨŽƌĞ͕
                                                                                    Therefore, W/
                                                                                               PIC
ŝŶƚĞƌǀŝĞǁƐ
interviews ǁĞƌĞ
           were ŶŽƚ
                not ĐŽŶĚƵĐƚĞĚ
                    conducted ďǇ
                              by ƚŚĞ
                                 the /ŶǀĞƐƟŐĂƟŽŶ
                                     Investigation ŝǀŝƐŝŽŶ͘
                                                   Division.

Staff ZĞƉŽƌƚƐ
^ƚĂī  Reports

All ƐƚĂī
ůů staff ƌĞƉŽƌƚƐ
          reports ǁĞƌĞ
                  were ƌĞǀŝĞǁĞĚ
                       reviewed ĂŶĚ
                                and ǁĞƌĞ
                                    were ĐŽŶƐŝƐƚĞŶƚ
                                         consistent ǁŝƚŚ
                                                    with ƚŚĞ
                                                         the ǀŝĚĞŽ
                                                             video ĞǀŝĚĞŶĐĞ
                                                                   evidence ĂŶĚ
                                                                            and ĞĂĐŚ
                                                                                each ŽƚŚĞƌ͘
                                                                                     other.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ
               Review

dŚĞ ZĂƉŝĚ
The Rapid ZĞǀŝĞǁ
          Review ĐŽŶĚƵĐƚĞĚ
                 conducted ďǇ
                           by ĞƉƵƚǇ
                              Deputy tĂƌĚĞŶ
                                     Warden                         ŽĨ
                                                                    of 'Zs
                                                                       GRVC ŶŽƚĞĚ
                                                                              noted ƚŚĂƚ
                                                                                     that ƚŚĞ
                                                                                           the ŝŶĐŝĚĞŶƚ
                                                                                                 incident ǁĂƐ
                                                                                                          was ƵŶĂǀŽŝĚĂďůĞ
                                                                                                                unavoidable
ĂŶĚ
and ƉƌŽĐĞĚƵƌĂů
     procedural ĞƌƌŽƌƐ
                  errors ǁĞƌĞ
                           were ŝĚĞŶƟĮĞĚ
                                 identified ďǇby ƐƚĂī͘
                                                  staff. KĸĐĞƌ
                                                         Officer                           ǁŝůů
                                                                                           will ƌĞĐĞŝǀĞ
                                                                                                 receive Ăa ŽŵŵĂŶĚ
                                                                                                            Command
Discipline ĨŽƌ
ŝƐĐŝƉůŝŶĞ for ŚĂǀŝŶŐ
                having ĂŶ
                        an ƵŶƐĞĐƵƌĞĚ
                             unsecured ƉĂŶƚƌǇ
                                          pantry ĚŽŽƌ͘
                                                    door. KĸĐĞƌƐ
                                                           Officers                            (CD >ŽŐ
                                                                                               ;   Log ηϮϵϱͬϮϯͿ͕
                                                                                                         #295/23), ĂŶĚ
                                                                                                                     and
Po                           ;
                             (CD >ŽŐ
                                 Log ηϮϵϲͬϮϯͿ
                                       #296/23) ďŽƚŚboth ƌĞĐĞŝǀĞĚ
                                                          received ŽŵŵĂŶĚ
                                                                     Command ŝƐĐŝƉůŝŶĞƐ
                                                                                 Disciplines ĨŽƌ
                                                                                               for ŚĂǀŝŶŐ
                                                                                                    having ƵŶƐĞĐƵƌĞĚ
                                                                                                            unsecured ĐĞůů
                                                                                                                         cell
ĚŽŽƌƐ
doors ĂŶĚ
       and W/Ɛ
            PICs ŶŽƚ
                  not ŝŶ
                      in ƉƌŽƉĞƌ
                          proper ƵŶŝĨŽƌŵƐ͘
                                   uniforms. ,ŽǁĞǀĞƌ͕
                                                However, KĸĐĞƌ
                                                            Officer            ŽŵŵĂŶĚ
                                                                               Command ŝƐĐŝƉůŝŶĞ
                                                                                             Discipline ǁĂƐ
                                                                                                         was ĞŶƚĞƌĞĚ
                                                                                                              entered ŝŶƚŽ
                                                                                                                         into
D^͕   ďƵƚ ŶŽ    >ŽŐ  η ǁĂƐ   ŶŽƚ ŐĞŶĞƌĂƚĞĚ     Ăƚ  ƚŚĞ ƟŵĞ    ŽĨ ƚŚŝƐ /ŶǀĞƐƟŐĂƟŽŶ͘      &ĂĐŝůŝƚǇ
CMS, but no CD Log # was not generated at the time of this Investigation. A Facility Referral will be ZĞĨĞƌƌĂů ǁŝůů ďĞ
ŐĞŶĞƌĂƚĞĚ
generated ƚŽto ĂĚĚƌĞƐƐ
                address ƚŚŝƐ
                          this ŵĂƩĞƌ͘
                               matter.

ŽŶĐůƵƐŝŽŶ
Conclusion

ĂƐĞĚ
Based ŽŶ
      on ƚŚĞ
         the ĞǀŝĚĞŶĐĞ
             evidence ĐŝƚĞĚ
                      cited ĂďŽǀĞ͕
                            above, ŝƚ
                                   it ŝƐ
                                      is ƌĞĐŽŵŵĞŶĚĞĚ
                                         recommended ƚŚĂƚ
                                                     that ƚŚŝƐ
                                                          this ĐĂƐĞ
                                                               case ďĞ
                                                                    be ĐůŽƐĞĚ
                                                                       closed ǁŝƚŚ
                                                                              with Ă
                                                                                   a &ĂĐŝůŝƚǇ
                                                                                     Facility ZĞĨĞƌƌĂů͘
                                                                                              Referral.

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                      that ƚŚĞ
                                           the ĨŽƌĐĞ
                                               force ƵƟůŝǌĞĚ
                                                     utilized ŝŶ
                                                              in ƚŚŝƐ
                                                                 this ŝŶĐŝĚĞŶƚ
                                                                      incident ǁĂƐ
                                                                               was ƵŶĂǀŽŝĚĂďůĞ
                                                                                   unavoidable ĂŶĚ
                                                                                               and
ŶĞĐĞƐƐĂƌǇ
necessary ĚƵĞ
           due ƚŽ
                to ƚŚĞ
                    the W/
                          PIC ĂƐƐĂƵůƚ
                              assault ƚŚĂƚ
                                      that ƌĞƐƵůƚĞĚ
                                            resulted ŝŶ in Ăa ƐůĂƐŚŝŶŐ͘
                                                              slashing. dŚĞƌĞ
                                                                          There ǁĂƐ
                                                                                 was ĂŶ
                                                                                      an ŝŵŵĞĚŝĂƚĞ
                                                                                          immediate ŶĞĞĚ
                                                                                                      need ĨŽƌ
                                                                                                            for
ĐŽŵƉůŝĂŶĐĞ
compliance ǁŚĞƌĞ
             where ůĞƐƐĞƌ
                      lesser ŵĞĂŶƐ
                               means ƐƵĐŚ
                                      such ĂƐas /W
                                                 IPC ƐŬŝůůƐ
                                                     skills ǁĞƌĞ
                                                             were ŝŶĞīĞĐƟǀĞ
                                                                    ineffective ƚŽ
                                                                                to ƉƌĞǀĞŶƚ
                                                                                    prevent ĨƵƌƚŚĞƌ
                                                                                             further ŚĂƌŵ
                                                                                                     harm ĂŶĚ
                                                                                                           and ŝŶũƵƌǇ
                                                                                                                  injury ƚŽ
                                                                                                                         to
ƐƚĂī͘  dŚĞ ĨŽƌĐĞ
staff. The force ǁĂƐ
                  was ŝŶin ĂĐĐŽƌĚĂŶĐĞ
                            accordance ǁŝƚŚ
                                         with ƚŚĞ
                                                the hƐĞ
                                                     Use ŽĨof &ŽƌĐĞ
                                                              Force ŝƌĞĐƟǀĞ
                                                                      Directive ϱϬϬϲZ-͕
                                                                                5006R-D, ŚĞŵŝĐĂů
                                                                                            Chemical ŐĞŶƚƐ
                                                                                                      Agents ϰϱϭϬZ-,͕
                                                                                                                4510R-H,
and Departmental Rules and Regulations.
ĂŶĚ   ĞƉĂƌƚŵĞŶƚĂů    ZƵůĞƐ   ĂŶĚ ZĞŐƵůĂƟŽŶƐ͘




                                                                                                              Exh
                                                                                                              Exh bit
                                                                                                                  bit 35
                                                                                                                      35 at
                                                                                                                         at 44
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (ϮϴϴϯͬϮϯ)
                                             (2883/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: Synopsis
                                                Synopsis

KŶ
 On :ƵŶĞ
     June ϲ͕
           6, ϮϬϮϯ͕
               2023, Ăƚ at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                           approximately ϭϰϭϳ   1417 ŚŽƵƌƐ͕
                                                        hours, ŝŶ in ƚŚĞ
                                                                      the ĐŽŶĮŶĞƐ
                                                                           confines ŽĨ  of D<
                                                                                            AMKC ϰ   4 hƉƉĞƌ
                                                                                                        Upper ŶƚƌĂŶĐĞ͕
                                                                                                                  Entrance, W/  PIC
                                                                  ĂŶĚ
                                                                  and
                  ǁĞƌĞ
                  were ŝŶǀŽůǀĞĚ
                          involved ŝŶ in Ăa ƉŚǇƐŝĐĂů
                                            physical ĂůƚĞƌĐĂƟŽŶ͘
                                                        altercation. KĸĐĞƌ
                                                                         Officer                                    ƌĞƐƉŽŶĚĞĚ
                                                                                                                    responded ƚŽ     to ƚŚĞ
                                                                                                                                         the ĮŐŚƚ
                                                                                                                                               fight
ĂŶĚ
 and ĂƉƉĞĂƌĞĚ
      appeared ƚŽ   to ŐƌĂď
                        grab W/
                               PIC      EE ŵŽǀŝŶŐ
                                                moving Śŝŵhim ŽƵƚout ŽĨof ƚŚĞ
                                                                           the ǁĂǇ
                                                                                 way                            Ăƚ
                                                                                                                at ϭϰ͗ϭϲ͗ϬϬ
                                                                                                                    14:16:00 ŚŽƵƌƐͿ͘
                                                                                                                                  hours). W/ PIC
                ǁĂƐ
                was ŽďƐĞƌǀĞĚ
                      observed ŝŶ  in ƚŚĞ
                                       the ďĂĐŬ
                                            back ŽĨ of ƚŚĞ
                                                       the ŚŽƵƐŝŶŐ
                                                             housing ĂƌĞĂarea ǁŚĞŶ
                                                                                 when W/ PIC              ǁĂůŬĞĚ
                                                                                                           walked ƚŽǁĂƌĚƐ
                                                                                                                      towards Śŝŵ  him m7
 at 14:17:35 hours). PIC
Ăƚ  ϭϰ͗ϭϳ͗ϯϱ    ŚŽƵƌƐͿ͘    W/                                                                              ǁĂƐ
                                                                                                            was observed in ĨƌŽŶƚ
                                                                                                                  ŽďƐĞƌǀĞĚ       ŝŶ  front ŽĨof
 Officer J. ͘ KĸĐĞƌ
KĸĐĞƌ              Officer          ƉƵƐŚĞĚ W/                    ĂǁĂǇ ĨƌŽŵ W/Ɛ                                              KĸĐĞƌ
                                                                                                                              Office lial
ĚĞƉůŽǇĞĚ
 deployed Ă  a ŽŶĞ-two-ƐĞĐŽŶĚ
                one-two-second ďƵƌƐƚ    burst ŽĨ
                                               of ĐŚĞŵŝĐĂů
                                                   chemical ĂŐĞŶƚ
                                                                agent ƚŽǁĂƌĚ
                                                                         toward W/  PIC              ĂƐ
                                                                                                      as ŚĞ
                                                                                                          he ƐƚĞƉƉĞĚ
                                                                                                               stepped ŝŶƚŽ into aĂ ĮŐŚƟŶŐ
                                                                                                                                     fighting
ƐƚĂŶĐĞ   ĨĂĐŝŶŐ
 stance facing PIC W/                           Ăƚ  ϭϰ͗ϭϳ͗Ϯϴ      ŚŽƵƌƐͿ͘
                                                 at 14:17:28 hours). PIC       W/              ǁĂƐ
                                                                                                was secured in the vestibule, ǁŚŝůĞ
                                                                                                      ƐĞĐƵƌĞĚ      ŝŶ  ƚŚĞ  ǀĞƐƟďƵůĞ͕       while
W/
 i                   ĂŶĚ
                     and W/
                           PIC               ƌĞŵĂŝŶĞĚ
                                             remained ŝŶ   in ƚŚĞ
                                                              the ŚŽƵƐŝŶŐ
                                                                     housing ĂƌĞĂarea ;            Ăƚ
                                                                                                   at ϭϰ͗ϭϴ͗ϬϬ
                                                                                                        14:18:00 ŚŽƵƌƐͿ͘
                                                                                                                     hours). ^ŚŽƌƚůǇ
                                                                                                                                Shortly ĂŌĞƌ͕
                                                                                                                                            after,
ĂĚĚŝƟŽŶĂů
 additional ƐƚĂī
              staff ĂƌƌŝǀĞĚ
                      arrived ĂŶĚ
                                and ĞƐĐŽƌƚĞĚ
                                      escorted W/ PIC               ŽƵƚ
                                                                     out ŽĨ
                                                                          of ƚŚĞ
                                                                              the ŚŽƵƐŝŶŐ
                                                                                    housing ĂƌĞĂarea ƚŽto ƚŚĞ
                                                                                                           the ŝŶƚĂŬĞ
                                                                                                                 intake ǁŚĞƌĞ
                                                                                                                           where ŚĞ   he ǁĂƐ
                                                                                                                                          was
ƐĞĐƵƌĞĚ
 secured ŝŶin ƚŚĞ
               the ĚĞĐŽŶƚĂŵŝŶĂƟŽŶ
                     decontamination ƉĞŶ͘    pen. W/
                                                    »             &      ǁĂƐ
                                                                          was ĞƐĐŽƌƚĞĚ
                                                                                 escorted ŽƵƚ out ŽĨ
                                                                                                   of ƚŚĞ
                                                                                                       the ĂƌĞĂ
                                                                                                             area ƚŽto ƚŚĞ
                                                                                                                        the ŝŶƚĂŬĞ͘
                                                                                                                              intake. W/PIC
|       ME ǁĂƐ ƐĞĂƌĐŚĞĚ
                  searched ĂŶĚ and ĞƐĐŽƌƚĞĚ
                                     escorted ƚŽ to ƚŚĞ
                                                      the ĐůŝŶŝĐ
                                                           clinic ǁŚŝůĞ
                                                                    while W/PIC                  ǁĂƐ
                                                                                                  was ƐĞĐƵƌĞĚ
                                                                                                         secured ŝŶ  in ƚŚĞ
                                                                                                                         the
ĚĞĐŽŶƚĂŵŝŶĂƟŽŶ           ƉĞŶ͕  ƚĞƌŵŝŶĂƟŶŐ
 decontamination pen, terminating the incident  ƚŚĞ   ŝŶĐŝĚĞŶƚ                                                                           Ăƚ
                                                                                                                                         at
ϭϰ͗Ϯϵ͗ϰϵ
 14:29:49 ŚŽƵƌƐͿ͘
             hours).

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ
             Evidence

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ƉŚŽƚŽŐƌĂƉŚ
                              photograph ŽĨ
                                         of W/
                                            i                                     ĨƌŽŶƚ
                                                                                  front ƐŝĚĞ͘
                                                                                        side. W/
                                                                                              ae                    ƌĞĨƵƐĞĚ
                                                                                                                    refused ƚŽ
                                                                                                                            to ďĞ
                                                                                                                               be
ƉŚŽƚŽŐƌĂƉŚĞĚ͘
photographed.

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ƉŚŽƚŽŐƌĂƉŚ
                              photograph ŽĨ
                                         of W/
                                            i                                        ĨƌŽŶƚ
                                                                                     front ƐŝĚĞ͘
                                                                                           side. W/
                                                                                                 me              si       ƌĞĨƵƐĞĚ
                                                                                                                          refused ƚŽ
                                                                                                                                  to ďĞ
                                                                                                                                     be
ƉŚŽƚŽŐƌĂƉŚĞĚ͘
photographed.

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ƉŚŽƚŽŐƌĂƉŚ
                              photograph ŽĨ
                                          of W/
                                             PIC            ĨƌŽŶƚ
                                                            front ƐŝĚĞ͘
                                                                  side. W/
                                                                        PIC       ƌĞĨƵƐĞĚ
                                                                                   refused ƚŽ
                                                                                           to ďĞ
                                                                                              be
ƉŚŽƚŽŐƌĂƉŚĞĚ͘    dŚĞ ƉŚŽƚŽŐƌĂƉŚ  ĚŝĚ ƌĞǀĞĂů ĂŶ ŝŶũƵƌǇ ƚŽ
photographed. The photograph did reveal an injury to Pic W/            ĨŽƌĞŚĞĂĚ͘
                                                                        forehead.

dŚĞ
The /
    ID ĚŝĚ
       did ŶŽƚ
           not ƉŚŽƚŽŐƌĂƉŚ
               photograph ƚŚĞ
                          the ĂďŽǀĞ-ŵĞŶƟŽŶĞĚ
                              above-mentioned W/Ɛ͘
                                              PICs.

sŝĚĞŽ
Video ǀŝĚĞŶĐĞ
      Evidence

The ĨŽůůŽǁŝŶŐ
dŚĞ  following ǀŝĚĞŽ
                 video ĞǀŝĚĞŶĐĞ
                        evidence ǁĂƐ
                                   was ƌĞǀŝĞǁĞĚ
                                        reviewed ĨƌŽŵ
                                                   from ϭϰϬϬ
                                                         1400 ŚŽƵƌƐ
                                                                hours ƚŽ
                                                                       to ϭϱϬϬ
                                                                          1500 ŚŽƵƌƐ
                                                                                hours ŽĨ
                                                                                      of ƚŚĞ
                                                                                         the ŝŶĐŝĚĞŶƚ
                                                                                             incident ŽŶon :ƵŶĞ
                                                                                                           June ϲ͕
                                                                                                                 6,
ϮϬϮϯ͕
2023, ĂŶĚ
       and ŝƚ
            it ĚĞƉŝĐƚĞĚ
               depicted ƚŚĞ
                          the ŝŶĐŝĚĞŶƚ
                              incident ĂƐ
                                        as ŶĂƌƌĂƚĞĚ
                                           narrated ĂďŽǀĞ͘
                                                      above. dŚĞ
                                                              The ŝŶǀĞƐƟŐĂƚŽƌ
                                                                   investigator ĂŶĚ
                                                                                 and ƐƵƉĞƌǀŝƐŽƌ
                                                                                     supervisor ǀĞƌŝĮĞĚ
                                                                                                 verified ƚŚĂƚ
                                                                                                           that ƚŚĞƌĞ
                                                                                                                there
ǁĂƐ
was ŶŽ
     no ŚĂŶĚŚĞůĚ
         handheld ĞǀŝĚĞŶĐĞ
                     evidence ĂƐƐŽĐŝĂƚĞĚ
                                associated ǁŝƚŚ
                                            with ƚŚŝƐ
                                                  this ŝŶĐŝĚĞŶƚ͘
                                                       incident.

dŚĞ 'ĞŶĞƚĞĐ
The Genetec ƐƵƌǀĞŝůůĂŶĐĞ
            surveillance ĨƌŽŵ
                         from ƚŚĞ
                              the ĨŽůůŽǁŝŶŐ
                                  following ĂŶŐůĞƐͬůŽĐĂƟŽŶ
                                            angles/location ǁĞ
                                                            we ƌĞǀŝĞǁĞĚ
                                                               reviewed ĂŶĚ
                                                                        and ƌĞƋƵĞƐƚĞĚ͗
                                                                            requested:




ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ
          Camera ;tͿ͗
                 (BWC):

Po                                     ϲͬϲͬϮϬϮϯ
                                       6/6/2023 Ϯ͗ϭϳ͗ϱϰWD
                                                   2:17:54PM ĚĞƉŝĐƚĞĚ
                                                                 depicted ĐŽŶǀĞƌƐŝŶŐ
                                                                            conversing ǁŝƚŚ
                                                                                         with ƚŚĞ
                                                                                               the W/Ɛ͕
                                                                                                   PICs, ƚŚĞ
                                                                                                          the ďŽĚǇ
                                                                                                               body
ǁŽƌŶ   ĐĂŵĞƌĂ  ǁĂƐ  ĨĂĐĞĚ  ƚŽǁĂƌĚ ƚŚĞ  ŽĸĐĞƌΖƐ   ƉĞƌƐŽŶ͘   KĸĐĞƌ          ǁĂƐ  ŚĞĂƌĚ   ƐƚĂƟŶŐ͕
worn camera was faced toward the officer's person. Officer [| was heard stating, "Move mother    ΗDŽǀĞ   ŵŽƚŚĞƌ
ĨƵĐŬĞƌ͕
fucker, ǁŚĂƚ
        what ǇŽƵ
              you ƚŚŝŶŬ
                  think ǇŽƵ
                         you ĂďŽƵƚ
                             about ƚŽ
                                    to ĚŽΗ͕
                                       do", ƌĞĨĞƌĞŶĐĞĚ
                                             referenced Ăƚ at ϭϰ͗ϭϴ͗Ϭϭ
                                                              14:18:01 ŚŽƵƌƐ͘
                                                                         hours. ŚĞŵŝĐĂů
                                                                                 Chemical ĂŐĞŶƚƐ
                                                                                             agents ǁĞƌĞ
                                                                                                     were ŚĞĂƌĚ
                                                                                                            heard
ďĞŝŶŐ
being ĚĞƉůŽǇĞĚ͘
       deployed. KĸĐĞƌ
                  Officer fj ǁĂƐwas ŚĞĂƌĚ
                                     heard ƐƚĂƟŶŐ͕
                                            stating, Ζ/
                                                     'l ƚŽůĚ
                                                        told Śŝŵ
                                                              him ƚŽ
                                                                   to ŵŽǀĞ
                                                                      move ŵĂĚ
                                                                             mad ĨƵĐŬŝŶŐ
                                                                                   fucking ƟŵĞƐ͕
                                                                                            times, ĚŽ
                                                                                                    do ǁŚĂƚ
                                                                                                        what ǇŽƵ
                                                                                                               you ŐŽƚ
                                                                                                                    got




                                                                                                                                   Exh
                                                                                                                                   Exh bit
                                                                                                                                       bit 35
                                                                                                                                           35 at
                                                                                                                                              at 45
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ƚŽ
to ĚŽ
   do ŵǇ
      my ŶŝŐŐĂ͕
          nigga, ĨƵĐŬ
                 fuck ƚŚĂƚ
                      that ĚŽ
                           do ǁŚĂƚ
                              what ǇŽƵ
                                    you ŐŽƚ
                                        got ƚŽ
                                            to ĚŽ͕
                                               do, ƉƌĞƐƐ
                                                   press ƚŚĂƚ
                                                         that ďƵƩŽŶ
                                                              button ŶŝŐŐĂ͕
                                                                     nigga, ǇŽƵ
                                                                            you Ă
                                                                                a ŶĞǁ
                                                                                  new ŶŝŐŐĂ
                                                                                      nigga ŝŶ
                                                                                            in ŚĞƌĞ
                                                                                               here ďƌŽΗ͕
                                                                                                    bro",
ƌĞĨĞƌĞŶĐĞĚ
referenced ĨƌŽŵ
            from ϭϰ͗ϭϴ͗ϮϬ
                  14:18:20 ŚŽƵƌƐ
                            hours ϭϰ͗ϭϴ͗ϰϴ
                                  14:18:48 ŚŽƵƌƐ͘
                                            hours.




,ĂŶĚŚĞůĚ
Handheld ĂŵĞƌĂ͗
         Camera:

Eͬ
N/A

^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ
          Injuries

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ͕
                 Report, &zϮϯͬϴϰϱϬ
                          FY23/8450 ŶŽƚĞĚ
                                     noted ŽŶ
                                            on :ƵŶĞ
                                                June ϲ͕
                                                      6, ϮϬϮϯ͕
                                                         2023, Ăƚat ϭϰϱϱ
                                                                    1455 ŚŽƵƌƐ͕
                                                                          hours, W/
                                                                                 Pic          ǁĂƐ
                                                                                              was ƉƌŽĚƵĐĞĚ
                                                                                                  produced ĨŽƌ
                                                                                                           for
ƉƌŽŵƉƚ
prompt ŵĞĚŝĐĂů
         medical ĂƩĞŶƟŽŶ
                 attention ĂŶĚ
                           and Ă
                               a ůĂĐĞƌĂƟŽŶ
                                 laceration ϭ1 Đŵ
                                               cm ůŽŶŐ
                                                   long ĂŶĚ
                                                         and Ϭ͘ϱ
                                                              0.5 Đŵ
                                                                   cm ĚĞĞƉ
                                                                       deep ŽŶ
                                                                             on ƚŚĞ
                                                                                the ĨŽƌĞŚĞĂĚ͘
                                                                                    forehead.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ͕
                 Report, &zϮϯͬϴϰϱϱ
                         FY23/8455 ŶŽƚĞĚ
                                    noted ŽŶ
                                          on :ƵŶĞ
                                             June ϲ͕
                                                  6, ϮϬϮϯ͕
                                                     2023, Ăƚ
                                                            at ϭϲϬϬ
                                                               1600 ŚŽƵƌƐ͕
                                                                    hours, W/
                                                                           Pic                              IE       ǁĂƐ
                                                                                                                     was ƉƌŽĚƵĐĞĚ
                                                                                                                         produced
ĨŽƌ ƉƌŽŵƉƚ  ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ   ĂŶĚ ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͘
for prompt medical attention and refused medical attention.

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ͕
                 Report, &zϮϯͬϴϰϱϯ
                          FY23/8453 ŶŽƚĞĚ
                                      noted ŽŶ
                                             on :ƵŶĞ
                                                June ϲ͕
                                                      6, ϮϬϮϯ͕
                                                         2023, Ăƚ
                                                               at ϭϳϬϱ
                                                                  1705 ŚŽƵƌƐ͕
                                                                       hours, W/
                                                                              Pic                         a       ǁĂƐ
                                                                                                                  was ƉƌŽĚƵĐĞĚ
                                                                                                                      produced ĨŽƌ
                                                                                                                               for
ƉƌŽŵƉƚ
prompt ŵĞĚŝĐĂů
         medical ĂƩĞŶƟŽŶ
                 attention ĂŶĚ
                           and ƌĞĨƵƐĞĚ
                                refused ŵĞĚŝĐĂů
                                         medical ĂƩĞŶƟŽŶ͘
                                                  attention.

dŚĞƌĞ
There ǁĞƌĞ
      were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ
                Classification

dŚŝƐ
This ŝŶĐŝĚĞŶƚ
      incident ǁĂƐ
                was ŵŝƐĐůĂƐƐŝĮĞĚ
                     misclassified ĂƐ
                                    as ĂŶ
                                        an ΗΗ
                                           "A" hK&
                                                UOF ĚƵĞ
                                                     due ƚŽ
                                                          to W/
                                                             PIC     EEE ƐƵƐƚĂŝŶŝŶŐ
                                                                             sustaining Ă  a ůĂĐĞƌĂƟŽŶ
                                                                                              laceration ƚŽ
                                                                                                          to ƚŚĞ
                                                                                                             the ĨŽƌĞŚĞĂĚ͘
                                                                                                                 forehead.
,ŽǁĞǀĞƌ͕
However, W/PIC           ƐƵƐƚĂŝŶĞĚ
                          sustained ŚŝƐ
                                      his ŝŶũƵƌǇ
                                          injury ĨƌŽŵ
                                                 from ƚŚĞ
                                                       the W/-on-W/
                                                            PIC-on-PIC ĮŐŚƚ
                                                                         fight ŶŽƚ
                                                                                 not ďǇ
                                                                                      by ƐƚĂī
                                                                                          staff ĂĐƟŽŶƐ
                                                                                                 actions ĚƵƌŝŶŐ
                                                                                                         during ƚŚĞ
                                                                                                                 the hƐĞ
                                                                                                                     Use ŽĨ
                                                                                                                          of
&ŽƌĐĞ͘
Force.  A ƌĞƋƵĞƐƚ
           request ǁŝůů
                    will ďĞ
                         be ƐĞŶƚ
                             sent ŽƵƚ
                                  out ĨŽƌ
                                       for ƚŚŝƐ
                                           this ŝŶĐŝĚĞŶƚ
                                                incident ďĞ
                                                          be ƌĞĐůĂƐƐŝĮĞĚ
                                                              reclassified ƚŽ
                                                                            to Ăa ΗΗ
                                                                                   "C" hƐĞ
                                                                                        Use ŽĨof &ŽƌĐĞ͘
                                                                                                 Force.

ƌŝĞĨ
Brief ^ƵŵŵĂƌǇ
      Summary ŽĨ
              of W/
                 PIC ^ƚĂƚĞŵĞŶƚƐ
                     Statements

KŶ
On :ƵŶĞ
    June Ϭϲ͕
          06, ϮϬϮϯ͕
               2023, W/Ɛ
                       \:     i                                 ƌĞĨƵƐĞĚ
                                                                refused ƚŽ to ƉƌŽǀŝĚĞ
                                                                              provide Ă a ƐƚĂƚĞŵĞŶƚ
                                                                                          statement ƚŽ to ƚŚĞ
                                                                                                          the ĨĂĐŝůŝƚǇ
                                                                                                              facility
Žƌ
or ŵĞĚŝĐĂů
   medical ƐƚĂī͘
             staff. dŚĞ
                     The /ŶǀĞƐƟŐĂƟŽŶ
                         Investigation ŝǀŝƐŝŽŶ
                                       Division ĚĞƚĞƌŵŝŶĞĚ
                                                determined ƚŚĂƚ
                                                            that W/
                                                                  PIC ŝŶƚĞƌǀŝĞǁƐ
                                                                       interviews ǁĞƌĞ
                                                                                     were ƵŶŶĞĐĞƐƐĂƌǇ
                                                                                            unnecessary ĚƵĞdue ƚŽ
                                                                                                                to ƚŚĞ
                                                                                                                    the
ŝŶĐŝĚĞŶƚ
incident ďĞŝŶŐ
          being ĐĂƉƚƵƌĞĚ
                   captured ǀŝĂ
                             via ǀŝĚĞŽ
                                 video ĞǀŝĚĞŶĐĞ͕
                                       evidence, ƚŚĞ
                                                 the ĐŽŶƐŝƐƚĞŶĐǇ
                                                     consistency ŽĨof ƐƚĂī
                                                                      staff ƌĞƉŽƌƚƐ͕
                                                                             reports, ĂŶĚ
                                                                                       and ŶŽ
                                                                                            no ĂůůĞŐĂƟŽŶ
                                                                                                allegation ŵĂĚĞ
                                                                                                            made
ĂŐĂŝŶƐƚ
against K
         DOC ƐƚĂī͘
               staff.

^ƚĂī
Staff ZĞƉŽƌƚƐ
      Reports

ůů
All ƐƚĂī
    staff ƌĞƉŽƌƚƐ
          reports ǁĞƌĞ
                  were ƌĞǀŝĞǁĞĚ
                       reviewed ĂŶĚ
                                and ǁĞƌĞ
                                    were ŐĞŶĞƌĂůůǇ
                                         generally ĐŽŶƐŝƐƚĞŶƚ
                                                   consistent ǁŝƚŚ
                                                              with ƚŚĞ
                                                                   the ǀŝĚĞŽ
                                                                       video ĞǀŝĚĞŶĐĞ
                                                                             evidence ĂŶĚ
                                                                                      and ĞĂĐŚ
                                                                                          each ŽƚŚĞƌ͘
                                                                                               other.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ
               Review

dŚĞ
The ZĂƉŝĚ
      Rapid ZĞǀŝĞǁ
             Review ĐŽŶĚƵĐƚĞĚ
                        conducted ďǇ   by tĂƌĚĞŶ
                                          Warden [in                              ŶŽƚĞĚ
                                                                                  noted ƚŚŝƐ
                                                                                           this ŝŶĐŝĚĞŶƚ
                                                                                                  incident ǁĂƐ
                                                                                                            was ĂǀŽŝĚĂďůĞ
                                                                                                                 avoidable ĚƵĞ due ƚŽto
ƚŚĞ
 the DK^
      MOS ďĞŝŶŐ
            being Žī
                   off ƉŽƐƚ
                         post ĂŶĚ
                               and ĨŽƌĐĞ
                                     force ǁĂƐ
                                             was ŶĞĐĞƐƐĂƌǇ͘
                                                   necessary. /ƚIt ǁĂƐ
                                                                    was ĂůƐŽ
                                                                         also ŶŽƚĞĚ
                                                                               noted ƚŚĂƚ
                                                                                       that KĸĐĞƌ
                                                                                               Office (inn              ǁŝůů
                                                                                                                        will ƌĞĐĞŝǀĞ
                                                                                                                               receive
Ăa ŽŵŵĂŶĚ
   Command ŝƐĐŝƉůŝŶĞ
                Discipline ĨŽƌfor ďĞŝŶŐ
                                   being ŽďƐĞƌǀĞĚ
                                          observed Žī  off ƉŽƐƚ
                                                           post ƉƌŝŽƌ
                                                                   prior ƚŽ
                                                                         to ƚŚĞ
                                                                             the hK&
                                                                                  UOF ĂŶĚ
                                                                                        and DK^ MOS ǁĂƐwas ŚĞĂƌĚ
                                                                                                            heard ďĞŝŶŐ
                                                                                                                   being
ƵŶƉƌŽĨĞƐƐŝŽŶĂů
 unprofessional ŽŶ on ƚŚĞ
                        the t͘
                             BWC. DK^ MOS ǁŝůů
                                             will ďĞ
                                                  be ŵĂĚĞ
                                                      made ƐƵďũĞĐƚ
                                                             subject ŽĨ of Ăa ĐŽŵŵĂŶĚ
                                                                              command ĚŝƐĐŝƉůŝŶĞ͘
                                                                                             discipline. dŚĞ
                                                                                                           The ŽŵŵĂŶĚ
                                                                                                                Command
ŝƐĐŝƉůŝŶĞ
 Discipline ůŽŐŐĞĚ
             logged ƵŶĚĞƌ
                       under ĞƉĂƌƚŵĞŶƚ
                                Department     CD >ŽŐ
                                                     Log#η    ϮϭϰϮͬϮϯ
                                                               2142/23 ĂŶĚ  and ŽŵŵĂŶĚ
                                                                                 Command       CD >ŽŐ
                                                                                                      Log ηD<ϲϯϬͬϮϯ͘
                                                                                                          #AMKC630/23. KĸĐĞƌ  Officer
                           ǁĂƐ
                           was observed with an unsecured breaker gate. MOS failed to activate BWC and ǁŝůů
                                 ŽďƐĞƌǀĞĚ     ǁŝƚŚ  ĂŶ  ƵŶƐĞĐƵƌĞĚ      ďƌĞĂŬĞƌ   ŐĂƚĞ͘  DK^      ĨĂŝůĞĚ  ƚŽ ĂĐƟǀĂƚĞ  t     ĂŶĚ   will
 be ŵĂĚĞ
ďĞ   made ƐƵďũĞĐƚ
            subject ŽĨof Ăa ŽŵŵĂŶĚ
                            Command ŝƐĐŝƉůŝŶĞ͘
                                           Discipline. dŚĞ
                                                        The ŽŵŵĂŶĚ
                                                             Command ŝƐĐŝƉůŝŶĞ
                                                                             Discipline ŝƐis ůŽŐŐĞĚ
                                                                                              logged ƵŶĚĞƌ
                                                                                                        under ĞƉĂƌƚŵĞŶƚ
                                                                                                                Department    CD >ŽŐ
                                                                                                                                     Log
ηϮϭϰϯͬϮϯ
 #2143/23 ĂŶĚand ŽŵŵĂŶĚ
                  Command       CD >ŽŐ
                                      Log D<ϲϯϭͬϮϯ͘
                                            AMKC631/23. tĞ   We ĐŽŶĐƵƌ
                                                                    concur ǁŝƚŚ
                                                                             with ƚŚĞ
                                                                                   the ǀŝŽůĂƟŽŶ
                                                                                        violation ŶŽƚĞĚnoted ďǇ
                                                                                                              by ƚŚĞ
                                                                                                                 the ĨĂĐŝůŝƚǇ͕
                                                                                                                     facility, ĂŶĚ
                                                                                                                                 and
ǁĞ   ǀĞƌŝĮĞĚ   ƚŚĂƚ ƚŚĞ    ĐŽƌƌĞĐƟǀĞ     ĂĐƟŽŶ
 we verified that the corrective action was taken.ǁĂƐ  ƚĂŬĞŶ͘



                                                                                                                         Exh
                                                                                                                         Exh bit
                                                                                                                             bit 35
                                                                                                                                 35 at
                                                                                                                                    at 46
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ŽŶĐůƵƐŝŽŶ
Conclusion

ĂƐĞĚ
Based ŽŶon ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
                evidence ĐŝƚĞĚ
                          cited ĂďŽǀĞ͕
                                above, ŝƚit ŝƐ
                                            is ƌĞĐŽŵŵĞŶĚĞĚ
                                               recommended ƚŚĂƚthat ƚŚŝƐ
                                                                     this ĐĂƐĞ
                                                                           case ďĞbe ĐůŽƐĞĚ
                                                                                     closed ǁŝƚŚ
                                                                                              with ŶŽno ĨƵƌƚŚĞƌ
                                                                                                         further
ŝŶǀĞƐƟŐĂƟǀĞ
investigative action is necessary. The Investigation Division determined that the force utilized ŝŶ
               ĂĐƟŽŶ  ŝƐ ŶĞĐĞƐƐĂƌǇ͘  dŚĞ   /ŶǀĞƐƟŐĂƟŽŶ   ŝǀŝƐŝŽŶ  ĚĞƚĞƌŵŝŶĞĚ       ƚŚĂƚ  ƚŚĞ  ĨŽƌĐĞ  ƵƟůŝǌĞĚ   in ƚŚŝƐ
                                                                                                                   this
ŝŶĐŝĚĞŶƚ
incident ǁĂƐ
          was ƵŶĂǀŽŝĚĂďůĞ͘
               unavoidable. dŚĞ
                              The ĨŽƌĐĞ
                                   force ǁĂƐ
                                          was ŶĞĐĞƐƐĂƌǇ
                                                necessary ĚƵĞ
                                                          due ƚŽto ƚŚĞ
                                                                   the W/Ɛ
                                                                         PICs ĮŐŚƟŶŐ͘
                                                                               fighting. dŚĞ
                                                                                          The ĨŽƌĐĞ
                                                                                                force ǁĂƐ
                                                                                                       was ŵŝŶŝŵĂů
                                                                                                             minimal ĂŶĚand
proportional ƚŽ
ƉƌŽƉŽƌƟŽŶĂů    to ƚŚĞ
                  the ƌĞƐŝƐƚĂŶĐĞ
                      resistance ƉŽƐĞĚ
                                   posed ďǇby W/Ɛ
                                               Cs                                               Furthermore, ƚŚĞ
                                                                                               &ƵƌƚŚĞƌŵŽƌĞ͕      the ĨŽƌĐĞ
                                                                                                                      force
ǁĂƐ
was ŝŶ
     in ĂĐĐŽƌĚĂŶĐĞ
        accordance ǁŝƚŚ
                     with ŝƌĞĐƟǀĞ
                           Directive ϰϱϭϬZ-,͕
                                      4510R-H, ϱϬϬϲZ-͕
                                                  5006R-D, ĂŶĚ
                                                            and ĞƉĂƌƚŵĞŶƚĂů
                                                                  Departmental ZƵůĞƐ Rules ĂŶĚ
                                                                                            and ZĞŐƵůĂƟŽŶƐ͘
                                                                                                  Regulations.




                                                                                                              Exh
                                                                                                              Exh bit
                                                                                                                  bit 35
                                                                                                                      35 at
                                                                                                                         at 47
           Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 49 of 71




CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (3016/23)
                                             (3016/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: hϯϬϭϲ-23
                                                       U3016-23

&ĂĐŝůŝƚǇ͗
Facility: D<
          AMKC

^ǇŶŽƉƐŝƐ͗
Synopsis: KŶ On :ƵŶĞ
                   June ϭϱ͕15, ϮϬϮϯ
                                2023 ŝŶ  in D<
                                             AMKC DĂŝŶ  Main /ŶƚĂŬĞ
                                                                  Intake ƉĞŶ
                                                                           pen ηϳ͕#7, W/
                                                                                        PIC                                                                   ǁĂƐ
                                                                                                                                                              was
ŽďƐĞƌǀĞĚ
observed ďĂŶŐŝŶŐ
             banging ŽŶ    on ƚŚĞ
                               the ĐĞůů
                                    cell ǁŝŶĚŽǁ
                                            window Ăƚ     at ǁŚŝĐŚ
                                                              which ƉŽŝŶƚ
                                                                        point KĸĐĞƌƐ
                                                                                 Officer
          ĞŶƚĞƌĞĚ
          entered ƉĞŶ   pen ηϳ#7 ĂůŽŶŐ
                                  along ǁŝƚŚ with ĂƉƚĂŝŶ
                                                     Captain
                                               KĸĐĞƌ                    ŐƵŝĚĞĚ
                                                                         guided W/ PIC                       ůĞŌ
                                                                                                              left Ăƌŵ
                                                                                                                    arm ďĞŚŝŶĚ
                                                                                                                           behind ŚŝƐ  his ďĂĐŬ
                                                                                                                                             back ǁŝƚŚŽƵƚ
                                                                                                                                                     without
ĨŽƌĐĞ  ĂƐ KĸĐĞƌ
force as Officer                 grabbed the PIC's right arm and placed it behind his back a:
                                 ŐƌĂďďĞĚ        ƚŚĞ   W/ΖƐ     ƌŝŐŚƚ  Ăƌŵ    ĂŶĚ    ƉůĂĐĞĚ     ŝƚ  ďĞŚŝŶĚ        ŚŝƐ  ďĂĐŬ    ;             Ăƚ  02:16:48)
                                                                                                                                                 ϬϮ͗ϭϲ͗ϰϴͿ
ĨŽƌĐĞĨƵůůǇ͘
forcefully. ƚAt ŶŽno ƟŵĞ
                       time ǁĂƐwas ƌĞƐŝƐƚĂŶĐĞ
                                     resistance ŽďƐĞƌǀĞĚ
                                                       observed ĨƌŽŵ   from W/PIC                    ͘. hƉŽŶ
                                                                                                          Upon ďĞŝŶŐ
                                                                                                                   being ƉůĂĐĞĚ
                                                                                                                             placed ŝŶ   in ƌĞƐƚƌĂŝŶƚƐ͕
                                                                                                                                             restraints,
Officers J
KĸĐĞƌƐ                  anc [i ƉƌŽĐĞĞĚĞĚ
                       ĂŶĚ                proceeded ƚŽ       to ĞƐĐŽƌƚ
                                                                 escort W/PIC                    out ŽĨ
                                                                                                  ŽƵƚ     of ƚŚĞ
                                                                                                               the ĐĞůů
                                                                                                                     cell ŝŶ
                                                                                                                           in ǁŚŝĐŚ
                                                                                                                               which KĸĐĞƌae,
ǁĂƐ  ŽďƐĞƌǀĞĚ       ƵƟůŝǌŝŶŐ    Ă  ƉĂŝŶĨƵů     ĞƐĐŽƌƚ      ďǇ   ďĞŶĚŝŶŐ
was observed utilizing a painful escort by bending the PIC's hand upwards (|ƚŚĞ    W/ΖƐ   ŚĂŶĚ      ƵƉǁĂƌĚƐ         ;            Ăƚ
                                                                                                                                  at 02:17:03 Θ
                                                                                                                                      ϬϮ͗ϭϳ͗Ϭϯ       &           Ăƚ
                                                                                                                                                                  at
ϬϮ͗ϭϳ͗ϬϳͿ͘
02:17:07). KĸĐĞƌƐ
               Officers                                     ƚŚĞŶ
                                                            then ƉƌŽĐĞĞĚĞĚ
                                                                    proceeded ƚŽ     to ƉůĂĐĞ
                                                                                         place ƚŚĞthe W/  PIC ĂŐĂŝŶƐƚ
                                                                                                                 against ƚŚĞ the ǁĂůů
                                                                                                                                    wall ŝŶin ƚŚĞ
                                                                                                                                               the ĐŽƌŶĞƌ
                                                                                                                                                     corner ŽĨ of
/ŶƚĂŬĞ
Intake ;aa: Ăƚ ϬϮ͗ϭϳ͗ϮϰͿ
                       02:17:24) ŝŶ   in ǁŚŝĐŚ
                                           which KĸĐĞƌ
                                                     Officer I              ĐŽŶƟŶƵĞĚ
                                                                             continued ƚŽ    to ŝŵƉƌŽƉĞƌůǇ
                                                                                                  improperly ĞƐĐŽƌƚ    escort ƚŚĞthe W/͘
                                                                                                                                        PIC. /ƚIt ǁĂƐ
                                                                                                                                                  was
ĂƉƉĂƌĞŶƚ
apparent ƚŚĂƚthat W/ic                    ǁĂƐ
                                            was ŝŶ in ƉĂŝŶ
                                                       pain ďĂƐĞĚ
                                                               based ƵƉŽŶupon ŚŝƐ his ĨĂĐŝĂů
                                                                                       facial ĞǆƉƌĞƐƐŝŽŶƐ
                                                                                                expressions                      Ăƚ
                                                                                                                                 at ϬϮ͗ϭϳ͗ϰϵͿ͘
                                                                                                                                     02:17:49). Ɛ    As ƐƚĂī
                                                                                                                                                          staff
ĐŽŶƟŶƵĞĚ
continued ƚŽ  to ĞƐĐŽƌƚ
                   escort ƚŚĞthe W/͕
                                  PIC, W/ic                       ĚƌŽƉƉĞĚ
                                                                   dropped ŚŝƐ  his ďŽĚǇ
                                                                                      body ƚŽ to ƚŚĞ
                                                                                                  the ŇŽŽƌfloor ;             Ăƚ
                                                                                                                              at ϬϮ͗ϭϴ͗ϬϱͿ
                                                                                                                                   02:18:05) ĂŶĚ   and ǁŚŝůĞ
                                                                                                                                                         while
on the floor, Officer
ŽŶ  ƚŚĞ  ŇŽŽƌ͕    KĸĐĞƌ                  was observed hovering over the PIC f
                                         ǁĂƐ    ŽďƐĞƌǀĞĚ         ŚŽǀĞƌŝŶŐ      ŽǀĞƌ    ƚŚĞ  W/    ;            at 02:18:05). PIC
                                                                                                                Ăƚ ϬϮ͗ϭϴ͗ϬϱͿ͘        W/                    was
                                                                                                                                                            ǁĂƐ
heard ƐĐƌĞĂŵŝŶŐ
ŚĞĂƌĚ   screaming ĂŶĚ    and ƌĞƋƵĞƐƟŶŐ
                               requesting ƚŚĂƚ   that KĸĐĞƌ
                                                         Officer JM ŐĞƚ          cet Žī
                                                                                      off ŽĨ
                                                                                           of Śŝŵ
                                                                                               him Ăƚ   at ǁŚŝĐŚ
                                                                                                             which ƉŽŝŶƚpoint KĸĐĞƌ
                                                                                                                                Officer                 and
                                                                                                                                                        ĂŶĚ
KĸĐĞƌ
Officer               ǁĂƐ
                      was ŽďƐĞƌǀĞĚ
                             observed ŚŽůĚŝŶŐholding ƚŚĞ the W/ΖƐ
                                                                PIC's ƵƉƉĞƌ
                                                                        upper ďŽĚǇbody ĂƌĞĂ
                                                                                          area ĂŶĚand ƐĞĐƵƌŝŶŐ
                                                                                                           securing Śŝŵ   him ŽŶƚŽ
                                                                                                                                 onto ƚŚĞthe ŇŽŽƌ      ;
                                                                                                                                                floor {|
Ăƚ ϬϮ͗ϭϴ͗ϯϮ
at i             Θ              Ăƚ ϬϮ͗ϭϴ͗ϯϴͿ͘           ǁŚĞĞů      ĐŚĂŝƌ   ǁĂƐ    ƐƵŵŵŽŶĞĚ
                                   02:18:38). A wheel chair was summoned to the area and ii           ƚŽ    ƚŚĞ   ĂƌĞĂ    ĂŶĚ    W/                     ǁĂƐ
                                                                                                                                                         was
ĂƐƐŝƐƚĞĚ
assisted ƚŽto ŚŝƐ
                his ĨĞĞƚ͕
                     feet, ƉůĂĐĞĚ
                             placed ŝŶ in ƚŚĞ
                                            the ĐŚĂŝƌ
                                                  chair ĂŶĚand ĞƐĐŽƌƚĞĚ
                                                                   escorted ƚŽ  to ƚŚĞ
                                                                                    the ĐůŝŶŝĐ
                                                                                          clinic ;(| Ăƚ           at ϬϮ͗ϮϬ͗ϯϳͿ͘
                                                                                                                       02:20:37). hƉŽŶ  Upon ĐŽŵƉůĞƟŽŶ
                                                                                                                                                  completion
ŽĨ
of ŵĞĚŝĐĂů
   medical ĂƩĞŶƟŽŶ͕
               attention, W/  ic           a          ǁĂƐ
                                                       was ĞƐĐŽƌƚĞĚ
                                                               escorted ƚŽ  to ŚŽƵƐŝŶŐ
                                                                                 housing ĂƌĞĂarea ϭϱ   15 >ŽǁĞƌ
                                                                                                             Lower ĂŶĚ  and ƐĞĐƵƌĞĚ
                                                                                                                              secured ŝŶƐŝĚĞinside ŽĨ of Ăa ĐĞůů
                                                                                                                                                            cell
ae        Ăƚ
          = ϬϮ͗ϰϰ͗ϱϵͿ͕
               02:44:59), ƚĞƌŵŝŶĂƟŶŐ
                               terminating ƚŚĞ     the ŝŶĐŝĚĞŶƚ͘
                                                         incident.

Note -- KŶ
EŽƚĞ    On t
            pwc ie Ăƚ     ct ϬϮ͗ϭϴ͗ϰϯ
                             02:18:43 ƚŚĞ
                                        the W/
                                            PIC ĂůůĞŐĞĚ
                                                alleged ƚŚĂƚ
                                                         that KĸĐĞƌ
                                                              Officer                                       was ĐŚŽŬŝŶŐ
                                                                                                            ǁĂƐ  choking Śŝŵ͘
                                                                                                                         him. ƚ
                                                                                                                              At ŶŽ
                                                                                                                                 no ƟŵĞ
                                                                                                                                    time ǁĂƐ
                                                                                                                                          was
ƚŚĞ ŽĸĐĞƌ    ŽďƐĞƌǀĞĚ  ĐŚŽŬŝŶŐ  ƚŚĞ  W/͘ ĚĚŝƟŽŶĂůůǇ͕
the officer observed choking the PIC. Additionally, on  ŽŶ                                              Ăƚ ϬϮ͗ϮϬ͗ϱϲ͕ W/
                                                                                                        at 02:20:56, ii             ĂůůĞŐĞĚ
                                                                                                                                    alleged
ƚŚĂƚ
that ƚŚĞ
     the ŽĸĐĞƌ
          officer ƉƵŶĐŚĞĚ
                  punched Śŝŵ
                            him ŝŶ
                                in ŚŝƐ
                                   his ĨĂĐĞ
                                       face Žī
                                            off ĐĂŵĞƌĂ͘
                                                camera.

Photographic ǀŝĚĞŶĐĞ͗
WŚŽƚŽŐƌĂƉŚŝĐ Evidence: dŚĞ
                        The ĨĂĐŝůŝƚǇ
                            facility ƉƌŽǀŝĚĞĚ
                                     provided ŽŶĞ
                                              one ;ϭͿ
                                                  (1) ƐŝĚĞ
                                                      side ƉƌŽĮůĞ
                                                           profile ƉŚŽƚŽ
                                                                   photo ŽĨ
                                                                         of W/
                                                                            ae                                                            in ǁŚŝĐŚ
                                                                                                                                          ŝŶ which ƚŚĞ
                                                                                                                                                   the W/
                                                                                                                                                       PIC
ǁĂƐ ƐƚƌĂƉƉĞĚ ŝŶ ǁŚĞĞůĐŚĂŝƌ͘
was strapped in wheelchair.

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚŝĚ
                           did ŶŽƚ
                               not ŽďƚĂŝŶ
                                   obtain ĂŶǇ
                                          any ƉŚŽƚŽŐƌĂƉŚƐ
                                              photographs ŽĨ
                                                          of W/
                                                             i   i

sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ͗
      evidence: dŚĞ
                The ĨŽůůŽǁŝŶŐ
                    following ǀŝĚĞŽ
                                video ĞǀŝĚĞŶĐĞ
                                       evidence ǁĂƐ
                                                 was ƌĞǀŝĞǁĞĚ
                                                      reviewed ĨŽƌ :ƵŶĞ ϭϱ͕
                                                               for June 15, ϮϬϮϯ͕
                                                                            2023, ďĞƚǁĞĞŶ
                                                                                  between Ϭϭϰϳ
                                                                                          0147 ĂŶĚ
                                                                                               and ϬϮϰϴ
                                                                                                   0248
ŚŽƵƌƐ
hours ĂŶĚ
      and ĚĞƉŝĐƚĞĚ
          depicted ƚŚĞ
                   the ŝŶĐŝĚĞŶƚ
                        incident ĂƐ
                                  as ŶĂƌƌĂƚĞĚ
                                     narrated ĂďŽǀĞ͘
                                               above.

The investigator ĂŶĚ
dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ  and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ǀĞƌŝĮĞĚ
                                verified ƚŚĂƚ
                                         that ƚŚĞƌĞ
                                              there ǁĂƐ
                                                    was ŶŽ
                                                        no t
                                                           BWC ĞǀŝĚĞŶĐĞ
                                                               evidence ĂƐƐŽĐŝĂƚĞĚ
                                                                        associated ǁŝƚŚ
                                                                                   with ƚŚŝƐ
                                                                                        this ŝŶĐŝĚĞŶƚ͘
                                                                                             incident.

D<
AMKC /ŶƚĂŬĞ
     Intake WĞŶ
            Pen ηϳ
                #7

ŶŐůĞƐ͗

D<
AMKC /ŶƚĂŬĞ
     Intake ŽƌƌŝĚŽƌ
            Corridor

ŶŐůĞƐ͗

D<
AMKC ůŝŶŝĐ
     Clinic

as
ŶŐůĞƐ



                                                                                                                                                 Exh
                                                                                                                                                 Exh bit
                                                                                                                                                     bit 35
                                                                                                                                                         35 at
                                                                                                                                                            at 48
         Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 50 of 71




D<
AMKC DĂŝŶ
     Main ŽƌƌŝĚŽƌ
          Corridor

ŶŐůĞƐ͗

D<
AMKC d->ĞŌ
     T-Left ŽƌƌŝĚŽƌ
            Corridor

ŶŐůĞƐ

D<
AMKC ϭϱ
     15 >ŽǁĞƌ
        Lower

ŶŐůĞƐ͗

ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ͗
          Camera:




,ĂŶĚŚĞůĚ
Handheld ĂŵĞƌĂ͗
         Camera: EŽŶĞ͘
                 None.

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͗
          injuries: KŶ :ƵŶĞ ϭϱ͕
                    On June  15, ϮϬϮϯ
                                 2023 Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                           approximately ϬϮϰϬ
                                                          0240 ŚŽƵƌƐ͕
                                                                hours, W/
                                                                         ic                             ǁĂƐ
                                                                                                        was ĂīŽƌĚĞĚ
                                                                                                            afforded ƉƌŽŵƉƚ
                                                                                                                     prompt
medical ĂƩĞŶƟŽŶ
ŵĞĚŝĐĂů  attention ;&zϮϯ-ϴϲϱϵͿ
                    (FY23-8659) ŝŶin ǁŚŝĐŚ
                                     which ŚĞ
                                            he ĚŝĚ
                                               did ŶŽƚ
                                                   not ƐƵƐƚĂŝŶ
                                                       sustain ĂŶǇ
                                                               any ŝŶũƵƌŝĞƐ͘
                                                                    injuries.

dŚĞƌĞ
There ǁĞƌĞ
      were ŶŽ
           no ƐƚĂī
              staff ŝŶũƵƌŝĞƐ
                    injuries ƌĞƉŽƌƚĞĚ
                             reported ƚŽ
                                      to K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

ĐĐƵƌĂĐǇ
Accuracy ŽĨof hK&
              UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                   classification: dŚŝƐ
                                    This ŝŶĐŝĚĞŶƚ
                                         incident ǁĂƐ
                                                  was ƉƌŽƉĞƌůǇ
                                                      properly ĐůĂƐƐŝĮĞĚ
                                                               classified ĂƐ
                                                                          as Ă
                                                                             a ΗΗ
                                                                               "C" hƐĞ
                                                                                   Use ŽĨ
                                                                                       of &ŽƌĐĞ
                                                                                          Force ŝŶ
                                                                                                in ǁŚŝĐŚ
                                                                                                   which ŶĞŝƚŚĞƌ
                                                                                                         neither
ƐƚĂī
staff ŶŽƌ
      nor W/
          PIC ƐƵƐƚĂŝŶĞĚ
              sustained ĂŶǇ
                          any ŝŶũƵƌǇ͘
                               injury.


A ďƌŝĞĨ
  brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͗
                       statements: W/
                                   ye                 0           ƌĞĨƵƐĞĚ
                                                                  refused ƚŽ
                                                                          to ƉƌŽǀŝĚĞ
                                                                             provide Ă
                                                                                     a ƐƚĂƚĞŵĞŶƚ
                                                                                       statement ƚŽ
                                                                                                 to ƚŚĞ
                                                                                                    the ĨĂĐŝůŝƚǇ͘
                                                                                                        facility.

KŶ
On :ƵůǇ
    July ϭϭ͕
          11, ϮϬϮϯ͕
                2023, Ăƚ at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                            approximately ϭϯϰϰ  1344 ŚŽƵƌƐ͕
                                                       hours, /Ŷǀ͘
                                                                iv                      ĂŶĚ
                                                                                         and /Ŷǀ͘
                                                                                              inv.          RE          ĐŽŶĚƵĐƚĞĚ
                                                                                                                         conducted ĂŶan
ŝŶƚĞƌǀŝĞǁ
interview ǁŝƚŚwith W/
                     Pic        a       ŝŶ
                                        in 'Zs
                                            GRVC ŽƵŶƐĞů
                                                    Counsel sŝƐŝƚƐ
                                                               Visits ŝŶ
                                                                       in ǁŚŝĐŚ
                                                                          which ƚŚĞ
                                                                                  the W/
                                                                                        PIC ƐƚĂƚĞĚ͕
                                                                                             stated, Η/Ĩ
                                                                                                       "If ǇŽƵ
                                                                                                           you ůŽŽŬ
                                                                                                                 look Ăƚat ƚŚĞ
                                                                                                                           the ĐĂŵĞƌĂ
                                                                                                                               camera
ǇŽƵ
you ĐĂŶ
     can ƐĞĞ
           see ƚŚĂƚ
                 that /| ǁĂƐ
                          was ĂƩĂĐŬĞĚ
                               attacked ĂŶĚand ĚŝĚŶΖƚ
                                                 didn't ƌĞĐĞŝǀĞ
                                                         receive ŵĞĚŝĐĂů͘
                                                                    medical. /| ƚŽůĚ
                                                                                told ƐƚĂī
                                                                                      staff ĨƌŽŵ
                                                                                             from ϭϱ 15 >ŽǁĞƌ
                                                                                                         Lower ƚŽ to ŐŝǀĞ
                                                                                                                      give ŵĞ
                                                                                                                            me ŵĞĚŝĐĂů
                                                                                                                                medical
ďĞĐĂƵƐĞ
because Ă   a ŬŶĞĞ
               knee ǁĂƐ
                      was ŽŶ on ŵǇ
                                my ďĂĐŬ͕
                                     back, ĂŶĚ
                                             and /| ŚĂĚ
                                                    had ƉĂŝŶ͘
                                                          pain. KĸĐĞƌ
                                                                 Officer [MM ƉůĂĐĞĚ  placed ŚŝƐ
                                                                                              his ŬŶĞĞ
                                                                                                    knee ŽŶon ŵǇ
                                                                                                               my ďĂĐŬ͘
                                                                                                                    back. /| ǁĂƐ
                                                                                                                             was ƚĂŬĞŶ
                                                                                                                                  taken
ŽƵƚ
out the cell in Intake and placed in restraints and | was supposed to go to psych. They placed me in ƚŚĞ
     ƚŚĞ  ĐĞůů  ŝŶ /ŶƚĂŬĞ     ĂŶĚ ƉůĂĐĞĚ    ŝŶ ƌĞƐƚƌĂŝŶƚƐ    ĂŶĚ  / ǁĂƐ   ƐƵƉƉŽƐĞĚ     ƚŽ  ŐŽ ƚŽ   ƉƐǇĐŚ͘   dŚĞǇ   ƉůĂĐĞĚ    ŵĞ ŝŶ  the
corner ĂŶĚ
ĐŽƌŶĞƌ   and KĸĐĞƌ
                Officer BM ƐƚƌƵĐŬ   struck ŵĞme ŝŶin ŵǇ
                                                     my ĨĂĐĞ
                                                          face ĂŶĚ
                                                                and ŚĞhe ƉůĂĐĞĚ
                                                                          placed ŚŝƐ
                                                                                   his ŬŶĞĞ
                                                                                        knee ŽŶon ŵǇmy ďĂĐŬΗ͘
                                                                                                         back".

^ƚĂī
 Staff ƌĞƉŽƌƚƐ͗
       reports: dŚĞ
                The ƉƌŽǀŝĚĞĚ
                     provided ƐƚĂī
                              staff ƌĞƉŽƌƚƐ
                                    reports ǁĞƌĞ
                                            were ƌĞǀŝĞǁĞĚ
                                                 reviewed ĂŶĚ
                                                          and ǁĞƌĞ
                                                              were ŐĞŶĞƌĂůůǇ
                                                                   generally ĐŽŶƐŝƐƚĞŶƚ
                                                                             consistent ǁŝƚŚ
                                                                                        with ƚŚĞ
                                                                                             the ǀŝĚĞŽ
                                                                                                 video
evidence and each other.
ĞǀŝĚĞŶĐĞ   ĂŶĚ  ĞĂĐŚ  ŽƚŚĞƌ͘

ΎKĸĐĞƌ
* Officer |         ƉƌŽǀŝĚĞĚ
                    provided Ă  a hƐĞ
                                  Use ŽĨ
                                       of &ŽƌĐĞ
                                          Force ƌĞƉŽƌƚ
                                                   report ǁŚŝĐŚ
                                                           which ŝŶ
                                                                  in ƐƵŵ
                                                                     sum ŚĞ he ƐƚĂƚĞĚ
                                                                                stated W/
                                                                                         ic       a        ǁĂƐ
                                                                                                           was ƌĞĨƵƐŝŶŐ
                                                                                                                 refusing ƚŽto ďĞ
                                                                                                                               be
ƌĞŚŽƵƐĞĚ
rehoused ĂŶĚand ďĞĐĂŵĞ
                 became ĚŝƐƌƵƉƟǀĞ͘
                            disruptive. hƉŽŶ
                                          Upon ĞŶƚĞƌŝŶŐ
                                                  entering ƉĞŶ
                                                             pen ηϳ͕
                                                                 #7, KĸĐĞƌ
                                                                      Officer              ŐĂǀĞ
                                                                                           gave ƚŚĞ
                                                                                                 the W/
                                                                                                      PIC ǀĞƌďĂů
                                                                                                           verbal ĐŽŵŵĂŶĚƐ
                                                                                                                   commands
ƚŽ
to ĐŽŵƉůǇ
    comply ǁŝƚŚ
            with ĐƵĸŶŐ
                   cuffing ƉƌŽĐĞĚƵƌĞƐ
                            procedures ŝŶ  in ǁŚŝĐŚ
                                              which ŚĞ he ĐŽŵƉůŝĞĚ͘
                                                          complied. ƐAs KĸĐĞƌ
                                                                          a,               SoS               ĞǆŝƚĞĚ
                                                                                                             exited ƚŚĞ
                                                                                                                     the ƉĞŶ
                                                                                                                           pen
ĂŶĚ
and ƉƌŽĐĞĞĚĞĚ
      proceeded ƚŚĞŝƌ
                   their ĞƐĐŽƌƚ͕
                          escort, W/
                                   Pic                ƉƌŽĐĞĞĚĞĚ
                                                      proceeded ƚŽ to ƉƵůů
                                                                      pull ĂǁĂǇ
                                                                            away ĨƌŽŵ
                                                                                    from ƚŚĞŝƌ
                                                                                           their ĞƐĐŽƌƚ
                                                                                                 escort ŚŽůĚ
                                                                                                          hold ĂŶĚ
                                                                                                                and ƌĞƐŝƐƚĞĚ͘
                                                                                                                     resisted.
KĸĐĞƌ
Officer           ƚŚĞŶ
                  then upper body control holds towards the PIC's left arm while giving orders to ƐƚŽƉ
                         ƵƉƉĞƌ   ďŽĚǇ   ĐŽŶƚƌŽů   ŚŽůĚƐ  ƚŽǁĂƌĚƐ   ƚŚĞ  W/ΖƐ  ůĞŌ  Ăƌŵ   ǁŚŝůĞ  ŐŝǀŝŶŐ   ŽƌĚĞƌƐ  ƚŽ  stop
ƌĞƐŝƐƟŶŐ
resisting Ăƚ
          at ǁŚŝĐŚ
              which ƉŽŝŶƚ
                      point ĐŽŵƉůŝĂŶĐĞ
                              compliance ŐĂŝŶĞĚ
                                             gained ĂŶĚ
                                                      and ƚŚĞǇ
                                                           they ĞǆŝƚĞĚ
                                                                exited ƚŚĞ
                                                                         the DĂŝŶ
                                                                              Main /ŶƚĂŬĞ͘
                                                                                      Intake. Ɛ
                                                                                               As ƐƚĂī
                                                                                                  staff ĐŽŶƟŶƵĞĚ
                                                                                                         continued ƚŽ to ĞƐĐŽƌƚ
                                                                                                                         escort




                                                                                                                        Exh
                                                                                                                        Exh bit
                                                                                                                            bit 35
                                                                                                                                35 at
                                                                                                                                   at 49
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ƚŚĞ
the W/
     PIC ƚŽ
         to ƚŚĞ
            the ĐůŝŶŝĐ͕
                clinic, ƚŚĞ
                        the W/
                             PIC ĚƌŽƉƉĞĚ
                                  dropped ƚŽ
                                          to ƚŚĞ
                                             the ŇŽŽƌ
                                                 floor ĂŶĚ
                                                       and ƌĞĨƵƐĞĚ
                                                           refused ƚŽ
                                                                   to ǁĂůŬ
                                                                      walk Ăƚ
                                                                           at ǁŚŝĐŚ
                                                                              which ƉŽŝŶƚ
                                                                                    point ŚĞ
                                                                                          he ǁĂƐ
                                                                                             was ƉůĂĐĞĚ
                                                                                                 placed ŝŶ
                                                                                                        inaĂ
ũĞƚ ǁŚĞĞů͕
jet wheel, ƚĞƌŵŝŶĂƟŶŐ
            terminating ƚŚĞthe ŝŶĐŝĚĞŶƚ͘
                                incident.

ΎΎĂƉƚĂŝŶ
**Captain i                          ĨĂŝůĞĚ
                                     failed ƚŽ
                                            to ŵĞŶƟŽŶ
                                               mention ƚŚĞ
                                                       the ĂĐƚƵĂů
                                                           actual ĨŽƌĐĞ
                                                                  force ƐŚĞ
                                                                        she ǁŝƚŶĞƐƐĞĚ͘
                                                                            witnessed.

Officer
KĸĐĞƌ             did ŶŽƚ
                  ĚŝĚ not ƉƌŽǀŝĚĞ
                          provide ĂŶ
                                   an ĂĐĐƵƌĂƚĞ
                                       accurate ƌĞƉŽƌƚ
                                                  report ŝŶ
                                                         in ǁŚŝĐŚ
                                                            which ŚĞhe ĨĂŝůĞĚ
                                                                       failed ƚŽ
                                                                               to ŵĞŶƟŽŶ
                                                                                   mention ƚŚĞthe ĞƐĐŽƌƚ
                                                                                                  escort ƚĞĐŚŶŝƋƵĞ
                                                                                                          technique
ƚŚĂƚ
that ŚĞ
      he ƵƟůŝǌĞĚ
         utilized ŽŶ
                   on ƚŚĞ
                      the W/
                          PIC ĂƐ
                              as ŚĞ
                                 he ĞƐĐŽƌƚĞĚ
                                     escorted Śŝŵ
                                                him ŽƵƚ
                                                     out ŽĨ
                                                         of ƚŚĞ
                                                            the ƉĞŶ
                                                                 pen ĂŶĚ
                                                                      and ŝŶƚŽ
                                                                           into ƚŚĞ
                                                                                 the ĐŽƌƌŝĚŽƌ͘
                                                                                      corridor. ĚĚŝƟŽŶĂůůǇ͕
                                                                                                 Additionally, ƚŚĞ
                                                                                                               the DK^
                                                                                                                    MOS
ƐƚĂƚĞĚ  ƚŚĂƚ  ƚŚĞ W/  ǁĂƐ ƌĞƐŝƐƟŶŐ  ĂŐĂŝŶƐƚ  ƐƚĂī  ĞƐĐŽƌƚ  ŚŽůĚ ŝŶ ǁŚŝĐŚ   ŶŽ  ƌĞƐŝƐƚĂŶĐĞ   ǁĂƐ
stated that the PIC was resisting against staff escort hold in which no resistance was observed.   ŽďƐĞƌǀĞĚ͘

-dŚĞ
-The ĨĂĐŝůŝƚǇ
     facility ĨĂŝůĞĚ
              failed ƚŽ
                     to ƉƌŽǀŝĚĞ
                        provide ĂƉƚĂŝŶ
                                 Captain                    ĂŶĚ
                                                            and KĸĐĞƌƐ
                                                                Officers [in
ee                              staf reports for review in which ĂŶ
                                ƐƚĂī  ƌĞƉŽƌƚƐ ĨŽƌ ƌĞǀŝĞǁ ŝŶ ǁŚŝĐŚ an ĞŵĂŝů
                                                                      email ǁĂƐ
                                                                            was ƐĞŶƚ
                                                                                sent ƌĞƋƵĞƐƟŶŐ
                                                                                     requesting ƚŚĞ
                                                                                                the
ĚŽĐƵŵĞŶƚƐ͘
documents.

Facility ZĂƉŝĚ
&ĂĐŝůŝƚǇ Rapid ZĞǀŝĞǁ͗
                Review: dŚĞ
                         The ZĂƉŝĚ
                              Rapid ƌĞǀŝĞǁ
                                       review ĐŽŶĚƵĐƚĞĚ
                                                conducted ďǇ by tĂƌĚĞŶ
                                                                 Warden                        denoted ƚŚĞ
                                                                                               ĚĞŶŽƚĞĚ   the ŝŶĐŝĚĞŶƚ
                                                                                                              incident
unavoidable and recommended a Command Discipline for Officer
ƵŶĂǀŽŝĚĂďůĞ    ĂŶĚ  ƌĞĐŽŵŵĞŶĚĞĚ        Ă ŽŵŵĂŶĚ     ŝƐĐŝƉůŝŶĞ   ĨŽƌ KĸĐĞƌ             for "utilizing painful ĞƐĐŽƌƚ
                                                                                        ĨŽƌ ΗƵƟůŝǌŝŶŐ  ƉĂŝŶĨƵů  escort
ƚĞĐŚŶŝƋƵĞΗ͕
technique", KĸĐĞƌ
              Officer    EE ĨŽƌ for ΗĨĂŝůŝŶŐ
                                     "failing ƚŽ
                                              to ĂĐƟǀĂƚĞ
                                                 activate t
                                                           BWC ƉƌŝŽƌ
                                                                  prior ƚŽ
                                                                        to ƚŚĞ
                                                                           the hK&Η
                                                                                 UOF" ĂŶĚ
                                                                                       and ĂƉƚĂŝŶ
                                                                                            Captain               ĨŽƌ
                                                                                                                  for
"failing ƚŽ
ΗĨĂŝůŝŶŐ to ĂĐƟǀĂƚĞ
            activate t
                      BWC ƉƌŝŽƌ
                           prior ƚŽto ƚŚĞ
                                      the hK&
                                            UOF DK^
                                                 MOS ĨĂŝůĞĚ
                                                       failed ƚŽ
                                                               to ƐƵƉĞƌǀŝƐĞ
                                                                  supervise ƐƚĂī
                                                                              staff ĚƵƌŝŶŐ
                                                                                    during ĞƐĐŽƌƚΗ͘
                                                                                            escort".

dŚŝƐ
This ŝŶĐŝĚĞŶƚ
     incident ǁĂƐ
              was ƌĞĨĞƌƌĞĚ
                  referred ƚŽ
                           to &Ƶůů
                              Full /
                                   ID ƚŽ
                                      to ĚĞƚĞƌŵŝŶĞ
                                         determine ǁŚĞƚŚĞƌ
                                                   whether ƚŚĞ
                                                           the ĨŽƌĐĞ
                                                               force ǁĂƐ
                                                                     was ƵŶĂǀŽŝĚĂďůĞ͕
                                                                         unavoidable, ŶĞĐĞƐƐĂƌǇ
                                                                                      necessary ĂŶĚ
                                                                                                and
ĞǆĐĞƐƐŝǀĞ͘
excessive.

ĞƉĂƌƚŵĞŶƚ
Department 
           CD >ŽŐ
              Log EƵŵďĞƌ͗
                  Number: Ϯϭϰϵ-23
                          2149-23

ŽŵŵĂŶĚ
Command 
        CD >ŽŐ
           Log EƵŵďĞƌ͗
               Number: D<ϲϯϱͬϮϯ
                       AMKC635/23 ǁĂƐ
                                  was ŐĞŶĞƌĂƚĞĚ
                                      generated ĨŽƌ
                                                for KĸĐĞƌ
                                                    Officer

Ɛ
As ƉĞƌ
   per D^͕
       CMS, dŚĞ
             The ĨĂĐŝůŝƚǇ
                 facility ĚŝĚ
                          did ŶŽƚ
                              not ŐĞŶĞƌĂƚĞ
                                  generate ƚŚĞ
                                            the 
                                                CD ĨŽƌ
                                                   for ĂƉƚĂŝŶ
                                                        Captain a: Ɛ ƉĞƌ  per D^͕
                                                                               CMS, ŽŶ
                                                                                    on ϬϳͬϭϮͬϮϬϮϯ͕
                                                                                       07/12/2023, Ă
                                                                                                   a
 ǁĂƐ  ŝŶŝƟĂƚĞĚ ĨŽƌ KĸĐĞƌ
CD was initiated for Officer I        ŚŽǁĞǀĞƌ   ŶŽ   ůŽŐ η ǁĂƐ ĂƐƐŝŐŶĞĚ͘
                                       however no CD log # was assigned.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶon ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
               evidence ĐŝƚĞĚ
                         cited ĂďŽǀĞ͕
                                above, ŝƚ
                                       it ŝƐ
                                          is ƌĞĐŽŵŵĞŶĚĞĚ
                                             recommended ƚŚĂƚ
                                                         that ƚŚŝƐ
                                                              this ĐĂƐĞ
                                                                   case ďĞ
                                                                        be ƌĞĨĞƌƌĞĚ
                                                                           referred ƚŽ
                                                                                    to &Ƶůů
                                                                                       Full /
                                                                                            ID ĨŽƌ
                                                                                               for ŚĞĂĚ
                                                                                                   head ƐƚƌŝŬĞ
                                                                                                        strike
ĂůůĞŐĂƟŽŶ
allegation ĂŶĚ
            and ŽƚŚĞƌ
                other &h>>
                      FULL /ID ĐŝƌĐƵŵƐƚĂŶĐĞƐ͘
                                circumstances.




                                                                                                             Exh
                                                                                                             Exh bit
                                                                                                                 bit 35
                                                                                                                     35 at
                                                                                                                        at 50
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (3031/23)
                                             (3031/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϯϬϯϭ-23
                                                       3031-23

&ĂĐŝůŝƚǇ͗
Facility: ZE
          RNDC

^ǇŶŽƉƐŝƐ͗
Synopsis:

KŶ
On :ƵŶĞ
    June ϭϱ͕
           15, ϮϬϮϯ͕
                2023, Ăƚat ĂƉƉƌŽǆŝŵĂƚĞůǇ
                            approximately ϭϰϯϬ1430 ŚŽƵƌƐ͕
                                                      hours, ŝŶ
                                                              in ZE
                                                                 RNDC /ŶƚĂŬĞ
                                                                          Intake ^ĞĂƌĐŚ
                                                                                  Search ƌĞĂ͕
                                                                                           Area, WĞƌƐŽŶ
                                                                                                  Person ŝŶin ƵƐƚŽĚǇ
                                                                                                               Custody ;W/Ϳ
                                                                                                                         (PIC)
                                              ƌĞƉŽƌƚĞĚůǇ
                                               reportedly ƌĞĨƵƐĞĚ
                                                             refused ƚŽ
                                                                      to ĐŽŵƉůǇ
                                                                           comply ǁŝƚŚ
                                                                                     with ŽƌĚĞƌƐ
                                                                                           orders ƚŽ
                                                                                                   to Ğǆŝƚ
                                                                                                      exit ƚŚĞ
                                                                                                            the ƐĞĂƌĐŚ
                                                                                                                 search ĂƌĞĂ͘
                                                                                                                          area. W/
                                                                                                                                 PIC
           ĂŶĚ KĸĐĞƌ                                  ĞŶŐĂŐĞĚ
                                                      engaged ŝŶ in Ă
                                                                    a ǀĞƌďĂů
                                                                      verbal ĂůƚĞƌĐĂƟŽŶ͘
                                                                                altercation. KĸĐĞƌ
                                                                                              Officer J         ƉƵƐŚĞĚ
                                                                                                                pushed W/PIC
           ƚŽ  ŚŝƐ ĐŚĞƐƚ   Ăƚ ǁŚŝĐŚ    ƟŵĞ
           to his chest at which time PIC    W/              pushed Officer
                                                              ƉƵƐŚĞĚ    KĸĐĞƌ                          14:29:02). Officer
                                                                                                       ϭϰ͗Ϯϵ͗ϬϮͿ͘   KĸĐĞƌ
        ƚŚĞŶ
        then ƐƚĞƉƉĞĚ
                stepped ĨŽƌǁĂƌĚ
                           forward ĂŶĚand ƉƵŶĐŚĞĚ
                                           punched W/  PIC            in ŚŝƐ
                                                                       ŝŶ  his ĨĂĐŝĂů
                                                                               facial ĂƌĞĂ
                                                                                       area ;         at ϭϰ͗Ϯϵ͗ϬϱͿ͘
                                                                                                      Ăƚ  14:29:05). W/
                                                                                                                       PIC
           and KĸĐĞƌ
           ĂŶĚ   Officer JM ĞǆĐŚĂŶŐĞĚ
                                   exchanged ƐƚƌŝŬĞƐ͘
                                                  strikes. KĸĐĞƌ
                                                            Officer                              responded, ƉƵƐŚŝŶŐ
                                                                                                 ƌĞƐƉŽŶĚĞĚ͕     pushing KĸĐĞƌ
                                                                                                                           Officer
        ĂǁĂǇ͕    ĂŶĚ  ƉůĂĐĞĚ   ƚŚĞ  W/   ĂŐĂŝŶƐƚ
        away, and placed the PIC against the wall  ƚŚĞ   ǁĂůů ;          Ăƚ ϭϰϮϵ   ŚŽƵƌƐͿ͘
                                                                         at 1429 hours). Pic W/     a      ǁĂƐ   ƚŚĞŶ  ĞƐĐŽƌƚĞĚ
                                                                                                             was then escorted
ŽƵƚ
out ŽĨ
     of ƚŚĞ
        the ĂƌĞĂ
              area ĂŶĚ
                    and ƐĞĐƵƌĞĚ
                          secured ŝŶin ƉĞŶ
                                        pen ηϴ͕
                                             #8, ƚĞƌŵŝŶĂƟŶŐ
                                                  terminating ƚŚĞthe ŝŶĐŝĚĞŶƚ͘
                                                                      incident.

/ƚIt ƐŚŽƵůĚ
     should ďĞ
            be ŶŽƚĞĚ
               noted ƚŚĂƚ
                     that t
                          pwc                 ĨĂŝůĞĚ
                                              failed ƚŽ
                                                     to ĐĂƉƚƵƌĞ
                                                        capture ĂƵĚŝŽ
                                                                audio ŽĨ  ƚŚĞ ŝŶĐŝĚĞŶƚ͘
                                                                      of the  incident.

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ͗
             Evidence:

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ;ϰͿ
                      (4) ƉŚŽƚŽŐƌĂƉŚƐ
                          photographs ŽĨ
                                      of W/
                                         Pic                      ĚĞƉŝĐƟŶŐ
                                                                  depicting Ă
                                                                            a ĨƌŽŶƚ͕
                                                                              front, ďĂĐŬ͕
                                                                                     back, ůĞŌ
                                                                                           left ĂŶĚ
                                                                                                and ƌŝŐŚƚ
                                                                                                    right ƉƌŽĮůĞ͘
                                                                                                          profile.

Video ǀŝĚĞŶĐĞ͗
sŝĚĞŽ Evidence:

dŚĞ
The ĨŽůůŽǁŝŶŐ
    following ǀŝĚĞŽ
               video ĞǀŝĚĞŶĐĞ
                      evidence ǁĂƐ
                                was ƌĞǀŝĞǁĞĚ
                                    reviewed ĨƌŽŵ
                                             from ϭϯϯϬ
                                                  1330 ŚŽƵƌƐ
                                                       hours ƚŽ
                                                             to ϭϱϬϬ
                                                                1500 ŚŽƵƌƐ
                                                                     hours ŽŶ
                                                                           on :ƵŶĞ
                                                                              June ϭϱ͕
                                                                                   15, ϮϬϮϯ͕
                                                                                       2023, ĂŶĚ
                                                                                             and
ĚĞƉŝĐƚĞĚ
depicted ƚŚĞ
          the ŝŶĐŝĚĞŶƚ
              incident ĂƐ
                        as ŶĂƌƌĂƚĞĚ
                           narrated ĂďŽǀĞ͘
                                    above.




^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ͗
          Injuries:

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ͕
                   Report, &zϮϯͬϰϰϯϭŶŽƚĞĚ
                            FY23/4431noted ŽŶ    :ƵŶĞ ϭϱ͕
                                             on June   15, ϮϬϮϯ͕
                                                            2023, Ăƚ
                                                                   at ϭϳϭϱ
                                                                       1715 ŚŽƵƌƐ͕
                                                                              hours, W/
                                                                                     Pic           ǁĂƐ
                                                                                                   was ƉƌŽĚƵĐĞĚ
                                                                                                        produced
ĨŽƌ ƉƌŽŵƉƚ    ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘
for prompt medical attention. PICW/          ƐƵƐƚĂŝŶĞĚ
                                               sustained right eye pain and swelling and bruised ůŽǁĞƌ
                                                           ƌŝŐŚƚ ĞǇĞ   ƉĂŝŶ ĂŶĚ   ƐǁĞůůŝŶŐ ĂŶĚ  ďƌƵŝƐĞĚ  lower ůŝƉ͘
                                                                                                               lip.
W/
Pic            ǁĂƐ
               was ƚƌĞĂƚĞĚ
                    treated ǁŝƚŚ
                            with ŝĐĞ
                                 ice ƉĂĐŬƐ
                                     packs ĂŶĚ
                                           and ƐĞŶƚ
                                                sent ƚŽ
                                                     to hƌŐŝĐĂƌĞ
                                                         Urgicare ĨŽƌ
                                                                    for y-ƌĂǇ͘
                                                                        X-ray. A ƌĞǀŝĞǁ
                                                                                  review ŽĨ
                                                                                          of ,^
                                                                                             CHS ƌĞǀĞĂůĞĚ
                                                                                                  revealed ŶŽ
                                                                                                            no
ƐĞƌŝŽƵƐ
serious ŝŶũƵƌŝĞƐ
         injuries ŶŽƚĞĚ͘
                  noted.

dŚĞƌĞ
There ǁĞƌĞ
      were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

dŚŝƐ
This ŝŶĐŝĚĞŶƚ
     incident ǁĂƐ
               was ŝŶĐŽƌƌĞĐƚůǇ
                    incorrectly ĐůĂƐƐŝĮĞĚ
                                 classified ĂƐ
                                            as Ă
                                               a ΗΗ
                                                 "C" hK&͘
                                                     UOF. W/
                                                           Pic          ƐƵƐƚĂŝŶĞĚ
                                                                        sustained ŝŶũƵƌŝĞƐ
                                                                                  injuries ĂƐ
                                                                                           as Ă
                                                                                              a ƌĞƐƵůƚ
                                                                                                result ŽĨ
                                                                                                       of ƚŚĞ
                                                                                                          the
hK&͘
UOF. A ƌĞĐůĂƐƐŝĮĐĂƟŽŶ
        reclassification ǁŝůů
                          will ďĞ
                               be ƐƵďŵŝƩĞĚ
                                  submitted ƚŽto ƵƉŐƌĂĚĞ
                                                 upgrade ƚŚŝƐ
                                                          this hK&
                                                               UOF ƚŽ
                                                                   to Ă
                                                                      a ΗΗ͘
                                                                         '"B".


A ďƌŝĞĨ
  brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͗
                       statements:

Pic
W/             refused ƚŽ
                ƌĞĨƵƐĞĚ to ƉƌŽǀŝĚĞ
                           provide Ăa ƐƚĂƚĞŵĞŶƚ
                                      statement ƚŽ
                                                to ƚŚĞ
                                                   the ĨĂĐŝůŝƚǇ͘
                                                       facility.




                                                                                                                     Exh
                                                                                                                     Exh bit
                                                                                                                         bit 35
                                                                                                                             35 at
                                                                                                                                at 51
                                                                                                                                   51
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^ƚĂī
Staff ƌĞƉŽƌƚƐ͗
      reports:

Officer
KĸĐĞƌ        ME ƌĞƉŽƌƚĞĚ
                     reported ƵƟůŝǌŝŶŐ
                               utilizing ĨŽƌĐĞ͕
                                         force, ŚŽǁĞǀĞƌ͕
                                                however, ŚĞ
                                                          he ǁĂƐ
                                                             was ŶŽƚ
                                                                 not ŝŶĐůƵĚĞĚ
                                                                     included ĂƐas Ăa ƉĂƌƟĐŝƉĂŶƚ
                                                                                      participant ŝŶ
                                                                                                   in ƚŚĞ
                                                                                                      the hK&
                                                                                                          UOF
ŝŶĐŝĚĞŶƚ͘
incident. An email was sent to add the MOS as a participant and a facility referral was generated ƚŽ
           Ŷ  ĞŵĂŝů  ǁĂƐ  ƐĞŶƚ ƚŽ  ĂĚĚ  ƚŚĞ  DK^  ĂƐ Ă ƉĂƌƟĐŝƉĂŶƚ ĂŶĚ Ă ĨĂĐŝůŝƚǇ ƌĞĨĞƌƌĂů  ǁĂƐ  ŐĞŶĞƌĂƚĞĚ  to
ĞŶƐƵƌĞ
ensure ƚŚĂƚ
         that ƚŚĞ
              the ĨĂĐŝůŝƚǇ
                  facility ĂĚĚƐ
                           adds ƚŚĞ
                                 the DK^͘
                                      MOS.

KĨ
Of ŶŽƚĞ͕
   note, ďŽĚǇ-ǁŽƌŶ
         body-worn ĐĂŵĞƌĂ
                        camera [i         ĚĞƉŝĐƚƐ
                                           depicts KĸĐĞƌ
                                                    Officer I       ŐƌĂďďŝŶŐ
                                                                     grabbing ŽŶƚŽ
                                                                                onto W/
                                                                                      ic      a       ŚĂŝƌ͕
                                                                                                      hair,
ŵŽŵĞŶƚĂƌŝůǇ͕
momentarily, ĂƐas ƚŚĞ
                   the W/
                        PIC ƉƵůůĞĚ
                            pulled ŚŝƐ
                                   his ŚĞĂĚ
                                        head ĂǁĂǇ
                                               away ĨƌŽŵ
                                                      from KĸĐĞƌ
                                                            Officer          ;ϬϬ͗ϬϰͿ͘
                                                                             (00:04). EŽ
                                                                                       No ĚŝƐĐŝƉůŝŶĂƌǇ
                                                                                          disciplinary ĂĐƟŽŶ
                                                                                                         action ǁĂƐ
                                                                                                                 was
ƌĞĐŽŵŵĞŶĚĞĚ
recommended ĂƐ   as ƚŚĞ
                     the DK^
                          MOS ǁƌŽƚĞ
                               wrote ŝŶin ŚŝƐ
                                          his ƌĞƉŽƌƚ
                                               report ƚŚĂƚ
                                                       that ŚĞ
                                                            he ƌĞůĞĂƐĞĚ
                                                                released ŚŝƐ
                                                                          his ŐƌŝƉ
                                                                               grip ǁŚĞŶ
                                                                                    when ŚĞ
                                                                                          he ƌĞĂůŝǌĞĚ
                                                                                              realized ŝƚ
                                                                                                        it ǁĂƐ
                                                                                                            was W/
                                                                                                                PIC

ae 3:      ŚĂŝƌ͘

dŚĞ ƉƌŽǀŝĚĞĚ
The provided ƌĞƉŽƌƚƐ
             reports ǁŝůů
                     will ďĞ
                          be ĨƵƌƚŚĞƌ
                             further ĂƐƐĞƐƐĞĚ
                                     assessed ĚƵƌŝŶŐ
                                              during ƚŚĞ
                                                     the &h>>
                                                         FULL /
                                                              ID ŝŶǀĞƐƟŐĂƟŽŶ͘
                                                                 investigation.

Facility ZĂƉŝĚ
&ĂĐŝůŝƚǇ Rapid ZĞǀŝĞǁ͗
               Review:

The ZĂƉŝĚ
dŚĞ  Rapid ZĞǀŝĞǁ
             Review ĐŽŶĚƵĐƚĞĚ
                       conducted ďǇ by ĞƉƵƚǇ
                                        Deputy tĂƌĚĞŶ
                                                 Warden in             noted ƚŚĂƚ
                                                                       ŶŽƚĞĚ   that ƚŚĞ
                                                                                     the ŝŶĐŝĚĞŶƚ
                                                                                          incident ǁĂƐ
                                                                                                     was ĂǀŽŝĚĂďůĞ
                                                                                                          avoidable ĚƵĞ
                                                                                                                      due
to KĸĐĞƌ
ƚŽ Officer                   closing ƚŚĞ
                             ĐůŽƐŝŶŐ  the ĚŝƐƚĂŶĐĞ
                                           distance ĂŶĚ
                                                     and ǁĂƐ
                                                         was ŽďƐĞƌǀĞĚ
                                                              observed ƵƟůŝǌŝŶŐ
                                                                          utilizing ĐůŽƐĞĚ
                                                                                    closed ĮƐƚ
                                                                                             fist ƐƚƌŝŬĞƐ
                                                                                                  strikes ĚƵƌŝŶŐ
                                                                                                          during ƚŚĞ
                                                                                                                  the
ŝŶĐŝĚĞŶƚ͘
incident. Ɛ
           As Ăa ƌĞƐƵůƚ͕
                 result, KĸĐĞƌ
                          Officer          ǁĂƐ
                                           was ƚŚĞ
                                                the ƐƵďũĞĐƚ
                                                    subject ŽĨ
                                                            of Ă
                                                               a ƐƵƐƉĞŶƐŝŽŶ
                                                                  suspension ĨŽƌfor ĮŌĞĞŶ
                                                                                    fifteen ;ϭϱͿ
                                                                                             (15) ĚĂǇƐ
                                                                                                   days ;dĞůĞƚǇƉĞ
                                                                                                         (Teletype KƌĚĞƌ
                                                                                                                    Order
EŽ͘
No. ,Y-Ϭϭϰϭϳ
     HQ-01417 -ϬͿ͘-0). dŚĞ
                       The DK
                             MOC ǁĂƐ
                                   was ŐĞŶĞƌĂƚĞĚ
                                         generated ĂŶĚ
                                                     and ĂǀĂŝůĂďůĞ
                                                         available ŽŶ
                                                                    on D^͕
                                                                        CMS, ƉĞŶĚŝŶŐ
                                                                               pending ǁĂƌĚĞŶ
                                                                                          warden ĂƉƉƌŽǀĂů͘
                                                                                                    approval.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
               evidence ĐŝƚĞĚ
                         cited ĂďŽǀĞ͕
                                above, ŝƚ
                                       it ŝƐ
                                          is ƌĞĐŽŵŵĞŶĚĞĚ
                                             recommended ƚŚĂƚ
                                                         that ƚŚŝƐ
                                                              this ĐĂƐĞ
                                                                   case ďĞ
                                                                        be ĐůŽƐĞĚ
                                                                           closed ŝƐ
                                                                                  is ƌĞĨĞƌƌĞĚ
                                                                                     referred ĨŽƌ
                                                                                              for ĨƵƌƚŚĞƌ
                                                                                                  further
ŝŶǀĞƐƟŐĂƟŽŶ
investigation ĚƵĞ
               due ƚŽ
                   to ŚĞĂĚ
                      head ƐƚƌŝŬĞƐ͘
                            strikes.




                                                                                                            Exh
                                                                                                            Exh bit
                                                                                                                bit 35
                                                                                                                    35 at
                                                                                                                       at 52
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (3311/23)
                                             (3311/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&͗
                                                UOF: hϯϯϭϭͬϮϯ
                                                     U3311/23

&ĂĐŝůŝƚǇ͗
Facility: Dd
          EMTC

ƌŝĞĨ
Brief /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ͗
               Summary:

On :ƵŶĞ
KŶ June ϯϬ͕
        30, Ăƚ
            at ĂƉƉƌŽǆŝŵĂƚĞůǇ
               approximately ϭϵϱϬ
                              1950 ŚŽƵƌƐ͕
                                     hours, ǁŝƚŚŝŶ
                                            within ƚŚĞ
                                                    the ĐŽŶĮŶĞƐ
                                                         confines ŽĨ
                                                                   of ƌŝĐ
                                                                      Eric ͘D
                                                                           .M Taylor (EMTC), /ŶƚĂŬĞ
                                                                              dĂǇůŽƌ ;DdͿ͕ intake
i). Ϳ͕ EĞǁ
       New ĂĚŵŝƐƐŝŽŶ͕
             admission, WĞƌƐŽŶ
                        Person /Ŷ
                                In ĐƵƐƚŽĚǇ
                                   custody ;W/Ϳ͕
                                            (PIC), ƌĂĚůĞǇ͕
                                                   Bradley, :ĂŵĞƐ
                                                             Janes                       was ĞƐĐŽƌƚĞĚ
                                                                                         ǁĂƐ escorted ŝŶƚŽ
                                                                                                      into
ŝŶƚĂŬĞ
intake ĨƌŽŵ
        from ƚŚĞ
               the ƐĂůůǇƉŽƌƚ
                    sallyport ĂƌĞĂ
                                area ƐĞĐƵƌĞĚ
                                      secured ŝŶ in ŚĂŶĚ
                                                     hand ĂŶĚ
                                                            and ůĞŐ
                                                                  leg ƌĞƐƚƌĂŝŶƚƐ͘
                                                                       restraints. hƉŽŶ
                                                                                     Upon ĞŶƚƌǇ͕
                                                                                             entry, W/
                                                                                                     PIC ƌĂĚůĞǇ
                                                                                                          Bradley /ŵŵĞĚŝĂƚĞůǇ͕
                                                                                                                     Immediately,
ĞŶĐŽƵŶƚĞƌ     KĸĐĞƌ
encounter Officer                                                                              /ŶƐƚĂŶƚůǇ͕
                                                                                               Instantly, the two ďĞŐĂŶ
                                                                                                           ƚŚĞ  ƚǁŽ    began ƚŽ to
ĞŶŐĂŐĞ
engage ŝŶ in Ă
             a ĐŽŶƟŶƵŽƵƐ
               continuous ǀĞƌďĂů
                              verbal ĞǆĐŚĂŶŐĞ
                                      exchange ;              Ăƚ
                                                              at ϭϵ͗ϱϬ͗ϭϱͿ͕
                                                                  19:50:15), W/PIC ƌĂĚůĞǇ
                                                                                      Bradley ƉƌŽĐĞĞĚĞĚ
                                                                                                 proceeded ƚŽ to ǁĂůŬ
                                                                                                                  walk ĂŶĚand ƐƚŽŽĚ
                                                                                                                                stood
in ƚŚĞ
ŝŶ the PIC-ĚĞƐŝŐŶĂƚĞĚ
        PIC-designated ƐƚĂŶĚŝŶŐ
                            standing ĂƌĞĂ
                                       area ;ƌĞĚ
                                             (red ďŽǆͿ͘
                                                    box). ^ŝŵƵůƚĂŶĞŽƵƐůǇ͕
                                                           Simultaneously, KĸĐĞƌ  Officer                 follows ĂŶĚ
                                                                                                          ĨŽůůŽǁƐ   and ŐĞƐƚƵƌĞĚ
                                                                                                                          gestured ƚŽ to
ƚŚĞ  ŝŶĚŝǀŝĚƵĂů   ƚŽ ƐƚĂŶĚ   ĂŐĂŝŶƐƚ  ƚŚĞ
the individual to stand against the wall    ǁĂůů  ;       Ăƚ  ϭϵ͗ϱϬ͗ϮϴͿ͘     W/   ƌĂĚůĞǇ   ĐŽŵƉůŝĞĚ    ĂŶĚ   ƚŽŽŬ
                                                           at 19:50:28). PIC Bradley complied and took several steps  ƐĞǀĞƌĂů    ƐƚĞƉƐ
backward. ^ŝŵƵůƚĂŶĞŽƵƐůǇ͕
ďĂĐŬǁĂƌĚ͘     Simultaneously, KĸĐĞƌrice             os    ĐůŽƐĞĚ ŚŝƐ his ĚŝƐƚĂŶĐĞ
                                                                         distance ďǇ by ƐƚĞƉƉŝŶŐ
                                                                                         stepping ƚŽǁĂƌĚƐ
                                                                                                     towards ƚŚĞthe W/͘
                                                                                                                      PIC. dŚĞ
                                                                                                                            The
ŝŶĚŝǀŝĚƵĂů
individual ƚŚĞŶ
             then ĞǆƚĞŶĚĞĚ
                    extended ŚŝƐhis ŚĂŶĚͬĂƌŵ
                                     hand/arm ĂŶĚ and ƉƵƐŚ
                                                        push ƚŚĞ
                                                               the ŽĸĐĞƌ
                                                                     officer ƚŽ
                                                                              to ƚŚĞ
                                                                                  the ĐŚĞƐƚ
                                                                                       chest ĂƌĞĂ͘
                                                                                               area. KĸĐĞ
                                                                                                      Office
ŝŵŵĞĚŝĂƚĞůǇ
immediately ƚŚƌĞǁthrew ƚǁŽ
                         two ƉƵŶĐŚĞƐ
                               punches ǁŚŝĐŚ
                                          which ŵĂĚĞ
                                                   made ĐŽŶƚĂĐƚ
                                                          contact ǁŝƚŚwith ƚŚĞ
                                                                            the ŝŶĚŝǀŝĚƵĂů
                                                                                  individual ŚĞĂĚͬĨĂĐŝĂů
                                                                                                in ĂƌĞĂ                        Ăƚ
ϭϵ͗ϱϬ͗ϯϯͿ͘
19:50:33). dŚĞThe ƐƚĂī
                   staff ŝŶƚĞƌǀĞŶĞĚ
                          intervened ĂŶĚand ŐƵŝĚĞĚ
                                             guided KĸĐĞƌ
                                                       Officer                  ŽƵƚ
                                                                                 out ŽĨ
                                                                                      of ƚŚĞ
                                                                                          the ĂƌĞĂ͕
                                                                                               area, ƚŚƵƐ
                                                                                                      thus ƚĞƌŵŝŶĂƟŶŐ
                                                                                                            terminating ƚŚĞ  the
ŝŶĐŝĚĞŶƚ͘
incident.

W/
PIC /ŶƚĞƌǀŝĞǁ
     Interview ŝƐ
               is ŶĞĐĞƐƐĂƌǇ
                  necessary ĂƐ
                             as ǁĞůů
                                well ĂƐ
                                     as ƉŽƐƐŝďůĞ
                                        possible DK
                                                 MEO ƚŽto ĐŽŶĚƵĐƚ
                                                          conduct ĂŶ
                                                                   an ĞĸĐŝĞŶƚ
                                                                       efficient ŝŶǀĞƐƟŐĂƟŽŶ͘
                                                                                 investigation. 
                                                                                                A ƌĞǀŝĞǁ
                                                                                                  review ŽĨ
                                                                                                         of ƚŚĞ
                                                                                                            the
/ŶĐŝĚĞŶƚ
Incident ZĞƉŽƌƟŶŐ
          Reporting ^ǇƐƚĞŵ
                      System ;/ŶŵĂƚĞ
                              (Inmate >ŽŽŬƵƉͿ
                                       Lookup) ƌĞǀĞĂůĞĚ
                                                revealed ƚŚĂƚ
                                                          that W/
                                                               PIC ƌĂĚůĞǇ
                                                                   Bradley ǁĂƐ
                                                                             was ĚŝƐĐŚĂƌŐĞĚ
                                                                                  discharged ĨƌŽŵ
                                                                                              from K
                                                                                                   DOC ĐƵƐƚŽĚǇ
                                                                                                        custody
(bailed out) on July 3, 2023.
;ďĂŝůĞĚ  ŽƵƚͿ ŽŶ :ƵůǇ ϯ͕ ϮϬϮϯ͘

Video ZĞǀŝĞǁ͗
sŝĚĞŽ Review:

'ĞŶĞƚĞĐ
Genetec ŶŐůĞƐ
        Angles ;/ŶĐŝĚĞŶƚͿ
               (Incident) is                                           ǁĞƌĞ
                                                                       were ƌĞǀŝĞǁĞĚ͘
                                                                            reviewed.

dŚĞƌĞ ŝƐ
There is ŶŽ
         no ŚĂŶĚŚĞůĚ
            handheld Žƌ
                     or ďŽĚǇ-ǁŽƌŶ
                        body-worn ĐĂŵĞƌĂ
                                  camera ĂǀĂŝůĂďůĞ
                                         available Žƌ
                                                   or ĂĐƟǀĂƚĞĚ
                                                      activated ĨŽƌ
                                                                for ƚŚŝƐ
                                                                    this ŝŶĐŝĚĞŶƚ͘
                                                                         incident.

/ŶŵĂƚĞ
Inmate ^ƚĂƚĞŵĞŶƚƐ͕
       Statements, ^ƚĂī
                   Staff ZĞƉŽƌƚƐ͕
                         Reports, /ŶũƵƌǇ
                                  Injury ƚŽ
                                         to /ŶŵĂƚĞ
                                            Inmate ZĞƉŽƌƚ͕
                                                   Report, d
                                                           TC >ŽŐďŽŽŬ
                                                              Logbook ƉĂŐĞ
                                                                      page


A ƌĞǀŝĞǁ
  review ŽĨof D^
              CMS ƌĞǀĞĂůĞĚ
                     revealed ƚŚĞ
                                the ƌĞƋƵŝƌĞĚ
                                      required D^CMS ĂƩĂĐŚŵĞŶƚƐ
                                                          attachments ŝŶĐůƵĚŝŶŐ
                                                                           including ƚŚĞ
                                                                                       the ŝŶŵĂƚĞ
                                                                                              inmate ƐƚĂƚĞŵĞŶƚƐ͕
                                                                                                        statements, ƐƚĂī
                                                                                                                      staff ƌĞƉŽƌƚƐ͕
                                                                                                                              reports,
/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
          Inmate ZĞƉŽƌƚ͕
                     Report, ĂŶĚ
                              and ƚŚĞ
                                    the d
                                         TC >ŽŐďŽŽŬ
                                              Logbook ƉĂŐĞ page ǁĞƌĞ
                                                                  were ƵƉůŽĂĚĞĚ
                                                                         uploaded ďǇ  by ƚŚĞ
                                                                                          the ĨĂĐŝůŝƚǇ
                                                                                                facility ĞǆĐĞƉƚ
                                                                                                          except KĸĐĞƌ
                                                                                                                  Officer
P|            hK&
              UOF ZĞƉŽƌƚ͘
                    Report. /ŶŵĂƚĞ
                              Inmate ƌĂĚůĞǇ
                                        Bradley ƉƌŽǀŝĚĞĚ
                                                   provided Ă    a ƐƚĂƚĞŵĞŶƚ
                                                                   statement ƚŽ  to ƚŚĞ
                                                                                    the ĨĂĐŝůŝƚǇ
                                                                                          facility ƐƚĂƚĞĚ͕
                                                                                                    stated, ΗKŶ    :ƵŶĞ ϯϬ͕
                                                                                                              "On June    30, ϮϬϮϯ͕
                                                                                                                               2023, Ăƚ at
ĂƉƉƌŽǆŝŵĂƚĞůǇ     ϳ͗ϱϬ  / :ĂŵĞƐ   ƌĂĚůĞǇ     ǁĂƐ  ĂƐƐĂƵůƚĞĚ      ďǇ Ă  dƌĂŶƐƉŽƌƚĂƟŽŶ       ŽƌƌĞĐƟŽŶĂů
approximately 7:50 | James Bradley was assaulted by a Transportation Correctional Officer while              KĸĐĞƌ    ǁŚŝůĞ
ŚĂŶĚĐƵīĞĚ
handcuffed ĂŶĚand ƐŚĂĐŬůĞĚ
                    shackled ŝŶin ƚŚĞ
                                  the /ŶƚĂŬĞ
                                        Intake ĂƌĞĂ
                                                 area ŝŶin ĨƌŽŶƚ
                                                            front ŽĨ
                                                                   of ƐĞǀĞƌĂů
                                                                       several ǁŝƚŶĞƐƐĞƐ
                                                                                witnesses ƵƉŽŶ upon ĞŶƚĞƌŝŶŐ
                                                                                                       entering ƚŚĞ
                                                                                                                 the ŝŶƚĂŬĞ
                                                                                                                      intake ĂƌĞĂ
                                                                                                                                area
from ƚŚĞ
ĨƌŽŵ  the dƌĂŶƐƉŽƌƚĂƟŽŶ
          Transportation ďƵƐ  bus ƚŽ
                                   to ďĞ
                                       be ƵŶĐƵīĞĚ
                                            uncuffed ĂŶĚ and ƐŚĂĐŬůĞĚ͘
                                                               shackled. /| ǁŽƵůĚ
                                                                             would ůŝŬĞ
                                                                                      like ƚŽ
                                                                                            to ƉƌĞƐƐ
                                                                                                press ĐŚĂƌŐĞƐ
                                                                                                        charges ŽŶ
                                                                                                                 on ƚŚĞ
                                                                                                                     the
ƚƌĂŶƐƉŽƌƚĂƟŽŶ
transportation ŽƌƌĞĐƟŽŶĂů
                  Correctional KĸĐĞƌ
                                  Officer ƚŚĂƚ
                                             that ƉŚǇƐŝĐĂůůǇ
                                                   physically ĂƐƐĂƵůƚĞĚ
                                                                  assaulted ďǇby ƚŚƌŽǁŝŶŐ
                                                                                  throwing ĐůŽƐĞĚ-ĮƐƚ
                                                                                                closed-fist ƉƵŶĐŚĞƐ
                                                                                                              punches ƚŽ to ŵǇ
                                                                                                                             my ĨĂĐŝĂů
                                                                                                                                  facial
ĂƌĞĂ
area ĐĂƵƐĞĚ
      caused ŝŶũƵƌǇ͘
               injury. DǇ   ũĂǁ͕ ŶĞĐŬ͕
                        My jaw,   neck, ĞĂƌ͕
                                          ear, ĂŶĚ
                                                and ŚĞĂĚ
                                                      head ŚƵƌƚƐ
                                                              hurts ǀĞƌǇ
                                                                      very ďĂĚůǇ͘Η
                                                                            badly."

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ͗
               Review:

At ƚŚĞ
ƚ the ƟŵĞ
       time ŽĨ
            of ƚŚŝƐ
               this ƌĞƉŽƌƚ͕
                    report, ƚŚĞ
                            the ZĂƉŝĚ
                                Rapid ZĞǀŝĞǁ
                                      Review ǁĂƐ
                                             was ŶŽƚ
                                                 not ŵĂĚĞ
                                                     made ĂǀĂŝůĂďůĞ
                                                          available ƚŽ
                                                                    to ƚŚĞ
                                                                       the /ŶǀĞƐƟŐĂƟŽŶ
                                                                           Investigation ŝǀŝƐŝŽŶ͘
                                                                                         Division.

/ŵŵĞĚŝĂƚĞ
Immediate ĐƟŽŶ
          Action

KŶ
On :ƵůǇ
    July ϭ͕
         1, ϮϬϮϯ͕
            2023, ƚŚŝƐ
                  this ŝŶĐŝĚĞŶƚ
                       incident ǁĂƐ
                                was ƌĞĨĞƌƌĞĚ
                                    referred ĨŽƌ
                                             for /ŵŵĞĚŝĂƚĞ
                                                 Immediate ĐƟŽŶ͕
                                                               Action, ĂŶĚ
                                                                       and ƚŚĞ
                                                                           the ĨŽůůŽǁŝŶŐ
                                                                               following ǁĂƐ
                                                                                         was ƚŚĞ
                                                                                             the ŽƵƚĐŽŵĞ͗
                                                                                                 outcome:
Officer
KĸĐĞƌ                was ƐƵƐƉĞŶĚĞĚ
                     ǁĂƐ  suspended ĨŽƌ
                                     for ϯϬ
                                         30 ĚĂǇƐ
                                            days ďǇ
                                                  by ƚŚĞ
                                                     the ĨĂĐŝůŝƚǇ͘
                                                         facility.




                                                                                                                          Exh
                                                                                                                          Exh bit
                                                                                                                              bit 35
                                                                                                                                  35 at
                                                                                                                                     at 53
       Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 55 of 71




ZĞĐŽŵŵĞŶĚĂƟŽŶ͗
Recommendation:

ĂƐĞĚ
Based ŽŶ
      on ƚŚĞ
         the ĞǀŝĚĞŶĐĞ͕
             evidence, ƚŚŝƐ
                         this ĐĂƐĞ
                              case ŵĞĞƚƐ
                                   meets ƚŚĞ
                                          the ĐƌŝƚĞƌŝĂ
                                               criteria ĨŽƌ
                                                        for ĨƵƌƚŚĞƌ
                                                            further ŝŶǀĞƐƟŐĂƟŽŶ
                                                                    investigation ĚƵĞ
                                                                                  due ƚŽ
                                                                                      to ŚĞĂĚ
                                                                                         head ƐƚƌŝŬĞƐ͘
                                                                                              strikes. /ƚ
                                                                                                       It ŝƐ
                                                                                                          is
recommended that this case be referred for further investigation.
ƌĞĐŽŵŵĞŶĚĞĚ    ƚŚĂƚ ƚŚŝƐ ĐĂƐĞ  ďĞ ƌĞĨĞƌƌĞĚ ĨŽƌ  ĨƵƌƚŚĞƌ  ŝŶǀĞƐƟŐĂƟŽŶ͘




                                                                                                    Exh
                                                                                                    Exh bit
                                                                                                        bit 35
                                                                                                            35 at
                                                                                                               at 54
           Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 56 of 71




CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for July
                                   July 2023
                                        2023 (ϯϰϰϳͬϮϯ)
                                             (3447/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϯϰϰϳͬϮϯ
                                                       3447/23

&ĂĐŝůŝƚǇ͗
Facility: D<
          AMKC

^ǇŶŽƉƐŝƐ͗
Synopsis:

KŶ
On :ƵůǇ
    July ϳ͕
         7, ϮϬϮϯ͕
             2023, ;ϰϮ͘ϭϱϭͿ
                     (42.151) Ăƚ
                               at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                  approximately Ϭϵϯϱ
                                                   0935 ŚŽƵƌƐ͕
                                                          hours, ŝŶ in D<͕
                                                                       AMKC, ŚŽƵƐŝŶŐ
                                                                                 housing ĂƌĞĂ
                                                                                           area tϭϴh͕
                                                                                                  W18UA, ƐĞǀĞƌĂů
                                                                                                             several W/Ɛ
                                                                                                                      PICs
ǁĂůŬĞĚ
walked ŝŶƚŽ
         into ƚŚĞ
               the ďĂƚŚƌŽŽŵͬƐŚŽǁĞƌ
                    bathroom/shower ĂƌĞĂ͘ ceo                                            KĸĐĞƌ
                                                                                         Officer
ǁĂůŬĞĚ
walked ƚŽǁĂƌĚƐ
         towards ƚŚĞthe ďĂƚŚƌŽŽŵ
                         bathroom ĂƌĞĂ
                                     area ĂŶĚ
                                           and ƉůĂĐĞĚ
                                                placed Ăa ŐĂƐ
                                                           gas ŵĂƐŬ
                                                                 mask ŽǀĞƌ
                                                                         over ƚŚĞ
                                                                               the ƚŽƉ
                                                                                    top ŽĨ
                                                                                         of ŚŝƐ
                                                                                             his ŚĞĂĚ͘
                                                                                                 head. ^ĂŝĚ
                                                                                                        Said ŽĸĐĞƌ
                                                                                                              officer ďĞŐĂŶ
                                                                                                                       began
ƐƉĞĂŬŝŶŐ   ƚŽ  ƚŚĞ  W/Ɛ  ĂŶĚ ŐĂǀĞ  ƚŚĞŵ   ĚŝƌĞĐƟŽŶ   ƚŽ Ğǆŝƚ   ƚŚĞ   ďĂƚŚƌŽŽŵ͘     ^ĞǀĞƌĂů    W/Ɛ
speaking to the PICs and gave them direction to exit the bathroom. Several PICs departed from the   ĚĞƉĂƌƚĞĚ    ĨƌŽŵ  ƚŚĞ
ďĂƚŚƌŽŽŵ
bathroom ĂƌĞĂ͘
             area                       ƚ
                                        At ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                           approximately Ϭϵϯϳ 0937 ŚŽƵƌƐ͕
                                                                      hours, KĸĐĞƌ
                                                                              Officer            ǁĂƐ
                                                                                                 was ŽďƐĞƌǀĞĚ
                                                                                                      observed ƐƉĞĂŬŝŶŐ
                                                                                                                  speaking
with ƐĞǀĞƌĂů
ǁŝƚŚ  several W/Ɛ
                PICs ǁŚŝůƐƚ
                      whilst ƐŝŵƵůƚĂŶĞŽƵƐůǇ
                             simultaneously ƌĞƚƵƌŶŝŶŐ
                                               returning ƚŚĞthe ŐĂƐ
                                                                 gas ŵĂƐŬ
                                                                       mask ƚŽto ƚŚĞ
                                                                                  the ĐĂƌƌǇŝŶŐ
                                                                                       carrying ƉŽƵĐŚ͘
                                                                                                  pouch.

;
[so ƚ ĂƉƉƌŽǆŝŵĂƚĞůǇ
       approximately ϬϵϰϬ
                     0940 ŚŽƵƌƐ͕
                          hours, ŵƵůƟƉůĞ
                                 multiple W/^
                                          PICS ƌĞĞŶƚĞƌĞĚ
                                               reentered ƚŚĞ
                                                         the ďĂƚŚƌŽŽŵ
                                                             bathroom ĂƌĞĂ͘
                                                                      area
 ^ŝŵƵůƚĂŶĞŽƵƐůǇ
 Simultaneously KĸĐĞƌ   Officer              ǁĂůŬĞĚ
                                             walked ŽǀĞƌ over ƚŽto ƚŚĞ
                                                                    the ŽŶƚƌŽů
                                                                          Control ^ƚĂƟŽŶ
                                                                                     Station ĂŶĚ and ĂƉƉĞĂƌĞĚ
                                                                                                       appeared ƚŽ   to ŚĂǀĞ
                                                                                                                         have ĐŽŵŵƵŶŝĐĂƚĞĚ
                                                                                                                                 communicated
 ǁŝƚŚ
 with ŽĸĐĞƌ
        officer ŝŶƐŝĚĞ͘
                   oo                                KĸĐĞƌ
                                                      Officer              ƚŚĞŶ
                                                                           then ǁĂůŬĞĚ
                                                                                  walked ŽǀĞƌ over ƚŽto ƚŚĞ
                                                                                                         the ďĂƚŚƌŽŽŵ
                                                                                                               bathroom ĂƌĞĂ͘area.  A ŵƵůƟƉůĞ
                                                                                                                                         multiple W/ PIC
 ŽŶ
 on W/
     PIC ĮŐŚƚ
          fight ĞŶƐƵĞĚ
                   ensued ĂƐ   as ŵƵůƟƉůĞ
                                   multiple W/Ɛ
                                               PICs ǁĞƌĞ
                                                      were ŽďƐĞƌǀĞĚ
                                                               observed ƚŚƌŽǁŝŶŐ
                                                                             throwing ŵƵůƟƉůĞ
                                                                                           multiple ĐůŽƐĞĚ
                                                                                                        closed ĮƐƚƐ
                                                                                                                  fists ƐƚƌŝŬĞƐ
                                                                                                                        strikes ƚŽǁĂƌĚƐ
                                                                                                                                   towards W/ PIC
                                                                                         KĸĐĞƌ                ĂƉƉĞĂƌĞĚ ƚŽ ďĞ ŐŝǀŝŶŐ ƚŚĞ W/Ɛ
 ĚŝƌĞĐƚ   ŽƌĚĞƌƐ     ƚŽ ĐĞĂƐĞ     ƚŚĞŝƌ  ĂĐƟŽŶƐ͕     ƚŽ   ŶŽ   ĂǀĂŝů  ĂƐ  ƚŚĞ  W/ΖƐ
 direct orders to cease their actions, to no avail as the PIC's actions persisted.     ĂĐƟŽŶƐ      ƉĞƌƐŝƐƚĞĚ͘                
                                                                                                                             A W/
                                                                                                                                 PIC ƚŚƌĞǁ
                                                                                                                                       threw aĂ ĐŚĂŝƌ
                                                                                                                                                   chair
 ƐƚƌŝŬŝŶŐ
 striking W/
            PIC            ƚŽ ƚŚĞ
                          to   the ďĂĐŬ
                                    back ŽĨof ƚŚĞ
                                                the ŚĞĂĚ͘
                                                     head. ^ŚŽƌƚůǇ
                                                               Shortly ƚŚĞƌĞĂŌĞƌ
                                                                          thereafter Ă   a W/
                                                                                            PIC ŐƌĂďďĞĚ
                                                                                                  grabbed W/ _            ďǇ ƚŚĞ
                                                                                                                                the ůŽǁĞƌ
                                                                                                                                      lower ǁĂŝƐƚ
                                                                                                                                               waist
 ĂƌĞĂ
 area ĂŶĚ
        and ƚŽŽŬ
              took W/Pic” ĚŽǁŶ     down ƚŽ  to ƚŚĞ
                                                 the ŇŽŽƌ͘
                                                       floor. KĸĐĞƌ
                                                                Officer            ƵƟůŝǌĞĚ
                                                                                    utilized ƐŽŌsoft ŚĂŶĚ
                                                                                                      hand ƚĞĐŚŶŝƋƵĞƐ͕
                                                                                                              techniques, ŝŶ   in aĂ ĨĂŝůĞĚ
                                                                                                                                     failed
 ĂƩĞŵƉƚ͕      ƚŽ  ƉƵƐŚ     ƚŚĞ   W/Ɛ
 attempt, to push the PICs off of PIC  Žī  ŽĨ   W/          ͕ ĂƐ  ƚŚĞ   W/Ɛ ĐŽŶƟŶƵĞĚ
                                                             , as the PICs continued striking iƐƚƌŝŬŝŶŐ   W/                        ƚ
                                                                                                                                     At
 ĂƉƉƌŽǆŝŵĂƚĞůǇ
 approximately Ϭϵϰϭ    0941 ŚŽƵƌƐ͕
                                hours, KĸĐĞƌ
                                         a                     See                 ;ŝĚĞŶƟĮĞĚ ƚŚƌŽƵŐŚthrough ƐƚĂīstaff ƌĞƉŽƌƚƐͿ
                                                                                                                       reports) ŽƉĞŶĞĚ
                                                                                                                                    opened ƚŚĞ the
 ŚŽƵƐŝŶŐ
 housing ĂƌĞĂarea ĚŽŽƌ͕
                     door, ƐŝŵƵůƚĂŶĞŽƵƐůǇ͕
                              simultaneously, ŵƵůƟƉůĞ
                                                    multiple W/Ɛ  PICs ƉƌŽĐĞĞĚĞĚ
                                                                         proceeded ƚŽ   to ƐƚƌŝŬĞ͕
                                                                                             strike, ƐƚŽŵƉ
                                                                                                       stomp ĂŶĚ and ŬŝĐŬ
                                                                                                                       kick W/
                                                                                                                             Pic” ǁŚŽ       who
 ĂƉƉĞĂƌĞĚ
 appeared ƚŽ   to ďĞbe ƐƟůů
                        still ŽŶ
                               on ƚŚĞ
                                   the ŇŽŽƌ͘
                                        floor. KĸĐĞƌ
                                                 Officer J            ĂŐĂŝŶ
                                                                       again ĂƩĞŵƉƚĞĚ
                                                                              attempted ƚŽ     to ƵƟůŝǌĞ
                                                                                                   utilize ƐŽŌ
                                                                                                            soft ŚĂŶĚ
                                                                                                                   hand ƚĞĐŚŶŝƋƵĞƐ
                                                                                                                          techniques ƚŽ    to ƉƵƐŚ
                                                                                                                                               push
 ŽŶĞ
 one ŽĨof ƚŚĞ
           the W/Ɛ
                 PICs ĂǁĂǇ
                        away ĨƌŽŵfrom W/
                                        Pic” ƚŽ       to ŶŽ
                                                          no ĂǀĂŝů
                                                               avail ĂƐas ƚŚĞ
                                                                          the ĂƐƐĂƵůƚ
                                                                               assault ĐŽŶƟŶƵĞĚ͘
                                                                                           continued.                    nn                 Ŷ
                                                                                                                                            An
 ƵŶŝĚĞŶƟĮĞĚ         W/  ŝŶƚĞƌǀĞŶĞĚ       ĂŶĚ
 unidentified PIC intervened and walked PICA     ǁĂůŬĞĚ     W/           ŽƵƚ  ŽĨ ƚŚĞ   ŚŽƵƐŝŶŐ      ĂƌĞĂ͕   ŽŶƚŽ    ƚŚĞ  ǀĞƐƟďƵůĞ͘
                                                                          out of the housing area, onto the vestibule. Pic”               W/
 ǁĂƐ
 was ůŝŐŚƚůǇ
       lightly Śŝƚ
                 hit ďǇ
                      by ƚŚĞ
                           the ĚŽŽƌ͕
                                 door, ƚŽ
                                        to ƚŚĞ
                                            the ƵƉƉĞƌ
                                                  upper ƌŝŐŚƚ
                                                            right ƐŚŽƵůĚĞƌ
                                                                    shoulder ĂƌĞĂ͕
                                                                                area, ĂƐ as KĸĐĞƌ
                                                                                              Officer             ĂƩĞŵƉƚĞĚ
                                                                                                                  attempted ƚŽ    to ƐĞĐƵre
                                                                                                                                      secure it it
|               09:41:19). W/
            Ăƚ Ϭϵ͗ϰϭ͗ϭϵͿ͘        PICA          grabbed ƚŚĞ
                                              ŐƌĂďďĞĚ      the ĚŽŽƌ͕
                                                                  door, ƉƌĞǀĞŶƟŶŐ
                                                                          preventing ŝƚ   it ĨƌŽŵ
                                                                                             from ďĞŝŶŐ
                                                                                                     being ƐĞĐƵƌĞĚ͘
                                                                                                              secured. ŌĞƌ
                                                                                                                          After ƐĞǀĞƌĂů
                                                                                                                                   several
 ƐĞĐŽŶĚƐ͕
 seconds, the PIC who broke up the fight reentered the housing area, and the housing area ĚŽŽƌ
              ƚŚĞ   W/   ǁŚŽ     ďƌŽŬĞ   ƵƉ   ƚŚĞ  ĮŐŚƚ    ƌĞĞŶƚĞƌĞĚ       ƚŚĞ ŚŽƵƐŝŶŐ       ĂƌĞĂ͕   ĂŶĚ   ƚŚĞ   ŚŽƵƐŝŶŐ    ĂƌĞĂ    door ǁĂƐwas
 secured, ĂŶĚ
 ƐĞĐƵƌĞĚ͕     and W/Pic” ǁĂƐ      was ƐĞĐƵƌĞĚ
                                         secured ŝŶ  in ƚŚĞ
                                                         the ƉĂŶƚƌǇ
                                                               pantry Se                                        09:49:43) ƚŚƵƐ
                                                                                                                Ϭϵ͗ϰϵ͗ϰϯͿ     thus ƚĞƌŵŝŶĂƟŶŐ
                                                                                                                                      terminating
 ƚŚĞ
 the ŝŶĐŝĚĞŶƚ͘
      incident.

At ĂƉƉƌŽǆŝŵĂƚĞůǇ
ƚ approximately Ϭϵϱϳ0957 ŚŽƵƌƐ͕
                           hours, W/
                                   Pic im” ǁĂƐ
                                             was ĂůůŽǁĞĚ
                                                   allowed ŽŶƚŽ
                                                              onto ƚŚĞ
                                                                    the ǀĞƐƟďƵůĞ
                                                                         vestibule ĂƌĞĂ
                                                                                    area ;a). Ϳ͘ ƚ  At ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                                         approximately
ϭϬϭϲ
1016 ŚŽƵƌƐ͕
      hours, W/
              PIC        ǁĂƐ
                         was ĞƐĐŽƌƚĞĚ
                               escorted ŽƵƚ
                                         out ŽĨ
                                              of ƚŚĞ
                                                 the ĂƌĞĂ
                                                     area                                ƚ
                                                                                         At ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                                                                            approximately ϭϬϮϴ 1028 ŚŽƵƌƐ͕
                                                                                                                    hours,
|                         a probe team intercepted in the Main Corridor, as PIC
                          Ă ƉƌŽďĞ   ƚĞĂŵ  ŝŶƚĞƌĐĞƉƚĞĚ    ŝŶ ƚŚĞ  DĂŝŶ   ŽƌƌŝĚŽƌ͕  ĂƐ W/        refused to comply
                                                                                                ƌĞĨƵƐĞĚ     ƚŽ ĐŽŵƉůǇ
ǁŝƚŚ
with ĞƐĐŽƌƚ
     escort ƉƌŽĐĞĚƵƌĞƐ͘
             procedures. W/PIC        ǁĂƐ
                                       was ĞƐĐŽƌƚĞĚ
                                            escorted ƚŽto ƚŚĞ
                                                           the DĂŝŶ
                                                                Main /ŶƚĂŬĞ
                                                                       Intake ĂŶĚ
                                                                               and ƐĞĐƵƌĞĚ
                                                                                    secured ŝŶ
                                                                                             in ƉĞŶ
                                                                                                pen ηϱ#5 Ăƚ
                                                                                                          at
ĂƉƉƌŽǆŝŵĂƚĞůǇ
approximately ϭϬϯϲ1036 ŚŽƵƌƐ
                        hours

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ͗
             Evidence:

The ĨĂĐŝůŝƚǇ
dŚĞ facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ƉŚŽƚŽ
                              photo ĞĂĐŚ
                                    each ŽĨ
                                         of ƚŚĞ
                                            the ĨŽůůŽǁŝŶŐ
                                                following W/Ɛ͕
                                                          PICs, ĚĞŶŽƟŶŐ
                                                                denoting ƌĞĨƵƐĂůƐ͘
                                                                         refusals.

-




                                                                                                                                       Exh
                                                                                                                                       Exh bit
                                                                                                                                           bit 35
                                                                                                                                               35 at
                                                                                                                                                  at 55
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-




sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ͗
      evidence:

dŚĞ ĨŽůůŽǁŝŶŐ
The following ǀŝĚĞŽ
              video ĞǀŝĚĞŶĐĞ
                    evidence ǁĂƐ
                             was ƌĞǀŝĞǁĞĚ
                                 reviewed ĨƌŽŵ :ƵůǇ Ϭϳ͕
                                          from July 07, ϮϬϮϯ͕
                                                        2023, Ϭϵϯϱ
                                                              0935 ƚŽ
                                                                   to ϭϬϯϲ
                                                                      1036 ŚŽƵƌƐ
                                                                           hours ĂŶĚ
                                                                                 and ĚĞƉŝĐƚĞĚ
                                                                                     depicted ƚŚĞ
                                                                                              the
ŝŶĐŝĚĞŶƚ
incident ĂƐ
         as ŶĂƌƌĂƚĞĚ
            narrated ĂďŽǀĞ͘
                     above.

 dŚĞ
 The ŝŶǀĞƐƟŐĂƚŽƌ
      investigator ĂŶĚ
                   and ƐƵƉĞƌǀŝƐŽƌ
                       supervisor ǀĞƌŝĮĞĚ
                                  verified ƚŚĂƚ
                                           that ƚŚĞƌĞ
                                                there ǁĂƐ
                                                      was ŶŽ
                                                          no ŚĂŶĚŚĞůĚ
                                                             handheld ĞǀŝĚĞŶĐĞ
                                                                      evidence ĂƐƐŽĐŝĂƚĞĚ
                                                                               associated ǁŝƚŚ
                                                                                          with ƚŚŝƐ
                                                                                               this
ŝŶĐŝĚĞŶƚ͘
incident.




rT
^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͗

Ɛ
As ƉĞƌ


ŵĞĚŝĐĂů

Ɛ
As ƉĞƌ
          injuries:

   per /ŶũƵƌǇ
       Injury ƚŽ
;ĂƉƉƌŽǆŝŵĂƚĞůǇ


   per /ŶũƵƌǇ


ŵĞĚŝĐĂů
              to /ŶŵĂƚĞ


medical ĂƩĞŶƟŽŶ

       Injury ƚŽ
;ĂƉƉƌŽǆŝŵĂƚĞůǇ
                  Inmate ZĞƉŽƌƚ


         attention ĂŶĚ

              to /ŶŵĂƚĞ
(approximately ϴ
medical ĂƩĞŶƟŽŶ
                         Report ηϭϲϳͬ&zϮϰ͕


                    and ĚĞŶŝĞĚ

                  Inmate ZĞƉŽƌƚ
                 8 ŚŽƵƌƐ
         attention ĂŶĚ
                                #167/FY24, W/
                                   ƚŚĞ
                        denied ŝŶũƵƌǇ͖

                          Report ηϭϲϴͬ&zϮϰ͕


                     and ĚĞŶŝĞĚ
                                              Pic
                                       ŝŶĐŝĚĞŶƚͿ͕
                               injury; ŶŽ
                                       no ǀŝƐŝďůĞ

                                  #168/FY24, W/
                    hours ĨŽůůŽǁŝŶŐ
                          following ƚŚĞ
                         denied ŝŶũƵƌǇ͖
                                 injury; ŶŽ
                                                   ƚ
                                          visible Žƌ
                                                      ϭϴϰϮ
                                                  or ƐĞƌŝŽƵƐ

                                                  Pic” ǁĂƐ
                                      the ŝŶĐŝĚĞŶƚͿ͕
                                           incident), ƚ
                                          no ǀŝƐŝďůĞ
                                                            ǁĂƐ
                                                            was ĂīŽƌĚĞĚ




                                                       At ϭϴϱϬ
                                              visible Žƌ
                                                                 afforded ĚĞůĂǇĞĚ
                                                             ŚŽƵƌƐ͕ ŵĞĚŝĐĂů
                                                      serious ŝŶũƵƌŝĞƐ
                                                              injuries ǁĞƌĞ

                                                              was ĂīŽƌĚĞĚ


                                                      or ƐĞƌŝŽƵƐ
                                                                           delayed ŵĞĚŝĐĂů
                                                                             ƐƚĂī
                                                                       were ŶŽƚĞĚ͘

                                                                   afforded ĚĞůĂǇĞĚ
                                                           1850 ŚŽƵƌƐ͕
                                                          serious ŝŶũƵƌŝĞƐ
                                                                                    medical ĂƩĞŶƟŽŶ͕
(approximately 8 hours following the incident), At 1842 hours, medical staff noted that ƚŚĞ
                 ϴ ŚŽƵƌƐ ĨŽůůŽǁŝŶŐ                                                ŶŽƚĞĚ
                                                                             noted.
                                                                                            attention,
                                                                                         ƚŚĂƚ


                                                                              delayed ŵĞĚŝĐĂů
                                                                 hours, ŵĞĚŝĐĂů
                                                                          medical ƐƚĂī
                                                                   injuries ǁĞƌĞ
                                                                                              the W/
                                                                                                  PIC ƌĞĨƵƐĞĚ
                                                                                                       refused



                                                                                         medical ĂƩĞŶƟŽŶ͕
                                                                                   staff ŶŽƚĞĚ
                                                                             were ŶŽƚĞĚ͘
                                                                                   noted.
                                                                                                 attention,
                                                                                          noted ƚŚĂƚ
                                                                                                that ƚŚĞ
                                                                                                     the W/
                                                                                                          PIC ƌĞĨƵƐĞĚ




                                                                                                          Exh
                                                                                                              refused




                                                                                                          Exh bit
                                                                                                              bit 35
                                                                                                                  35 at
                                                                                                                     at 56
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Ɛ
As ƉĞƌ
   per /ŶũƵƌǇ
       Injury ƚŽ
              to /ŶŵĂƚĞ
                  Inmate ZĞƉŽƌƚ
                          Report ηϭϲϵͬ&zϮϰ͕
                                  #169/FY24, W/Pic” ǁĂƐ    was ĂīŽƌĚĞĚ
                                                                 afforded ĚĞůĂǇĞĚ
                                                                           delayed ŵĞĚŝĐĂů
                                                                                     medical ĂƩĞŶƟŽŶ͕
                                                                                              attention,
;ĂƉƉƌŽǆŝŵĂƚĞůǇ
(approximately ϴ 8 ŚŽƵƌƐ
                    hours ĨŽůůŽǁŝŶŐ
                          following ƚŚĞ
                                     the ŝŶĐŝĚĞŶƚͿ͕
                                         incident), ƚ
                                                    At ϭϴϱϴ
                                                        1858 ŚŽƵƌƐ͕
                                                              hours, ŵĞĚŝĐĂů
                                                                      medical ƐƚĂī
                                                                               staff ŶŽƚĞĚ
                                                                                     noted ƚŚĂƚ
                                                                                            that ƚŚĞ
                                                                                                 the W/
                                                                                                      PIC ƌĞĨƵƐĞĚ
                                                                                                          refused
ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ     ĂŶĚ ĚĞŶŝĞĚ  ŝŶũƵƌǇ͖ ŶŽ ǀŝƐŝďůĞ Žƌ ƐĞƌŝŽƵƐ  ŝŶũƵƌŝĞƐ ǁĞƌĞ
medical attention and denied injury; no visible or serious injuries were noted.ŶŽƚĞĚ͘

Ɛ
As ƉĞƌ
   per /ŶũƵƌǇ
       Injury ƚŽ
              to /ŶŵĂƚĞ
                  Inmate ZĞƉŽƌƚ
                          Report ηϭϲϲͬ&zϮϰ͕
                                  #166/FY24, W/  Pic          ǁĂƐ
                                                               was ĂīŽƌĚĞĚ
                                                                    afforded ĚĞůĂǇĞĚ
                                                                               delayed ŵĞĚŝĐĂů
                                                                                         medical ĂƩĞŶƟŽŶ͕
                                                                                                  attention,
(approximately ϴ
;ĂƉƉƌŽǆŝŵĂƚĞůǇ   8 ŚŽƵƌƐ
                    hours ĨŽůůŽǁŝŶŐ
                          following ƚŚĞ
                                      the ŝŶĐŝĚĞŶƚͿ͕
                                           incident), ƚ
                                                       At ϭϴϱϰ
                                                           1854 ŚŽƵƌƐ͕
                                                                 hours, ŵĞĚŝĐĂů
                                                                          medical ƐƚĂī
                                                                                   staff ŶŽƚĞĚ
                                                                                         noted ƚŚĂƚ
                                                                                                that ƚŚĞ
                                                                                                     the W/
                                                                                                          PIC ƌĞĨƵƐĞĚ
                                                                                                              refused
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ
         attention ĂŶĚ
                     and ĚĞŶŝĞĚ
                         denied ŝŶũƵƌǇ͖
                                 injury; ŶŽ
                                          no ǀŝƐŝďůĞ
                                              visible Žƌ
                                                      or ƐĞƌŝŽƵƐ
                                                          serious ŝŶũƵƌŝĞƐ
                                                                   injuries ǁĞƌĞ
                                                                             were ŶŽƚĞĚ͘
                                                                                   noted.

Ɛ
As ƉĞƌ
   per /ŶũƵƌǇ
       Injury ƚŽ
               to /ŶŵĂƚĞ
                  Inmate ZĞƉŽƌƚ
                          Report ηϭϲϭͬ&zϮϰ͕
                                   #161/FY24, W/ ae          ǁĂƐ
                                                              was ĂīŽƌĚĞĚ
                                                                  afforded ĚĞůĂǇĞĚ
                                                                           delayed ŵĞĚŝĐĂů
                                                                                    medical ĂƩĞŶƟŽŶ͕
                                                                                             attention,
;ĂƉƉƌŽǆŝŵĂƚĞůǇ
(approximately 8 hours following the incident), At 1800 hours, medical staff noted that ƚŚĞ
                  ϴ ŚŽƵƌƐ ĨŽůůŽǁŝŶŐ   ƚŚĞ  ŝŶĐŝĚĞŶƚͿ͕ ƚ ϭϴϬϬ ŚŽƵƌƐ͕ ŵĞĚŝĐĂů ƐƚĂī ŶŽƚĞĚ  ƚŚĂƚ the W/
                                                                                                   PIC ƌĞĨƵƐĞĚ
                                                                                                        refused
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ͖
         attention; ŶŽ
                     no ǀŝƐŝďůĞ
                        visible Žƌ
                                or ƐĞƌŝŽƵƐ
                                    serious ŝŶũƵƌŝĞƐ
                                             injuries ǁĞƌĞ
                                                      were ŶŽƚĞĚ͘
                                                           noted.

Ɛ
As ƉĞƌ
   per /ŶũƵƌǇ
       Injury ƚŽ
               to /ŶŵĂƚĞ
                  Inmate ZĞƉŽƌƚ
                          Report ηϭϲϬͬ&zϮϰ͕
                                   #160/FY24, W/ Pic    wasǁĂƐ ĂīŽƌĚĞĚ
                                                                 afforded ĚĞůĂǇĞĚ
                                                                          delayed ŵĞĚŝĐĂů
                                                                                   medical ĂƩĞŶƟŽŶ͕
                                                                                           attention,
;ĂƉƉƌŽǆŝŵĂƚĞůǇ
(approximately 8 hours following the incident), At 1855 hours, medical staff noted that ƚŚĞ
                  ϴ ŚŽƵƌƐ ĨŽůůŽǁŝŶŐ   ƚŚĞ  ŝŶĐŝĚĞŶƚͿ͕ ƚ ϭϴϱϱ ŚŽƵƌƐ͕  ŵĞĚŝĐĂů ƐƚĂī ŶŽƚĞĚ  ƚŚĂƚ the W/
                                                                                                    PIC ƌĞĨƵƐĞĚ
                                                                                                        refused
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ͖
         attention; ŶŽ
                     no ǀŝƐŝďůĞ
                        visible Žƌ
                                or ƐĞƌŝŽƵƐ
                                    serious ŝŶũƵƌŝĞƐ
                                             injuries ǁĞƌĞ
                                                      were ŶŽƚĞĚ͘
                                                           noted.

Ɛ
As ƉĞƌ
   per /ŶũƵƌǇ
       Injury ƚŽ
              to /ŶŵĂƚĞ
                  Inmate ZĞƉŽƌƚ
                          Report ηϭϱϵͬ&zϮϰ͕
                                  #159/FY24, W/ Pic im” ǁĂƐ was ĂīŽƌĚĞĚ
                                                                  afforded ĚĞůĂǇĞĚ
                                                                             delayed ŵĞĚŝĐĂů
                                                                                       medical ĂƩĞŶƟŽŶ͕
                                                                                                attention,
;ĂƉƉƌŽǆŝŵĂƚĞůǇ
(approximately ϴ 8 ŚŽƵƌƐ
                    hours ĨŽůůŽǁŝŶŐ
                          following ƚŚĞ
                                     the ŝŶĐŝĚĞŶƚͿ͕
                                          incident), ƚ
                                                      At ϭϴϮϱ
                                                          1825 ŚŽƵƌƐ͕
                                                                hours, ŵĞĚŝĐĂů
                                                                         medical ƐƚĂī
                                                                                  staff ŶŽƚĞĚ
                                                                                        noted ƚŚĂƚ
                                                                                               that ƚŚĞ
                                                                                                     the W/
                                                                                                         PIC ƌĞĨƵƐĞĚ
                                                                                                             refused
ŵĞĚŝĐĂů
medical ĂƩĞŶƟŽŶ
         attention ĂŶĚ
                     and ĚĞŶŝĞĚ
                         denied ŝŶũƵƌǇ͖
                                 injury; ŶŽ
                                         no ǀŝƐŝďůĞ
                                             visible Žƌ
                                                     or ƐĞƌŝŽƵƐ
                                                         serious ŝŶũƵƌŝĞƐ
                                                                  injuries ǁĞƌĞ
                                                                            were ŶŽƚĞĚ͘
                                                                                  noted.

Ɛ
As ƉĞƌ
    per /ŶũƵƌǇ
        Injury ƚŽto /ŶŵĂƚĞ
                     Inmate ZĞƉŽƌƚ
                              Report ηϭϱϴͬ&zϮϰ͕
                                      #158/FY24, W/ PIC       ǁĂƐ
                                                               was ĂīŽƌĚĞĚ
                                                                    afforded ƉƌŽŵƉƚ
                                                                              prompt ŵĞĚŝĐĂů
                                                                                       medical ĂƩĞŶƟŽŶ͕
                                                                                                attention, ĂŶĚ
                                                                                                           and
ƚƌĂŶƐĨĞƌƌĞĚ
transferred ƚŽto ƚŚĞ
                   the Z
                        ER ;ůŵŚƵƌƐƚ
                           (Elmhurst ,ŽƐƉŝƚĂůͿ
                                       Hospital) ǀŝĂ
                                                  via D^͘
                                                       EMS. Ɛ
                                                            As ƉĞƌ
                                                                per ƚŚĞ
                                                                    the ,^
                                                                         CHS ƵƉĚĂƚĞ͕
                                                                              update, W/
                                                                                       Pic” ƐƵƐƚĂŝŶĞĚ
                                                                                                 sustained ǀŝƐŝďůĞ
                                                                                                            visible
ŝŶũƵƌŝĞƐ
injuries ƚŚĂƚ
         that ƌĞƋƵŝƌĞĚ
                required ĨƵƌƚŚĞƌ
                           further ĞǀĂůƵĂƟŽŶ
                                    evaluation ǁŚŝĐŚ
                                                 which ŝŶĐůƵĚĞĚ
                                                         included Ăa ůĂĐĞƌĂƟŽŶ͕
                                                                     laceration, ƚŚĂƚ
                                                                                  that ƌĞƋƵŝƌĞĚ
                                                                                       required ƐƵƚƵƌĞƐͬƐƚĂƉůĞƐ
                                                                                                 sutures/staples Žƌor
ĞƌŵĂďŽŶĚ͘
Dermabond.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

dŚŝƐ ŝŶĐŝĚĞŶƚ
This incident ŝƐ
              is ĐƵƌƌĞŶƚůǇ
                 currently ĐůĂƐƐŝĮĞĚ
                           classified ĂƐ
                                      as ΗWΗ
                                         "P" ŶŽƟĮĐĂƟŽŶ
                                             notification ǁŝůů
                                                          will ďĞ
                                                               be ŵĂĚĞ
                                                                  made ƚŽ
                                                                       to ƵƉĚĂƚĞ
                                                                          update ƚŚĞ
                                                                                 the ŝŶũƵƌǇ
                                                                                     injury ƚŽ
                                                                                            to Ă
                                                                                               a ΗΗ
                                                                                                 '"C" ĂƐ
                                                                                                      as ƚŚĞ
                                                                                                         the
PICs ŝŶũƵƌŝĞƐ
W/Ɛ injuries ǁĞƌĞ
              were Ăa ƌĞƐƵůƚ
                      result ŽĨ
                             of ŚŝƐ
                                his ĮŐŚƚ
                                    fight ǁŝƚŚ
                                          with ƚŚĞ
                                               the ŽƚŚĞƌ
                                                   other W/Ɛ
                                                         PICs ĂŶĚ
                                                              and ŶŽƚ
                                                                  not ĂƩƌŝďƵƚĞĚ
                                                                      attributed ƚŽ
                                                                                 to ƚŚĞ
                                                                                    the ĨŽƌĐĞ
                                                                                        force ƵƟůŝǌĞĚ
                                                                                              utilized ďǇ
                                                                                                       by ƐƚĂī͘
                                                                                                          staff.


A ďƌŝĞĨ
  brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ͗
                       statements:

W/Ɛ                                                                            ƌĞĨƵƐĞĚ ƚŽ ƉƌŽǀŝĚĞ Ă ƐƚĂƚĞŵĞŶƚ ƚŽ
the ĨĂĐŝůŝƚǇ͘
ƚŚĞ facility.

KŶ
On :ƵůǇ
   July Ϭϳ͕
        07, ϮϬϮϯ͕
             2023, Ăƚ
                    at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                       approximately Ϯϭϱϳ
                                        2157 ŚŽƵƌƐ͕
                                              hours, ^/
                                                      iii                 ĐŽŶƚĂĐƚĞĚ
                                                                          contacted ůŵŚƵƌƐƚ
                                                                                     Elmhurst ,ŽƐƉŝƚĂů
                                                                                               Hospital ĂŶĚ
                                                                                                        and
EƵƌƐĞ
Nursql ĂĚǀŝƐĞĚ   advised ƚŚĂƚ
                          that W/
                               PICA       ǁĂƐ
                                          was ĐƵƌƌĞŶƚůǇ
                                               currently ƌĞĐĞŝǀŝŶŐ
                                                         receiving Ă
                                                                   a ĐĂƚ
                                                                     cat ƐĐĂŶ
                                                                         scan ĂŶĚ
                                                                               and ƚŚĞǇ
                                                                                   they ǁĞƌĞ
                                                                                        were ĂǁĂŝƟŶŐ
                                                                                              awaiting ƌĞƐƵůƚƐ
                                                                                                        results
ĂŶĚ
and ƚŚĂƚ
    that ƚŚĞ
          the W/
               PIC ǁĂƐ
                   was ĂǁĂŬĞ͕
                        awake, ĂůĞƌƚ͕
                                alert, ĂŶĚ
                                       and ŽƌŝĞŶƚĞĚ͘
                                            oriented.

On :ƵůǇ
KŶ  July Ϭϳ͕
         07, ϮϬϮϯ͕
             2023, Ăƚ
                    at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                        approximately ϮϮϬϬ
                                       2200 ŚŽƵƌƐ͕
                                              hours, /ŶǀĞƐƟŐĂƚŽƌƐ
                                                     Investigators [in                            attempted
                                                                                                  ĂƩĞŵƉƚĞĚ
ƚŽ
to ŝŶƚĞƌǀŝĞǁ
   interview W/
               Pic        Ăƚ
                          at ůŵŚƵƌƐƚ
                             Elmhurst ,ŽƐƉŝƚĂů͘
                                      Hospital. W/
                                                 PICA      ƌĞĨƵƐĞĚ
                                                           refused ƚŽ
                                                                   to ƉƌŽǀŝĚĞ
                                                                      provide Ă
                                                                              a ƐƚĂƚĞŵĞŶƚ͕
                                                                                statement, ŚĂǀĞ
                                                                                           have ƉŚŽƚŽƐ
                                                                                                photos ƚĂŬĞŶ
                                                                                                       taken
ĂŶĚ  ƚŽ ƐŝŐŶ Ă  ,/W  ĨŽƌŵ͘
and to sign a HIPAA form.

^ƚĂī
Staff ƌĞƉŽƌƚƐ͗
      reports:

dŚĞ ĨŽůůŽǁŝŶŐ
The following DK^
              MOS ƐƵďŵŝƩĞĚ
                  submitted hƐĞ
                            Use ŽĨ
                                of tŝƚŶĞƐƐͬtŝƚŶĞƐƐ
                                   Witness/Witness ƌĞƉŽƌƚƐ͗
                                                   reports:

-        KĸĐĞƌ




                                                                                                           Exh
                                                                                                           Exh bit
                                                                                                               bit 35
                                                                                                                   35 at
                                                                                                                      at 57
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Officer    IM    reported that at approximately 0930 hours, Pic”       got up form his bed and began to
curse at his peers and threatened to do bodily harm as he walked to the bathroom. Said PIC quickly
returned to his bed from the bathroom and exchanged words with his peers before returning to the
bathroom. Said officer heard a commotion in the bathroom, which flowed onto the common area of the
unit and said PIC exchanged punches with several PICs from the housing unit. Commands were given to
the PICs to stop fighting, to no avail. Said officer utilized "hand techniques" until he was ale to remove
said PIC from the unit. As said PIC stood outside of the unit by the door, said PIC grabbed the handle,
preventing said officer from closing the door. Said officer removed said PICs hand from the door.

Officer   | reported that the Control Room was notified of the incident, so that the area supervisor
could be notified, which was unsuccessful.

Officer [I       anc [i                      submitted 600Ars which were ordered by the facility.

Officer             reported that on 7/7/23 he was assigned to the Control Room "B" post for the
0600x1431 tour. Said officer was notified several times by Office           who was assigned to the West
Upper 18 A post, that said officer was requesting for the area supervisor to report to West Upper 18.
Officer          requested for the "J House" supervisor (Captain                         via radio
transmission and notified her that WU18 was requesting for her to report/call that area.

Officer          reported that at approximately 0945 hours, she called central control to contact Captain
             Central control made the radio transmission, but there was no response. Officers             and
          returned, and also made a radio transmission approximately 25 minutes later for said captain,
but there was still no response. Central control made another transmission and said captain was asked to
call the housing area, which was over an hour after the incident. Officer    I     explained to Captain
           that there was a fight with multiple PICs. Captain PE       er ived at approximately 1215 hours,
and she explained to said captain that she was not sure if she had a use of force, while the PIC was being
removed form the housing area. At approximately 1345 hours, Captain                 informed said officer
that only Officer JM utilized force.

Facility Rapid Review:

The Rapid Review conducted by Deputy Warden [noted that Officer                  would be made the
subject of a Command Discipline, as the MOS failed to act when there was a multiple inmate on inmate
altercation. It was noted that Officer J       was not BWC trained. As of current the CD has not yet been
generated.

Additional Documents

Radio transmissions from AMKC- 07/07/23 0900x1030 hours were obtained (placed on CD disk).

On July 11, 2023, an email was sent to AMKC requesting a report from Captain                The report is
forthcoming.

As per the related Callout Report, On July 07, 2023, Investigators [iin                             were
dispatched to AMKC and obtained the following documents:




                                                                                                 Exh bit 35 at 58
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--       ůŝŶŝĐ
         Clinic /ŶũƵƌǇ
                Injury ZĞƉŽƌƚ
                       Report >ŽŐďŽŽŬ
                              Logbook

--      AMKC K
        D<  OC >ŽŐďŽŽŬ-
                   Logbook- WĂŐĞƐ
                            Pages ϴϬ
                                  80 Θ
                                     & ϴϭ
                                       81 ƌĞǀĞĂůĞĚ
                                          revealed ƚŚĂƚ
                                                   that KĸĐĞƌ
                                                        Officer JM                 signed ŽƵƚ
                                                                                   ƐŝŐŶĞĚ out ĐŚĞŵŝĐĂů
                                                                                              chemical ĂŐĞŶƚƐ
                                                                                                       agents ;ŵŬϰ
                                                                                                              (mk4
#370) at 2200 hours.
ηϯϳϬͿ Ăƚ ϮϮϬϬ ŚŽƵƌƐ͘

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
          the ĞǀŝĚĞŶĐĞ
              evidence ĐŝƚĞĚ
                        cited ĂďŽǀĞ͕
                              above, ƚŚŝƐ
                                      this ĐĂƐĞ
                                           case ŝƐ
                                                is ďĞŝŶŐ
                                                   being ƌĞĨĞƌƌĞĚ
                                                         referred ĨŽƌ
                                                                  for ĨƵƌƚŚĞƌ
                                                                      further ŝŶǀĞƐƟŐĂƟŽŶ
                                                                              investigation ĚƵĞ
                                                                                            due ƚŽ
                                                                                                to ŽƚŚĞƌ
                                                                                                   other &Ƶůů
                                                                                                         Full
/
ID ĐŝƌĐƵŵƐƚĂŶĐĞƐ
   circumstances ĂƐ
                  as ƐƵŵŵĂƌŝǌĞĚ
                     summarized ďĞůŽǁ͘
                                   below.

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                      that ƚŚĞ
                                           the ΗƐŽŌ
                                               "soft ŚĂŶĚ
                                                     hand ƚĞĐŚŶŝƋƵĞƐΗ
                                                          techniques" ƵƟůŝǌĞĚ
                                                                      utilized ďǇ
                                                                               by KĸĐĞƌ
                                                                                  Officer J                       ǁĞƌĞ
                                                                                                                   were ŶŽƚ
                                                                                                                         not
ĞīĞĐƟǀĞ͕   ĂƐ ƚŚĞ   ĂůƚĞƌĐĂƟŽŶ    ĐŽŶƟŶƵĞĚ͘    KĸĐĞƌ
effective, as the altercation continued. Officer                ĚŝĚ ŶŽƚ ƵƟůŝǌĞ  ƚŚĞ  ŵŝŶŝŵƵŵ     ĂŵŽƵŶƚ   ŽĨ ĨŽƌĐĞ
                                                           IM did not utilize the minimum amount of force that       ƚŚĂƚ
ĂƉƉĞĂƌĞĚ
appeared ǁĂƌƌĂŶƚĞĚ
            warranted ďǇ  by ƚŚĞ
                             the ƐŝƚƵĂƟŽŶ
                                  situation ŝŶ
                                             in ƐƵĐŚ
                                                 such Ăa ŵĂŶŶĞƌ
                                                         manner ƚŽto ŵŝŶŝŵŝǌĞ
                                                                     minimize ŝŶũƵƌŝĞƐ
                                                                                injuries ƚŽ
                                                                                         to ƚŚĞ
                                                                                            the ŝŶĚŝǀŝĚƵĂůƐ
                                                                                                 individuals ŝŶ
                                                                                                              in ĐƵƐƚŽĚǇ͘
                                                                                                                  custody.
KĸĐĞƌ
Officer J        ĚŝĚ
                 did ŶŽƚ
                      not ŝŶĐƌĞĂƐĞ
                           increase ĨŽƌĐĞ
                                     force Žƌ
                                            or ƵƟůŝǌĞ
                                                utilize ĂŶ
                                                        an ĂůƚĞƌŶĂƟǀĞ
                                                           alternative ƐƵĐŚ
                                                                       such ĂƐ
                                                                             as ĐŚĞŵŝĐĂů
                                                                                 chemical ĂŐĞŶƚƐ͕
                                                                                            agents, ŝŶ
                                                                                                     in ǁŚŝĐŚ
                                                                                                        which ŚĞhe ǁĂƐ
                                                                                                                    was ŝŶin
ƉŽƐƐĞƐƐŝŽŶ   ŽĨ͘ Ɛ  Ă ƌĞƐƵůƚ͕
possession of. As a result, PICAW/        ƐƵƐƚĂŝŶĞĚ    ƐĞƌŝŽƵƐ ŝŶũƵƌŝĞƐ͘
                                           sustained serious injuries.

Pursuant ƚŽ
WƵƌƐƵĂŶƚ  to ƚŚŝƐ
             this ŝŶǀĞƐƟŐĂƟŽŶ͕
                  investigation, KĸĐĞƌ
                                   Officer J        was ƐƵƐƉĞŶĚĞĚ
                                                    ǁĂƐ suspended ďǇ
                                                                  by ƚŚĞ
                                                                     the /ŶǀĞƐƟŐĂƟŽŶ
                                                                         Investigation ŝǀŝƐŝŽŶ
                                                                                       Division ŽŶ
                                                                                                on :ƵůǇ
                                                                                                   July ϭϮ͕
                                                                                                        12,
ϮϬϮϯ͖
2023; ŚŝƐ
      his ƌĞƚƵƌŶ
          return ƚŽ
                  to ĚƵƚǇ
                     duty ĚĂƚĞ
                           date ŝƐ
                                 is ƉĞŶĚŝŶŐ͘
                                    pending.

/ƚIt ǁĂƐ
     was ƌĞƉŽƌƚĞĚ
         reported ƚŚĂƚ
                   that ƚŚĞ
                        the ĂƌĞĂ
                            area ƐƵƉĞƌǀŝƐŽƌ͕
                                 supervisor, ĂƉƚĂŝŶ
                                              Captain           ĨĂŝůĞĚ
                                                                 failed ƚŽ
                                                                         to ƌĞƐƉŽŶĚ
                                                                             respond ƚŽto ŵƵůƟƉůĞ
                                                                                           multiple ƌĂĚŝŽ
                                                                                                     radio
ƚƌĂŶƐŵŝƐƐŝŽŶƐ
transmissions ƌĞƋƵĞƐƟŶŐ
                 requesting ŚĞƌ
                             her ĂƐƐŝƐƚĂŶĐĞ
                                 assistance ƚŽ
                                             to ƚŚĞ
                                                the ĂƌĞĂ
                                                    area ĂŶĚ
                                                         and ƚŚĂƚ
                                                             that ƐĂŝĚ
                                                                    said ĐĂƉƚĂŝŶ
                                                                          captain ĚŝĚ
                                                                                   did ŶŽƚ
                                                                                        not ƌĞƉŽƌƚ
                                                                                             report ƚŽ
                                                                                                     to ƚŚĞ
                                                                                                        the ĂƌĞĂ
                                                                                                            area ƵŶƟů
                                                                                                                 until
approximately an hour after the incident was terminated. Captain |
ĂƉƉƌŽǆŝŵĂƚĞůǇ    ĂŶ   ŚŽƵƌ ĂŌĞƌ ƚŚĞ ŝŶĐŝĚĞŶƚ  ǁĂƐ  ƚĞƌŵŝŶĂƚĞĚ͘ ĂƉƚĂŝŶ                  report is forthcoming.
                                                                                        ƌĞƉŽƌƚ  ŝƐ ĨŽƌƚŚĐŽŵŝŶŐ͘

dŚŝƐ ŝŶĐŝĚĞŶƚ
This incident ǁĂƐ
              was ƌĞƉŽƌƚĞĚ
                  reported ƚŽ
                           to K͕
                              COD, ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                   approximately ϴ
                                                 8 ŚŽƵƌƐ
                                                   hours ĂŶĚ
                                                         and ϯϱ
                                                             35 ŵŝŶƵƚĞƐ
                                                                minutes ĨŽůůŽǁŝŶŐ
                                                                        following ƚŚĞ
                                                                                  the ŝŶĐŝĚĞŶƚ
                                                                                      incident ĂŶĚ
                                                                                               and
several W/Ɛ
ƐĞǀĞƌĂů   PICs ǁĞƌĞ
               were ƉƌŽǀŝĚĞĚ
                    provided ŶŽƚĂďůǇ
                             notably ĚĞůĂǇĞĚ
                                     delayed ŵĞĚŝĐĂů
                                             medical ĂƩĞŶƟŽŶ͖
                                                     attention; ŶŽ
                                                                no ĞǆƉůĂŶĂƟŽŶ
                                                                   explanation ǁĂƐ
                                                                               was ƉƌŽǀŝĚĞĚ
                                                                                   provided ďǇ
                                                                                            by ƚŚĞ
                                                                                               the
ĨĂĐŝůŝƚǇ͘
facility.




                                                                                                             Exh
                                                                                                             Exh bit
                                                                                                                 bit 35
                                                                                                                     35 at
                                                                                                                        at 59
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for August
                                   August 2023
                                          2023 (3246/23)
                                               (3246/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&͗ϯϮϰϲͬϮϯ
                                                UOF:3246/23

AMKC
AMKC

ƌŝĞĨ
Brief /ŶĐŝĚĞŶƚ
      Incident ^ƵŵŵĂƌǇ͗
               Summary:

KŶ
On :ƵŶĞ
   June Ϯϳ͕
        27, ϮϬϮϯ͕
            2023, Ăƚ
                  at ϭϲϰϱ
                     1645 ŚŽƵƌƐ͕
                          hours,                                              ŵƵůƟƉůĞ
                                                                              multiple W/Ɛ
                                                                                       PICs ŝŶĐůƵĚŝŶŐ
                                                                                            including


                         :ŽƐĞƉŚ
                         Joseph DǇĞƌƐ
                                Myers Ez^/
                                      NYSID ϭϮϭϰϭϴϲϲD͕
                                            12141866M,




                 ĞƌĞ
                 ere ŽďƐĞƌǀĞĚ
                      observed ŝŶ in ƚŚĞ
                                     the ŵŝŶŝ
                                          mini ǇĂƌĚ
                                                  yard ǁŝƚŚ
                                                          with ƐƚĂī
                                                                staff ĂƐ
                                                                       as ƚŚĞǇ
                                                                           they ǁĂůŬĞĚ
                                                                                  walked ƚŽǁĂƌĚƐ
                                                                                            towards ƚŚĞthe ĨĂƌ
                                                                                                             far ƐŝĚĞ
                                                                                                                  side ŽĨ
                                                                                                                        of ƚŚĞ
                                                                                                                           the ǇĂƌĚ
                                                                                                                                 yard
near ĂŶŽƚŚĞƌ
ŶĞĂƌ  another ĞŶƚƌĂŶĐĞ
                 entrance ŐĂƚĞ
                             gate ƚĂůŬŝŶŐ
                                   talking ƚŽto Ăa ƉŝĐ
                                                    pic ĂŶĚ
                                                          and ƐƚĂī
                                                               staff ŽŶ
                                                                      on ƚŚĞ
                                                                          the ŽƉƉŽƐŝƚĞ
                                                                               opposite ƐŝĚĞside ŽĨ
                                                                                                 of ƚŚĞ
                                                                                                     the ŐĂƚĞ
                                                                                                          gate
a. Ϳ͘ dŚĞ    The W/Ɛ
                   PICs ƌĞƚƌĞĂƚ
                         retreat ĂŶĚ
                                  and ǁĂůŬ
                                        walk ƚŽǁĂƌĚƐ
                                               towards ĂŶŽƚŚĞƌ
                                                             another ĚŽŽƌ
                                                                        door iii ǁŚŝĐŚ     which ŝƐ
                                                                                                  is ƚŚĞ
                                                                                                     the ŐĂƚĞ
                                                                                                           gate ŝŶƚŽ
                                                                                                                  into ƚŚĞ
                                                                                                                        the ďƵŝůĚŝŶŐ
                                                                                                                             building ĨŽƌfor
ƐŵĂůů
small ǇĂƌĚͿ͘
       yard). tŚĞƌĞ
               Where ƚŚĞǇ
                        they ĐŽŶŐƌĞŐĂƚĞĚ
                               congregated ĂŶĚ   and ǁĞƌĞ
                                                       were ĐŽŶǀĞƌƐŝŶŐ
                                                               conversing ǁŝƚŚwith ƐƚĂī
                                                                                     staff ĂŶĚ
                                                                                            and W/Ɛ
                                                                                                 PICs ǁĂůŬĞĚ
                                                                                                        walked ƚŽǁĂƌĚƐ
                                                                                                                   towards ƚŚĞthe ƐĂŵĞ
                                                                                                                                    same
ĂƌĞĂ
area               W/Ɛ
                   PICs ǁĞƌĞ
                         were ƐĞĞŶ
                                seen ƋƵŝůƟŶŐ
                                       quilting ƚŚĞthe ƐŝƚƵĂƟŽŶ
                                                         situation ďǇ by ƚŚĞŝƌ
                                                                         their ŚĂŶĚ
                                                                                 hand ŐĞƐƚƵƌĞƐ͘
                                                                                         gestures. ^ƚĂī
                                                                                                     Staff ĂŶĚ
                                                                                                            and W/Ɛ
                                                                                                                   PICs ƚŚĞŶ
                                                                                                                         then ǁĂůŬĞĚ
                                                                                                                                walked
ƚŽǁĂƌĚƐ    ƚŚĞ ĚŽŽƌ͘   ƚ ĂƉƉƌŽǆŝŵĂƚĞůǇ       ϭϲϰϳ     ŚŽƵƌƐ͕   ĂĚĚŝƟŽŶĂů     ƐƚĂī   ƌĞƐƉŽŶĚĞĚ
towards the door. At approximately 1647 hours, additional staff responded including Captain         ŝŶĐůƵĚŝŶŐ     ĂƉƚĂŝŶ
                     W/Ɛ
                     PICs ďĞŐĂŶ
                           began ǁĂůŬŝŶŐ
                                    walking ĂǁĂǇ
                                               away ƚŽǁĂƌĚƐ
                                                        towards ƚŚĞ the ĚŽŽƌ
                                                                         door ǁŚĞŶ
                                                                                when ĂƉƚĂŝŶ
                                                                                         Captain         I ŽƌĚĞƌĞĚ
                                                                                                                 ordered ƚŚĞŵ
                                                                                                                            them ƚŽ to
ƐƚĞƉ
step ďĂĐŬ
     back ĂƐas ƚŚĞǇ
                they ǁĞƌĞ
                      were ƚĂůŬŝŶŐ
                             talking ĂďŽƵƚ
                                       about Ă  a ďĂůů
                                                   ball ďĞŝŶŐ
                                                          being ƚŚƌŽǁŶ
                                                                 thrown ŽŶ  on ƚŚĞ
                                                                                the ƌŽŽĨ
                                                                                      roof ĂŶĚ
                                                                                            and ƚŚĞǇ
                                                                                                 they ǁĂŶƚ
                                                                                                        want ƚŽ to ŐŽ
                                                                                                                    go ďĂĐŬ
                                                                                                                        back ƚŽto ƚŚĞŝƌ
                                                                                                                                   their
ŚŽƵƐŝŶŐ   ĂƌĞĂ   ƐŽ ƚŚĞǇ   ĐŽƵůĚ  ƵƐĞ   ƚŚĞ
housing area so they could use the phone [|  ƉŚŽŶĞ      ;           Ăƚ
                                                                    at 16:48:04). Staff and PICs remained in the area ĂŶĚ
                                                                        ϭϲ͗ϰϴ͗ϬϰͿ͘    ^ƚĂī   ĂŶĚ  W/Ɛ   ƌĞŵĂŝŶĞĚ      ŝŶ ƚŚĞ   ĂƌĞĂ   and
ĐŽŶƟŶƵĞĚ
continued ƐƉĞĂŬŝŶŐ
             speaking ĂƐ as ĂĚĚŝƟŽŶĂů
                            additional ƐƚĂī
                                          staff ƌĞƐƉŽŶĚĞĚ͘
                                                  responded.

W/
PIC       ǁĂƐ
          was ŚĞĂƌĚ
              heard ŝŶĐŝƟŶŐ
                      inciting ƚŚĞ
                               the ŽƚŚĞƌ
                                   other ƉŝĐƐ
                                          pics ƚŚĞŶ
                                               then ƚƵƌŶĞĚ
                                                     turned ĂƌŽƵŶĚ
                                                             around ĂŶĚ
                                                                    and ǁĂůŬĞĚ
                                                                          walked ƚŽǁĂƌĚƐ
                                                                                  towards ƐƚĂī
                                                                                            staff ĂƐ
                                                                                                   as ƚŚĞǇ
                                                                                                      they
ĐŽŶƟŶƵĞĚ
continued ĂƌŐƵŝŶŐ
          arguing ǁŚĞŶ
                  when KĸĐĞƌ
                           Office,                          ĚĞƉůŽǇĞĚ
                                                            deployed ĂŶ
                                                                      an ĂƉƉůŝĐĂƟŽŶ
                                                                          application ŽĨ
                                                                                       of ĐŚĞŵŝĐĂů
                                                                                          chemical ĂŐĞŶƚƐ
                                                                                                      agents
ƚŽǁĂƌĚƐ
towards W/
         =        Ăƚ
                   at ǁŚŝĐŚ
                      which ƟŵĞ͕
                              time, ŚĞ
                                    he ƌĞƚƌĞĂƚĞĚ
                                        retreated ďǇ
                                                   by ƌƵŶŶŝŶŐ
                                                      running ĨƌŽŵ
                                                               from ƚŚĞ
                                                                    the ĂƌĞĂ
                                                                         area ĂŶĚ
                                                                               and ĐŽŵƉůŝĂŶĐĞ
                                                                                    compliance ǁĂƐwas ŐĂŝŶĞĚ
                                                                                                        gained


dŚĞ W/Ɛ
The PICs ǁĞƌĞ
         were ƐĞĞŶ
              seen ǁŝƚŚ
                   with ƚŚĞŝƌ
                        their ŚĂŶĚƐ
                              hands ŽŶ
                                    on ƚŚĞ
                                       the ǁĂůů
                                           wall ǁŚĞŶ
                                                when ĂƉƚĂŝŶ
                                                     Captain                ƵƟůŝǌĞĚ
                                                                            utilized ĐŚĞŵŝĐĂů
                                                                                     chemical ĂŐĞŶƚƐ
                                                                                              agents ŽŶ
                                                                                                      on
ŵƵůƟƉůĞ
multiple W/Ɛ
           PICs ǁŚŽ
                who ĚŝĚ
                    did ŶŽƚ
                        not ƉŽƐĞ
                            pose ĂŶǇ
                                  any ŝŵŵŝŶĞŶƚ
                                      imminent ƚŚƌĞĂƚ
                                                 threat ƚŽ
                                                        to ŚĞƌ
                                                           her ŶŽƌ
                                                               nor ƐƚĂī
                                                                   staff                       ^ŚŽƌƚůǇ
                                                                                               Shortly ĂŌĞƌ͕
                                                                                                        after,
Ăůů ƚŚĞ W/Ɛ  ĐŽŵƉůŝĞĚ͕ ƐĞĐƵƌĞĚ ŝŶ ƌĞƐƚƌĂŝŶƚƐ ĂŶĚ ƐƵďƐĞƋƵĞŶƚůǇ   ĞƐĐŽƌƚĞĚ ŽƵƚ ƚŚĞ  ĂƌĞĂ͕ ƚĞƌŵŝŶĂƚĞĚ
all the PICs complied, secured in restraints and subsequently escorted out the area, terminated the  ƚŚĞ
ŝŶĐŝĚĞŶƚ͘
incident.

ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ͗
          Camera:

dŚĞ ďŽĚǇ-ǁŽƌŶ
The body-worn ĐĂŵĞƌĂƐ
              cameras [nn                                              ǁĞƌĞ
                                                                       were ŐĞŶĞƌĂůůǇ
                                                                             generally ĐŽŶƐŝƐƚĞŶƚ
                                                                                         consistent ǁŝƚŚ
                                                                                                    with 'ĞŶĞƚĞĐ
                                                                                                          Genetec
video ĞǀŝĚĞŶĐĞ͘
ǀŝĚĞŽ  evidence. /ŶIn ĂĚĚŝƟŽŶ͕
                      addition, ŽďƐĞƌǀĞĚ
                                 observed ƐĞĐƵƌĞĚ
                                            secured ƚŚĞ
                                                     the W/Ɛ
                                                         PICs ŝŶ
                                                              in ƌĞƐƚƌĂŝŶƚƐ
                                                                  restraints ĂƐ
                                                                             as ƚŚĞǇ
                                                                                they ĐŽŵƉůĂŝŶĞĚ
                                                                                       complained ŽĨof ďĞŝŶŐ
                                                                                                       being ƐƉƌĂǇĞĚ
                                                                                                             sprayed
ŝŶ ƚŚĞ ĨĂĐĞ ĨŽƌ  ŶŽ  ƌĞĂƐŽŶ͘  dŚĞ  W/Ɛ ĂůƐŽ ƐƚĂƚĞĚ ƚŚĂƚ ĂƉƚĂŝŶ
in the face for no reason. The PICs also stated that Captain                  ƐŚŽƵůĚ   ďĞ  ǁƌŝƩĞŶ  ƵƉ
                                                                              should be written up andĂŶĚ
complained ƚŚĞ
ĐŽŵƉůĂŝŶĞĚ    the ĐƵīƐ
                  cuffs ǁĞƌĞ
                         were ƟŐŚƚ͘
                               tight. ^ƚĂī
                                      Staff ƚŚĞŶ
                                            then ĞƐĐŽƌƚĞĚ
                                                 escorted ƚŚĞ
                                                           the W/Ɛ
                                                                PICs ĨƌŽŵ
                                                                      from ƚŚĞ
                                                                            the ĂƌĞĂ͘
                                                                                 area.

dŚĞ ďŽĚǇ-ǁŽƌŶ
The body-worn ĐĂŵĞƌĂƐ
              cameras [iin                               ĚĞƉŝĐƚĞĚ
                                                         depicted ƐƚĂī
                                                                  staff ĞƐĐŽƌƟŶŐ
                                                                        escorting ƚŚĞ
                                                                                  the W/Ɛ
                                                                                      PICs ĨƌŽŵ
                                                                                           from ƚŚĞ
                                                                                                the ĂƌĞĂ
                                                                                                    area ƚŽ
                                                                                                         to ƚŚĞ
                                                                                                            the /ŶƚĂŬĞ͕
                                                                                                                Intake,
without ŝŶĐŝĚĞŶƚ͘
ǁŝƚŚŽƵƚ incident.

dŚĞ ďŽĚǇ-ǁŽƌŶ
The body-worn ĐĂŵĞƌĂƐ
              cameras [iin                            ǁĞƌĞ
                                                      were ŐĞŶĞƌĂůůǇ
                                                            generally ĐŽŶƐŝƐƚĞŶƚ
                                                                       consistent ǁŝƚŚ
                                                                                     with 'ĞŶĞƚĞĐ
                                                                                            Genetec ǀŝĚĞŽ
                                                                                                     video ĞǀŝĚĞŶĐĞ͘
                                                                                                            evidence. /Ŷ
                                                                                                                       In
addition, ƐƚĂī
ĂĚĚŝƟŽŶ͕   staff ǁĂƐ
                  was ŚĞĂƌĚ
                       heard ŐŝǀŝŶŐ
                               giving ƚŚĞ
                                       the W/Ɛ
                                             PICs ŝŶƐƚƌƵĐƟŽŶ
                                                   instruction ƚŽ
                                                               to ŐĞƚ
                                                                   get ŽŶ
                                                                       on ƚŚĞ
                                                                           the ǁĂůů͘
                                                                                wall. ƚ
                                                                                       At ǁŚŝĐŚ
                                                                                          which ƟŵĞ͕
                                                                                                 time, ĐŚĞŵŝĐĂů
                                                                                                        chemical ĂŐĞŶƚƐ
                                                                                                                  agents
ǁĞƌĞ
were ŚĞĂƌĚ
       heard ďĞŝŶŐ
               being ƵƟůŝǌĞĚ
                      utilized ĂŶĚ
                                and ƐƚĂī
                                     staff ǁĂƐ
                                            was ŚĞĂƌĚ
                                                  heard ƐĂǇŝŶŐ
                                                         saying ΗƐŚĞΖƐ
                                                                 "she's ǁŝůĚŝŶŐ͘Η
                                                                         wilding." dŚĞ
                                                                                     The W/Ɛ
                                                                                           PICs ĐŽŶƟŶƵĞĚ
                                                                                                continued ĐŽŵƉůĂŝŶŝŶŐ
                                                                                                            complaining ŽĨof
being ƐƉƌĂǇĞĚ
ďĞŝŶŐ  sprayed ĨŽƌfor ŶŽ
                      no ƌĞĂƐŽŶ
                          reason ǁŚĞŶ
                                   when ƚŚĞŝƌ
                                           their ŚĂŶĚƐ
                                                  hands ǁĞƌĞ
                                                          were ďĞŚŝŶĚ
                                                                behind ƚŚĞŝƌ
                                                                         their ďĂĐŬƐ͘
                                                                                backs.



                                                                                                                           Exh
                                                                                                                           Exh bit
                                                                                                                               bit 35
                                                                                                                                   35 at
                                                                                                                                      at 60
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dŚĞ ďŽĚǇ-ǁŽƌŶ
The body-worn ĐĂŵĞƌĂƐ
              cameras [in                   ǁĞƌĞ
                                            were ŐĞŶĞƌĂůůǇ
                                                  generally ĐŽŶƐŝƐƚĞŶƚ
                                                             consistent ǁŝƚŚ
                                                                        with 'ĞŶĞƚĞĐ
                                                                              Genetec ǀŝĚĞŽ
                                                                                         video ĞǀŝĚĞŶĐĞ͘
                                                                                                evidence. /Ŷ
                                                                                                           In
ĂĚĚŝƟŽŶ͕
addition, ŚĞĂƌĚ
          heard ƚŚĞ
                the W/Ɛ
                    PICs ĂƌŐƵŝŶŐ
                         arguing ǁŝƚŚ
                                 with ƐƚĂī
                                      staff ĂďŽƵƚ
                                            about ƵƐŝŶŐ
                                                   using ƚŚĞ
                                                         the ƉŚŽŶĞ
                                                              phone ;ŚŽǁĞǀĞƌ͕
                                                                     (however, Ăůů
                                                                                all ƚŚĞŝƌ
                                                                                    their ĚŝĂůŽŐƵĞ
                                                                                           dialogue ǁĂƐ
                                                                                                     was ŶŽƚ
                                                                                                         not
ĐůĞĂƌͿ͘
clear).

sŝĚĞŽ
Video ^ƵƌǀĞŝůůĂŶĐĞ͗
      Surveillance:

'ĞŶĞƚĞĐ
Genetec ǀŝĚĞŽ
          video ƐƵƌǀĞŝůůĂŶĐĞ
                 surveillance ĂŶŐůĞƐ
                               angles i                                             ǁĞƌĞ
                                                                                    were ƌĞǀŝĞǁĞĚ
                                                                                          reviewed ĨƌŽŵ
                                                                                                      from ϭϲϰϮ
                                                                                                            1642
ŚŽƵƌƐ
hours ƚŽ
       to ϭϳϬϬ
          1700 ŚŽƵƌƐ
                hours ŽŶ
                       on :ƵŶĞ
                           June Ϯϳ͕
                                 27, ϮϬϮϯ͕
                                     2023, ŝŶ
                                            in D<
                                               AMKC DŝŶŝ
                                                      Mini zĂƌĚ
                                                           Yard ĂƌĞĂ͘
                                                                 area. 'ĞŶĞƚĞĐ
                                                                       Genetec ǀŝĚĞŽ
                                                                                video ƐƵƌǀĞŝůůĂŶĐĞ
                                                                                       surveillance ĨŽŽƚĂŐĞ
                                                                                                      footage
ĚĞƉŝĐƚĞĚ
depicted ƚŚĞ
          the ŝŶĐŝĚĞŶƚ
               incident ĂƐ
                         as ŶĂƌƌĂƚĞĚ
                            narrated ĂďŽǀĞ͘
                                      above. ŽƚŚ
                                                Both ƚŚĞ
                                                     the ŝŶǀĞƐƟŐĂƚŽƌ
                                                         investigator ĂŶĚ
                                                                       and ƐƵƉĞƌǀŝƐŽƌ
                                                                           supervisor ƌĞǀŝĞǁĞĚ
                                                                                       reviewed ƚŚĞthe 'ĞŶĞƚĞĐ
                                                                                                       Genetec
ĨŽŽƚĂŐĞ  ĂŶĚ  ǀĞƌŝĮĞĚ  ƚŚĂƚ  ƚŚĞƌĞ  ǁĞƌĞ  ŶŽ  ĂƐƐŽĐŝĂƚĞĚ  ,ĂŶĚŚĞůĚ   ǀŝĚĞŽƐ ĂƐƐŽĐŝĂƚĞĚ  ǁŝƚŚ
footage and verified that there were no associated Handheld videos associated with this case. ƚŚŝƐ  ĐĂƐĞ͘

^ƚĂīͬW/
Staff/PIC ŝŶũƵƌŝĞƐ͕
          injuries, ĐĐƵƌĂĐǇ
                    Accuracy ŽĨ
                             of hK&
                                UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                                    classification:

According ƚŽ
ĐĐŽƌĚŝŶŐ   to /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϰϳ͕
                             FY23/8947, W/
                                         Pic” ǁĂƐ  was ƐĞĞŶ
                                                        seen ďǇ
                                                             by ŵĞĚŝĐĂů
                                                                medical ŽŶon June  27, ϮϬϮϯ͕
                                                                             :ƵŶĞ Ϯϳ͕  2023, Ăƚ
                                                                                             at ϭϴϱϱ
                                                                                                1855 ŚŽƵƌƐ͘
                                                                                                      hours.
dŚĞ  ƌĞƉŽƌƚ  ŶŽƚĞĚ
The report noted PicW/       ƌĞĨƵƐĞĚ
                              refused medical attention, was in no distress or bleeding and had no ǀŝƐŝďůĞ
                                      ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕   ǁĂƐ ŝŶ ŶŽ ĚŝƐƚƌĞƐƐ  Žƌ ďůĞĞĚŝŶŐ  ĂŶĚ ŚĂĚ  ŶŽ visible
ŝŶũƵƌŝĞƐ
injuries ŽďƐĞƌǀĞĚ͘
         observed.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϱϱ͕
                             FY23/8955, W/
                                         Pic         ǁĂƐ
                                                     was ƐĞĞŶ
                                                          seen ďǇ
                                                                by ŵĞĚŝĐĂů
                                                                   medical ŽŶ
                                                                            on :ƵŶĞ
                                                                                June Ϯϳ͕
                                                                                       27, ϮϬϮϯ͕
                                                                                            2023, Ăƚ
                                                                                                   at ϭϵϭϱ
                                                                                                      1915 ŚŽƵƌƐ͘
                                                                                                             hours.
dŚĞ ƌĞƉŽƌƚ
The report ŶŽƚĞĚ
           noted W/
                 Pic       a   ƌĞĨƵƐĞĚ
                                refused ŵĞĚŝĐĂů
                                        medical ĂƩĞŶƟŽŶ͕
                                                attention, ĚĞŶŝĞƐ
                                                           denies ĂŶǇ
                                                                   any ƉĂŝŶ
                                                                       pain Žƌ
                                                                             or ŝŶũƵƌǇ͕
                                                                                injury, ĂŶĚ
                                                                                          and ŚĂĚ
                                                                                               had ŶŽ
                                                                                                    no ǀŝƐŝďůĞ
                                                                                                       visible
ŝŶũƵƌŝĞƐ
injuries ŽďƐĞƌǀĞĚ͘
         observed.

According ƚŽ
ĐĐŽƌĚŝŶŐ   to /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                        Report &zϮϯͬϴϵϱϴ͕
                               FY23/8958, W/
                                            PIC         was ƐĞĞŶ
                                                       ǁĂƐ  seen ďǇ
                                                                  by ŵĞĚŝĐĂů
                                                                     medical ŽŶon June
                                                                                   :ƵŶĞ Ϯϳ͕27, ϮϬϮϯ͕
                                                                                                2023, Ăƚ
                                                                                                       at ϭϵϮϱ
                                                                                                          1925 ŚŽƵƌƐ͘
                                                                                                                 hours.
dŚĞ ƌĞƉŽƌƚ
The  report ŶŽƚĞĚ
             noted W/
                     PIC         ƌĞĨƵƐĞĚ
                                  refused ŵĞĚŝĐĂů
                                          medical ĂƩĞŶƟŽŶ͕
                                                  attention, ĚĞŶŝĞƐ
                                                             denies ĂŶǇ
                                                                     any ƉĂŝŶ
                                                                          pain Žƌ
                                                                                or ŝŶũƵƌǇ͕
                                                                                    injury, ĂŶĚ
                                                                                              and ŚĂĚ
                                                                                                   had ŶŽ
                                                                                                        no ǀŝƐŝďůĞ
                                                                                                           visible
ŝŶũƵƌŝĞƐ
injuries ŽďƐĞƌǀĞĚ͘
         observed.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
              Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϰϵ͕
                               FY23/8949, W/
                                          Pic          ǁĂƐ
                                                       was ƐĞĞŶ
                                                            seen ďǇ
                                                                  by ŵĞĚŝĐĂů
                                                                     medical ŽŶ
                                                                              on :ƵŶĞ
                                                                                 June Ϯϳ͕
                                                                                        27, ϮϬϮϯ͕
                                                                                             2023, Ăƚ
                                                                                                    at ϭϴϱϱ
                                                                                                       1855
ŚŽƵƌƐ͘
hours. dŚĞ
       The ƌĞƉŽƌƚ
            report ŶŽƚĞĚ
                    noted W/
                           Pic           ƌĞĨƵƐĞĚ
                                         refused ŵĞĚŝĐĂů
                                                 medical ĂƩĞŶƟŽŶ͕
                                                         attention, ĂŶĚ
                                                                     and ŚĂĚ
                                                                          had ŶŽ
                                                                              no ǀŝƐŝďůĞ
                                                                                 visible ŝŶũƵƌŝĞƐ
                                                                                           injuries ŽďƐĞƌǀĞĚ͘
                                                                                                    observed.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϱϬ͕
                             FY23/8950, W/
                                         me        ǁĂƐ
                                                   was ƐĞĞŶ
                                                        seen ďǇ
                                                             by ŵĞĚŝĐĂů
                                                                 medical ŽŶon :ƵŶĞ
                                                                              June Ϯϳ͕
                                                                                    27, ϮϬϮϯ͕
                                                                                        2023, Ăƚ
                                                                                               at ϭϴϱϱ
                                                                                                   1855 ŚŽƵƌƐ͘
                                                                                                         hours.
dŚĞ ƌĞƉŽƌƚ
The report ŶŽƚĞĚ
           noted W/
                 Pic          ƌĞĨƵƐĞĚ
                              refused ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ͕
                                              attention, ǁĂƐ
                                                         was ŝŶ
                                                              in ŶŽ
                                                                 no ĚŝƐƚƌĞƐƐ
                                                                    distress Žƌ
                                                                              or ďůĞĞĚŝŶŐ
                                                                                 bleeding ĂŶĚ
                                                                                           and ŚĂĚ
                                                                                                 had ŶŽ
                                                                                                      no ǀŝƐŝďůĞ
                                                                                                         visible
ŝŶũƵƌŝĞƐ
injuries ŽďƐĞƌǀĞĚ͘
         observed.

According ƚŽ
ĐĐŽƌĚŝŶŐ    to /ŶũƵƌǇ
                Injury ZĞƉŽƌƚ
                        Report &zϮϯͬϴϵϱϭ͕
                                FY23/8951, W/
                                             PICA     was ƐĞĞŶ
                                                     ǁĂƐ  seen ďǇ
                                                                by ŵĞĚŝĐĂů
                                                                   medical ŽŶon :ƵŶĞ
                                                                                 June Ϯϳ͕27, ϮϬϮϯ͕
                                                                                              2023, Ăƚ
                                                                                                     at ϭϵϭϰ
                                                                                                        1914 ŚŽƵƌƐ͘
                                                                                                             hours.
dŚĞ ƌĞƉŽƌƚ
The   report ŶŽƚĞĚ
              noted W/
                      Pic” ƌĞĨƵƐĞĚ
                               refused ŵĞĚŝĐĂů
                                        medical ĂƩĞŶƟŽŶ͕
                                                attention, ĚĞŶŝĞƐ
                                                           denies ĂŶǇ
                                                                   any ƉĂŝŶ
                                                                        pain Žƌ
                                                                              or ŝŶũƵƌǇ͕
                                                                                  injury, ŚĂĚ
                                                                                            had ŶŽ
                                                                                                 no ĐŽŵƉůĂŝŶ
                                                                                                    complain ĂŶĚ
                                                                                                              and ŚĂĚ
                                                                                                                    had
ŶŽ
no ǀŝƐŝďůĞ
    visible ŝŶũƵƌŝĞƐ
            injuries ŽďƐĞƌǀĞĚ͘
                      observed.

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϱϮ͕
                             FY23/8952, W/
                                         Pic” ǁĂƐ  was ƐĞĞŶ
                                                        seen ďǇ
                                                             by ŵĞĚŝĐĂů
                                                                 medical ŽŶon :ƵŶĞ
                                                                              June Ϯϳ͕
                                                                                    27, ϮϬϮϯ͕
                                                                                        2023, Ăƚ
                                                                                               at ϭϴϱϱ
                                                                                                   1855 ŚŽƵƌƐ͘
                                                                                                         hours.
dŚĞ ƌĞƉŽƌƚ
The  report ŶŽƚĞĚ
             noted W/
                     PICA     ƌĞĨƵƐĞĚ
                              refused ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ͕
                                              attention, ǁĂƐ
                                                         was ŝŶ
                                                              in ŶŽ
                                                                 no ĚŝƐƚƌĞƐƐ
                                                                    distress Žƌ
                                                                              or ďůĞĞĚŝŶŐ
                                                                                 bleeding ĂŶĚ
                                                                                           and ŚĂĚ
                                                                                                 had ŶŽ
                                                                                                      no ǀŝƐŝďůĞ
                                                                                                         visible
injuries ŽďƐĞƌǀĞĚ͘
ŝŶũƵƌŝĞƐ observed.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
              Injury ZĞƉŽƌƚ
                     Report &zϮϯͬϴϵϱϵ͕
                             FY23/8959, W/
                                          Pic     RE ǁĂƐ
                                                       was ƐĞĞŶ
                                                            seen ďǇ
                                                                  by ŵĞĚŝĐĂů
                                                                     medical ƐƚĂī͘
                                                                              staff. dŚĞ
                                                                                     The ƌĞƉŽƌƚ
                                                                                          report ŶŽƚĞĚ
                                                                                                  noted W/
                                                                                                          PIC
TE ƌĞĨƵƐĞĚ
        refused ŵĞĚŝĐĂů
                 medical ĂƩĞŶƟŽŶ͕
                          attention, ĚĞŶŝĞƐ
                                     denies ĂŶǇ
                                              any ƉĂŝŶ
                                                  pain Žƌ
                                                       or ŝŶũƵƌǇ͕
                                                          injury, ŚĂĚ
                                                                  had ŶŽ
                                                                       no ĐŽŵƉůĂŝŶ
                                                                          complain ĂŶĚand ŚĂĚ
                                                                                           had ŶŽ
                                                                                                no ǀŝƐŝďůĞ
                                                                                                   visible ŝŶũƵƌŝĞƐ
                                                                                                            injuries
ŽďƐĞƌǀĞĚ͘
observed.

ĐĐŽƌĚŝŶŐ
According ƚŽ to /ŶũƵƌǇ
                Injury ZĞƉŽƌƚ
                         Report &zϮϯͬϴϵϱϲ͕
                                 FY23/8956, W/
                                             PIC DǇĞƌƐ
                                                 Myers ǁĂƐ
                                                        was ƐĞĞŶ
                                                             seen ďǇ
                                                                   by ŵĞĚŝĐĂů
                                                                      medical ŽŶon :ƵŶĞ
                                                                                    June Ϯϳ͕27, ϮϬϮϯ͕
                                                                                                 2023, Ăƚ
                                                                                                        at ϭϵϭϱ
                                                                                                           1915 ŚŽƵƌƐ͘
                                                                                                                hours.
dŚĞ ƌĞƉŽƌƚ
The  report ŶŽƚĞĚ
              noted W/
                      PIC DǇĞƌƐ
                           Myers ƌĞĨƵƐĞĚ
                                  refused ŵĞĚŝĐĂů
                                          medical ĂƩĞŶƟŽŶ͕
                                                   attention, ĚĞŶŝĞƐ
                                                              denies ĂŶǇ
                                                                      any ƉĂŝŶ
                                                                           pain Žƌ
                                                                                 or ŝŶũƵƌǇ͕
                                                                                     injury, ŚĂĚ
                                                                                               had ŶŽ
                                                                                                    no ĐŽŵƉůĂŝŶ
                                                                                                       complain ĂŶĚ
                                                                                                                 and
ŚĂĚ
had ŶŽ
     no ǀŝƐŝďůĞ
         visible ŝŶũƵƌŝĞƐ
                  injuries ŽďƐĞƌǀĞĚ͘
                            observed.




                                                                                                          Exh
                                                                                                          Exh bit
                                                                                                              bit 35
                                                                                                                  35 at
                                                                                                                     at 61
                                                                                                                        61
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ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϱϯ͕
                             FY23/8953, W/
                                         PIC       ǁĂƐ
                                                    was ƐĞĞŶ
                                                        seen ďǇ
                                                              by ŵĞĚŝĐĂů
                                                                 medical ŽŶ :ƵŶĞ Ϯϳ͕
                                                                         on June  27, ϮϬϮϯ͕
                                                                                       2023, Ăƚat ϭϵϭϬ
                                                                                                  1910 ŚŽƵƌƐ͘
                                                                                                         hours.
dŚĞ ƌĞƉŽƌƚ
The  report ŶŽƚĞĚ
             noted W/
                     PICA     ƌĞĨƵƐĞĚ
                              refused ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ͕
                                              attention, ŚĂĚ
                                                          had ŶŽ
                                                              no ĐŽŵƉůĂŝŶ
                                                                 complain ĂŶĚ
                                                                           and ŚĂĚ
                                                                                had ŶŽ
                                                                                     no ǀŝƐŝďůĞ
                                                                                         visible ŝŶũƵƌŝĞƐ
                                                                                                  injuries
observed.
ŽďƐĞƌǀĞĚ͘

ĐĐŽƌĚŝŶŐ
According ƚŽto /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϲϯ͕
                             FY23/8963, W/
                                          me       ǁĂƐ
                                                   was ƐĞĞŶ
                                                        seen ďǇ
                                                              by ŵĞĚŝĐĂů
                                                                 medical ŽŶon :ƵŶĞ
                                                                               June Ϯϳ͕
                                                                                      27, ϮϬϮϯ͕
                                                                                           2023, Ăƚ
                                                                                                  at ϮϬϯϬ
                                                                                                     2030 ŚŽƵƌƐ͘
                                                                                                            hours.
The  report ŶŽƚĞĚ
dŚĞ ƌĞƉŽƌƚ   noted W/
                     Pic” ƌĞĨƵƐĞĚ
                              refused ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ͕
                                              attention, ĚĞŶŝĞƐ
                                                         denies ĂŶǇ
                                                                 any ƉĂŝŶ
                                                                      pain Žƌ
                                                                            or ŝŶũƵƌǇ͕
                                                                               injury, ĂŶĚ
                                                                                         and ŚĂĚ
                                                                                              had ŶŽ
                                                                                                   no ǀŝƐŝďůĞ
                                                                                                      visible
ŝŶũƵƌŝĞƐ
injuries ŽďƐĞƌǀĞĚ͘
         observed.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
              Injury ZĞƉŽƌƚ
                     Report &zϮϯͬϴϵϲϱ͕
                            FY23/8965, W/
                                        PIC      ǁĂƐ
                                                  was ƐĞĞŶ
                                                      seen ďǇ
                                                            by ŵĞĚŝĐĂů
                                                               medical ŽŶ
                                                                        on :ƵŶĞ
                                                                           June Ϯϳ͕
                                                                                27, ϮϬϮϯ͕
                                                                                     2023, Ăƚ
                                                                                            at ϭϵϱϴ
                                                                                                1958 ŚŽƵƌƐ͘
                                                                                                      hours.
dŚĞ ƌĞƉŽƌƚ  ŶŽƚĞĚ  W/
The report noted PICA       ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕   ĚĞŶŝĞƐ  ĂŶǇ ŝŶũƵƌǇ͕ ĂŶĚ ŚĂĚ  ŶŽ  ǀŝƐŝďůĞ ŝŶũƵƌŝĞƐ
                            refused medical attention, denies any injury, and had no visible injuries
observed.
ŽďƐĞƌǀĞĚ͘

According ƚŽ
ĐĐŽƌĚŝŶŐ   to /ŶũƵƌǇ
               Injury ZĞƉŽƌƚ
                      Report &zϮϯͬϴϵϲϬ͕
                             FY23/8960, W/
                                         PIC[M ǁĂƐ was ƐĞĞŶ
                                                        seen ďǇ
                                                              by ŵĞĚŝĐĂů
                                                                 medical ŽŶ
                                                                         on June   27, ϮϬϮϯ͕
                                                                             :ƵŶĞ Ϯϳ͕   2023, Ăƚ
                                                                                              at ϮϭϬϬ
                                                                                                 2100 ŚŽƵƌƐ͘
                                                                                                       hours.
The report noted ae
dŚĞ  ƌĞƉŽƌƚ  ŶŽƚĞĚ  W/       refused medical attention, denies any pain or injury, and had no visible
                              ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕   ĚĞŶŝĞƐ  ĂŶǇ ƉĂŝŶ Žƌ ŝŶũƵƌǇ͕  ĂŶĚ  ŚĂĚ ŶŽ ǀŝƐŝďůĞ
ŝŶũƵƌŝĞƐ
injuries ŽďƐĞƌǀĞĚ͘
         observed.

According ƚŽ
ĐĐŽƌĚŝŶŐ to /ŶũƵƌǇ
             Injury ZĞƉŽƌƚ
                    Report &zϮϯͬϴϵϱϳ͕
                           FY23/8957, W/
                                       PIC        was ƐĞĞŶ
                                                 ǁĂƐ  seen ďǇ
                                                           by ŵĞĚŝĐĂů
                                                              medical ŽŶon June  27, ϮϬϮϯ͕
                                                                           :ƵŶĞ Ϯϳ͕   2023, Ăƚ
                                                                                            at ϭϵϮϬ
                                                                                               1920 ŚŽƵƌƐ͘
                                                                                                    hours.
dŚĞ ƌĞƉŽƌƚ
The report ŶŽƚĞĚ
           noted W/
                 PIC        ƌĞĨƵƐĞĚ
                            refused ŵĞĚŝĐĂů
                                    medical ĂƩĞŶƟŽŶ͕
                                            attention, ĂŶĚ
                                                       and ŚĂĚ
                                                           had ŶŽ
                                                                no ǀŝƐŝďůĞ
                                                                   visible ŝŶũƵƌŝĞƐ
                                                                           injuries ŽďƐĞƌǀĞĚ͘
                                                                                     observed.

ĐĐŽƌĚŝŶŐ
According ƚŽ
           to /ŶũƵƌǇ
              Injury ZĞƉŽƌƚ
                     Report &zϮϯͬϴϵϲϭ͕
                              FY23/8961, W/Pic    a    ǁĂƐ
                                                         was ƐĞĞŶ
                                                             seen ďǇ
                                                                   by ŵĞĚŝĐĂů
                                                                      medical ŽŶ
                                                                              on :ƵŶĞ
                                                                                 June Ϯϳ͕
                                                                                       27, ϮϬϮϯ͕
                                                                                            2023, Ăƚ
                                                                                                   at ϮϬϰϬ
                                                                                                      2040
ŚŽƵƌƐ͘ dŚĞ  ƌĞƉŽƌƚ  ŶŽƚĞĚ
hours. The report noted PicW/            ƌĞĨƵƐĞĚ
                                          refused medical attention, denies any pain or injury, had ŶŽ
                                                   ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕   ĚĞŶŝĞƐ ĂŶǇ ƉĂŝŶ Žƌ  ŝŶũƵƌǇ͕ ŚĂĚ  no
complain ĂŶĚ
ĐŽŵƉůĂŝŶ  and ŚĂĚ
               had ŶŽ
                    no ǀŝƐŝďůĞ
                       visible ŝŶũƵƌŝĞƐ
                                injuries ŽďƐĞƌǀĞĚ͘
                                         observed.

According ƚŽ
ĐĐŽƌĚŝŶŐ    to /ŶũƵƌǇ
                Injury ZĞƉŽƌƚ
                       Report &zϮϯͬϴϵϰϴ͕
                              FY23/8948, W/
                                         ic            was ƐĞĞŶ
                                                       ǁĂƐ  seen ďǇ
                                                                  by ŵĞĚŝĐĂů
                                                                     medical ŽŶ
                                                                             on :ƵŶĞ
                                                                                June Ϯϳ͕
                                                                                      27, ϮϬϮϯ͕
                                                                                           2023, Ăƚ
                                                                                                  at ϭϵϭϬ
                                                                                                     1910
hours. The report noted ae
ŚŽƵƌƐ͘  dŚĞ   ƌĞƉŽƌƚ  ŶŽƚĞĚ W/          refused medical attention, denies any pain or injury, and ŚĂĚ
                                         ƌĞĨƵƐĞĚ ŵĞĚŝĐĂů ĂƩĞŶƟŽŶ͕    ĚĞŶŝĞƐ ĂŶǇ ƉĂŝŶ Žƌ  ŝŶũƵƌǇ͕ ĂŶĚ  had ŶŽ
                                                                                                          no
ǀŝƐŝďůĞ
visible ŝŶũƵƌŝĞƐ
        injuries ŽďƐĞƌǀĞĚ͘
                  observed.

According ƚŽ
ĐĐŽƌĚŝŶŐ to /ŶũƵƌǇ
             Injury ZĞƉŽƌƚ
                    Report &zϮϯͬϴϵϲϰ͕
                           FY23/8964, W/
                                       Pic         was ƐĞĞŶ
                                                   ǁĂƐ  seen ďǇ
                                                              by ŵĞĚŝĐĂů
                                                                 medical ŽŶ on :ƵŶĞ
                                                                                June Ϯϳ͕
                                                                                      27, ϮϬϮϯ͕
                                                                                           2023, Ăƚat ϭϵϱϴ
                                                                                                      1958 ŚŽƵƌƐ͘
                                                                                                             hours.
dŚĞ ƌĞƉŽƌƚ
The report ŶŽƚĞĚ
           noted W/
                 PIC          ƌĞĨƵƐĞĚ
                              refused ŵĞĚŝĐĂů
                                      medical ĂƩĞŶƟŽŶ͕
                                              attention, ĚĞŶŝĞƐ
                                                         denies ĂŶǇ
                                                                 any ŝŶũƵƌǇ͕
                                                                      injury, ĂŶĚ
                                                                               and ŚĂĚ
                                                                                    had ŶŽno ǀŝƐŝďůĞ
                                                                                              visible ŝŶũƵƌŝĞƐ
                                                                                                       injuries
observed.
ŽďƐĞƌǀĞĚ͘

Ɛ
As ƉĞƌ
   per ƚŚĞ
       the ĞŶƚƌĂů
           Central KƉĞƌĂƟŽŶƐ
                   Operations ĞƐŬ
                              Desk ;KͿ͕
                                   (COD), ƚŚĞƌĞ
                                          there ǁĞƌĞ
                                                were ŶŽ
                                                     no ƌĞƉŽƌƚĞĚ
                                                        reported ƐƚĂī
                                                                 staff ŝŶũƵƌŝĞƐ͘
                                                                       injuries.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ
                Classification

dŚŝƐ ŝŶĐŝĚĞŶƚ
This incident ǁĂƐ
              was ĂĐĐƵƌĂƚĞůǇ
                  accurately ĐůĂƐƐŝĮĞĚ
                             classified ĂƐ
                                        as Ă
                                           a ĐůĂƐƐ
                                             class ΗΗ
                                                   "C" ƵƐĞ
                                                       use ŽĨ
                                                           of &ŽƌĐĞ
                                                              Force ĚƵĞ
                                                                    due ƚŽ
                                                                        to ŶŽ
                                                                           no W/
                                                                              PIC Žƌ
                                                                                  or ƐƚĂī
                                                                                     staff ŝŶũƵƌŝĞƐ͘
                                                                                           injuries.

ƌŝĞĨ
Brief ^ƵŵŵĂƌǇ
      Summary ŽĨ
              of ^ƚĂī
                 Staff ĂŶĚ
                       and W/
                           PIC ƐƚĂƚĞŵĞŶƚƐ͗
                               statements:

dŚĞ W/Ɛ
The PICs ƌĞĨƵƐĞĚ
         refused ƚŽ
                 to ƉƌŽǀŝĚĞ
                    provide Ă
                            a ƐƚĂƚĞŵĞŶƚ
                              statement ƚŽ
                                        to ƚŚĞ
                                           the ĨĂĐŝůŝƚǇ
                                               facility Žƌ
                                                        or ŵĞĚŝĐĂů
                                                           medical ƐƚĂī͘
                                                                   staff.

An ŝŶƚĞƌǀŝĞǁ
Ŷ  interview ǁŝƚŚ
               with ƚŚĞ
                     the ŝŶǀŽůǀĞĚ
                            involved W/Ɛ
                                       PICs ǁĞƌĞ
                                             were ĚĞĞŵĞĚ
                                                    deemed ƵŶŶĞĐĞƐƐĂƌǇ͕
                                                             unnecessary, ĚƵĞ
                                                                            due ƚŽ
                                                                                to ƚŚĞ
                                                                                   the ĞŶƟƌĞ
                                                                                       entire ŝŶĐŝĚĞŶƚ
                                                                                              incident ďĞŝŶŐ
                                                                                                         being ĐĂƉƚƵƌĞĚ
                                                                                                                captured
ŽŶ
on ǀŝĚĞŽ
    video ĞǀŝĚĞŶĐĞ͘
           evidence. /ŶIn ĂĚĚŝƟŽŶ͕
                            addition, ŽŶ
                                       on ďŽĚǇ-ǁŽƌŶ
                                            body-worn ĐĂŵĞƌĂ͕
                                                         camera, ƚŚĞ
                                                                 the W/Ɛ
                                                                      PICs ǁĞƌĞ
                                                                           were ŚĞĂƌĚ
                                                                                 heard ĐŽŵƉůĂŝŶŝŶŐ
                                                                                        complaining ŽĨof ďĞŝŶŐ
                                                                                                          being ƐƉƌĂǇĞĚ
                                                                                                                 sprayed
for ŶŽ
ĨŽƌ no ƌĞĂƐŽŶ
        reason ǁŚŝĐŚ
                which ŝƐ is ĐŽŶƐŝƐƚĞŶƚ
                             consistent ǁŝƚŚ
                                          with ǀŝĚĞŽ
                                                video ĞǀŝĚĞŶĐĞ͘
                                                       evidence.

dŚĞ ĂǀĂŝůĂďůĞ
The available ƐƚĂī
              staff ƌĞƉŽƌƚƐ
                    reports ǁĞƌĞ
                            were Ăůů
                                 all ŐĞŶĞƌĂůůǇ
                                     generally ĐŽŶƐŝƐƚĞŶƚ
                                               consistent ǁŝƚŚ
                                                          with ǁŚĂƚ
                                                               what ǁĂƐ
                                                                    was ŽďƐĞƌǀĞĚ
                                                                        observed ŽŶ
                                                                                 on ǀŝĚĞŽ
                                                                                    video ĨŽŽƚĂŐĞ
                                                                                          footage ĂŶĚ
                                                                                                  and
with ĞĂĐŚ
ǁŝƚŚ each ŽƚŚĞƌ͘
          other.

/Ŷ
In ĂĚĚŝƟŽŶ͕
   addition, ĂƉƚĂŝŶ
               Captain               ƌĞƉŽƌƚĞĚ
                                     reported ƐŚĞ
                                               she ŚĞĂƌĚ
                                                     heard KĸĐĞƌ
                                                            Officer         ŝŶƐƚƌƵĐƟŶŐ
                                                                            nie         W/
                                                                                        ae        ƚŽ
                                                                                                  to ŽƉĞŶ
                                                                                                     open ŚŝƐ
                                                                                                            his
ŚĂŶĚ   ŝĨ ƚŚĂƚ Ă ǁĞĂƉŽŶ   ŚŽǁĞǀĞƌ͕  ŚĞ ƌĞĨƵƐĞĚ͘
hand if that a weapon however, he refused. PIC   W/         ƚŚĞŶ   ƚŚƌĞĂƚĞŶĞĚ  KĸĐĞƌ
                                                             then threatened Officer           ƚŽ
                                                                                               to fuck him ƵƉ
                                                                                                  ĨƵĐŬ  Śŝŵ  up ŝĨ
                                                                                                                if
ŚĞ
he ƐƉƌĂǇƐ
    sprays ĂŶĚ
            and ƚŚĂƚ
                 that ŚĞ
                       he ǁĂŶƚĞĚ
                          wanted ƚŽ
                                 to ŐŽ
                                    go ďĂĐŬ
                                        back ƚŽ
                                             to ^,͘
                                                 ESH. W/Ɛ
                                                        PICs ŽŶ
                                                              on ƚŚĞ
                                                                  the ŽƚŚĞƌ
                                                                      other ƐŝĚĞ
                                                                            side ŽĨ
                                                                                 of ƚŚĞ
                                                                                    the ĨĞŶĐĞ
                                                                                        fence ďĞŐĂŶ
                                                                                              began ƚŚƌĞĂƚĞŶŝŶŐ
                                                                                                      threatening




                                                                                                         Exh
                                                                                                         Exh bit
                                                                                                             bit 35
                                                                                                                 35 at
                                                                                                                    at 62
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staff when PIC       threw an unknow object over the fence to the PICs who surrounded staff. Multiple
PICs wanted to return to their housing area and surrounded the door. The PICs refused to comply with
orders and Office           deployed chemical agents which made the PICs irater and more
noncompliant. At which time, Captain             deployed chemical agents and compliance was gained.

Officer I         reported Pic” became aggressive attempting to incite other PICs to assault staff at
which time he utilized chemical agents the PIC's facial area ceasing his aggression preventing him from
assaulting staff.

Captain                  reported she responded to a level B in the yard when PIC JM aceressively
approached her and jumped in her face. She gave direct orders to step back but he refused and
continued to advance at which time, Office, deployed chemical agents toward the PICs facial
area. Direct orders were given to the PICs to get on the wall. She also gave orders for the PICs to get on
the wall however, PIC         continued to refuse and started to walk towards the wall. Individuals
refused orders and did not turn around and faced the wall as instructed. At this time, she deployed
chemical agents to Pl          facial area. Simultaneously she deployed chemical agents to ae
                                              and Myers, terminating the incident.

Facility Rapid Review:

The Rapid Review conducted by i                deemed this incident unavoidable procedural errors
identified, and corrective action recommended. The Rapid Review further noted that Captain
was observed utilizing chemical agents on inmates who appeared to be complying. Staff was able to
capture the entire incident on BWC. Captain             has been suspended from duty.

Immediate Action

On July 1, 2023, this incident was referred to the Immediate Action Committee, and the following was
the outcome: Captain      RE     was suspended for 10 days by the facility.

Conclusion:

 Based on the preponderance of evidence, it has been determination that the force utilized by Captain
            was not justified or necessary as the PICs were complying and did not pose an imminent threat
 to staff. Which was not in accordance with Directive 5006R-D and 4510R-H. It is determined that Captain
|       | did not provide a credible and accurate account of this incident in her report.

As a result of the above this case is being closed with charges for Captain           (MOC) for violating
Departmental Directives and Rules and Regulations.




                                                                                                Exh bit 35 at 63
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for August
                                   August 2023
                                          2023 (ϯϱϵϱͬϮϯ)
                                               (3595/23)

/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌ
Investigator’s Justification for ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hK&
                                                UOF η͗
                                                    #: ϯϱϵϱͬϮϯ
                                                       3595/23

&ĂĐŝůŝƚǇ͗
Facility: ZD^
          RMSC

Synopsis
Synopsis

On :ƵůǇ
KŶ   July ϭϳ͕17, ϮϬϮϯ͕
                   2023, Ăƚ  at ĂƉƉƌŽǆŝŵĂƚĞůǇ
                                 approximately ϭϮ͗ϯϮ͗ϭϬ  12:32:10 ŚŽƵƌƐhours ŝŶƐŝĚĞ
                                                                                inside ZD^RMSC /ŶƚĂŬĞ͕ Intake, W/aes
                                                   ǁĂƐ
                                                   was ŽďƐĞƌǀĞĚ
                                                          observed ĞŶƚĞƌŝŶŐ
                                                                         entering ƚŚĞ the ŝŶƚĂŬĞ
                                                                                             intake ĂƌĞĂ  area ƚŚƌŽƵŐŚ
                                                                                                                 through ƚŚĞ   the ǀĞƐƟďƵůĞ
                                                                                                                                      vestibule ŐĂƚĞ͘gate.
Immediately ĂŌĞƌ
/ŵŵĞĚŝĂƚĞůǇ           after ĞŶƚĞƌŝŶŐ
                              entering ŝŶƚŽ  into /ŶƚĂŬĞ
                                                    Intake W/ PIC             was ŽďƐĞƌǀĞĚ
                                                                              ǁĂƐ    observed ƵƟůŝǌŝŶŐ   utilizing Ăa ƌŝŐŚƚ-ŚĂŶĚĞĚ
                                                                                                                       right-handed ĐůŽƐĞĚ    closed ĮƐƚ  fist ƚŽto
ƐƚƌŝŬĞ  W/
strike PIC                                                                                          W/
                                                                                                     Pic i”.          ĂŶĚ   i               ĐŽŶƟŶƵĞĚ
                                                                                                                                            continued to       ƚŽ
ĞŶŐĂŐĞ
engage ŝŶ    in Ăa ƉŚǇƐŝĐĂů
                    physical ĂůƚĞƌĐĂƟŽŶ
                                 altercation ƚŚƌŽǁŝŶŐ
                                                   throwing DƵůƟƉůĞMultiple ĐůŽƐĞĚ
                                                                                closed ĮƐƚ fist ƐƚƌŝŬĞƐ
                                                                                                  strikes ƚŽǁĂƌĚ
                                                                                                              toward ĞĂĐŚeach ŽƚŚĞƌ other i
           ͘. ƚ
               At ϭϮ͗ϯϮ͗ϭϲ
                    12:32:16 ŚŽƵƌƐ hours KĸĐĞƌ
                                            Officer                         was ŽďƐĞƌǀĞĚ
                                                                            ǁĂƐ    observed ƌĞƚƌŝĞǀŝŶŐretrieving ĂŶ  an KOC ĐĂŶŝƐƚĞƌ
                                                                                                                                 canister ĨƌŽŵfrom KĸĐĞƌ
                                                                                                                                                       Officer
                                           ĂŶĚ
                                           and deploying one burst of chemical agent towards the facial areas ŽĨ
                                                 ĚĞƉůŽǇŝŶŐ        ŽŶĞ   ďƵƌƐƚ    ŽĨ ĐŚĞŵŝĐĂů          ĂŐĞŶƚ     ƚŽǁĂƌĚƐ       ƚŚĞ    ĨĂĐŝĂů  ĂƌĞĂƐ      of W/Ɛ
                                                                                                                                                             PICs
                                   /ŵŵĞĚŝĂƚĞůǇ
                                    Immediately ĂŌĞƌ    after KĸĐĞƌ
                                                                 Officer [I         ĚĞƉůŽǇĞĚ
                                                                                     deployed ƚŚĞ      the ĐŚĞŵŝĐĂů
                                                                                                             chemical ĂŐĞŶƚƐ͕
                                                                                                                            agents, ƐŚĞ  she ǁĂƐ
                                                                                                                                               was ŽďƐĞƌǀĞĚ
                                                                                                                                                       observed
exiting ƚŚĞ
ĞǆŝƟŶŐ    the ŝŶƚĂŬĞ
                   intake ĂƌĞĂ
                             area ĂďĂŶĚŽŶŝŶŐ
                                      abandoning ĐƵƐƚŽĚǇ custody ĂŶĚ  and ĐŽŶƚƌŽů
                                                                            control ŽĨ  of W/
                                                                                             Te                           sid                    Officer
                                                                                                                                                 KĸĐĞƌ
                              ǁĂƐ
                              was ŽďƐĞƌǀĞĚ
                                     observed ůĞĂǀŝŶŐleaving /ŶƚĂŬĞ
                                                                 Intake ŝŶƚŽ
                                                                          into ƚŚĞ
                                                                                 the ĐŽƌƌŝĚŽƌ
                                                                                       corridor ĂďĂŶĚŽŶŝŶŐ
                                                                                                        abandoning ĐƵƐƚŽĚǇ custody ĂŶĚ   and ĐŽŶƚƌŽů
                                                                                                                                                control ŽĨ   of W/PIC
                                          W/Ɛ                                   ĐŽŶƟŶƵĞĚ
                                                                                  continued ƚŽ      to ĮŐŚƚ
                                                                                                          fight ĂŶĚ
                                                                                                                 and Ăƚat ϭϮ͗ϯϮ͗ϯϮ
                                                                                                                            12:32:32 ŚŽƵƌƐ hours KĸĐĞƌOfficer Ji
                                                  ǁĞƌĞ     ŽďƐĞƌǀĞĚ       ĂƉƉƌŽĂĐŚŝŶŐ
                                                  were observed approaching ——_—               W/Ɛ                                       KĸĐĞƌ
                                                                                                                                          Officer                ǁĂƐ
                                                                                                                                                                 was
ŽďƐĞƌǀĞĚ
observed ĚĞƉůŽǇŝŶŐ
                 deploying ŽŶĞ   one ďƵƌƐƚ
                                        burst ŽĨ of ĐŚĞŵŝĐĂů
                                                      chemical ĂŐĞŶƚagent ƚŽǁĂƌĚ
                                                                             toward ƚŚĞ  the ĨĂĐŝĂů
                                                                                                facial ĂƌĞĂƐareas ŽĨof W/
                                                                                                                        PIC                  ĂŶĚ
                                                                                                                                             and W/ _,          =
                              ƚ
                              At ϭϮ͗ϯϮ͗ϯϰ
                                   12:32:34 ŚŽƵƌƐ hours KĸĐĞƌ
                                                            Officer J        ǁĂƐ
                                                                              was ŽďƐĞƌǀĞĚ
                                                                                    observed ĚĞƉůŽǇŝŶŐ deploying Ă    a ďƵƌƐƚ
                                                                                                                         burst ŽĨ   of ĐŚĞŵŝĐĂů
                                                                                                                                       chemical ĂŐĞŶƚ  agent
ƚŽǁĂƌĚƐ
towards PICs  W/Ɛ                                      ǁŚŽ     ĐŽŶƟŶƵĞĚ      ƚŽ   ĂĐƟǀĞůǇ
                                                        who continued to actively fight          ĮŐŚƚ                                   ƚ
                                                                                                                                        At 12:32:53 ŚŽƵƌƐ
                                                                                                                                             ϭϮ͗ϯϮ͗ϱϯ        hours
KĸĐĞƌ
Officer Si ǁĂƐ       was ŽďƐĞƌǀĞĚ
                            observed ĚĞƉůŽǇŝŶŐ
                                             deploying Ă     a ƐĞĐŽŶĚ
                                                                second ďƵƌƐƚ
                                                                           burst ŽĨof ĐŚĞŵŝĐĂů
                                                                                       chemical ĂŐĞŶƚ     agent ƚŽǁĂƌĚƐ
                                                                                                                   towards W/    PIC
ǁŚŽ
who ĐŽŶƟŶƵĞĚ
       continued ƚŽ       to ĂĐƟǀĞůǇ
                              actively ĮŐŚƚfight ĞĂĐŚ
                                                   each ŽƚŚĞƌ
                                                            other                                  ƚ
                                                                                                   At ϭϮ͗ϯϯ͗ϱϰ
                                                                                                         12:33:54 ŚŽƵƌƐ
                                                                                                                      hours KĸĐĞƌ Officer            ǁĂƐ
ŽďƐĞƌǀĞĚ
observed ĚĞƉůŽǇŝŶŐ
                 deploying ĂŶŽƚŚĞƌ
                                 another ďƵƌƐƚ burst ŽĨ of ĐŚĞŵŝĐĂů
                                                            chemical ĂŐĞŶƚagent ŝŶ in ƚŚĞ
                                                                                       the ĚŝƌĞĐƟŽŶ
                                                                                              direction ŽĨ     of W/ΖƐ
                                                                                                                   PIC's
                               Pic
                              W/               is ŽďƐĞƌǀĞĚ
                                                ŝƐ  observed ƉƵƫŶŐ putting W/PIC                    in Ăa ŚĞĂĚůŽĐŬ
                                                                                                    ŝŶ      headlock ĂŶĚ  and ƚŚƌŽǁŝŶŐ
                                                                                                                                   throwing ĐůŽƐĞĚ
                                                                                                                                                 closed ĮƐƚ   fist
ƐƚƌŝŬĞƐ
strikes toƚŽ                    ŚĞĂĚͬĨĂĐŝĂů       ĂƌĞĂ͘
                                head/facial area. PICs     W/Ɛ                                     ǁĞƌĞ      ŽďƐĞƌǀĞĚ       ƐĞƉĂƌĂƟŶŐ
                                                                                                    were observed separating from each         ĨƌŽŵ      ĞĂĐŚ
ŽƚŚĞƌ͘
other. W/
         PIC                    ǁĂƐ
                                was ŽďƐĞƌǀĞĚ
                                       observed ǁŝƚŚ   with ŝŶũƵƌŝĞƐ
                                                               injuries ;ďůŽŽĚǇ
                                                                          (bloody ƐŚŝƌƚ
                                                                                      shirt ĂŶĚ and ĨĂĐĞͿ
                                                                                                        face) ƚŚĂƚ
                                                                                                                that ǁĞƌĞ
                                                                                                                       were ƐƵƐƚĂŝŶĞĚ
                                                                                                                                  sustained ĚƵƌŝŶŐduring ƚŚĞ  the
fight ǁŝƚŚ
ĮŐŚƚ   with W/  PIC                                                        KĸĐĞƌ               escorted W/
                                                                                                ĞƐĐŽƌƚĞĚ        Pic                  to ƚŚĞ
                                                                                                                                     ƚŽ  the
ĚĞĐŽŶƚĂŵŝŶĂƟŽŶ               ĂƌĞĂ    Ăƚ
decontamination area at 12:33:10 hours  ϭϮ͗ϯϯ͗ϭϬ        ŚŽƵƌƐ                                 W/
                                                                                               Pic                ǁĂƐ
                                                                                                                  was observed ǁĂůŬŝŶŐ
                                                                                                                        ŽďƐĞƌǀĞĚ         walking ĂƌŽƵŶĚaround
/ŶƚĂŬĞ͘
Intake. /ŶƚĂŬĞ
           Intake KĸĐĞƌƐ
                       Officers ǁĞƌĞ were ŽďƐĞƌǀĞĚ
                                              observed ŽƉĞŶŝŶŐ
                                                             opening ƐĞǀĞƌĂů
                                                                          several ĐĞůů
                                                                                     cell ĚŽŽƌƐ
                                                                                            doors ĂŶĚ    and ƉŽŝŶƟŶŐ
                                                                                                               pointing ŝŶƐŝĚĞ
                                                                                                                             inside ǁŚŝůĞ
                                                                                                                                        while W/ Pic
turned ĂƌŽƵŶĚ
ƚƵƌŶĞĚ     around Žƌ     or ǁĂůŬĞĚ
                             walked ƉĂƐƚ  past ƚŚĞŵ͘
                                                 them. ƚ   At ϭϮ͗ϰϭ͗ϭϲ
                                                                 12:41:16 ŚŽƵƌƐ
                                                                              hours W/ Pic                  was ŽďƐĞƌǀĞĚ
                                                                                                             ǁĂƐ   observed ŝŶƐŝĚĞ  inside ŽĨ of ŝŶƚĂŬĞ
                                                                                                                                                   intake ƵƐŝŶŐ
                                                                                                                                                              using Ăa
ŐƌĞĞŶ
green ĐƵƉcup ĂŶĚ  and ƉŽƵƌŝŶŐ
                        pouring ĂŶ    an ƵŶŬŶŽǁŶ
                                           unknown ĐůĞĂƌ  clear ĐŽůŽƌ
                                                                   color ůŝƋƵŝĚ
                                                                           liquid ŽŶon ŚĞƌher ĨĂĐĞ
                                                                                                 face ǁŚŝůĞ
                                                                                                          while ǁŝƉŝŶŐ
                                                                                                                   wiping ŝƚ   it Žī
                                                                                                                                   off ǁŝƚŚ
                                                                                                                                       with Ă  a ƚŽǁĞů
                                                                                                                                                   towel
                             ƚ
                             At ϭϮ͗ϰϯ͗Ϭϳ
                                  12:43:07 ŚŽƵƌƐ hours W/ PIC             ǁĂƐ
                                                                           was ŽďƐĞƌǀĞĚ
                                                                                  observed ǁĂůŬŝŶŐ  walking ŝŶƚŽ into ƚŚĞ
                                                                                                                       the ŵŝŶŝmini ŵĞĚŝĐĂů
                                                                                                                                       medical ĂƌĞĂ  area ŝŶƐŝĚĞ
                                                                                                                                                              inside
/ŶƚĂŬĞ                                   At 12:51:48 Re
                                         ƚ   ϭϮ͗ϱϭ͗ϰϴ      ŚŽƵƌƐ     W/             was observed being secured inside of Pen ŶƵŵďĞƌ
                                                                                      ǁĂƐ     ŽďƐĞƌǀĞĚ          ďĞŝŶŐ    ƐĞĐƵƌĞĚ       ŝŶƐŝĚĞ     ŽĨ  WĞŶ      number
ĞŝŐŚƚ ;ϴͿ                                   ǁŝƚŚŽƵƚ
                                            without ĨƵƌƚŚĞƌ
                                                         further ŝƐƐƵĞ͕
                                                                     issue, ƚĞƌŵŝŶĂƟŶŐ
                                                                             terminating ƚŚĞ       the ŝŶĐŝĚĞŶƚ͘
                                                                                                           incident.

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ
             Evidence

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ĨŽƵƌ-ƐŝĚĞĚ
                      four-sided ƉƌŽĮůĞ
                                 profile ŝŵĂŐĞƐ
                                         images ŽĨ
                                                of W/
                                                   Pic

dŚĞ ĨĂĐŝůŝƚǇ
The facility ƉƌŽǀŝĚĞĚ
             provided ĨŽƵƌ-ƐŝĚĞĚ
                      four-sided ƉƌŽĮůĞ
                                 profile ŝŵĂŐĞƐ
                                         images ŽĨ
                                                of W/
                                                   Pic i”

sŝĚĞŽ
Video ĞǀŝĚĞŶĐĞ͗
      evidence:

dŚĞ ĨŽůůŽǁŝŶŐ
The following ǀŝĚĞŽ
              video ĞǀŝĚĞŶĐĞ
                    evidence ǁĂƐ
                             was ƌĞǀŝĞǁĞĚ
                                 reviewed ĨƌŽŵ
                                          from :ƵůǇ
                                               July ϭϳ͕
                                                    17, ϮϬϮϯ͕
                                                        2023, ĨƌŽŵ
                                                              from ϭϮ͗ϬϬ
                                                                   12:00 ŚŽƵƌƐ
                                                                         hours ƚŽ
                                                                               to ϭϯϬϬ
                                                                                  1300 ŚŽƵƌƐ
                                                                                       hours ĂŶĚ
                                                                                             and
ĚĞƉŝĐƚĞĚ
depicted ƚŚĞ
         the ŝŶĐŝĚĞŶƚ
             incident ĂƐ
                      as ŶĂƌƌĂƚĞĚ
                         narrated ĂďŽǀĞ͘
                                  above.




                                                                                                                                                  Exh
                                                                                                                                                  Exh bit
                                                                                                                                                      bit 35
                                                                                                                                                          35 at
                                                                                                                                                             at 64
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ŽĚǇ
Body tŽƌŶ
     Worn ĂŵĞƌĂ͗
          Camera:

dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ
The investigator ĂŶĚ
                 and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ǀĞƌŝĮĞĚ
                                verified ƚŚĂƚ
                                         that ƚŚĞƌĞ
                                              there ǁĂƐ
                                                    was ŶŽ
                                                        no ;tͿ
                                                           (BWC) ŽĚǇ
                                                                 Body tŽƌŶ
                                                                      Worn ĂŵĞƌĂ
                                                                           Camera ĂƐƐŽĐŝĂƚĞĚ
                                                                                  associated ǁŝƚŚ
                                                                                             with ƚŚŝƐ
                                                                                                  this
ŝŶĐŝĚĞŶƚ͘
incident.

,ĂŶĚŚĞůĚ
Handheld ĂŵĞƌĂ͗
         Camera:

dŚĞ ŝŶǀĞƐƟŐĂƚŽƌ
The investigator ĂŶĚ
                 and ƐƵƉĞƌǀŝƐŽƌ
                     supervisor ǀĞƌŝĮĞĚ
                                verified ƚŚĂƚ
                                         that ƚŚĞƌĞ
                                              there ǁĂƐ
                                                    was ŶŽ
                                                        no ŚĂŶĚŚĞůĚ
                                                           handheld ĨŽŽƚĂŐĞ
                                                                    footage ĂƐƐŽĐŝĂƚĞĚ
                                                                            associated ǁŝƚŚ
                                                                                       with ƚŚŝƐ
                                                                                            this
incident.
ŝŶĐŝĚĞŶƚ͘

Staff/PIC ŝŶũƵƌŝĞƐ
^ƚĂīͬW/  injuries

/ŶũƵƌǇ
Injury ƚŽto /ŶŵĂƚĞ
             Inmate ZĞƉŽƌƚ͕
                      Report, &zϮϯͬϬϵϳ
                                 FY23/097 ŶŽƚĞĚ
                                              noted ƚŚĂƚ
                                                     that ŽŶ
                                                          on :ƵůǇ
                                                               July ϭϳ͕
                                                                    17, ϮϬϮϯ͕
                                                                         2023, Ăƚ
                                                                                at ϭϰϰϱ
                                                                                    1445 ŚŽƵƌƐ͕
                                                                                         hours, W/
                                                                                                 PIC          ǁĂƐ
                                                                                                               was ƉƌŽĚƵĐĞĚ
                                                                                                                    produced
ĨŽƌ
for ƉƌŽŵƉƚ
     prompt ŵĞĚŝĐĂů
                medical ĂƩĞŶƟŽŶ͘
                          attention. /ŶũƵƌǇ
                                        Injury ƚŽ
                                                to /ŶŵĂƚĞ
                                                   Inmate ZĞƉŽƌƚ
                                                            Report ƐƚĂƚĞƐ
                                                                     states ƚŚĂƚ
                                                                             that W/
                                                                                   Pic         ǁĂƐ
                                                                                               was ŝŶǀŽůǀĞĚ
                                                                                                     involved ŝŶ
                                                                                                               in Ă
                                                                                                                  a W/-on-PIC
                                                                                                                     PIC-on-PIC
fight ƚŚĂƚ
ĮŐŚƚ   that ƌĞƐƵůƚĞĚ
              resulted ŝŶ
                        in Ăa hƐĞ
                               Use ŽĨ
                                    of &ŽƌĐĞ
                                       Force ǁŝƚŚ
                                               with K
                                                     DOC ƐƚĂī͘
                                                          staff. W/
                                                                  me             medical ƌĞƉŽƌƚ
                                                                                 ŵĞĚŝĐĂů  report ŶŽƚĞĚ
                                                                                                  noted ƚŚĂƚ
                                                                                                          that ƚŚĞƌĞ
                                                                                                                there ǁĞƌĞ
                                                                                                                       were ŶŽ
                                                                                                                             no
ǀŝƐŝďůĞ
visible ƐŝŐŶƐ
          signs ŽĨ
                 of ŝŶũƵƌǇ
                    injury ĂŶĚ
                             and ƚŚĂƚ
                                  that W/
                                        PIC ƌĞĨƵƐĞĚ
                                             refused ƚŽ
                                                      to ďĞ
                                                         be ŵĞĚŝĐĂůůǇ
                                                             medically ĞǀĂůƵĂƚĞĚ͘
                                                                          evaluated.

/ŶũƵƌǇ
Injury ƚŽto /ŶŵĂƚĞ
            Inmate ZĞƉŽƌƚ͕
                     Report, &zϮϯͬϬϵϱ
                               FY23/095 ŶŽƚĞĚ
                                            noted ƚŚĂƚ
                                                    that ŽŶ
                                                          on :ƵůǇ
                                                             July ϭϳ͕
                                                                    17, ϮϬϮϯ͕
                                                                         2023, Ăƚ
                                                                                at ϭϯϯϬ
                                                                                   1330 ŚŽƵƌƐ͕
                                                                                          hours, W/
                                                                                                  Pic           ǁĂƐ
                                                                                                                was ƉƌŽĚƵĐĞĚ
                                                                                                                      produced
ĨŽƌ ƉƌŽŵƉƚ     ŵĞĚŝĐĂů  ĂƩĞŶƟŽŶ͘      /ŶũƵƌǇ  ƚŽ /ŶŵĂƚĞ    ZĞƉŽƌƚ
for prompt medical attention. Injury to Inmate Report states that PicƐƚĂƚĞƐ  ƚŚĂƚ  W/           ǁĂƐ
                                                                                                 was involved in a W/-on-
                                                                                                       ŝŶǀŽůǀĞĚ  ŝŶ Ă PIC-on-
PIC ĮŐŚƚ
W/  fight ƚŚĂƚ
            that ƌĞƐƵůƚĞĚ
                 resulted ŝŶ
                           in Ăa hƐĞ
                                 Use ŽĨof &ŽƌĐĞ
                                          Force ǁŝƚŚ
                                                  with K
                                                        DOC ƐƚĂī͘
                                                              staff. W/
                                                                      ae                medical ƌĞƉŽƌƚ
                                                                                       ŵĞĚŝĐĂů   report ŶŽƚĞĚ
                                                                                                          noted ƚŚĂƚ
                                                                                                                that ƚŚĞƌĞ
                                                                                                                      there
ǁĂƐ
was aĂ ůĞŌ-ƐŝĚĞ   ũĂǁ ǁŽƵŶĚ͘
        left-side jaw  wound. W/ Pic             ǁĂƐ
                                                   was ƌĞĨĞƌƌĞĚ
                                                        referred ƚŽto ƵƌŐĞŶƚ
                                                                       urgent ĐĂƌĞ
                                                                               care ĨŽƌ
                                                                                     for ǁŽƵŶĚ
                                                                                          wound ƌĞƉĂŝƌ͘
                                                                                                  repair.

Note: /ŶǀĞƐƟŐĂƚŽƌƐ
EŽƚĞ͗  Investigators ĐŽŶƚĂĐƚĞĚ
                      contacted Ez,,
                                 NYCHH [nn                                       for ĂŶ
                                                                                 ĨŽƌ an hƉĚĂƚĞ
                                                                                        Update ĨŽƌ
                                                                                               for W/
                                                                                                   Pic. ͘ dŽ
                                                                                                          To
ĚĂƚĞ͕
date, ƚŚĞƌĞ
      there ŚĂƐ
             has ďĞĞŶ
                  been ŶŽ
                        no ƌĞƐƉŽŶƐĞ
                           response ĨƌŽŵ
                                     from ƚŚĞ
                                          the ĨĂĐŝůŝƚǇ͘
                                              facility.

/ŶǀĞƐƟŐĂƚŽƌƐ
Investigators ƌĞǀŝĞǁĞĚ
                 reviewed ,^
                          CHS /ŶũƵƌǇ
                              Injury ZĞƉŽƌƚ
                                     Report ĚĂŝůǇ
                                            daily ƵƉĚĂƚĞƐ͕
                                                  updates, ĂŶĚ
                                                           and ŝƚ
                                                               it ǁĂƐ
                                                                  was ŶŽƚĞĚ
                                                                      noted ƚŚĂƚ
                                                                            that W/
                                                                                 PIC                  AE     ŚĂĚ
                                                                                                             bad ŶŽ
                                                                                                                 no
ƐĞƌŝŽƵƐ
serious ŝŶũƵƌǇ͘
         injury.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

ĐĐƵƌĂĐǇ
Accuracy ŽĨ
         of hK&
            UOF ĐůĂƐƐŝĮĐĂƟŽŶ͗
                classification:

dŚŝƐ hƐĞ
This Use ŽĨ
         of &ŽƌĐĞ
            Force ǁĂƐ
                  was ŝŶĂĐĐƵƌĂƚĞůǇ
                      inaccurately ĐůĂƐƐŝĮĞĚ
                                   classified ĂƐ
                                              as ĂŶ
                                                 an ΗΗ
                                                    "A" hƐĞ
                                                        Use ŽĨ
                                                            of &ŽƌĐĞ͘
                                                               Force. W/
                                                                      PIC ŝŶũƵƌŝĞƐ
                                                                          injuries ǁĞƌĞ
                                                                                   were ƐƵƐƚĂŝŶĞĚ
                                                                                        sustained ĚƵƌŝŶŐ
                                                                                                  during
ƚŚĞ
the W/-on-W/
     PIC-on-PIC ĮŐŚƚ
                 fight ĂŶĚ
                         and ǁĞƌĞ
                             were ŶŽƚ
                                    not Ă
                                        a ƌĞƐƵůƚ
                                          result ŽĨ
                                                 of ƐƚĂī
                                                    staff ĂĐƟŽŶƐ͘
                                                          actions. &Žƌ
                                                                   For ƚŚŝƐ
                                                                       this ƌĞĂƐŽŶ͕
                                                                            reason, ƚŚŝƐ
                                                                                     this hƐĞ
                                                                                           Use ŽĨof &ŽƌĐĞ
                                                                                                    Force ŶĞĞĚƐ
                                                                                                          needs ƚŽ
                                                                                                                to ďĞ
                                                                                                                   be
ƌĞĐůĂƐƐŝĮĞĚ  ĂƐ
reclassified as Ă  ΗΗ   hƐĞ ŽĨ &ŽƌĐĞ͘   ƌĞĐůĂƐƐŝĮĐĂƟŽŶ    ƌĞƋƵĞƐƚ ǁĂƐ   ƐĞŶƚ ƚŽ ƚŚĞ  ĨĂĐŝůŝƚǇ͘
                   a'"C" Use of Force. A reclassification request was sent to the facility.


A ďƌŝĞĨ
  brief ƐƵŵŵĂƌǇ
        summary ŽĨ
                of W/
                   PIC ƐƚĂƚĞŵĞŶƚƐ
                       statements

W/
PIC     EE      ƌĞĨƵƐĞĚ
                refused ƚŽ
                        to ƉƌŽǀŝĚĞ
                           provide Ă
                                   a ƐƚĂƚĞŵĞŶƚ
                                     statement ƚŽ
                                               to ƚŚĞ
                                                  the ĨĂĐŝůŝƚǇ
                                                      facility ĂŶĚ
                                                               and ƚŽ
                                                                   to ŵĞĚŝĐĂů
                                                                      medical ƐƚĂī͘
                                                                              staff.

W/
PIC          ƌĞĨƵƐĞĚ
              refused ƚŽ
                      to ƉƌŽǀŝĚĞ
                         provide Ă
                                 a ƐƚĂƚĞŵĞŶƚ
                                   statement ƚŽ
                                             to ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ
                                                    facility ĂŶĚ
                                                             and ƚŽ
                                                                 to ŵĞĚŝĐĂů
                                                                    medical ƐƚĂī
                                                                            staff

/
ID ĚŝĚ
   did ŶŽƚ
       not ŝŶƚĞƌǀŝĞǁ
           interview W/
                     Pic        TorŽƌ W/
                                      Pic                ďĞĐĂƵƐĞ
                                                         because ƚŚĞ
                                                                 the hK&
                                                                     UOF ǁĂƐ
                                                                         was ĨƵůůǇ
                                                                             fully ĐĂƉƚƵƌĞĚ
                                                                                   captured ŽŶ
                                                                                            on ǀŝĚĞŽ͘
                                                                                               video.

^ƚĂī
Staff ƌĞƉŽƌƚƐ
      reports

ƐƵďŵŝƩĞĚ
submitted ƐƚĂī
            staff ƌĞƉŽƌƚƐ
                  reports ǁĞƌĞ
                          were ƌĞǀŝĞǁĞĚ
                               reviewed ĂŶĚ
                                        and ǁĞƌĞ
                                            were ĐŽŶƐŝƐƚĞŶƚ
                                                 consistent ǁŝƚŚ
                                                            with ƚŚĞ
                                                                 the ĂǀĂŝůĂďůĞ
                                                                     available ǀŝĚĞŽ
                                                                               video ĞǀŝĚĞŶĐĞ
                                                                                     evidence ĂŶĚ
                                                                                              and ǁŝƚŚ
                                                                                                  with
each ŽƚŚĞƌ͘
ĞĂĐŚ other.



                                                                                                                Exh
                                                                                                                Exh bit
                                                                                                                    bit 35
                                                                                                                        35 at
                                                                                                                           at 65
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Facility ZĂƉŝĚ
&ĂĐŝůŝƚǇ Rapid ZĞǀŝĞǁ͗
               Review:

A ZĂƉŝĚ
  Rapid ZĞǀŝĞǁ
          Review ĐŽŶĚƵĐƚĞĚ
                   conducted ďǇ by ĞƉƵƚǇ
                                   Deputy tĂƌĚĞŶ
                                           Warden i          noted ƚŚĂƚ
                                                            ŶŽƚĞĚ   that ƚŚĞ
                                                                          the ŝŶĐŝĚĞŶƚ
                                                                              incident ǁĂƐ
                                                                                        was ĂǀŽŝĚĂďůĞ
                                                                                              avoidable ǁŝƚŚ
                                                                                                         with ŶŽ
                                                                                                               no
painful ĞƐĐŽƌƚ
ƉĂŝŶĨƵů  escort ƚĞĐŚŶŝƋƵĞƐ
                techniques ĂŶĚand ŽŶĞ
                                   one ǀŝŽůĂƟŽŶ
                                       violation ŶŽƚĞĚ
                                                 noted ĨŽƌ
                                                       for KĸĐĞƌ
                                                            Officer           TE          for ĨĂŝůƵƌĞ
                                                                                          ĨŽƌ failure ƚŽ
                                                                                                      to ƐĞĐƵƌĞ
                                                                                                         secure ƚŚĞ
                                                                                                                  the
ŵĂŝŶ
main ŐĂƚĞ
       gate ĂŶĚ
            and ƚŚĂƚ
                 that KĸĐĞƌ
                      Officer             ǁŽƵůĚ
                                          would ďĞ
                                                 be ŵĂĚĞ
                                                    made ƐƵďũĞĐƚ
                                                           subject ƚŽ
                                                                    to Ăa ŽŵŵĂŶĚ
                                                                          Command ŝƐĐŝƉůŝŶĞ͘
                                                                                      Discipline. dŚĞ
                                                                                                   The ZĂƉŝĚ
                                                                                                        Rapid ZĞǀŝĞǁ
                                                                                                               Review
ĂůƐŽ
also noted that there was no Body Worn Camera due to insufficient backings. No additional notes ǁĞƌĞ
      ŶŽƚĞĚ  ƚŚĂƚ ƚŚĞƌĞ  ǁĂƐ  ŶŽ  ŽĚǇ  tŽƌŶ   ĂŵĞƌĂ ĚƵĞ   ƚŽ ŝŶƐƵĸĐŝĞŶƚ    ďĂĐŬŝŶŐƐ͘   EŽ  ĂĚĚŝƟŽŶĂů   ŶŽƚĞƐ  were
ƉƌŽǀŝĚĞĚ͘
provided.


A ŽŵŵĂŶĚ
  Command ŝƐĐŝƉůŝŶĞ
              Discipline ǁĂƐ
                         was ŐĞŶĞƌĂƚĞĚ
                             generated ĨŽƌ
                                       for KĸĐĞƌ
                                           Officer                           ŽŶ
                                                                             on ϬϳͬϮϴͬϮϬϮϯ
                                                                                07/28/2023 η
                                                                                           CD# ϮϯϯϰͬϮϯ͘
                                                                                               2334/23. WĞŶĚŝŶŐ
                                                                                                        Pending
,ĞĂƌŝŶŐ
Hearing KĸĐĞƌ
        Officer ƌĞǀŝĞǁ͘
                 review.

The Investigation ŝǀŝƐŝŽŶ
dŚĞ /ŶǀĞƐƟŐĂƟŽŶ    Division ĐŽŶĐƵƌƐ
                            concurs ǁŝƚŚ
                                      with ƚŚĞ
                                           the ĨĂĐŝůŝƚǇΖƐ
                                               facility's ĚĞƚĞƌŵŝŶĂƟŽŶ͘
                                                          determination. ,ŽǁĞǀĞƌ͕
                                                                           However, ƚŚĞ
                                                                                      the /ŶǀĞƐƟŐĂƟŽŶ
                                                                                          Investigation ŝǀŝƐŝŽŶ
                                                                                                         Division
determined that Officers
ĚĞƚĞƌŵŝŶĞĚ   ƚŚĂƚ KĸĐĞƌƐ          and
                                  ĂŶĚ                         were inefficient in their performance of ĚƵƟĞƐ
                                                              ǁĞƌĞ ŝŶĞĸĐŝĞŶƚ   ŝŶ ƚŚĞŝƌ ƉĞƌĨŽƌŵĂŶĐĞ    ŽĨ duties
ǁŚĞŶ
when ƚŚĞǇ  they ĂďĂŶĚŽŶĞĚ
                  abandoned ƚŚĞŝƌtheir ĞƐĐŽƌƚ
                                        escort ĚĞƚĂŝů͕
                                                  detail, ĂŶĚ
                                                            and ĞǆŝƚĞĚ
                                                                  exited ƚŚĞ
                                                                          the ĂƌĞĂ͕
                                                                               area, ůĞĂǀŝŶŐ
                                                                                      leaving ƚŚĞ
                                                                                               the W/Ɛ
                                                                                                     PICs ƚŽto ĐŽŶƟŶƵĞ
                                                                                                               continue ǁŝƚŚ
                                                                                                                         with ƚŚĞŝƌ
                                                                                                                               their
ĂƐƐĂƵůƟǀĞ
assaultive ďĞŚĂǀŝŽƌ͘
                 behavior. &Žƌ
                             For ƚŚŝƐ
                                  this ƌĞĂƐŽŶ͕
                                       reason, Ă    a &ĂĐŝůŝƚǇ
                                                       Facility ZĞĨĞƌƌĂů
                                                                 Referral ǁŝůů
                                                                           will ďĞ
                                                                                be ŐĞŶĞƌĂƚĞĚ
                                                                                    generated ǁŝƚŚ
                                                                                                 with ƚŚĞthe ƌĞĐŽŵŵĞŶĚĂƟŽŶ
                                                                                                              recommendation ĨŽƌ  for Ăa
ŽŵŵĂŶĚ
Command ŝƐĐŝƉůŝŶĞDiscipline ĨŽƌ
                              for ĞĂĐŚ
                                   each ŽĸĐĞƌ͘
                                          officer. ĚĚŝƟŽŶĂůůǇ͕
                                                     Additionally, 'ĞŶĞƚĞĐ
                                                                       Genetec ƌĞǀĞĂůĞĚ
                                                                                  revealed ƚŚĂƚ
                                                                                             that W/
                                                                                                   PIC             ǁĂƐ
                                                                                                                   was ŝŶ
                                                                                                                        in ŝŵŵŝŶent
                                                                                                                           imminent
ĚĂŶŐĞƌ
danger ĂƐ    as W/
                 PIC           ƉůĂĐĞĚ
                               placed ŚĞƌ
                                        her ŝŶin Ăa ĐŚŽŬĞŚŽůĚ
                                                     chokehold ĂŶĚ  and ĂƉƉůŝĞĚ
                                                                         applied ƉƌĞƐƐƵƌĞ͘
                                                                                   pressure. KĸĐĞƌƐ
                                                                                               oe,                         ĨĂŝůĞĚ
                                                                                                                           failed ƚŽ
                                                                                                                                   to
ĞƐĐĂůĂƚĞ       ƚŚĞ  ĨŽƌĐĞ  ďĞŝŶŐ   ƵƟůŝǌĞĚ   ŽŶĐĞ     ŝƚ ǁĂƐ   ĐůĞĂƌ  ƚŚĂƚ ĐŚĞŵŝĐĂů    ĂŐĞŶƚƐ   ǁĞƌĞ    ŝŶĞīĞĐƟǀĞ͘
escalate the force being utilized once it was clear that chemical agents were ineffective. For this reason,           &Žƌ ƚŚŝƐ ƌĞĂƐŽŶ͕
ŝƚit ǁŝůů
     will ďĞ
           be ƌĞĐŽŵŵĞŶĚĞĚ
                recommended ƚŚĂƚ  that KĸĐĞƌƐ
                                         Officers in                     ďĞ
                                                                         be ŵĂĚĞ
                                                                             made ƚŚĞ
                                                                                    the ƐƵďũĞĐƚ
                                                                                         subject ŽĨ
                                                                                                  of ŽĐƵŵĞŶƚĞĚ
                                                                                                       Documented ŽƵŶƐĞůŝŶŐ
                                                                                                                       Counseling ĂŶĚ and
Use ŽĨ
hƐĞ      of &ŽƌĐĞ
            Force ĂŶĚand ŚĞŵŝĐĂů
                          Chemical ŐĞŶƚƐ
                                      Agents ƌĞƚƌĂŝŶŝŶŐ͘
                                                 retraining.

ŽŶĐůƵƐŝŽŶ͗
Conclusion:

dŚĞ /ŶǀĞƐƟŐĂƟŽŶ
The Investigation ŝǀŝƐŝŽŶ
                  Division ĚĞƚĞƌŵŝŶĞĚ
                           determined ƚŚĂƚ
                                      that ƚŚĞ
                                           the ĨŽƌĐĞ
                                               force ƵƟůŝǌĞĚ
                                                     utilized ŝŶ
                                                              in ƚŚŝƐ
                                                                 this ŝŶĐŝĚĞŶƚ
                                                                      incident ǁĂƐ
                                                                               was ĂǀŽŝĚĂďůĞ͕
                                                                                   avoidable, ďƵƚ
                                                                                              but ŶĞĐĞƐƐĂƌǇ
                                                                                                  necessary
ĚƵĞ
due ƚŽ
     to ƚŚĞ
         the W/Ɛ
              PICs ƌĞĨƵƐŝŶŐ
                    refusing ƚŽ
                              to ĨŽůůŽǁ
                                 follow ĚŝƌĞĐƚ
                                          direct ŽƌĚĞƌƐ
                                                 orders ĂŶĚ
                                                        and ƚŽ
                                                             to ƐƚŽƉ
                                                                stop ĮŐŚƟŶŐ
                                                                      fighting ĂŶĚ
                                                                                and ƚŚĂƚ
                                                                                     that ƚŚĞƌĞ
                                                                                           there ǁĂƐ
                                                                                                  was ĂŶ
                                                                                                       an ŝŵŵĞĚŝĂƚĞ
                                                                                                          immediate
ŶĞĞĚ
need ĨŽƌ
       for ĐŽŵƉůŝĂŶĐĞ
            compliance ǁŚĞƌĞ
                          where ůĞƐƐĞƌ
                                   lesser ŵĞĂŶƐ
                                           means ƐƵĐŚ
                                                   such ĂƐ
                                                        as /W
                                                           IPC ƐŬŝůůƐ
                                                               skills ǁĞƌĞ
                                                                      were ŝŶĞīĞĐƟǀĞ͘
                                                                            ineffective. &ƵƌƚŚĞƌŵŽƌĞ͕
                                                                                          Furthermore, ƚŚĞthe ĨŽƌĐĞ
                                                                                                              force ǁĂƐ
                                                                                                                    was
ŝŶ
in ĂĐĐŽƌĚĂŶĐĞ
   accordance ǁŝƚŚwith ƚŚĞ
                        the hƐĞ
                             Use ŽĨ
                                  of &ŽƌĐĞ
                                      Force ŝƌĞĐƟǀĞ
                                             Directive ϱϬϬϲZ-
                                                       5006R-D ĂŶĚand ŚĞŵŝĐĂů
                                                                       Chemical ŐĞŶƚ
                                                                                  Agent ŝƌĞĐƟǀĞ
                                                                                          Directive ϰϱϭϬZ-,͘
                                                                                                     4510R-H.

ĂƐĞĚ
Based ŽŶ
       on ƚŚĞ
           the ĞǀŝĚĞŶĐĞ
                evidence ĐŝƚĞĚ
                            cited ĂďŽǀĞ͕
                                  above, ŝƚ
                                         it ŝƐ
                                            is ƌĞĐŽŵŵĞŶĚĞĚ
                                               recommended ƚŚĂƚ
                                                           that ƚŚŝƐ
                                                                this ĐĂƐĞ
                                                                     case ďĞ
                                                                          be ĐůŽƐĞĚ
                                                                             closed ǁŝƚŚ
                                                                                    with Ă
                                                                                         a ƌĞĐůĂƐƐŝĮĐĂƟŽŶ
                                                                                           reclassification
ƌĞƋƵĞƐƚ
request ĂŶĚ
         and Ăa &ĂĐŝůŝƚǇ
                 Facility ZĞĨĞƌƌĂů͘
                          Referral.




                                                                                                                         Exh
                                                                                                                         Exh bit
                                                                                                                             bit 35
                                                                                                                                 35 at
                                                                                                                                    at 66
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CMS Preliminary
CMS Preliminary Reviews
                Reviews Report
                        Report for
                               for August
                                   August 2023
                                          2023 (ϯϲϱϬͬϮϯ)
                                               (3650/23)

Investigator’s Justification
/ŶǀĞƐƟŐĂƚŽƌ͛Ɛ  :ƵƐƟĮĐĂƟŽŶ ĨŽƌfor ĞƚĞƌŵŝŶĂƟŽŶ͗
                                 Determination: hϯϲϱϬ-23
                                                U3650-23

Synopsis
Synopsis

On :ƵůǇ
KŶ  July ϭϵ͕
           19, ϮϬϮϯ͕
                2023, ŝŶin Z^,
                            RESH ƵŝůĚŝŶŐ
                                    Building ϭϭ 11 ,ŽƵƐŝŶŐ
                                                    Housing ƌĞĂ͕
                                                               Area, W/PIC in                                         was ƐĞĐƵƌĞĚ
                                                                                                                       ǁĂƐ  secured ƚŽ  to
ƚŚĞ
the ǁĂůů͕
     wall, ďǇby KĸĐĞƌ
                 Officer                                 ĂŶĚ
                                                         and ĂīŽƌĚĞĚ
                                                                afforded Ă   a ƉŚŽŶĞ
                                                                                phone ĐĂůů͕
                                                                                         call, ƵŶĚĞƌ
                                                                                                 under ƚŚĞ
                                                                                                         the ^ƵƉĞƌǀŝƐŝŽŶ
                                                                                                               Supervision ŽĨof ĂƉƚĂŝŶ
                                                                                                                                 Captain
                                                    KĸĐĞƌ                                  ǁĂůŬĞĚ
                                                                                            walked ƵƉ  up ƚŽ
                                                                                                           to W/
                                                                                                               Pic” ĂŶĚ    and ďĞŐĂŶ
                                                                                                                                  began ƚŽ  to
ƌĞŵŽǀĞ
remove ƚŚĞ the ƌĞƐƚƌĂŝŶƚƐ
                 restraints ĨƌŽŵ
                               from Śŝŵ
                                      him                                 W/             ǁĂƐ
                                                                                          was ƐĞĐƵƌĞĚ
                                                                                                  secured ŝŶ in ŵĞĐŚĂŶŝĐĂů
                                                                                                                 mechanical ƌĞƐƚƌĂŝŶƚƐ
                                                                                                                               restraints ďǇ  by
KĸĐĞƌ                and escorted away from the institutional phones
                     ĂŶĚ   ĞƐĐŽƌƚĞĚ    ĂǁĂǇ    ĨƌŽŵ   ƚŚĞ   ŝŶƐƟƚƵƟŽŶĂů       ƉŚŽŶĞƐ                                                     Ϳ͘
P/            ŚĂĚ
                had ƐƚŽƉƉĞĚ
                     stopped ǁĂůŬŝŶŐ
                                  walking ĂŶĚand ĂƉƉĞĂƌĞĚ
                                                   appeared ƚŽ  to ďĞ
                                                                    be ƐƉĞĂŬŝŶŐ
                                                                        speaking ǁŝƚŚwith ĂƉƚĂŝŶ
                                                                                              Captain
                   W/
                   Pic             ǁĂƐ
                                   was ƉƵůůŝŶŐ
                                         pulling ĂǁĂǇ
                                                   away ĨƌŽŵ
                                                          from KĸĐĞƌ
                                                                  Officer
KĸĐĞƌ                kept pointing in the other direction ƚŽ
                    ŬĞƉƚ    ƉŽŝŶƟŶŐ     ŝŶ  ƚŚĞ  ŽƚŚĞƌ  ĚŝƌĞĐƟŽŶ      to W/
                                                                          PIC               Captains
                                                                                           ĂƉƚĂŝŶƐ                                   ĂŶĚ
                                                                                                                                      and
KĸĐĞƌ                                    Ăůů
                                         all ƐƵƌƌŽƵŶĚĞĚ
                                             surrounded W/  Pic             ĂŶĚ
                                                                             and ĂƉƉĞĂƌĞĚ
                                                                                   appeared ƚŽ     to ƐƉĞĂŬ
                                                                                                      speak ǁŝƚŚ
                                                                                                               with Śŝŵ
                                                                                                                     him
                Captain
               ĂƉƚĂŝŶ                 took ŽǀĞƌ
                                       ƚŽŽŬ   over ƚŚĞ
                                                     the ĞƐĐŽƌƚ
                                                          escort ŚŽůĚ
                                                                    hold ĨƌŽŵ
                                                                           from KĸĐĞƌ
                                                                                  Officer                                           W/
                                                                                                                                     PIC
          ĐŽŶƟŶƵĞĚ
          continued ƚŽ   to ƉƵůů
                             pull ĂǁĂǇ
                                   away ĨƌŽŵ
                                           from ďŽƚŚ
                                                  both ĂƉƚĂŝŶ
                                                        Captain                  ĂŶĚ
                                                                                 and KĸĐĞƌ
                                                                                       Officer
                               W/
                               PIC            ĂƉƉĞĂƌĞĚ
                                              appeared ƚŽ  to ďĞ
                                                               be ŝƌĂƚĞ͕
                                                                   irate, ǁŚŝůĞ
                                                                            while ĂƉƚĂŝŶ
                                                                                    Captain                                 ƐƉŽŬĞ
                                                                                                                             spoke ƚŽ to Śŝŵ
                                                                                                                                          him
                               KĸĐĞƌ              took over the escort hold from Captain
                                                  ƚŽŽŬ  ŽǀĞƌ   ƚŚĞ   ĞƐĐŽƌƚ    ŚŽůĚ  ĨƌŽŵ     ĂƉƚĂŝŶ                 W/           ũĞƌŬĞĚ
ŚŝƐ
his ďŽĚǇ
    body ďĂĐŬback ĂŶĚ
                   and ĨŽƌƚŚ͕
                          forth, ĂƉƚĂŝŶ
                                   Captain               ƉůĂĐĞĚ
                                                         placed ďŽƚŚ
                                                                   both ŚŝƐhis ŚĂŶĚƐ
                                                                                hands ŽŶ on W/PIC              ƐŚŽƵůĚĞƌƐ


KĸĐĞƌƐ
Officers JIM ĂŶĚ      anc [I             ĂƩĞŵƉƚĞĚ
                                          attempted ƚŽ  to ĞƐĐŽƌƚ
                                                           escort W/
                                                                   PIC             ďƵƚ
                                                                                   but ŚĞ
                                                                                        he ƌĞĨƵƐĞĚ
                                                                                            refused ĂŶĚand ƉƵůůĞĚ
                                                                                                           pulled ŚŝƐ
                                                                                                                    his ďŽĚǇ
                                                                                                                         body ĂǁĂǇ
                                                                                                                                away
ĨƌŽŵ
from ƐƚĂī
       staff ĂŶĚand ƐĂƚ
                     sat ĚŽǁŶ
                         down ŽŶ on ƚŚĞ
                                     the ŇŽŽƌ
                                           floor                             ^ƚĂī
                                                                             Staff ĂƐƐŝƐƚĞĚ
                                                                                     assisted W/
                                                                                                PIC          ƚŽ
                                                                                                             to ŚŝƐ
                                                                                                                his ĨĞĞƚ
                                                                                                                     feet ǁŚĞŶ
                                                                                                                           when
KĸĐĞƌ
Officer                              ƌĞůŝĞǀĞĚ
                                     relieved KĸĐĞƌ
                                                 Officer               ŽĨ
                                                                        of ŚĞƌ
                                                                           her ĞƐĐŽƌƚ
                                                                                escort ŚŽůĚ͘
                                                                                          hold. KĸĐĞƌ
                                                                                                  Officer         ƉƵůůĞĚ
                                                                                                                   pulled ŽŶon W/
                                                                                                                                PIC
          Ɛs ƌŝŐŚƚ
              right Ăƌŵ͕
                    arm, ďƵƚ
                          but W/
                               PIC             ĂŐŐƌĞƐƐŝǀĞůǇ
                                               aggressively ƉƵůůĞĚ
                                                              pulled ďĂĐŬ͘
                                                                       back. KĸĐĞƌ
                                                                               Officer            ƉƵƐŚĞĚ
                                                                                                  pushed W/
                                                                                                           PIC            ƵƉ
                                                                                                                          up ĂŐĂŝŶƐƚ
                                                                                                                              against
the ǁĂůů
ƚŚĞ  wall ƚŚĞŶ
             then ŐƌĂďďĞĚ
                    grabbed ŚŝƐ
                              his ůĞŐ
                                   leg ŝƌŽŶƐ
                                        irons ĂŶĚ
                                                and W/
                                                     Pic          went ĚŽǁŶ
                                                                  ǁĞŶƚ    down ƚŽ to ƚŚĞ
                                                                                      the ŇŽŽƌ
                                                                                           floor                           ͘

KĸĐĞƌƐ
Officers                        ĂŶĚ
                                and                       ďŽƚŚ
                                                          both ƌĞůŝĞǀĞĚ
                                                                relieved KĸĐĞƌƐ
                                                                          Officers                         ^ƚĂī
                                                                                                           Staff ĂƩĞŵƉƚĞĚ
                                                                                                                  attempted
several ƟŵĞƐ
ƐĞǀĞƌĂů  times ƚŽ
                to ůŝŌ
                     lift W/
                          PIC           ƚŽ
                                        to ŚŝƐ
                                           his ĨĞĞƚ͕
                                                feet, ďƵƚ
                                                      but ŚĞ
                                                          he ĐŽŶƟŶƵĞĚ
                                                              continued ƚŽ to ƌĞĨƵƐĞ͘
                                                                               refuse. W/
                                                                                        PIC          ĐŽŶƟŶƵĞĚ
                                                                                                     continued ƚŽto ƌĞƐŝƐƚ
                                                                                                                    resist
standing ƵƉ
ƐƚĂŶĚŝŶŐ   up ŽŶ
              on ŚŝƐ
                   his ĨĞĞƚ͘
                         feet. KĸĐĞƌ
                                Officer                   arrived ǁŝƚŚ
                                                          ĂƌƌŝǀĞĚ  with Ăa ŐƵƌŶĞǇ͘
                                                                            gurney. ^ƚĂī
                                                                                      Staff ůŝŌĞĚ
                                                                                            lifted Śŝŵ
                                                                                                   him ƵƉ
                                                                                                        up ĂŶĚ
                                                                                                           and ƉůĂĐĞĚ
                                                                                                                 placed Śŝŵ
                                                                                                                          him
ĨĂĐĞĚ  ĚŽǁŶ   ŽŶ  ƚŚĞ
faced down on the gurney  ŐƵƌŶĞǇ                              W/           ǁĂƐ  ĞƐĐŽƌƚĞĚ   ƚŽ  /ŶƚĂŬĞ ĨŽƌ ŵĞĚŝĐĂů   ĂƩĞŶƟŽŶ
                                                                            was escorted to Intake for medical attention
and ǁĂƐ
ĂŶĚ  was ĨĂĐĞĚ
          faced ĚŽǁŶ
                  down ƚŚĞ  the ĞŶƟƌĞ
                                 entire ĞƐĐŽƌƚ
                                         escort

WŚŽƚŽŐƌĂƉŚŝĐ
Photographic ǀŝĚĞŶĐĞ
             Evidence

dŚĞ
The ĨĂĐŝůŝƚǇ
    facility ƉƌŽǀŝĚĞĚ
             provided ŽŶĞ
                      one ;ϭͿ
                          (1) ƉŚŽƚŽ
                              photo ŽĨ
                                    of W/
                                       Pic                         ĂŶĚ
                                                                   and ŶŽƚĞĚ
                                                                       noted ƚŚĂƚ
                                                                             that ŚĞ
                                                                                  he ƌĞĨƵƐĞĚ
                                                                                     refused ĨƵƌƚŚĞƌ
                                                                                             further ƉŚŽƚŽƐ͘
                                                                                                     photos.

The /ŶǀĞƐƟŐĂƟŽŶ
dŚĞ Investigation ŝǀŝƐŝŽŶ
                  Division ƚŽŽŬ
                           took ĨŽƵƌ
                                four ;ϰͿ
                                     (4) ƉŚŽƚŽŐƌĂƉŚƐ
                                         photographs ŽĨ
                                                     of ƚŚĞ
                                                        the ĂďŽǀĞ-ŵĞŶƟŽŶĞĚ
                                                            above-mentioned W/͘
                                                                            PIC.

Video ǀŝĚĞŶĐĞ
sŝĚĞŽ Evidence

dŚĞ
The ĨŽůůŽǁŝŶŐ
    following ǀŝĚĞŽ
               video ĞǀŝĚĞŶĐĞ
                      evidence ǁĂƐ
                                was ƌĞǀŝĞǁĞĚ
                                     reviewed ĨƌŽŵ
                                               from ϭϮϱϬ
                                                    1250 ƚŽ
                                                         to ϭϰϬϬ
                                                            1400 ŚŽƵƌƐ
                                                                 hours ŽĨ
                                                                       of ƚŚĞ
                                                                          the ŝŶĐŝĚĞŶƚ
                                                                              incident ŽŶ :ƵůǇ ϭϵ͕
                                                                                       on July 19, ϮϬϮϯ͕
                                                                                                   2023,
ĂŶĚ
and ŝƚ
    it ĚĞƉŝĐƚĞĚ
       depicted ƚŚĞ
                 the ŝŶĐŝĚĞŶƚ
                     incident ĂƐ
                              as ŶĂƌƌĂƚĞĚ
                                 narrated ĂďŽǀĞ͘
                                           above.

dŚĞ
The ŝŶǀĞƐƟŐĂƚŽƌ
     investigator ĂŶĚ
                  and ƐƵƉĞƌǀŝƐŽƌ
                      supervisor ǀĞƌŝĮĞĚ
                                 verified ƚŚĂƚ
                                          that ƚŚĞƌĞ
                                               there ǁĂƐ
                                                     was ŶŽ
                                                         no t
                                                            BWC Žƌ
                                                                or ,ĂŶĚŚĞůĚ
                                                                   Handheld ĞǀŝĚĞŶĐĞ
                                                                            evidence ĂƐƐŽĐŝĂƚĞĚ
                                                                                     associated ǁŝƚŚ
                                                                                                with
this ŝŶĐŝĚĞŶƚ͘
ƚŚŝƐ incident.

dŚĞ
The 'ĞŶĞƚĞĐ
     Genetec ^ƵƌǀĞŝůůĂŶĐĞ
              Surveillance ĨŽŽƚĂŐĞ
                           footage ĨƌŽŵ
                                   from ƚŚĞ
                                        the ĨŽůůŽǁŝŶŐ
                                            following ĂŶŐůĞƐͬůŽĐĂƟŽŶ
                                                      angles/location ǁĞƌĞ
                                                                      were ƌĞǀŝĞǁĞĚ
                                                                           reviewed ĂŶĚ
                                                                                    and ƌĞƋƵĞƐƚĞĚ
                                                                                        requested ĨŽƌ
                                                                                                  for
archival ƉƵƌƉŽƐĞƐ͗
ĂƌĐŚŝǀĂů purposes:



                                                                                                                               Exh
                                                                                                                               Exh bit
                                                                                                                                   bit 35
                                                                                                                                       35 at
                                                                                                                                          at 67
         Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 69 of 71




|_|
ee
|_|
es
^ƚĂīͬW/
Staff/PIC /ŶũƵƌŝĞƐ
          Injuries

/ŶũƵƌǇ
Injury ƚŽ
       to /ŶŵĂƚĞ
           Inmate ZĞƉŽƌƚ͕
                    Report, &zϮϰͬϬϵϬ͕
                              FY24/090, ŶŽƚĞĚ
                                          noted ƚŚĂƚ
                                                  that ŽŶ
                                                       on :ƵůǇ
                                                           July ϭϵ͕
                                                                 19, ϮϬϮϯ͕
                                                                     2023, Ăƚat ϭϯϱϮ
                                                                                 1352 ŚŽƵƌƐ͕
                                                                                        hours, W/
                                                                                               Pic           ǁĂƐ
                                                                                                             was ƉƌŽĚƵĐĞĚ
                                                                                                                  produced
ĨŽƌ
for ƉƌŽŵƉƚ
    prompt ŵĞĚŝĐĂů
             medical ĂƩĞŶƟŽŶ͘
                        attention. dŚĞ
                                     The ƚƌĞĂƟŶŐ
                                          treating ƉŚǇƐŝĐŝĂŶ
                                                    physician ŶŽƚĞĚ
                                                                noted ƚŚĂƚ
                                                                        that W/
                                                                              PIC           ŚĂĚ
                                                                                            had ǀŝƐŝďůĞ
                                                                                                visible ŝŶũƵƌŝĞƐ
                                                                                                         injuries ƚŽ
                                                                                                                  to ŚŝƐ
                                                                                                                      his
ŵŽƵƚŚ͘    Ŷ  y-ƌĂǇ ŽĨ ďŽƚŚ   ŵĂŶĚŝďůĞƐ    ǁŝƚŚ  ŶĞŐĂƟǀĞ    ĮŶĚŝŶŐƐ   ǁĂƐ
mouth. An X-ray of both mandibles with negative findings was taken. PIC     ƚĂŬĞŶ͘  W/           ŚĂĚ
                                                                                                  had a repair of a Ϯ-
                                                                                                       Ă ƌĞƉĂŝƌ  ŽĨ Ă  2-
centimeter ůĂĐĞƌĂƟŽŶ
ĐĞŶƟŵĞƚĞƌ     laceration ŽŶon ƚŽƉ
                              top ŽĨ
                                   of ƚŚĞ
                                      the ĐŚŝŶ͘
                                           chin. Ăƚ
                                                  Cat ƐĐĂŶ
                                                      scan ǁŝƚŚ
                                                            with ŶĞŐĂƟǀĞ
                                                                   negative ĮŶĚŝŶŐƐ͘
                                                                              findings.

dŚĞƌĞ ǁĞƌĞ
There were ŶŽ
           no ƌĞƉŽƌƚĞĚ
              reported ƐƚĂī
                       staff ŝŶũƵƌŝĞƐ
                             injuries ďǇ
                                      by K
                                         COD Žƌ
                                             or ƚŚĞ
                                                the ĨĂĐŝůŝƚǇ͘
                                                    facility.

Accuracy ŽĨ
ĐĐƵƌĂĐǇ of hK&
            UOF ůĂƐƐŝĮĐĂƟŽŶ
                Classification

This incident ǁĂƐ
dŚŝƐ ŝŶĐŝĚĞŶƚ was ŝŶĐŽƌƌĞĐƚůǇ
                  incorrectly ĐůĂƐƐŝĮĞĚ
                              classified ĂƐ
                                         as Ăa'"C" Use ŽĨ
                                               ΗΗ hƐĞ of &ŽƌĐĞ͘
                                                          Force. W/
                                                                 Pic    sustained Ăa Ϯ-ĐĞŶƟŵĞƚĞƌ
                                                                        ƐƵƐƚĂŝŶĞĚ    2-centimeter
ůĂĐĞƌĂƟŽŶ
laceration ŽŶ
           on ƚŚĞ
              the ĐŚŝŶ͕
                  chin, ǁŝƚŚ
                        with ƐƵƚƵƌĞƐ͘
                             sutures. dŚŝƐ
                                      This ĐĂƐĞ
                                           case ŝƐ
                                                is ƌĞĐŽŵŵĞŶĚĞĚ
                                                   recommended ƚŽ
                                                               to ďĞ
                                                                  be ƌĞĐůĂƐƐŝĮĞĚ
                                                                     reclassified ĂƐ
                                                                                  as ĂŶ
                                                                                     an ΖΖ
                                                                                        'A' hƐĞ
                                                                                            Use ŽĨ
                                                                                                of &ŽƌĐĞ͘
                                                                                                   Force.

Brief Summary
Brief Summary of
              of PIC
                 PIC Statements
                     Statements

W/
PIC          ƌĞĨƵƐĞĚ
             refused ƚŽ
                     to ƉƌŽǀŝĚĞ
                        provide Ă
                                a ƐƚĂƚĞŵĞŶƚ
                                  statement ƚŽ
                                            to ƚŚĞ
                                               the ĨĂĐŝůŝƚǇ͘
                                                   facility.

W/
Pic           ŐĂǀĞ
              gave Ă a ǀĞƌďĂů
                       verbal ƐƚĂƚĞŵĞŶƚ
                               statement ƚŽ to ƚŚĞ
                                                the /ŶǀĞƐƟŐĂƟŽŶ
                                                    Investigation ŝǀŝƐŝŽŶ͕
                                                                      Division, ƐƚĂƟŶŐ͕
                                                                                 stating, Ζ/'l ǁĂƐ
                                                                                                was ŚĂŶĚĐƵīĞĚ
                                                                                                     handcuffed ƚŽ
                                                                                                                 to ƚŚĞ
                                                                                                                    the ďĂĐŬ
                                                                                                                         back
with ůĞŐ
ǁŝƚŚ   leg ŝƌŽŶƐ
           irons ŽŶ
                 on ŵǇmy ĨĞĞƚ͘
                          feet. /| ǁĂƐ
                                   was ƚƌǇŝŶŐ
                                       trying ƚŽto ŐŽ
                                                   go ŝŶƐŝĚĞ
                                                       inside ƚŚĞ
                                                               the ƐŚŽǁĞƌ
                                                                    shower ĂŶĚ and ƚŚĞ
                                                                                    the KĸĐĞƌ
                                                                                         Officer ƉƵůůĞĚ
                                                                                                    pulled ƚŚĞ
                                                                                                           the ůĞŐ
                                                                                                               leg ŝƌŽŶƐ
                                                                                                                   irons ĂŶĚ
                                                                                                                          and /|
fell ŚŝƫŶŐ
ĨĞůů hitting ŵǇ
              my ĨĂĐĞ
                  face ŽŶ
                        on ƚŚĞ
                            the ŇŽŽƌ͘
                                floor. /| ŚĂĚ
                                          had ƐƟƚĐŚĞƐ
                                               stitches ŽŶ
                                                         on ŵǇ
                                                             my ĐŚŝŶ
                                                                  chin ĂŶĚ
                                                                        and ƐƵīĞƌ
                                                                              suffer ĨƌŽŵ
                                                                                      from ŚĞĂĚhead ƚƌĂƵŵĂΖ͘
                                                                                                     trauma’. dŚĞ
                                                                                                               The ŝŶĐŝĚĞŶƚ
                                                                                                                    incident
ĂŶĚ   hK&   ǁĂƐ  ĐĂƉƚƵƌĞĚ    ŽŶ 'ĞŶĞƚĞĐ     ^ƵƌǀĞŝůůĂŶĐĞ
and UOF was captured on Genetec Surveillance footage.       ĨŽŽƚĂŐĞ͘

W/
PIC ƌĞĨƵƐĞĚ
    refused ƚŽ
            to ƐŝŐŶ
               sign ,/W
                    HIPAA ƌĞůĞĂƐĞ
                          release ĨŽƌŵ͘
                                  form.

Staff ZĞƉŽƌƚƐ
^ƚĂī  Reports

&Ƶůů
Full /
     ID ǁŝůů
        will ĂƐƐĞƐƐ
             assess ƐƚĂī
                    staff ƌĞƉŽƌƚƐ͘
                          reports.

&ĂĐŝůŝƚǇ
Facility ZĂƉŝĚ
         Rapid ZĞǀŝĞǁ
               Review

dŚĞ
The ZĂƉŝĚ
     Rapid ZĞǀŝĞǁ
            Review ĐŽŶĚƵĐƚĞĚ
                      conducted ďǇ by ĞƉƵƚǇ
                                       Deputy tĂƌĚĞŶ
                                                  Warden |              ŽĨ Z^,
                                                                           RESH ŶŽƚĞĚ
                                                                                 noted ƚŚĂƚ
                                                                                        that ƚŚĞ
                                                                                             the ŝŶĐŝĚĞŶƚ
                                                                                                  incident ǁĂƐ
                                                                                                            was
ƵŶĂǀŽŝĚĂďůĞ
unavoidable ĂŶĚand ƉƌŽĐĞĚƵƌĂů
                     procedural ĞƌƌŽƌƐ
                                  errors ǁĞƌĞ
                                           were ŝĚĞŶƟĮĞĚ͘
                                                  identified. KĸĐĞƌ
                                                                Officer                          ŝƐ
                                                                                                 is ƌĞĐŽŵŵĞŶĚĞĚ
                                                                                                    recommended ƚŽ   to
receive hƐĞ
ƌĞĐĞŝǀĞ  Use ŽĨ
              of &ŽƌĐĞ
                  Force ZĞ-ƚƌĂŝŶŝŶŐ
                         Re-training ĨŽƌ
                                       for ƚŚŝƐ
                                            this ŝŶĐŝĚĞŶƚ͘
                                                 incident. ůƐŽ͕
                                                             Also, W/
                                                                    PIC         was ƉůĂĐĞĚ
                                                                                ǁĂƐ  placed ĨĂĐĞ
                                                                                             face ĚŽǁŶ
                                                                                                   down ŽŶon ƚŚĞ
                                                                                                              the ŐƵƌŶĞǇ
                                                                                                                  gurney
ĂŶĚ  ŽďƐĞƌǀĞĚ    ĨŽƌ ƚŚĞ  ĞŶƟƌĞ  ĞƐĐŽƌƚ   ƚŽ  ŵĞĚŝĐĂů
and observed for the entire escort to medical face down.ĨĂĐĞ  ĚŽǁŶ͘

Conclusion
ŽŶĐůƵƐŝŽŶ

ĂƐĞĚ
Based ŽŶ
      on ƚŚĞ
         the ĞǀŝĚĞŶĐĞ
             evidence ĐŝƚĞĚ
                      cited ĂďŽǀĞ͕
                            above, ƚŚŝƐ
                                   this ĐĂƐĞ
                                        case ŝƐ
                                             is ďĞŝŶŐ
                                                being ƵƉŐƌĂĚĞĚ
                                                      upgraded ƚŽ
                                                               to &Ƶůů
                                                                  Full /
                                                                       ID ĚƵĞ
                                                                          due ƚŽ
                                                                              to Ă
                                                                                 a ŚĞĂĚ
                                                                                   head ƐƚƌŝŬĞ
                                                                                        strike ĂůůĞŐĂƟŽŶ͘
                                                                                               allegation.




                                                                                                                   Exh
                                                                                                                   Exh bit
                                                                                                                       bit 35
                                                                                                                           35 at
                                                                                                                              at 68
        Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 70 of 71




CMS Preliminary Reviews Report for August 2023 (4797/22)

Investigator’s Justification for Determination: UOF 4797/22

On September 7, 2022, at approximately 1655 hours in the GRVC 10 Building Vestibule Area, PICs from
10A were able to exit when the feeding cart was brought in. During such time, 2 additional PICs were
being escorted to the area. These 2 PICs were from 10B, and it appears they exchanged words with the
PICs from 10A. The 10A PICs re-entered their housing area, but it appears the door was not secured, and
the meal officer did not ensure it was closed. When the gate was opened to allow the 10B PICs, the 10A
door opened, and the PICs briefly confronted one another. The 10B PICs had what appeared to be
weapons on their persons that they took out. The 10A door appeared to be closed and the 10B door was
opened, which led to several PICs from 10B exiting into the vestibule with weapons and the 10A door
opening and those PICs exiting. Officer [in                                     deployed chemical agents
PO                                  The Rapid Response Team arrived and entered the housing area as the
PICS were observed kneeling with their hands over their head as the Rapid Response Team deployed
what appeared to be AGPTM-40 Grenades (3) towards the PICS
                                     The Rapid Response Team move forward utilizing chemical agents and
began to secure the PICS
The PICS were secured in their cells and in the main intake, terminating the incident.

Genetec video surveillance angles



                                                                                          were viewed from
1653 hours to hours on September 7, 2022, in the GRVC 10 Building Vestibule Area

PIC         njury report FY23/1099 was generated on September 7, 2022, at 1747 hours noted patient
refused the physical exam and had no visible injuries. PIC Harvey received prompt medical attention.

Pic            Injury report FY23/1104 was generated on September 7, 2022, at 1747 hours noted patient
denied injuries, had no acute distress and had no significant findings on the physical exam, and had no
visible injuries. PIC        received prompt medical attention.

Pic             Injury report FY23/1107 was generated on September 7, 2022, at 1900 hours noted the
patient had mild bilateral cuffed wrists and knee discomfort. The PIC was given analgesic times 1 and
advised to return to the clinic if necessary and had no visible injuries. Pic             received prompt
medical attention.

Pic         Injury report FY23/1109 was generated on September 7, 2022, at 1915 hours noted patient
refused the physical exam and had no visible injuries. PIC         received prompt medical attention.

Pic            Injury report FY23/1087 was generated on September 7, 2022, at 1803 hours noted patient
denied injuries, had no acute distress and had no significant findings on the physical exam, and had no
visible injuries. PIC        received prompt medical attention.

PIC            injury report FY23/1110 was generated on September 7, 2022, at 1920 hours noted patient
refused the physical exam and had no visible injuries. ic             received prompt medical attention.




                                                                                                   Exh bit 35 at 69
         Case 1:11-cv-05845-LTS Document 653-1 Filed 12/13/23 Page 71 of 71




ĂƉƚĂŝŶƐ                                         KĸĐĞƌƐ
                                                       ĚŝĚ
                                                       did ŶŽƚ
                                                           not ĐůĂŝŵ
                                                               claim ŝŶũƵƌǇ
                                                                      injury ŝŶ
                                                                              in ƌĞůĂƟŽŶ
                                                                                 relation ƚŽ
                                                                                          to ƚŚŝƐ
                                                                                             this ŝŶĐŝĚĞŶƚ͘
                                                                                                  incident. dŚŝƐ
                                                                                                            This
incident was correctly classified as a 'C' UOF, as there were no injuries sustained by the PICs or staff.
ŝŶĐŝĚĞŶƚ ǁĂƐ ĐŽƌƌĞĐƚůǇ ĐůĂƐƐŝĮĞĚ  ĂƐ Ă ΖΖ hK&͕ ĂƐ ƚŚĞƌĞ  ǁĞƌĞ ŶŽ  ŝŶũƵƌŝĞƐ  ƐƵƐƚĂŝŶĞĚ   ďǇ ƚŚĞ  W/Ɛ Žƌ ƐƚĂī͘

ǀĂŝůĂďůĞ
Available ^ƚĂī
            Staff ƌĞƉŽƌƚƐ
                   reports ǁĞƌĞ
                            were ŐĞŶĞƌĂůůǇ
                                  generally ĐŽŶƐŝƐƚĞŶƚ
                                              consistent ǁŝƚŚ
                                                          with ĞĂĐŚ
                                                               each ŽƚŚĞƌ
                                                                      other ĂƐ
                                                                             as ƚŽ
                                                                                to ƚŚĞ
                                                                                   the ĞǀĞŶƚƐ
                                                                                       events ƚŚĂƚ
                                                                                               that ŽĐĐƵƌƌĞĚ
                                                                                                     occurred ĚƵƌŝŶŐ
                                                                                                                during
the hK&
ƚŚĞ  UOF ĂŶĚ
           and ǁŝƚŚ
                 with ǀŝĚĞŽ
                       video ƐƵƌǀĞŝůůĂŶĐĞ͘
                              surveillance. ZĞƉŽƌƚƐ
                                              Reports ŶŽƚĞĚ
                                                       noted ƚŚĂƚ
                                                              that ƚŚĞ
                                                                    the W/Ɛ
                                                                         PICs ǁĞƌĞ
                                                                              were ŐŝǀĞŶ
                                                                                    given ŝŶƐƚƌƵĐƟŽŶƐ
                                                                                           instructions ƚŽ
                                                                                                         to ƐƚĂŶĚ
                                                                                                            stand ďǇ
                                                                                                                   by
ƚŚĞŝƌ
their ĐĞůůƐ
      cells ƚŽ
             to ďĞ
                 be ƐĞĐƵƌĞĚ
                    secured ĂŶĚ
                              and ƌĞĨƵƐĞĚ
                                   refused ƚŽ
                                            to ĨŽůůŽǁ
                                                follow ƚŚŽƐĞ
                                                       those ĚŝƌĞĐƟŽŶƐ͘
                                                              directions.

W/
PIC ŝŶƚĞƌǀŝĞǁƐ
    interviews ǁĞƌĞ
               were ŶŽƚ
                    not ĐŽůůĞĐƚĞĚ
                        collected Ăƚ
                                  at ƚŚĞ
                                     the ƟŵĞ
                                         time ŽĨ
                                              of ƚŚŝƐ
                                                 this ǁƌŝƟŶŐ͘
                                                      writing.

According ƚŽ
ĐĐŽƌĚŝŶŐ   to ƚŚĞ
                the ZĂƉŝĚ
                      Rapid ZĞǀŝĞǁ͕
                              Review, ƚŚĞ
                                       the ĨĂĐŝůŝƚǇ
                                            facility ĚĞƚĞƌŵŝŶĞĚ
                                                       determined ƚŚĂƚ
                                                                     that ƚŚŝƐ
                                                                           this ŝŶĐŝĚĞŶƚ
                                                                                 incident ǁĂƐ
                                                                                           was ĂǀŽŝĚĂďůĞ
                                                                                                avoidable ĚƵĞ
                                                                                                            due ƚŽ
                                                                                                                 to KĸĐĞƌ
                                                                                                                    Officer
                   ĨĂŝůƵƌĞ
                   failure ƚŽ
                            to ĞŶƐƵƌĞ
                                ensure ƚŚĞ
                                        the ΗΗ
                                              "A" ƐŝĚĞ
                                                    side ĚŽŽƌ
                                                          door ǁĂƐ
                                                                was ƐĞĐƵƌĞĚ
                                                                     secured ďĞĨŽƌĞ
                                                                                before ŽƉĞŶŝŶŐ
                                                                                         opening ƚŚĞ
                                                                                                  the ΗΗ
                                                                                                       "B" ƐŝĚĞ
                                                                                                            side ŚŽƵƐŝŶŐ
                                                                                                                 housing ĚŽŽƌ͘
                                                                                                                            door.
KĸĐĞƌ
Officer             ƌĞĐĞŝǀĞĚ
                    received Ăa ŽŵŵĂŶĚ
                                  Command ŝƐĐŝƉůŝŶĞ
                                                Discipline ;ĞƉĂƌƚŵĞŶƚ
                                                              (Department   CD >ŽŐ
                                                                                  Log ηϯϲϳϬͬϮϮ
                                                                                       #3670/22 ĂŶĚ
                                                                                                  and ŽŵŵĂŶĚ
                                                                                                        Command   CD >ŽŐ
                                                                                                                         Log
η'ZsϰϲϲͬϮϮͿ͘       KĸĐĞƌ
#GRVC466/22). Officer                        ǁĂƐ    Žī  ƉŽƐƚ   ǁŝƚŚ  ŵƵůƟƉůĞ    ĐĞůů ĚŽŽƌƐ  ůĞŌ ƵŶƐĞĐƵƌĞĚ    ĂŶĚ
                                             was off post with multiple cell doors left unsecured and was made    ǁĂƐ  ŵĂĚĞ
ƚŚĞ
the ƐƵďũĞĐƚ
     subject ŽĨ
              of Ăa ŽŵŵĂŶĚ
                    Command ŝƐĐŝƉůŝŶĞ
                                  Discipline ;( ĞƉĂƌƚŵĞŶƚ
                                                 Department     CD >ŽŐ
                                                                     Log ηϯϲϲϵͬϮϮ
                                                                          #3669/22 ĂŶĚ and ŽŵŵĂŶĚ
                                                                                             Command   CD >ŽŐ
                                                                                                             Log
#GRVC465/22). KĸĐĞƌ
η'ZsϰϲϱͬϮϮͿ͘       Officer                     failed ƚŽ
                                                ĨĂŝůĞĚ  to ƐĞĐƵƌĞ
                                                            secure ƚŚĞ
                                                                    the ΗΗ
                                                                         "A" ŚŽƵƐŝŶŐ
                                                                              housing ĂƌĞĂ
                                                                                        area ĚŽŽƌ
                                                                                              door ĂŶĚ
                                                                                                    and ǁĂƐ
                                                                                                         was ŵĂĚĞ
                                                                                                               made ƚŚĞ
                                                                                                                     the
subject ŽĨ
ƐƵďũĞĐƚ  of Ăa ŽŵŵĂŶĚ
               Command ŝƐĐŝƉůŝŶĞ
                             Discipline ;( ĞƉĂƌƚŵĞŶƚ
                                           Department      CD >ŽŐ
                                                                 Log ηϯϲϲϴͬϮϮ
                                                                     #3668/22 ĂŶĚ and ŽŵŵĂŶĚ
                                                                                        Command   CD >ŽŐ
                                                                                                        Log η'ZsϰϲϰͬϮϮͿ͘
                                                                                                             #GRVC464/22).

dŚĞ
The ŝŶǀĞƐƟŐĂƟŽŶ
      investigation ĚĞƚĞƌŵŝŶĞĚ
                      determined ƚŚĂƚ that ĂƉƚĂŝŶ
                                            Captain                ĂŶĚ
                                                                   and ĂƉƚĂŝŶ
                                                                        Captain GE ĚĞƉůŽǇĞĚdeployed 'WdD-ϰϬ
                                                                                                         AGPTM-40 'ƌĞŶĂĚĞƐ
                                                                                                                       Grenades
ŝŶŝƟĂůůǇ
initially when they entered the housing area as the PICs were passively resisting with their hands ŽŶ
          ǁŚĞŶ   ƚŚĞǇ   ĞŶƚĞƌĞĚ    ƚŚĞ  ŚŽƵƐŝŶŐ  ĂƌĞĂ  ĂƐ ƚŚĞ   W/Ɛ  ǁĞƌĞ   ƉĂƐƐŝǀĞůǇ   ƌĞƐŝƐƟŶŐ    ǁŝƚŚ  ƚŚĞŝƌ  ŚĂŶĚƐ   on ƚŚĞŝƌ
                                                                                                                              their
ŚĞĂĚ
head ĂŶĚand ŬŶĞĞůŝŶŐ͘
             kneeling. ĂƉƚĂŝŶƐ
                          Captains i                           ĐŽƵůĚ
                                                                could ŚĂǀĞ
                                                                       have ŝŶƐƚƌƵĐƚĞĚ
                                                                              instructed ƚŚĞŝƌ
                                                                                            their ƐƚĂī
                                                                                                   staff ƚŽ
                                                                                                         to ƐĞĐƵƌĞ
                                                                                                             secure ƚŚĞ
                                                                                                                     the W/Ɛ
                                                                                                                          PICs Žƌ
                                                                                                                                or
ĂƩĞŵƉƚ
attempt ƚŽ to ƐĞĐƵƌĞ
              secure ƚŚĞ
                       the W/Ɛ
                             PICs ďĞĨŽƌĞ
                                   before ĚĞƉůŽǇŝŶŐ
                                           deploying ƚŚĞ
                                                       the ŐƌĞŶĂĚĞƐ͘
                                                            grenades. dŚĞThe W/Ɛ
                                                                               PICs ƚŚĞŶ
                                                                                     then ďĞĐĂŵĞ
                                                                                           became ĚŝƐƌƵƉƟǀĞ͕
                                                                                                       disruptive, ƌĞƐŝƐƚĂŶƚ
                                                                                                                    resistant
ĂŶĚ
and non-compliant prompting the Rapid Response team to utilize additional chemical agents ƚŽ
      ŶŽŶ-ĐŽŵƉůŝĂŶƚ      ƉƌŽŵƉƟŶŐ      ƚŚĞ  ZĂƉŝĚ  ZĞƐƉŽŶƐĞ    ƚĞĂŵ   ƚŽ  ƵƟůŝǌĞ  ĂĚĚŝƟŽŶĂů     ĐŚĞŵŝĐĂů    ĂŐĞŶƚƐ  to ŐĂŝŶ
                                                                                                                        gain
ĐŽŵƉůŝĂŶĐĞ͘
compliance. A ĨĂĐŝůŝƚǇ
                   facility ƌĞĨĞƌƌĂů
                             referral ǁĂƐ
                                       was ŐĞŶĞƌĂƚĞĚ
                                            generated ƌĞĐŽŵŵĞŶĚŝŶŐ
                                                        recommending ĚŽĐƵŵĞŶƚĞĚ
                                                                            documented ĐŽƵŶƐĞůŝŶŐ
                                                                                              counseling ĨŽƌfor ĂƉƚĂŝŶ
                                                                                                                Captain
Po                          ŝŶ
                            in ŽƌĚĞƌ
                                order ĨŽƌ
                                       for ƚŚĞŵ
                                           them ƚŽto ŚĂǀĞ
                                                     have Ăa ĐŚĂŶĐĞ
                                                             chance ƚŽ to ƌĞǀŝĞǁ
                                                                           review ƚŚĞ
                                                                                    the ŝŶĐŝĚĞŶƚ͘
                                                                                         incident.

dŚŝƐ
This ŝŶĐŝĚĞŶƚ
     incident ŝƐ
              is ďĞŝŶŐ
                 being ƌĞĨĞƌƌĞĚ
                       referred ĨŽƌ
                                for ĨƵƌƚŚĞƌ
                                    further ŝŶǀĞƐƟŐĂƟŽŶ͘
                                            investigation.




                                                                                                                   Exh
                                                                                                                   Exh bit
                                                                                                                       bit 35
                                                                                                                           35 at
                                                                                                                              at 70
